Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 1 of 505            FILED
                                                                   2022 Feb-17 AM 08:25
                                                                   U.S. DISTRICT COURT
                                                                       N.D. OF ALABAMA




                    EXHIBIT 1

          All Process and Other Papers on File
        in the Record of the State Court Action
                              Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 2 of 505
                                               ALABAMA SJIS CASE DETAIL
                                                                                                                   PREPARED FOR: SHERRIE MYRICK
                             County: 35     Case Number: CV-2021-900009.00                              Court Action:
                             Style: CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                                                                                                                                     Real Time


Case
        Case Information
     County:          35-GREENE                   Case Number:           CV-2021-900009.00                          Judge:         -EH:HON. EDDIE HARDAWAY
     Style:           CORNELIUS ROSS V. ERIKA GILMORE ET AL
     Filed:           02/17/2021                 Case Status:            ACTIVE                                     Case Type: NEGLIGENCE MOTOR VEH
     Trial Type:      JURY                        Track:                                                            Appellate Case:     0
     No of Plaintiffs: 1                          No of Defendants:      3




        Damages
     Damage Amt:      0.00                        Punitive Damages:               0.00                              General Damages:        0.00
     No Damages:                                  Compensatory Damages:           0.00
     Pay To:                                      Payment Frequency:                                                Cost Paid By:


        Court Action
    Court Action Code:                                 Court Action Desc:                                         Court Action Date:
    Num of Trial days:              0                  Num of Liens:         0                                    Judgment For:
    Dispositon Date of Appeal:                         Disposition Judge: :                                       Disposition Type:
    Revised Judgement Date:                            Minstral:                                                  Appeal Date:
    Date Trial Began but No Verdict (TBNV1):
    Date Trial Began but No Verdict (TBNV2):



        Comments
    Comment 1:
    Comment 2:



      Appeal Information
 Appeal Date:                                   Appeal Case Number:                                                Appeal Court:
 Appeal Status:                                 Orgin Of Appeal:
 Appeal To:                                     Appeal To Desc:                                                    LowerCourt Appeal Date:
 Disposition Date Of Appeal:                                              Disposition Type Of Appeal:


      Administrative Information
    Transfer to Admin Doc Date:                    Transfer Reason:                                       Transfer Desc:
    Number of Subponeas:                          Last Update:            08/24/2021                      Updated By:      DER




Settings
  Settings
       Date:                 Que:              Time:               Description:
1      01/25/2022             001              09:00 AM            PTRC - PRETRIAL CONFERENCE
3      08/17/2021             001              09:00 AM            PTRC - PRETRIAL CONFERENCE




Parties
Party 1 - Plaintiff INDIVIDUAL - ROSS CORNELIUS
     Party Information
                    Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 3 of 505
  Party:            C001-Plaintiff             Name:       ROSS CORNELIUS                                                Type:      I-INDIVIDUAL
  Index:            D GILMORE ERIK             Alt Name:                                        Hardship:     No         JID:       -EH
  Address 1:        725 2ND AVE N.                                                              Phone:        (205) 000-0000
  Address 2:
  City:             BESSEMER                   State:      AL                                   Zip:          35020-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                        Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:                  Issued Type:                             Reissue:                                Reissue Type:
  Return:                  Return Type:                             Return:                                 Return Type:
  Served:                  Service Type                             Service On:                             Served By:
  Answer:                  Answer Type:                             Notice of No Service:                   Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      HAL120                                HALE CARSON SCOTT                   CHALE@SLOCUMBLAW.COM                     (334) 741-4110




Party 2 - Defendant INDIVIDUAL - GILMORE ERIKA
     Party Information
  Party:            D001-Defendant             Name:       GILMORE ERIKA                                                 Type:      I-INDIVIDUAL
  Index:            C ROSS CORNELI             Alt Name:                                        Hardship:     No         JID:       -EH
  Address 1:        203 PICKENS ST.                                                             Phone:        (205) 000-0000
  Address 2:
  City:             EUTAW                      State:      AL                                   Zip:          35462-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                        Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      02/17/2021 Issued Type:    C-CERTIFIED MAIL          Reissue:            08/13/2021          Reissue Type: A-PROCESS SERVER
  Return:            Return Type:                                   Return:                                 Return Type:
  Served: 09/12/2021 Service Type V-PROCESS SERVER                  Service On:                             Served By:
                                                                    Notice of No Service:                   Notice of No Answer:

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  Served:                  Service Type                             Service On:
  Answer:                  Answer Type:                             Notice of No Service:                   Notice of No Answer:
                            Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 4 of 505

    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      PAT061                                PATTILLO JAMES LAURENS              JLPATTILLO@CSATTORNEYS.COM               (205) 250-6647




Party 3 - Defendant INDIVIDUAL - AVENT KEITH
     Party Information
  Party:            D002-Defendant             Name:        AVENT KEITH                                                  Type:      I-INDIVIDUAL
  Index:            C ROSS CORNELI             Alt Name:                                        Hardship:     No         JID:       -EH
  Address 1:        6400 YAGER DR.                                                              Phone:        (205) 000-0000
  Address 2:
  City:             MOSCOW                     State:       TN                                  Zip:          38057-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                       Race:


     Court Action
  Court Action:                                                                                          Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                            Exemptions:
  Cost Against Party:        $0.00                          Other Cost:         $0.00                    Date Satisfied:
  Comment:                                                                                               Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                       Status Description:


    Service Information
  Issued:      02/17/2021 Issued Type:    C-CERTIFIED MAIL          Reissue:            08/13/2021          Reissue Type: C-CERTIFIED MAIL
  Return: 08/19/2021 Return Type: C-UNCLAIMED CERT MAILReturn:            09/02/2021                        Return Type: C-UNCLAIMED CERT MAIL
  Served: 09/01/2021 Service Type O-OTHER              Service On:                                          Served By:
  Answer:            Answer Type:                      Notice of No Service:                                Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                        Email                                    Phone
  Attorney 1      000000                                PRO SE




Party 4 - Defendant BUSINESS - FEDEX FREIGHT, INC.
     Party Information
  Party:            D003-Defendant             Name:        FEDEX FREIGHT, INC.                                          Type:      B-BUSINESS
  Index:            C ROSS CORNELI             Alt Name:                                        Hardship:     No         JID:       -EH
  Address 1:        2 N JACKSON ST, STE 605                                                     Phone:        (205) 000-0000
  Address 2:
  City:             MONTGOMERY                 State:       AL                                  Zip:          36104-0000 Country:   US
  SSN:              XXX-XX-X999                DOB:                                             Sex:                       Race:



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      Court Action Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 5 of 505
  Court Action:                                                                                                      Court Action Date:
  Amount of Judgement: $0.00                                Court Action For:                                        Exemptions:
  Cost Against Party:       $0.00                           Other Cost:             $0.00                            Date Satisfied:
  Comment:                                                                                                           Arrest Date:
  Warrant Action Date:                                      Warrant Action Status:                                   Status Description:


    Service Information
  Issued:      02/17/2021 Issued Type:     C-CERTIFIED MAIL              Reissue:                                    Reissue Type:
  Return:            Return Type:                                        Return:                                     Return Type:
  Served: 02/26/2021 Service Type C-CERTIFIED MAIL                       Service On:                                 Served By:
  Answer: 03/22/2021 Answer Type: D-COMPLAINT DENIED                     Notice of No Service:                       Notice of No Answer:


    Attorneys
  Number          Attorney Code Type of Counsel Name                                                  Email                                           Phone
  Attorney 1      DEL025                              DELISLE SARA ELIZABETH                          SBDELISLE@CARRALLISON.COM                       (205) 949-2904
  Attorney 2      RIC062                              RICHMOND LEA IV                                 LRICHMOND@CARRALLISON.COM                       (205) 822-2006
  Attorney 3      SAU019                              SAUNDERS ANNA CERISE                            ASAUNDERS@CARRALLISON.COM                       (205) 396-1472




Financial
   Fee Sheet
  Fee Status        Admin Fee       Fee Code      Payor            Payee         Amount Due          Amount Paid          Balance      Amount Hold Garnish Party

  ACTIVE            N               AOCC          C001             000                      $29.55               $37.60       -$8.05          $0.00 0
  ACTIVE            N               CONV          C001             000                       $0.00               $22.02        $0.00          $0.00 0
  ACTIVE            N               CV05          C001             000                  $351.00                 $351.00        $0.00          $0.00 0
  ACTIVE            N               JDMD          C001             000                  $100.00                 $100.00        $0.00          $0.00 0
  ACTIVE            N               VADM          C001             000                      $45.00               $45.00        $0.00          $0.00 0
  ACTIVE            N               CONV          D003             000                       $0.00                $5.25        $0.00          $0.00 0
  ACTIVE            N               SUBP          D003             000                      $12.00               $60.00      -$48.00          $0.00 0

                                                                   Total:               $537.55                 $620.87      -$83.32          $0.00


   Financial History
 Transaction Description Disbursement Transaction         Receipt Number Amount             From Party To Party       Money     Admin Reason      Attorney Operator
 Date                    Accoun       Batch                                                                           Type      Fee

 02/19/2021     CREDIT     CONV             2021070       421850              $21.02        C001          000                   N                             VEJ
 02/19/2021     RECEIPT    AOCC             2021070       421840              $29.55        C001          000                   N                             VEJ
 02/19/2021     RECEIPT    CV05             2021070       421860              $351.00       C001          000                   N                             VEJ
 02/19/2021     RECEIPT    JDMD             2021070       421870              $100.00       C001          000                   N                             VEJ
 02/19/2021     RECEIPT    VADM             2021070       421880              $45.00        C001          000                   N                             VEJ
 07/02/2021     RECEIPT    SUBP             2021162       430160              $12.00        D003          000                   N                             VEJ
 07/02/2021     RECEIPT    SUBP             2021162       430140              $12.00        D003          000                   N                             VEJ
 07/02/2021     RECEIPT    SUBP             2021162       430120              $12.00        D003          000                   N                             VEJ
 07/02/2021     RECEIPT    SUBP             2021162       430100              $12.00        D003          000                   N                             VEJ
 07/02/2021     CREDIT     CONV             2021162       430150              $1.05         D003          000                   N                             VEJ
 07/02/2021     CREDIT     CONV             2021162       430110              $1.05         D003          000                   N                             VEJ
 07/02/2021     CREDIT     CONV             2021162       430090              $1.05         D003          000                   N                             VEJ
 07/02/2021     CREDIT     CONV             2021162       430130              $1.05         D003          000                   N                             VEJ
 08/17/2021     CREDIT     CONV             2021193       432780              $1.05         D003          000                   N                             VEJ
 08/17/2021     RECEIPT    AOCC             2021193       432800              $8.05         C001          000                   N                             VEJ


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 08/17/2021     CREDIT      CONV         2021193       432810         $1.00       C001           000             N               VEJ
                           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 6 of 505
 08/17/2021     RECEIPT     SUBP         2021193       432790         $12.00      D003           000             N               VEJ


SJIS Witness List
                                                                                                                  Subpoena
Witness # Name                                       Requesting Party Attorney Date Issued Issued Type Date Served           Service Type
W001          USAA CASUALTY INSURANCE                        D003       DEL025           06/30/2021    CERTIFIED
                                                                                                       MAIL BY FILER
W002          REGIONAL PARAMEDICAL SERVICE                   D003       DEL025           06/30/2021    CERTIFIED
                                                                                                       MAIL BY FILER
W003          UAB HEALTH INFORMATION MANAG                   D003       DEL025           06/30/2021    CERTIFIED
                                                                                                       MAIL BY FILER
W004          COPART - BIRMINGHAM                            D003       DEL025           07/01/2021    CERTIFIED
                                                                                                       MAIL BY FILER
W005          ADAMSVILLE POLICE DEPARTMENT                   D003       DEL025           08/13/2021    CERTIFIED
                                                                                                       MAIL BY FILER


Case Action Summary
Date:         Time        Code     Comments                                                                                    Operator
2/17/2021     8:25 AM     ECOMP    COMPLAINT E-FILED.                                                                          HAL120
2/17/2021     8:25 AM     FILE     FILED THIS DATE: 02/17/2021        (AV01)                                                   AJA
2/17/2021     8:25 AM     EORD     E-ORDER FLAG SET TO "Y"             (AV01)                                                  AJA
2/17/2021     8:25 AM     ASSJ     ASSIGNED TO JUDGE: EDDIE HARDAWAY              (AV01)                                       AJA
2/17/2021     8:25 AM     TDMJ     JURY TRIAL REQUESTED                (AV01)                                                  AJA
2/17/2021     8:25 AM     ORIG     ORIGIN: INITIAL FILING           (AV01)                                                     AJA
2/17/2021     8:25 AM     STAT     CASE ASSIGNED STATUS OF: ACTIVE              (AV01)                                         AJA
2/17/2021     8:25 AM     SCAN     CASE SCANNED STATUS SET TO: N               (AV01)                                          AJA
2/17/2021     8:25 AM     C001     INDIGENT FLAG SET TO: N            (AV02)                                                   AJA
2/17/2021     8:25 AM     C001     C001 E-ORDER FLAG SET TO "Y"              (AV02)                                            AJA
2/17/2021     8:25 AM     C001     C001 PARTY ADDED: ROSS CORNELIUS              (AV02)                                        AJA
2/17/2021     8:25 AM     C001     LISTED AS ATTORNEY FOR C001: HALE CARSON SCOTT                                              AJA
2/17/2021     8:25 AM     D001     D001 E-ORDER FLAG SET TO "Y"              (AV02)                                            AJA
2/17/2021     8:25 AM     D001     INDIGENT FLAG SET TO: N            (AV02)                                                   AJA
2/17/2021     8:25 AM     D001     LISTED AS ATTORNEY FOR D001: PRO SE           (AV02)                                        AJA
2/17/2021     8:25 AM     D001     D001 PARTY ADDED: GILMORE ERIKA              (AV02)                                         AJA
2/17/2021     8:25 AM     D001     CERTIFIED MAI ISSUED: 02/17/2021 TO D001     (AV02)                                         AJA
2/17/2021     8:25 AM     D002     INDIGENT FLAG SET TO: N            (AV02)                                                   AJA
2/17/2021     8:25 AM     D002     D002 PARTY ADDED: AVENT KEITH              (AV02)                                           AJA
2/17/2021     8:25 AM     D002     CERTIFIED MAI ISSUED: 02/17/2021 TO D002     (AV02)                                         AJA
2/17/2021     8:25 AM     D002     LISTED AS ATTORNEY FOR D002: PRO SE           (AV02)                                        AJA
2/17/2021     8:26 AM     D002     D002 E-ORDER FLAG SET TO "Y"              (AV02)                                            AJA
2/17/2021     8:26 AM     D003     D003 PARTY ADDED: FEDEX FREIGHT, INC.         (AV02)                                        AJA
2/17/2021     8:26 AM     D003     INDIGENT FLAG SET TO: N            (AV02)                                                   AJA
2/17/2021     8:26 AM     D003     D003 E-ORDER FLAG SET TO "Y"              (AV02)                                            AJA
2/17/2021     8:26 AM     D003     CERTIFIED MAI ISSUED: 02/17/2021 TO D003     (AV02)                                         AJA
2/17/2021     8:26 AM     D003     LISTED AS ATTORNEY FOR D003: PRO SE           (AV02)                                        AJA
2/26/2021     12:26 PM    D003     SERVICE OF CERTIFIED MAI ON 02/26/2021 FOR D003                                             IDH
2/26/2021     12:26 PM    ESERC    SERVICE RETURN                                                                              IDH
3/3/2021      3:53 PM     DAT3     FOR: PRETRIAL CONFERENCE ON 08/17/2021 @ 0900A                                              DER
3/8/2021      12:22 PM    DAT3     CIVIL DOCKET SET ON 08/17/2021 FOR PRETRIAL (AV24)                                          DER
3/22/2021     1:26 PM     EANSW    D003 - COMPLAINT DENIED E-FILED.                                                            DEL025
3/22/2021     1:26 PM     D003     LISTED AS ATTORNEY FOR D003: DELISLE SARA ELIZABE                                           AJA
3/22/2021     1:26 PM     D003     LISTED AS ATTORNEY FOR D003: RICHMOND LEA IV(AV02)                                          AJA
3/22/2021     1:26 PM     D003     ANSWER OF COMP DENIED ON 03/22/2021 FOR D003(AV02)                                          AJA
3/22/2021     1:42 PM     EMOT     D003-CHANGE OF VENUE/TRANSFER FILED.                                                        SAU019
3/22/2021     2:10 PM     EMOT     D003-CHANGE OF VENUE/TRANSFER /DOCKETED                                                     IDH


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3/22/2021   2:12 PM    D003     LISTED AS ATTORNEY FOR D003: SAUNDERS ANNA CERISE                                        AJA
                          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 7 of 505
3/23/2021   12:15 PM   EMOT     D003-SUPPLEMENT FILED.                                                                   SAU019
3/23/2021   1:18 PM    EMOT     D003-CHANGE OF VENUE/TRANSFER /DOCKETED                                                  IDH
4/9/2021    1:59 PM    EDISC    NOTICE OF DISCOVERY E-FILED.                                                             DEL025
4/21/2021   12:49 PM   EDISC    NOTICE OF DISCOVERY E-FILED.                                                             DEL025
5/19/2021   3:15 PM    EDISC    NOTICE OF DISCOVERY E-FILED.                                                             HAL120
6/3/2021    8:15 AM    EMOT     D003-PROTECTIVE ORDER FILED.                                                             DEL025
6/3/2021    8:16 AM    EPORD    PROPOSED ORDER SUBMITTED                                                                 DEL025
6/3/2021    8:53 AM    EDISC    NOTICE OF DISCOVERY E-FILED.                                                             DEL025
6/3/2021    9:04 AM    EDISC    NOTICE OF DISCOVERY E-FILED.                                                             DEL025
6/3/2021    9:26 AM    EMOT     D003-PROTECTIVE ORDER /DOCKETED                                                          IDH
6/10/2021   1:13 PM    EDISC    NOTICE OF DISCOVERY E-FILED.                                                             DEL025
6/10/2021   3:48 PM    EDISC    NOTICE OF DISCOVERY E-FILED.                                                             DEL025
6/16/2021   11:32 AM   EDISC    NOTICE OF DISCOVERY E-FILED.                                                             DEL025
6/28/2021   10:04 AM   JEVHR    PRETRIAL CONFERENCE /SET FOR 8/17/2021 9:00:00 AM, LOCATION = VIRTUAL HEARING
6/28/2021   3:41 PM    JEORDE   ORDER E-FILED - HIPPA PROTECTIVE ORDER - HIPPA PROTECTIVE ORDER - RENDERED & ENTERED:
                                6/28/2021 3:41:18 PM
6/28/2021   3:42 PM    ----     SCANNED - ORDER - TRANSMITTAL - E-NOTICE TRANSMITTALS
6/30/2021   1:46 PM    ESUBP    SUBPOENA FOR USAA CASUALTY INSURANCE E-FILED BY D003 - FEDEX FREIGHT, INC.               DEL025
6/30/2021   1:46 PM    W001     ADDED: USAA CASUALTY INSURANCE            (AW21)                                         AJA
6/30/2021   1:46 PM    W001     ISSUED: 06302021 - CERT MAIL-FILR; USAA CASUALTY I                                       AJA
6/30/2021   1:49 PM    W002     ADDED: REGIONAL PARAMEDICAL SERVICE            (AW21)                                    AJA
6/30/2021   1:49 PM    W002     ISSUED: 06302021 - CERT MAIL-FILR; REGIONAL PARAME                                       AJA
6/30/2021   1:49 PM    ESUBP    SUBPOENA FOR REGIONAL PARAMEDICAL SERVICES, INC. E-FILED BY D003 - FEDEX FREIGHT, INC.   DEL025
6/30/2021   1:53 PM    W003     ADDED: UAB HEALTH INFORMATION MANAG            (AW21)                                    AJA
6/30/2021   1:53 PM    W003     ISSUED: 06302021 - CERT MAIL-FILR; UAB HEALTH INFO                                       AJA
6/30/2021   1:54 PM    ESUBP    SUBPOENA FOR UAB HEALTH INFORMATION MANAGEMENT E-FILED BY D003 - FEDEX FREIGHT, INC.     DEL025
7/1/2021    7:43 AM    ESUBP    SUBPOENA FOR COPART - BIRMINGHAM E-FILED BY D003 - FEDEX FREIGHT, INC.                   DEL025
7/1/2021    7:44 AM    W004     ADDED: COPART - BIRMINGHAM            (AW21)                                             AJA
7/1/2021    7:44 AM    W004     ISSUED: 07012021 - CERT MAIL-FILR; COPART - BIRMIN                                       AJA
7/29/2021   3:56 PM    EDISC    NOTICE OF DISCOVERY E-FILED.                                                             DEL025
8/4/2021    4:52 PM    EMOT     D001-MOTN TO DIS. PURS. TO RULE 12(B) FILED.                                             PAT061
8/4/2021    5:20 PM    EMOT     D001-JOINDER FILED.                                                                      PAT061
8/5/2021    8:04 AM    D001     LISTED AS ATTORNEY FOR D001: PATTILLO JAMES LAURE                                        AJA
8/5/2021    8:05 AM    EMOT     D001-JOINDER /DOCKETED                                                                   IDH
8/5/2021    8:05 AM    EMOT     D001-MOTN TO DIS. PURS. TO RULE 12(B) /DOCKETED                                          IDH
8/13/2021   9:22 AM    ESUBP    SUBPOENA FOR ADAMSVILLE POLICE DEPARTMENT E-FILED BY D003 - FEDEX FREIGHT, INC.          DEL025
8/13/2021   9:22 AM    W005     ADDED: ADAMSVILLE POLICE DEPARTMENT            (AW21)                                    AJA
8/13/2021   9:22 AM    W005     ISSUED: 08132021 - CERT MAIL-FILR; ADAMSVILLE POLI                                       AJA
8/13/2021   6:40 PM    EALIA    ALIAS SUMMONS E-FILED                                                                    HAL120
8/13/2021   6:40 PM    ETRAN    ALIAS SUMMONS - SUMMONS
8/13/2021   6:42 PM    ----     SCANNED - ALIAS SUMMONS - TRANSMITTAL - E-NOTICE TRANSMITTALS
8/13/2021   6:42 PM    ----     SCANNED - ALIAS SUMMONS - SUMMONS - E-NOTICE TRANSMITTALS
8/13/2021   7:53 PM    D001     REISSUE OF PROCESS SERV ON 08/13/2021 FOR D001                                           AJA
8/13/2021   7:53 PM    D002     REISSUE OF CERTIFIED MA ON 08/13/2021 FOR D002                                           AJA
8/15/2021   11:45 AM   EMOT     C001-RESPONSE TO MOTION FILED.                                                           HAL120
8/15/2021   11:51 AM   EMOT     C001-RESPONSE TO MOTION FILED.                                                           HAL120
8/16/2021   8:39 AM    EMOT     C001-MOTN TO DIS. PURS. TO RULE 12(B) /DOCKETED                                          IDH
8/16/2021   8:39 AM    EMOT     C001-CHANGE OF VENUE/TRANSFER /DOCKETED                                                  IDH
8/17/2021   8:20 AM    JEVHR    VIRTUAL HEARING - PRETRIAL CONFERENCE                                                    J
8/17/2021   8:36 AM    EVHR     VIRTUAL HEARING - PRETRIAL CONFERENCE                                                    DOJ
8/17/2021   8:39 AM    EVHR     VIRTUAL HEARING - PRETRIAL CONFERENCE                                                    C8B
8/24/2021   12:10 PM   DAT1     CIVIL DOCKET SET ON 01/25/2022 FOR PRETRIAL (AV24)                                       DER



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8/26/2021    12:28 PM   ESERC    SERVICE RETURN                                                                                          IDH
                            Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 8 of 505
8/26/2021    12:29 PM   D002     RETURN OF UNCLAIM CERT ON 08/19/2021 FOR D002                                                           IDH
9/1/2021     10:11 AM   ESERC    SERVICE RETURN                                                                                          IDH
9/1/2021     10:13 AM   D002     SERVICE OF OTHER ON 09/01/2021 FOR D002      (AV02)                                                     IDH
9/21/2021    10:30 AM   EMISC    RETURN ON SERVICE - SERVED E-FILED                                                                      HAL120
9/21/2021    1:09 PM    D001     SERVICE OF PROCESS SERVE ON 09/12/2021 FOR D001                                                         IDH
10/19/2021   2:15 PM    EDISC    NOTICE OF DISCOVERY E-FILED.                                                                            DEL025
11/29/2021   2:38 PM    JEVHR    PRETRIAL CONFERENCE /SET FOR 1/25/2022 9:00:00 AM, LOCATION = VIRTUAL HEARING
12/15/2021   11:55 AM   D002     RETURN OF UNCLAIM CERT ON 09/02/2021 FOR D002                                                           IDH
12/15/2021   11:55 AM   ESERC    SERVICE RETURN                                                                                          IDH
12/15/2021   11:57 AM   ----     SCANNED - SERVICE RETURN - TRANSMITTAL - E-NOTICE TRANSMITTALS
1/14/2022    12:27 PM   EMOT     D003-OTHER - JOINT MOTION FOR HEARING FILED.                                                            DEL025
1/14/2022    2:46 PM    EMOT     D003-OTHER /DOCKETED                                                                                    IDH
1/20/2022    8:08 AM    EMOT     D001-OTHER - JOINT NOTICE OF SETTLEMENT FILED.                                                          PAT061
1/20/2022    8:11 AM    EMOT     D001-OTHER /DOCKETED                                                                                    VEJ
1/25/2022    8:25 AM    JEVHR    VIRTUAL HEARING - PRETRIAL CONFERENCE                                                                   J
1/25/2022    8:34 AM    EVHR     VIRTUAL HEARING - PRETRIAL CONFERENCE                                                                   DOJ
1/25/2022    8:37 AM    EVHR     VIRTUAL HEARING - PRETRIAL CONFERENCE                                                                   C8B
1/25/2022    10:06 AM   JEVHR    VIRTUAL HEARING - PRETRIAL CONFERENCE                                                                   J
2/3/2022     8:24 AM    EPORD    PROPOSED ORDER SUBMITTED                                                                                PAT061
2/9/2022     4:30 PM    JEORDE   ORDER E-FILED - ORDER - ORDER - RENDERED & ENTERED: 2/9/2022 4:30:21 PM
2/9/2022     4:31 PM    ----     SCANNED - ORDER - TRANSMITTAL - E-NOTICE TRANSMITTALS



Images
Date:                   Doc#     Title                            Description                                                                Pages
2/17/2021 8:25:17 AM    1        CIVIL_COVER_SHEET                CIRCUIT COURT - CIVIL CASE                                                 1
2/17/2021 8:25:17 AM    2        COMPLAINT                                                                                                   13
2/17/2021 8:25:17 AM    3        INTERROGATORIES(R33)             Plaintiff's Discovery Requests                                             13
2/17/2021 8:25:17 AM    4        INTERROGATORIES(R33)             Plaintiff's Discovery Requests                                             17
2/17/2021 8:25:17 AM    5        INTERROGATORIES(R33)             Plaintiff's Discovery Requests                                             26
2/17/2021 8:26:24 AM    6        COMPLAINT - TRANSMITTAL          E-NOTICE TRANSMITTALS                                                      4
2/17/2021 8:26:24 AM    7        COMPLAINT - SUMMONS              E-NOTICE TRANSMITTALS                                                      3
2/26/2021 12:26:40 PM   8        SERVICE RETURN                   SERVICE RETURN                                                             2
2/26/2021 12:26:46 PM   9        SERVICE RETURN - TRANSMITTAL     E-NOTICE TRANSMITTALS                                                      1
3/22/2021 1:25:29 PM    10       ANSWER                           Answer                                                                     11
3/22/2021 1:25:30 PM    11       ANSWER - TRANSMITTAL             E-NOTICE TRANSMITTALS                                                      5
3/22/2021 1:42:19 PM    12       MOTION_COVER_SHEET               Motion Cover Sheet                                                         1
3/22/2021 1:42:19 PM    13       MOTION                           Defendant's Motion to Transfer Venue                                       15
3/22/2021 1:42:22 PM    14       MOTION - TRANSMITTAL             E-NOTICE TRANSMITTALS                                                      6
3/23/2021 12:15:22 PM   15       EXHIBIT                          Exhibit 1                                                                  11
3/23/2021 12:15:26 PM   16       MOTION - TRANSMITTAL             E-NOTICE TRANSMITTALS                                                      6
4/9/2021 1:59:32 PM     17       NOTICE OF DISCOVERY              FedEx Freight, Inc.'s Notice of Service of Objections to Plaintiff's       2
                                                                  Interrogatories and Requests for Production
4/9/2021 1:59:37 PM     18       DISCOVERY - TRANSMITTAL          E-NOTICE TRANSMITTALS                                                      6
4/21/2021 12:50:03 PM   19       NOTICE OF DISCOVERY              Defendant FedEx Freight, Inc.'s Notice of Service of First Requests for 2
                                                                  Admissions, First Interrogatories, and First Request for Production to
                                                                  Plaintiff
4/21/2021 12:50:08 PM   20       DISCOVERY - TRANSMITTAL          E-NOTICE TRANSMITTALS                                                   6
5/19/2021 3:15:18 PM    21       NOTICE OF DISCOVERY              Plaintiff's Responses to Request for Admissions                            2
5/19/2021 3:15:20 PM    22       DISCOVERY - TRANSMITTAL          E-NOTICE TRANSMITTALS                                                      6
6/3/2021 8:15:08 AM     23       MOTION_COVER_SHEET               Motion Cover Sheet                                                         1
6/3/2021 8:15:08 AM     24       MOTION                           Motion for Protective Order/HIPAA                                          2
6/3/2021 8:15:11 AM     25       MOTION - TRANSMITTAL             E-NOTICE TRANSMITTALS                                                      6
6/3/2021 8:16:15 AM     26       PROPOSED ORDER                   HIPPA PROTECTIVE ORDER                                                     2


                                           © Alacourt.com    2/16/2022                 7
6/3/2021 8:16:17 AM     27    PROPOSED ORDER - TRANSMITTAL E-NOTICE TRANSMITTALS                                       6
                         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 9 of 505
6/3/2021 8:53:08 AM     28    NOTICE OF DISCOVERY             Notice of Intent to Serve Non-Party                      2
6/3/2021 8:53:09 AM     29    SUPPORTING DOCUMENT             Notice of Intent to Serve Non-Party Attachment           4
6/3/2021 8:53:14 AM     30    DISCOVERY - TRANSMITTAL         E-NOTICE TRANSMITTALS                                    6
6/3/2021 9:04:46 AM     31    NOTICE OF DISCOVERY             Notice of Intent to Serve Non-Party                      2
6/3/2021 9:04:46 AM     32    SUPPORTING DOCUMENT             Notice of Intent to Serve Non-Party Attachment           4
6/3/2021 9:04:52 AM     33    DISCOVERY - TRANSMITTAL         E-NOTICE TRANSMITTALS                                    6
6/10/2021 1:14:02 PM    34    NOTICE OF DISCOVERY             Notice of Intent to Serve Non-Party                      2
6/10/2021 1:14:02 PM    35    SUPPORTING DOCUMENT             Notice of Intent to Serve Non-Party Attachment           4
6/10/2021 1:14:07 PM    36    DISCOVERY - TRANSMITTAL         E-NOTICE TRANSMITTALS                                    6
6/10/2021 3:48:52 PM    37    NOTICE OF DISCOVERY             Amended Notice of Intent to Serve Non-Party              2
6/10/2021 3:48:53 PM    38    SUPPORTING DOCUMENT             Amended Notice of Intent to Serve Non-Party Attachment   4
6/10/2021 3:48:56 PM    39    DISCOVERY - TRANSMITTAL         E-NOTICE TRANSMITTALS                                    6
6/16/2021 11:32:26 AM   40    NOTICE OF DISCOVERY             Notice of Intent to Serve Non-Party                      2
6/16/2021 11:32:26 AM   41    SUPPORTING DOCUMENT             Notice of Intent to Serve Non-Party Attachment           4
6/16/2021 11:32:31 AM   42    DISCOVERY - TRANSMITTAL         E-NOTICE TRANSMITTALS                                    6
6/28/2021 10:07:29 AM   44    SET FOR VIRTUAL HEARING -       E-NOTICE TRANSMITTALS                                    6
                              TRANSMITTAL_REDACTED
6/28/2021 3:41:18 PM    45    HIPPA PROTECTIVE ORDER          HIPPA PROTECTIVE ORDER                                   2
6/28/2021 3:41:22 PM    46    ORDER - TRANSMITTAL             E-NOTICE TRANSMITTALS                                    6
6/30/2021 1:46:28 PM    47    SUBPOENA                        Subpoena for USAA CASUALTY INSURANCE                     2
6/30/2021 1:46:29 PM    48    SUPPORTING DOCUMENT             Civil subpoena to USAA                                   6
6/30/2021 1:47:18 PM    49    SUBPOENA - TRANSMITTAL          E-NOTICE TRANSMITTALS                                    7
6/30/2021 1:50:02 PM    50    SUBPOENA                        Subpoena for REGIONAL PARAMEDICAL SERVICES, INC.         2
6/30/2021 1:50:02 PM    51    SUPPORTING DOCUMENT             Civil subpoena to Regional Paramedical Services          6
6/30/2021 1:50:22 PM    52    SUBPOENA - TRANSMITTAL          E-NOTICE TRANSMITTALS                                    7
6/30/2021 1:54:14 PM    53    SUBPOENA                        Subpoena for UAB HEALTH INFORMATION MANAGEMENT           2
6/30/2021 1:54:14 PM    54    SUPPORTING DOCUMENT             Civil subpoena to UAB                                    6
6/30/2021 1:54:30 PM    55    SUBPOENA - TRANSMITTAL          E-NOTICE TRANSMITTALS                                    7
7/1/2021 7:44:02 AM     56    SUBPOENA                        Subpoena for COPART - BIRMINGHAM                         2
7/1/2021 7:44:02 AM     57    SUPPORTING DOCUMENT             Civil Subpoena to Copart-Birmingham                      6
7/1/2021 7:45:01 AM     58    SUBPOENA - TRANSMITTAL          E-NOTICE TRANSMITTALS                                    7
7/29/2021 3:56:36 PM    59    NOTICE OF DISCOVERY             Notice of Intent to Serve Non-Party                      2
7/29/2021 3:56:36 PM    60    SUPPORTING DOCUMENT             Notice of Intent to Serve Non-Party Attachment           4
7/29/2021 3:56:42 PM    61    DISCOVERY - TRANSMITTAL         E-NOTICE TRANSMITTALS                                    6
8/4/2021 4:52:59 PM     62    MOTION_COVER_SHEET              Motion Cover Sheet                                       1
8/4/2021 4:52:59 PM     63    MOTION                          Motion to Dismiss                                        3
8/4/2021 4:53:03 PM     64    MOTION - TRANSMITTAL            E-NOTICE TRANSMITTALS                                    7
8/4/2021 5:20:34 PM     65    MOTION_COVER_SHEET              Motion Cover Sheet                                       1
8/4/2021 5:20:34 PM     66    MOTION                          Motion for Joinder in Motion to Transfer                 2
8/4/2021 5:20:39 PM     67    MOTION - TRANSMITTAL            E-NOTICE TRANSMITTALS                                    7
8/13/2021 9:22:04 AM    68    SUBPOENA                        Subpoena for ADAMSVILLE POLICE DEPARTMENT                2
8/13/2021 9:22:04 AM    69    SUPPORTING DOCUMENT             Civil Subpoena to Adamsville Police Department           6
8/13/2021 9:22:57 AM    70    SUBPOENA - TRANSMITTAL          E-NOTICE TRANSMITTALS                                    7
8/13/2021 6:40:45 PM    71    COPY OF COMPLAINT               Copy of Complaint                                        13
8/13/2021 6:40:52 PM    72    ALIAS SUMMONS - TRANSMITTAL     E-NOTICE TRANSMITTALS                                    7
8/13/2021 6:40:53 PM    73    ALIAS SUMMONS - SUMMONS         E-NOTICE TRANSMITTALS                                    2
8/15/2021 11:45:23 AM   74    OBJECTION                       Response to Motion to Transfer Venue                     6
8/15/2021 11:45:28 AM   75    MOTION - TRANSMITTAL            E-NOTICE TRANSMITTALS                                    6
8/15/2021 11:51:55 AM   76    OBJECTION                       Response to Motion to Dismiss                            26
8/15/2021 11:51:58 AM   77    MOTION - TRANSMITTAL            E-NOTICE TRANSMITTALS                                    6
8/26/2021 12:29:36 PM   78    SERVICE RETURN                  SERVICE RETURN                                           2
8/26/2021 3:13:59 PM    79    SERVICE RETURN - TRANSMITTAL    E-NOTICE TRANSMITTALS                                    1



                                       © Alacourt.com     2/16/2022               8
9/1/2021 10:13:07 AM     80    SERVICE RETURN                  SERVICE RETURN                             1
                         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 10 of 505
9/1/2021 10:13:46 AM     81    SERVICE RETURN - TRANSMITTAL    E-NOTICE TRANSMITTALS                      1
9/21/2021 10:30:27 AM    82    RETURN ON SERVICE - SERVED      Return on Service - Served                 1
9/21/2021 10:30:38 AM    83    MISCELLANEOUS - TRANSMITTAL     E-NOTICE TRANSMITTALS                      7
10/19/2021 2:15:56 PM    84    NOTICE OF DISCOVERY             Notice of Service of Discovery Documents   2
10/19/2021 2:15:58 PM    85    DISCOVERY - TRANSMITTAL         E-NOTICE TRANSMITTALS                      6
11/29/2021 2:40:01 PM    87    SET FOR VIRTUAL HEARING -       E-NOTICE TRANSMITTALS                      6
                               TRANSMITTAL_REDACTED
12/15/2021 11:55:40 AM   88    SERVICE RETURN                  SERVICE RETURN                             2
12/15/2021 11:55:43 AM   89    SERVICE RETURN - TRANSMITTAL    E-NOTICE TRANSMITTALS                      1
1/14/2022 12:27:32 PM    90    MOTION_COVER_SHEET              Motion Cover Sheet                         1
1/14/2022 12:27:33 PM    91    MOTION                          Joint Motion for Hearing                   2
1/14/2022 12:27:35 PM    92    MOTION - TRANSMITTAL            E-NOTICE TRANSMITTALS                      6
1/20/2022 8:08:53 AM     93    MOTION_COVER_SHEET              Motion Cover Sheet                         1
1/20/2022 8:08:53 AM     94    MOTION                          Joint Notice of Settlement                 2
1/20/2022 8:08:59 AM     95    MOTION - TRANSMITTAL            E-NOTICE TRANSMITTALS                      6
2/3/2022 8:24:57 AM      96    PROPOSED ORDER                  ORDER                                      1
2/3/2022 8:24:58 AM      97    PROPOSED ORDER - TRANSMITTAL E-NOTICE TRANSMITTALS                         6
2/9/2022 4:30:18 PM      98    ORDER                           ORDER                                      1
2/9/2022 4:30:22 PM      99    ORDER - TRANSMITTAL             E-NOTICE TRANSMITTALS                      6


                                                         END OF THE REPORT




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                                                         DOCUMENT 1
                   Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 PageELECTRONICALLY
                                                                           11 2/17/2021    FILED
                                                                              of 505 8:25 AM
                                                                                                               35-CV-2021-900009.00
State of Alabama                                                                             Case Number: CIRCUIT COURT OF
                                             COVER SHEET                                                 GREENE COUNTY, ALABAMA
Unified Judicial System
                                       CIRCUIT COURT - CIVIL CASE                            35-CV-2021-900009.00
                                                                                                 VERONICA MORTON-JONES, CLERK
                                        (Not For Domestic Relations Cases)                   Date of Filing:            Judge Code:
Form ARCiv-93      Rev. 9/18
                                                                                             02/17/2021

                                                GENERAL INFORMATION
                                  IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
                                        CORNELIUS ROSS v. ERIKA GILMORE ET AL

First Plaintiff:       Business         Individual             First Defendant:         Business                Individual
                       Government       Other                                           Government              Other

NATURE OF SUIT: Select primary cause of action, by checking box (check only one) that best characterizes your action:

TORTS: PERSONAL INJURY                                OTHER CIVIL FILINGS (cont'd)
     WDEA - Wrongful Death                                   MSXX - Birth/Death Certificate Modification/Bond Forfeiture Appeal/
     TONG - Negligence: General                                     Enforcement of Agency Subpoena/Petition to Preserve

     TOMV - Negligence: Motor Vehicle                        CVRT - Civil Rights
     TOWA - Wantonness                                       COND - Condemnation/Eminent Domain/Right-of-Way

     TOPL - Product Liability/AEMLD                          CTMP - Contempt of Court

     TOMM - Malpractice-Medical                              CONT - Contract/Ejectment/Writ of Seizure

     TOLM - Malpractice-Legal                                TOCN - Conversion

     TOOM - Malpractice-Other                                EQND - Equity Non-Damages Actions/Declaratory Judgment/
                                                                    Injunction Election Contest/Quiet Title/Sale For Division
     TBFM - Fraud/Bad Faith/Misrepresentation
                                                             CVUD - Eviction Appeal/Unlawful Detainer
     TOXX - Other:
                                                             FORJ - Foreign Judgment
                                                             FORF - Fruits of Crime Forfeiture
TORTS: PERSONAL INJURY
                                                             MSHC - Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
     TOPE - Personal Property
                                                             PFAB - Protection From Abuse
     TORE - Real Properly
                                                             EPFA - Elder Protection From Abuse
OTHER CIVIL FILINGS                                          QTLB - Quiet Title Land Bank
     ABAN - Abandoned Automobile                             FELA - Railroad/Seaman (FELA)
     ACCT - Account & Nonmortgage                            RPRO - Real Property
     APAA - Administrative Agency Appeal                     WTEG - Will/Trust/Estate/Guardianship/Conservatorship
     ADPA - Administrative Procedure Act                     COMP - Workers’ Compensation
     ANPS - Adults in Need of Protective Service             CVXX - Miscellaneous Circuit Civil Case

ORIGIN:      F       INITIAL FILING                     A       APPEAL FROM                               O       OTHER
                                                                DISTRICT COURT

             R       REMANDED                           T       TRANSFERRED FROM
                                                                OTHER CIRCUIT COURT

                                                                     Note: Checking "Yes" does not constitute a demand for a
HAS JURY TRIAL BEEN DEMANDED?                   YES     NO           jury trial. (See Rules 38 and 39, Ala.R.Civ.P, for procedure)


RELIEF REQUESTED:                      MONETARY AWARD REQUESTED                    NO MONETARY AWARD REQUESTED

ATTORNEY CODE:
        HAL120                                  2/17/2021 8:25:15 AM                                /s/ CARSON SCOTT HALE
                                            Date                                              Signature of Attorney/Party filing this form


MEDIATION REQUESTED:                            YES    NO      UNDECIDED

Election to Proceed under the Alabama Rules for Expedited Civil Actions:                      YES      NO
                                           DOCUMENT 2
       Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 PageELECTRONICALLY
                                                               12 2/17/2021    FILED
                                                                  of 505 8:25 AM
                                                                                  35-CV-2021-900009.00
                                                                                  CIRCUIT COURT OF
                                                                              GREENE COUNTY, ALABAMA
                                                                            VERONICA MORTON-JONES, CLERK
             IN THE CIRCUIT COURT FOR GREENE COUNTY, ALABAMA


CORNELIUS ROSS,                           *
                                          *
   Plaintiff,                             *
                                          * Case No.: CV - 2021 - ____________
  v.                                      *
                                          *    JURY TRIAL DEMANDED
ERIKA GILMORE, KEITH AVENT, *
FEDEX         FREIGHT,   INC.,      and *
Fictitious Defendants “A,” “B,” and *
“C,” whether singular or plural, those *
other persons, corporations, firms or *
other entities whose wrongful conduct *
caused or contributed to cause the *
injuries and damages to Plaintiff, all of *
whose true and correct names are *
unknown to Plaintiff at this time, but *
will be added by amendment when *
ascertained,                              *
                                          *
   Defendants.                            *
                                          *
 ______________________________________________________________________________
                                        COMPLAINT


        This is an action by Plaintiff, Cornelius Ross (herein after referred to as “Plaintiff”),

against Defendants, Erika Gilmore (herein after referred to as “Defendant Gilmore”), Keith

Avent (herein after referred to as “Defendant Avent”), and FedEx Freight, Inc., (herein after

referred to as “Defendant FedEx”) for personal injuries and other damages sustained by Plaintiff,

as the result of a motor vehicle collision that occurred on or about April 3, 2020.

                             PARTIES, JURISDICTION, VENUE

1)      Plaintiff was a resident and citizen of Jefferson County, Alabama at all times material to

the issues in this case.

2)      Upon information and belief, Defendant Gilmore was a resident and citizen of Greene

County, Alabama at all times material to the issues in this case.

                                                 1
                                            DOCUMENT 2
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3)     Upon information and belief, Defendant FedEx is a foreign Corporation, doing business

in Greene County, Alabama at all times material to the issues in this case. Defendant FedEx may

be served through its registered agent, CT Corporation Systems, at 2 North Jackson St., Suite

605, Montgomery, AL 36104.

4)     Upon information and belief, Defendant Avent is a resident and citizen of Fayette

County, Tennessee all times material to the issues in this case, and an employee and/or agent of

Defendant FedEx, and was doing business for said Defendant FedEx at all times material to the

issues in this case. Defendant Avent is being sued in both their official and individual capacities.

5)     Fictitious Defendant “A”, “B”, and “C”, are those persons or entities whose names will

be substituted upon learning their true identities.

6)     The motor vehicle accident that gives rise to this complaint occurred in Jefferson County,

Alabama.

7)     Venue is proper in Greene County, Alabama.

               FACTUAL BACKGROUND APPLICABLE TO ALL COUNTS

8)     On or about April 3, 2020, Plaintiff was occupying a vehicle owned and operated by

Defendant Gilmore in Jefferson County, Alabama.

9)     At said time and place, the Defendant Gilmore was traveling southbound on Glasgow

Hollow Rd crossing the intersection of Glasgow Hollow Rd and US-78.

10)    At said time and place, the Defendant Avent was traveling eastbound on US-78 in

Jefferson County, Alabama approaching the intersection of Glasgow Hollow Rd and US-78.

11)    At said time and place, Defendant Gilmore failed to yield the right of way to the

Defendant Avent’s vehicle, and allowed and/or caused their vehicle to collide with the Defendant

Avent’s vehicle.



                                                  2
                                             DOCUMENT 2
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12)     At said time and place, Defendant Avent was not paying attention, and allowed and/or

caused their vehicle to collide with the Defendant Gilmore’s vehicle.

13)     At the time of the collision, Defendant Avent was an employee and/or agent of Defendant

FedEx and was operating under the appropriate scope and authority of his employment and/or

agency of said Defendant FedEx, at all times material to the issues in this cause of action.

14)     Plaintiff suffered substantial injuries as a proximate consequence of the negligence and/or

wantonness of Defendant Gilmore, Defendant Avent, and/or Fictitious Defendants.

                                  COUNT ONE - NEGLIGENCE

15)     The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant Gilmore.

16)     Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

17)     At all times material to this action, Defendant Gilmore owed a duty of reasonable care in

the ownership, operation and use of said vehicle.

18)     At said time and place, Defendant Gilmore operated said vehicle in such a negligent

manner as to:

        (a)     cause said vehicle, in which passengers were occupying, to collide with another;

        (b)     cause serious injuries to Plaintiff.

19)     In causing said vehicle to crash into another vehicle, Defendant Gilmore:

        (a)     Negligently failed to exercise ordinary care.

        (b)     Negligently failed to keep proper look out.

        (c)     Negligently failed to maintain proper control of the vehicle.

        (d)     Negligently failed to yield to the other vehicle.




                                                   3
                                             DOCUMENT 2
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        (e)     Otherwise acted in negligent disregard of the rights and safety of Plaintiff and

                others traveling on said public highway at said time and place.

20)      As a direct and proximate result of the Defendant Gilmore’s negligence, Defendant

Gilmore collided with another vehicle, causing said Plaintiff to sustain personal injuries, pain,

suffering, property damage and other damages.

21)     Plaintiff avers that the acts and conduct of Defendant Gilmore, on said occasion,

constitutes common law negligence and violates the Rules of the Road for the State of Alabama.

        WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                             COUNT TWO –NEGLIGENCE PER SE

22)     The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant Gilmore.

23)     Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

24)     At said place and time, there were in force certain laws, statutes and/or ordinances that

were designed to prevent the injuries sustained by Plaintiff, specifically § 32-5A-191 of the Code

of Alabama.

25)     Defendant Gilmore violated said laws, statutes and/or ordinances, in the operation of the

vehicle that directly resulted to the injuries sustained by Plaintiff.

26)     Plaintiff is included in the class of people the laws, statutes, and/or ordinances were

intended to protect.




                                                   4
                                             DOCUMENT 2
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        WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                  COUNT THREE – RECKLESSNESS AND WANTONNESS

27)     The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant Gilmore.

28)     Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

29)     At said place and time, Defendant Gilmore operated said vehicle in such a reckless and

wanton manner as to:

        (a)     cause said vehicle, in which the Plaintiff was occupying, to collide with another

                vehicle;

        (b)     cause damage to said vehicle; and

        (c)     cause substantial injuries to Plaintiff.

30)     In causing said vehicle to collide with the other vehicle, Defendant Gilmore:

        (a)     Recklessly and Wantonly failed to exercise ordinary care.

        (b)     Recklessly and Wantonly failed to keep a proper look out.

        (c)     Recklessly and Wantonly failed to maintain proper control of said vehicle.

        (d)     Recklessly and Wantonly failed to yield to another vehicle.

        (e)     Otherwise acted in reckless and wanton disregard of the rights and safety of

                Plaintiff and others traveling on said public highway at said time and place.




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                                             DOCUMENT 2
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31)     Plaintiff avers that the acts and conduct of Defendant Gilmore, at said time and place,

were in violation of the statutes of State of Alabama which constitute statutory recklessness and

wantonness

32)     Plaintiff sustained substantial injuries as the proximate result of said recklessness and

wantonness of Defendant Gilmore in violating said statutes and in colliding with another vehicle.

        WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                                 COUNT FOUR – NEGLIGENCE

33)     The Plaintiff in this Count is Plaintiff. The Defendants in this Count are Defendant FedEx

and Defendant Avent, individually.

34)     Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

35)     At said time and place, while acting in the line and scope of their employment and/or

agency as the employee and/or agent of Defendant FedEx, Defendant Avent operated said

vehicle in such a negligent manner as to (a) cause said vehicle to collide with the vehicle in

which Plaintiff was occupying, and (b) to cause said vehicle to be damaged beyond reasonable

repair, and (c) to cause serious injury to the Plaintiff.

36)     In causing said vehicle to crash into the vehicle in which Plaintiff was occupying,

Defendant FedEx’s agent and/or employee, Defendant Avent:

                (a) Negligently failed to exercise ordinary care.

                (b) Negligently failed to keep a proper look out.



                                                   6
                                             DOCUMENT 2
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                 (c) Negligently failed to maintain proper control of said vehicle.

                 (d) Negligently failed to yield the motor vehicle in which Plaintiff was occupying.

                 (e) Otherwise acted in negligent disregard of the rights and safety of the Plaintiff

                     and others traveling on said public highway at said time and place.

37)     The Plaintiff avers that the acts and conduct of Defendant FedEx’s agent and/or employee,

      Defendant Avent on said occasion constitutes common law negligence. The Plaintiff further

      avers that the acts and conduct of the said Defendant Avent on said occasion were in

      violation of one or more of the Rules of the Road for the State of Alabama.

38)     As the proximate consequence of said negligence, Defendant FedEx’s agent and/or

      employee, Defendant Avent, (a) in violating said statutes, and (b) in colliding with the

      vehicle in which Plaintiff was occupying, Plaintiff was caused to sustain serious injuries.

39)     The Plaintiff avers that said negligent acts and conduct of the said Defendant Avent on

      said occasion are imputed to Defendant FedEx, and Defendant FedEx and Defendant Avent,

      are jointly and severally liable for the serious injuries of the Plaintiff, as a result of said

      negligent acts and conduct of the said Defendant Avent.

      WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally, for

all compensatory damages, lost wages, court costs and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                     COUNT FIVE - RECKLESSNESS AND WANTONESS

40)     The Plaintiff in this Count is Plaintiff. The Defendants in this Count are Defendant FedEx

      and Defendant Avent, individually.




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41)      Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

42)      At said time and place, while acting in the line and scope of their employment and/or

      agency as the employee and/or agent of Defendant FedEx, Defendant Avent operated said

      vehicle in such a reckless and wanton manner as to (a) cause said vehicle to collide with the

      vehicle which Plaintiff was occupying, and (b) to cause said vehicle to be damaged beyond

      reasonable repair, and (c) to cause serious injury to the Plaintiff.

43)      In causing said vehicle to crash into the vehicle in which Plaintiff was occupying,

      Defendant FedEx’s agent and/or employee, Defendant Avent:

                 (a) Recklessly and Wantonly failed to exercise ordinary care.

                 (b) Recklessly and Wantonly failed to keep a proper look out.

                 (c) Recklessly and Wantonly failed to maintain proper control of said vehicle.

                 (d) Recklessly and Wantonly failed to yield to the motor vehicle in which

                     Plaintiff was occupying.

                 (e) Otherwise acted in reckless and wanton disregard of the rights and safety of

                     the Plaintiff and others traveling on said public highway at said time and

                     place.

44)      The Plaintiff avers that the acts and conduct of Defendant FedEx’s agent and/or

      employee, Defendant Avent on said occasion constitute statutory recklessness and

      wantonness. The Plaintiff further avers that the acts and conduct of the said Defendant Avent

      on said occasion were in violation of one or more of the Rules of the Road for the State of

      Alabama.




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45)      As the proximate consequence of said recklessness and wantonness of Defendant FedEx’s

      agent and/or employee, Defendant Avent, (a) in violating said statutes, and (b) in colliding

      with the vehicle in which Plaintiff was occupying, Plaintiff was caused to sustain serious

      injuries.

46) The Plaintiff avers that said reckless and wanton acts and conduct of the said Defendant

      Avent, on said occasion, are imputed to Defendant FedEx, and Defendant FedEx and

      Defendant Avent, are jointly and severally liable to for the serious injuries, as a result of said

      reckless and wanton acts and conduct of the said Defendant Avent.

          WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees, to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                  COUNT SIX- NEGLIGENT AND WANTON ENTRUSTMENT


47)       The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant FedEx.

48)       Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

49)       The Plaintiff avers that on the occasion made the basis of this case, Defendant FedEx

      negligently, recklessly and wantonly entrusted said vehicle to the said Defendant Avent; that

      the said Defendant Avent; was unsuitable, based upon his habitual carelessness and

      disposition and temperament, to have said vehicle entrusted to him; and that Defendant

      FedEx knew, or by the exercise of reasonable care should have known, that the said

      Defendant Avent; was unsuitable to have said vehicle entrusted to them.

50)      The Plaintiff further avers that said negligent and wanton entrustment of said vehicle to

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      the said Defendant Avent; (a) is combined with the negligent, reckless and wanton acts and

      conduct of the said Defendant Avent; and (b) is a concurrent, proximate cause of the

      Plaintiff’s injuries and damages.

         WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees, to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

 COUNT SEVEN –NEGLIGENT AND WANTON HIRING, TRAINING, RETENTION,
                        AND SUPERVISION


51)      The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant FedEx.

52)       Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

53)      The Plaintiff avers that Defendant FedEx, hired, trained, retained and supervised

      Defendant Avent, as a driver for a commercial vehicle.

54) The Plaintiff avers that the Defendant FedEx:

                 (a) Acted in a negligent, reckless and wanton manner in hiring Defendant Avent,

                     as a commercial vehicle driver,

                 (b) Acted in a negligent, reckless and wanton manner in retaining Defendant

                     Avent, as a commercial vehicle driver,

                 (c) Acted in a negligent, reckless and wanton manner in failing to properly train

                     and monitor and supervise Defendant Avent, as a commercial vehicle driver,

                     and

                 (d) Acted in a negligent, reckless and wanton manner in failing to instill in



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                     Defendant Avent qualities of suitability, fitness, habits, disposition,

                     temperament, and trustworthiness to accomplish the tasks and responsibilities

                     which said Defendant FedEx entrusted to Defendant Avent, as a commercial

                     vehicle driver on the public highways of Alabama and other states.

55)      The Plaintiff further avers that the serious injuries of the Plaintiff are the proximate

      results of said negligence and wantonness of Defendant FedEx in the hiring, training,

      retention, monitoring, and supervision of the said Defendant Avent as a commercial vehicle

      driver on the public highways of Alabama and other states.

         WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                          COUNT EIGHT- FICTICIOUS DEFENDANTS


56)      The Plaintiff in this Count is Plaintiff.

57)      Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

58)      Fictitious Defendants “A”, “B”, and “C”, whether singular or plural, are those other

      persons, firms, corporations, or other entities whose negligent, wanton reckless and wrongful

      conduct contributed to cause the serious injuries of the plaintiff, of all of whose true and

      correct names are unknown to Plaintiff at this time, but will be substituted by amendment

      when ascertained.

         WHEREFORE, Plaintiff demands judgment against Fictitious Defendants “A”, “B”, and

“C”, both jointly and severally, for all compensatory damages, court costs and attorney’s fees to

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which Plaintiff is entitled. Furthermore, Plaintiff demands punitive damages in such an amount

as this Court may determine.

              A JURY TRIAL IS HEREBY DEMANDED ON ALL COUNTS

       This February 17, 2021.


                                    Respectfully submitted,


                                    /s/ Carson S. Hale
                                    CARSON S. HALE (HAL120)
                                    ATTORNEY FOR THE PLAINTIFF

OF COUNSEL:
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
Tel. No. (334) 741-4110
Fax No. (888)-853-2247


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                         REQUEST FOR SERVICE OF PROCESS

       The Plaintiff hereby requests that the Summons and Complaint in this case be served on

the following Defendants by Certified Mail at her respective mailing address as follows:

       Erika Gilmore
       203 Pickens St.
       Eutaw, AL 35462

       Keith Avent
       6400 Yager Dr.
       Moscow, TN 38057

       FedEx Freight, Inc.
       Registered Agent: CT Corporation Systems
       2 North Jackson St., Suite 605
       Montgomery, AL 36104

                                     /s/ Carson S. Hale
                                     CARSON S. HALE
                                     OF COUNSEL




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                                                                                CIRCUIT COURT OF
                                                                            GREENE COUNTY, ALABAMA
                                                                          VERONICA MORTON-JONES, CLERK
            IN THE CIRCUIT COURT FOR GREENE COUNTY, ALABAMA


CORNELIUS ROSS,                           *
                                          *
   Plaintiff,                             *
                                          * Case No.: CV - 2021 - ____________
  v.                                      *
                                          *
ERIKA GILMORE, KEITH AVENT, *
FEDEX         FREIGHT,   INC.,      and *
Fictitious Defendants “A,” “B,” and *
“C,” whether singular or plural, those *
other persons, corporations, firms or *
other entities whose wrongful conduct *
caused or contributed to cause the *
injuries and damages to Plaintiff, all of *
whose true and correct names are *
unknown to Plaintiff at this time, but *
will be added by amendment when *
ascertained,                              *
                                          *
   Defendants.                            *
                                          *
 ______________________________________________________________________________

         PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR
       PRODUCTION OF DOCUMENTS TO DEFENDANT ERIKA GILMORE
______________________________________________________________________________

       COMES NOW the Plaintiff, by counsel, and propounds the following interrogatories to

the Defendant, Erika Gilmore, pursuant to Rule 33 of the A.R.C.P. to be answered under oath

within 45 days of service hereof:

                                    Definitions and Instructions

a.     These interrogatories are continuing in character so as to require you to file

supplementary answers if you obtain further or different information before trial.

b.     Where the name of a person is requested, indicate the full name, home and business

address and home and business telephone number of such person.



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c.      Unless otherwise indicated, these interrogatories refer to the time, place and

circumstances of the occurrences mentioned or complained of in Plaintiff's Complaint.

d.      Where information of knowledge and possession of a party is requested, such request

includes knowledge of the party's agent, next friend, guardian, representatives, and unless

privileged, their attorney.

e.      The pronoun "you" refers to the party to whom these interrogatories are addressed, and

the person or persons mentioned in clause (D).

                                      INTERROGATORIES

     1. State your full name, age, social security number, present address and telephone number

(including what county or city), home address at the time of the accident (if different from the

present), your place of employment, business address, occupation, and marital status along with

spouse’s name and place of employment.

        RESPONSE:



     2. If you have been charged with or convicted of any criminal offense (felony or

misdemeanor) involving lying, cheating, stealing or traffic violations, please state the nature of

the offense, the date thereof, the disposition thereof, and the court or courts hearing the matter. If

your answer is in the affirmative, state:

     a. The state, county and city in which you were charged and/or convicted; and

     b. The date or approximate date you were charged and/or convicted of such offense.

     RESPONSE:



     3. If you had consumed any alcoholic beverage of any type, or any sedative, tranquilizer, or



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any other drug, during the twenty-four (24) hours immediately preceding the collision in

question, please set forth the name and address of each person with whom you consumed any

such item, the name and address of each person that was present at the time each item was

consumed by you, the place of such consumption, the name of the item consumed, and the

number, quantity, and amount of any such items consumed.

   RESPONSE:



   4. Please describe any glasses, contact lenses or corrective lenses worn by you at the time of

the accident and describe any prescription for any glasses that you have ever had, naming the

doctor prescribing them, his/her address, date of such prescription, and the place at which said

prescription was filled.

   RESPONSE:



   5. If it is your contention that this accident and/or the plaintiff’s injuries were caused in

whole or in part by someone other than yourself, please state the full identity of all such persons,

giving their name, address and telephone numbers, and state the manner in which such other

person caused or contributed to cause the collision and/or injuries.

   RESPONSE:



   6. If you allege that the plaintiff was guilty of negligence which proximately caused or

contributed to cause the accident or injuries suffered by the plaintiff, please state all facts on

which you will rely as tending to show that the plaintiff was negligent and please state the name

and address of all persons having relevant knowledge of such.



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   RESPONSE:



   7. If you made or gave any statement, whether oral or written, or obtained from any other

party or individual, to anyone regarding the happening of the alleged occurrence, please state the

name and address of each person to whom you made or gave any such statements, the date of

such statements, the name and address of each person knowing, having possession of or custody

of any such statement, and the substance and content of each such statement.

   RESPONSE:



   8. If you have knowledge of any photographs taken of the vehicles involved in the collision

or of the scene of the accident in question, please state the name and address of the person taking

said photographs, what said photographs depict, and the name and address of the person or

persons having present possession of such.

   RESPONSE:



   9. With regard to the collision which is the basis of Plaintiff’s Complaint, identify each

policy of insurance which might afford liability coverage to you, including all automobile

policies insuring the vehicle owned, operated or controlled by you; all policies under which you

are an additional insured as a relative, member of a household, or otherwise; and any excess,

umbrella, or other policies. For each policy listed, state the name and address of the named

insured and of the insurance company, the policy number, the policy period, and the limits of

liability coverage for personal injuries and property damage, and whether question or doubt

exists as to your rights under the policy (reservation of rights asserted, non-waiver agreement,



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etc.).

RESPONSE:

    10. Please state the name, present address, and telephone number of any and all individuals

that may have witnessed or have information regarding the incident that forms the basis of this

action.

    RESPONSE:



    11. If you contend that any or all of the injuries/medical bills claimed by the plaintiff is not

the result of the accident giving rise to this lawsuit, please describe in complete detail the basis of

this contention, all facts which support this contention, which specific injuries/bills you contend

are unrelated and the specific event/incident, if any, you contend brought about the unrelated

injuries/bills.

    RESPONSE:



    12. For each expert witness you intend to call at trial, please provide his/her qualifications,

the subject matter on which he/she is expected to testify, the substance of the facts and opinions

to which he/she is expected to testify and a summary of the grounds for each opinion.

    RESPONSE:



    13. As to each motor vehicle collision you have been involved in for the last ten (10) years,

give the following information:

    a. Where it occurred (state, city, county, court);

    b. When it occurred (month, day, year);



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   c. Any injuries claimed and when and where any claims or suits were filed, and

   d. Final disposition or current status of each traffic accident

   RESPONSE:



   14. Describe in your own words how the incident that forms the basis of this Complaint

occurred.

       RESPONSE:



   15. Please describe as completely as possible the weather, road conditions, lighting

conditions, precipitation, if any, and temperature at the time of the occurrence which is the

subject of this claim.

       RESPONSE:



   16. Have you ever had your driver’s license revoked or suspended prior to the incident which

is the subject of this claim and, if so, please set forth the state which revoked or suspended such

license and the reason for such revocation or suspension.

       RESPONSE:



   17. As to the trip in which you were engaged at the time of the incident in question, give the

following information:

   a. The date, place and time you started the trip;

   b. The places and times you stopped for any reason on the trip in question prior to the

incident made the basis of Plaintiff’s Complaint;



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   c. Did you continue the trip in question after you were released from the scene by the

authorities?

   d. If not, where did you go and what did you do?

       RESPONSE:



   18. Please state whether you were acting within the line and scope of your employment; or

whether you were on any errand or mission for, or rendering services or benefit to, anyone at the

time of the collision. If so, please set forth the name and address of your employer, your

destination at the time of the collision, the purpose of your trip, and the name and address of your

immediate supervisor.

       RESPONSE:



   19. Please state whether you were using a mobile phone (e.g., cell phone or radio phone) just

prior to or at the time of the collision. Also, please provide us with your cell phone number as

well as the cell phone service provider at the time of the incident made the basis of Plaintiff’s

Complaint.

   RESPONSE:



   20. List any and all businesses, companies, or entities in which you or your spouse have any

ownership or otherwise a financial interest. For each listed, also list the legal name and any other

name by which the business, company, or entity is known, the address for the principal place of

business, the mailing address, the registered agent’s name and physical address, and the state of

incorporation.



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         RESPONSE:

21.      Please state whether you were arrested for Driving under the Influence on April 3, 2020.

If yes, please state:

         a. Whether you pled guilty to the arrest?

         b. What were the consequences of the arrest?

         RESPONSE:



      21. Please list all materials reasonably expected or intended to be used at trial for

         attempted impeachment of Plaintiff, including depositions, medical literature and any arid

         all other impeachment materials of any type, and or variety.

         RESPONSE:



      22. State the name, address and telephone number of any individual having knowledge of any

         matter relevant to the issues in this lawsuit, including any individual having knowledge to

         be used in the impeachment of any witness or party.



         RESPONSE:



         You are reminded that, under the provisions of Rule 26(e) of the Alabama Rules of Civil

Procedure, you are under a duty to supplement your disclosures and responses to the foregoing

interrogatories under certain circumstances.




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                               REQUESTS FOR PRODUCTION

        COMES NOW the Plaintiff, by and through counsel, who request pursuant to Rule 34 of

the Alabama Rules of Civil Procedure that the Defendant produce for inspection and/or copying

by Plaintiff's counsel the following documents set forth below. As an alternative the Defendant

may produce true and accurate photocopies of the documents set forth. Such documents

requested shall be produced at the offices of the undersigned counsel within forty-five (45) days

from the date of service or at such other time or place as mutually agreed upon by the parties.

        If any of the documents requested are not produced because of privilege or other reason,

please identify such documents, state the nature of the objection or nature of the privilege or

other reason for non-production so the Plaintiff may take appropriate remedial steps if necessary.

The word document shall include, but not necessarily be limited to, all written or printed matter

of any kind, copies of books, records, reports, sketches, drawings, advertisements, notes, letters,

schedules, contracts, purchase orders, bills, or any other document relating to this claim which is

discoverable by law, as well as any other tangible thing upon which information is recorded in

writing.

                                 DOCUMENTS REQUESTED

1.      Produce true and complete copies of any and all photographs, films, slides, videos or other

graphic depictions, taken by or on behalf of the Defendant, of the accident scene and the vehicles

involved in the collision.

2.      Produce all documents, letters, notes, memoranda, communications, or other written

documents of any type whatsoever between any parties to this lawsuit which refer to or are in regard

to the collision and/or damages caused thereby.

3.      Produce a copy of any reports, evaluations, notes, or other written analysis by any expert



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you intend to call as a witness.

4.       Produce a copy of any reports, evaluations, notes and other written analysis by any expert

you do not intend to call as a witness.

5.       Produce all videotapes, movie films, photographs, sound recordings, or any other video or

audio production which is of the Plaintiff that were taken at any time, either before, during or after

the occurrence made the basis of this lawsuit. This would include but not be limited to any type of

"surveillance" recording or record of the Plaintiff as they performed any activity.

6.       Produce a copy of Defendant’s driver's license.

7.       Produce a copy of the driving record of the Defendant if obtained from any office or official

agency of this state.

8.       Produce a copy of any traffic citations or complaints relating to this collision which may

have been issued to Defendant.

9.       Produce copies of any and all statements previously made by the Plaintiff concerning the

subject matter of this lawsuit, including any written statements, signed or otherwise adopted or

approved by the Plaintiff, and any stenographic, mechanical, electrical, or other type of recording or

any transcription thereof made by Plaintiff about this lawsuit and contemporaneously recorded.

10.       Produce any and all drawings, maps, or sketches of the scene of the accident.

11.       Produce a copy of your telephone bill for the day of the collision.

12.       Produce a copy of the cell phone bill for the cell phone Defendant used just prior to and/or

during the collision.

13.       Produce a copy of any and all other lawsuits ever filed against you in the last ten (10)

years.

14.       Produce any and all insurance agreements or policies under which any person or entity



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carrying on an insurance business may be liable to satisfy part or all of the judgment that may be

rendered in this action or to indemnify or reimburse for payments made to satisfy the judgment,

including but not limited to any liability insurance policy covering the Defendant or the automobile

being driven by Defendant at the time of the collision.

15.      Produce a copy of the title to the vehicle and/or any other ownership documents regarding

the vehicle driven by or for the Defendant.

16.      Produce a copy of the repair estimates of the Defendant's vehicle which resulted from the

collision.

17.      Produce a copy of the repair bills of the Defendant's vehicle which resulted from the

collision.

18.      Produce a copy of each photograph and other document or item of demonstrative evidence

you may or will offer as evidence at trial.

19.      Produce a copy of any and all photographs of any vehicle involved in the subject collision.

20.      Produce true and complete copies of any and all medical records, medical bills,

subrogation interests, and/or any other documents related to Plaintiff’s injuries that were obtained

by Defendant via subpoena.

21.      Any and all documents, writing, memoranda of any kind or nature whatsoever which you

intend to introduce into evidence in the trial of this action.

22.      A complete list of all tangible evidence which you intend to introduce in the trial of this

action, and please state when such evidence may be examined by counsel for Plaintiff.

23.      Any and all technical publications, treatises, books, codes, standards, articles, statutes,

ordinances, regulations or other writings or documents by whatever name described which you,

your attorneys, your representatives and any witnesses (whether expert or otherwise) will offer into



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evidence upon the trial of this cause or which will be referred to or alluded to or used as a basis of

support for any opinion to be offered or opinion or fact to be proved.

24.        Any and all charts, exhibits, models, movies, or demonstrative evidence to be offered at the

trial of this action which support or tend to support Defendant’s position and/or affirmative

defenses.

25.       Any and all records for the day of April 3, 2020 for any mobile phone / device within the

reach of your person during the time of the collision that forms the basis of this action. These

records should include your activity logs for any apps on above mentioned device(s) which

require manual entry of text for the transmission of communication, including, but not limited to

text message logs, Facebook, Twitter, Instagram, Snapchat, and other similar apps.

26.       Please produce all documents which you may use for demonstrative purposes at the trial

of this action, and all documents you may use for impeachment purposes at the trial of this

action.



          You are reminded under the provisions of Rule 26(e), Alabama Rules of Civil Procedure,

you are under a duty to supplement your disclosures and responses under certain circumstances.

      This February 17, 2021.


                                 Respectfully submitted,


                                        /s/ Carson S. Hale
                                        CARSON S. HALE (HAL120)
                                        ATTORNEY FOR THE PLAINTIFF

OF COUNSEL:
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201


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Auburn, Alabama 36830
Tel. No. (334) 741-4110
Fax No. (888)-853-2247


                          REQUEST FOR SERVICE OF PROCESS

       The Plaintiff hereby requests that the Summons and Complaint in this case be served on

the following Defendants by Certified Mail at their respective mailing address as follows:

       Erika Gilmore
       203 Pickens St.
       Eutaw, AL 35462

       Keith Avent
       6400 Yager Dr.
       Moscow, TN 38057

       FedEx Freight, Inc.
       Registered Agent: CT Corporation Systems
       2 North Jackson St., Suite 605
       Montgomery, AL 36104

                                     /s/ Carson S. Hale
                                     CARSON S. HALE
                                     OF COUNSEL




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                                                                            GREENE COUNTY, ALABAMA
                                                                          VERONICA MORTON-JONES, CLERK
               IN THE CIRCUIT COURT FOR GREENE COUNTY, ALABAMA


CORNELIUS ROSS,                              *
                                             *
  Plaintiff,                                 *
                                             *       Case No.: CV - 2021 - ____________
 v.                                          *
                                             *
ERIKA GILMORE, KEITH AVENT,                  *
FEDEX       FREIGHT,     INC.,      and      *
Fictitious Defendants “A,” “B,” and          *
“C,” whether singular or plural, those       *
other persons, corporations, firms or        *
other entities whose wrongful conduct        *
caused or contributed to cause the           *
injuries and damages to Plaintiff, all of    *
whose true and correct names are             *
unknown to Plaintiff at this time, but       *
will be added by amendment when              *
ascertained,                                 *
                                             *
  Defendants.                                *
                                             *
_____________________________________________________________________________________

            PLAINTIFFS’ FIRST INTERROGATORIES AND REQUESTS FOR
              PRODUCTION OF DOCUMENTS TO DEFENDANT AVENT
 ____________________________________________________________________________________

       Comes now the Plaintiff, by counsel, and propounds the following interrogatories to the

Defendant, Keith Avent (herein after referred to as “Defendant Avent”), pursuant to Rule 33 of the

A.R.C.P. to be answered under oath within 45 days of service hereof:.

                                  Definitions and Instructions

       a.       These interrogatories are continuing in character so as to require you to file

supplementary answers if you obtain further or different information before trial.

       b.       Where the name of a person is requested, indicate the full name, home and

business address and home and business telephone number of such person.



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       c.      Unless otherwise indicated, these interrogatories refer to the time, place and

circumstances of the occurrences mentioned or complained of in Plaintiffs’ Complaint.

       d.      Where information of knowledge and possession of a party is requested, such

request includes knowledge of the party's agent, next friend, guardian, representatives, and

unless privileged, their attorney.

       e.      The pronoun "you" refers to the party to whom these interrogatories are

addressed, and the person or persons mentioned in clause (D).



                                              INTERROGATORIES

   1. Please identify yourself by stating your full name, present address, date and place of birth, social
       security number, and name of spouse.
       RESPONSE:


   2. Please identify, by giving the name, address, and last known telephone number, each and every
       person known to you and/or to your attorneys who has firsthand knowledge of the events and
       conditions set out in the complaint.
       RESPONSE:


   3. Please state the full name, address, and telephone number of each person who, to your knowledge
       or your agents or attorneys, was present at the scene of the occurrence which is the subject of this
       claim, either, immediately before, immediately after, or during such occurrence.
       RESPONSE:


   4. Please identify each and every witness you intend to call at the trial of this cause including the
       substance of his or her expected testimony.
       RESPONSE:


   5. With respect to expert witnesses whom you will call or may call as experts to give testimony at
       the trial of this matter, please state the following:
            a. His/her name, address, and telephone number;

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       b. The name, address, and telephone number of his/her employer or the organization with
            which he/she is associated in any professional capacity;
       c. The field in which he/she is to be offered as an expert;
       d. A summary of his/her qualifications within the field in which he/she is expected to
            testify;
       e. The substance of the facts to which he/she is expected to testify; and,
       f.   The substance of the opinions to which he/she is expected to testify and a summary of the
            grounds for each opinion.
   RESPONSE:

6. Please give a full description of each and every document which you intend to introduce into
   evidence at the trial of this cause.
   RESPONSE:


7. Please state the dollar amount of liability insurance coverage available in this action. This
   includes but is not limited to primary liability policies, secondary liability policies, excess
   coverage policies, umbrella policies, etc.
   RESPONSE:

8. Describe completely and in detail the vehicle occupied or owned by you on the occasion of the
   occurrence made the basis of this suit, stating in your answer the owner of said motor vehicle on
   the date of the occurrence, the driver of said vehicle on the date of the occurrence, make, model,
   year, body style of said motor vehicle, the cargo contained in the vehicle at the time of the
   occurrence, and weight of cargo at the time of the occurrence.
   RESPONSE:


9. Describe in chronological order the events of the prior 24 hours leading up to the collision on
   April 3, 2020. Please include in your response whether you consumed any alcoholic beverages,
   drugs, or medications of any kind whatsoever, including prescriptions drugs, within twenty-four
   (24) hours preceding the collision. If the answer is in the affirmative, please state the amount and
   the time at which such beverage, drug, or medication was consumed (if you had consumed
   medication, please state the purpose for taking said medication). Additionally, please state any
   prescriptions drugs which you should have taken in accordance with a medical provider’s
   instructions but failed to do so.
   RESPONSE:

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10. As to the trip in which you were engaged at the time of the collision made the basis of this suit,
    give the following information:
        a. The date, place and time you started the trip;
        b. The times and places of each stop to pick up or deliver any load, the description and
             weight of each load, the times and places you stopped to check said load, the names,
             addresses and telephone numbers of any person and their employer who loaded the load
             that was involved in the collision made the basis of this lawsuit, together with the weight
             of said load;
        c. The places and times you stopped for any reason on the trip in question prior to impact
             with the vehicle being driven by Plaintiff; and,
        d. Did you continue the trip in question after you were released from the scene by the
             authorities? If not, where did you go and what did you do?
    RESPONSE:


11. Describe in your own words how the collision occurred or why the collision occurred. Please
    include the following in your response:
        a. Your estimate of the speed the vehicle you were operating just prior to the impact with
             the other vehicle;
        b. The location of the vehicle being driven by the Plaintiff when you first observed it in
             relation to the time of the collision;
        c. Your estimate of the speed the vehicle the Plaintiff was operating when you first saw the
             vehicle;
        d. Any evasive maneuvers taken by you or the Plaintiff;
        e. The location and speed, if applicable, of any and all other vehicles in front of you as you
             approached the intersection where the collision occurred;
        f.   Whether you applied your brakes at any time before the collision;
        g. Whether or not your brakes locked or your wheels skidded prior to the impact;
    RESPONSE:


12. Identify any other individual, entity or entities other than those named defendants in this cause
    which may be liable or responsible for the collision made the basis of this lawsuit.
    RESPONSE:



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13. If any of the vehicles involved in the collision had defective equipment, describe each defective
    piece of equipment specifically and in detail.
    RESPONSE:


14. Detail each complaint you made about defects and needed repairs and maintenance of the vehicle
    in which you were an occupant at the time of the collision made the basis of this suit for the six
    (6) month period prior to this collision, together with the exact dates of each complaint and the
    extent to which such complaints were satisfied or not satisfied.
    RESPONSE:


15. What trip expenses were incurred by you on the trip in question prior to the collision at issue (i.e.,
    including credit cards and cash expenses). In response to this interrogatory, please state the name
    of the business where each expense was incurred, the address of each such business, and the
    approximate time of each such expense. Furthermore, produce a copy of any and all trip receipts
    of any kind or nature.
    RESPONSE:


16. Please state whether, at the time of the occurrence which is the subject of this claim, you had a
    prescription for glasses or corrective lenses. If so, state whether or not you were wearing such
    glasses or corrective lenses at the time of the occurrence.
    RESPONSE:


17. Please provide the name and address of the medical doctor and facility who completed the
    Medical Examiner’s Report and Medical Examiner’s certificate for your Commercial Driver’s
    License for the past ten (10) years.
    RESPONSE:


18. Please list each and every medical provider from whom you have received treatment, consulting,
    review, examination and/or advice from April 3, 2010 through present. The term “medical
    provider” includes, but is not limited to emergency medical services, ambulance, doctors,
    hospitals, nurses, chiropractors, physical therapists, alcohol and/or drug treatment providers,
    rehabilitation therapists, mental health providers or facilitates, surgeons or other health care
    providers of any nature whatsoever, For each medical provider, please state: provider’s name,
    provider’s address, provider’s specialty; reason for seeing provider, treatment received, diagnosis

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    given, and medications prescribed.
    RESPONSE:


19. For the last ten (10) years, please provide the name of your health insurance provider, including
    the group number, contract number and the name under which coverage is secured.
    RESPONSE:


20. Provide a list of all medications, prescribed and/or over the counter, that you were taking or had
    taken in the one year period prior to April 3, 2020, and include in your answer the following:
         a. The name and address of the doctor, hospital, or clinic, who prescribed, sold or provided
             these medications;
         b. The health condition for which you took each medication;
         c. The dosage you ingested daily;
         d. The name and address of each pharmacy, whether private or governmental, that has filed
             any prescription for you in the last ten (10) years.
    RESPONSE:


21. State if you have ever been charged with or convicted of any criminal offense, including traffic
    violations. If your answer is in the affirmative, state:
    a.       The name of the offense with which you were charged and/or convicted;
    b.       The state, county and city in which you were charged and/or convicted; and
    c.       The date or approximate date you were charged and/or convicted of such offense.
    RESPONSE:


22. As to each motor vehicle accident you have been involved in for the last ten (10) years, give the
    following information:
         a. Where it occurred (state, city, county, court);
         b. When it occurred (month, day, year);
         c. Any injuries claimed and when and where any claims or suits were filed; and,
         d. Final disposition or current status of each traffic accident.
    RESPONSE:


23. Give the dates, times and places, together with the names and addresses of persons and
    organizations who have provided drug or alcohol counseling or treatment to you at any time

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    during the past ten (10) years.
    RESPONSE:


24. Have you ever had your driver’s license revoked or suspended prior to the incident which is the
    subject of this lawsuit and, if so, please set forth the state which revoked or suspended such
    license and the reason for such revocation or suspension.
    RESPONSE:


25. Have you ever had your driver’s license revoked or suspended prior to the incident which is the
    subject of this lawsuit and, if so, please set forth the state which revoked or suspended such
    license and the reason for such revocation or suspension.
    RESPONSE:


26. With respect to your experience as a commercial truck driver, or driver of a commercial vehicle,
    give the following information:
        a. The name, address and telephone number together with the dates you were driving trucks
            or commercial vehicles for every motor carrier who has employed you or contracted your
            services for the past ten (10) years;
        b. The number of hours of driving experience you had prior to the collision at issue in
            operating the truck you were driving when you struck the vehicle driven by the Plaintiff;
            and,
        c. The number of hours of driving experience you had prior to the collision at issue in
            operating vehicles similar to the vehicle you were driving when you struck the vehicle
            driven by the Plaintiff.
    RESPONSE:


27. Do you keep copies of your driving logs and time sheets?
        a. If so, for how long?
        b. Do you have the logs and time sheets for the period of time in which the collision in
            question occurred?
        c. If not, why not?
        d. Has Defendant FedEx ever questioned the falsity of your logs?
        e. Has Defendant FedEx ever criticized you or requested you to observe the regulations
            with respect to the maximum legal hours you are permitted to operate their trucks?

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    RESPONSE:


28. Describe the make and model of each of the following items located on the truck you were
    operating at the time of the collision in question:
        a. CB radio;
        b. On-board telephone;
        c. On-board computer recorder;
        d. Black box;
        e. Electronic Control Module (ECM); and,
        f.   Any and all recording or data storage devices.
    RESPONSE:


29. Describe the normal basis for your pay from Defendant FedEx (i.e., by the mile, by the load, by
    the hour, straight salary or explain any other basis) and explain any deviation from the normal
    basis, if any, concerning the load and trip you were on at the time of the Incident.
    RESPONSE:


30. Have you ever been deemed medically of physically unfit to drive by any company, medical
    provider, medical officer, or state agency? If so, please state the reasons for such a determination,
    the date of said determination, the time period for which you were deemed medically or
    physically unfit, and the steps that were followed in order for you to be deemed medically fit to
    drive trucks or any other commercial vehicle.
    RESPONSE:


31. Please describe any and all surgical procedures you have undergone in the past ten (10) years
    including the date of the procedure, the type procedure, the treating physician, the condition for
    which you received the procedure, the follow-up diagnosis and any medications which you were
    prescribed.
    RESPONSE:


32. Please state the number(s) for any cellular telephone(s) (whether personal or issued by Defendant
    FedEx or other(s)) in your possession on April 3, 2020 and the name of the carrier providing
    service to said cellular telephone.
    RESPONSE:

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    33. Have your attorneys made you aware what your liability insurance limits in this matter are limited
        to and that any verdict in favor of the Plaintiff over and above said limits will be the
        responsibility of yourself and/or Defendant FedEx?
        RESPONSE:


    34. Have your attorneys made you aware that you may demand that your insurance company pay
        your insurance liability limits to the Plaintiff and that doing so will protect yourself and
        Defendant FedEx from the responsibility of satisfying a verdict in favor of the Plaintiff which
        may otherwise exceed said insurance liability limits?
        RESPONSE:



        You are reminded under the provisions of Rule 26(e), Alabama Rules of Civil Procedure,

you are under a duty to supplement your disclosures and responses under certain circumstances.


                                REQUESTS FOR PRODUCTION


        These Requests for Production are intended to be continuing in nature. Therefore, if at any time

after the submission of your responses to these requests any additional or supplemental information,

documents or records, becomes known to this answering defendant, its attorneys, its agents, it servants or

its employees, then Plaintiff hereby requests that their responses to these requests be amended and

submitted as amended to the Plaintiff so as to supply such additional supplemental information.

        The term “document” is used in the broadest possible sense, meaning anything that may be

considered to be a document within the meaning of the Alabama Rules of Civil Procedure and means

and includes, without limitation, any written, printed, typed, photostatic, photographic, recorded or

otherwise reproduced communication or representation, whether comprised of letters, words, numbers,

pictures, sound or symbols, or any combination thereto. This definition likewise includes copies or

duplicates of documents contemporaneously or subsequently created that have any non-conforming notes

or other markings. Without limiting the generality of the foregoing, the term “document” includes, but is

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not limited to correspondence, memoranda, notes, records, letters, envelopes, telegrams, messages,

studies, analyses, contracts, agreements, working papers, summaries, statistical statements, financial

statements, work papers, accounts, local records, reports and/or summaries of investigation, trade letters,

press releases, comparisons, books, calendars, diaries, articles, magazines, newspapers, booklets,

brochures, pamphlets, circulars, bulletins, notices, drawings, diagrams, instructions, notes or minutes of

meeting, or other communications of any type, including inter-office and intra-office communications,

questionnaires, surveys’ charts, graphs, photographs, recordings, tapes, discs, data cells, printouts, and all

other data compilations from which information can be obtained (translated, if necessary, into usable

form), and any preliminary versions, drafts or revisions of any of the foregoing. Documents are defined

herein specifically includes electronic versions and computerized formats of all the foregoing and shall

also include electronic communications, whether maintained presently in the normal course of business or

available in backup or legacy data formats, wherever found or maintained, including all servers, hard

drives, laptops, and firewalls.

        When producing documents, if maintained in electronic format or presently in an electronic

format, these shall be produced in electronic format. If a file was maintained in a format compatible with

commonly available PC software, it should be produced in the format in which it was maintained. For

example, databases should be produced in either Microsoft Access format or Commodore Delimited

ASCII; spreadsheets should be produced as Microsoft Excel or comparable spreadsheet files;

presentations should be produced as Microsoft Power Point or comparable format. Because of the

variables that may exist in electronic production, the undersigned is willing to “meet and confer” in order

to work out the protocols and variables in such production.

        Documents requested and produced herein shall be organized and labeled to correspond with the

categories in this request or they shall be produced as kept in the ordinary course of business.

        If you withhold any document due to a claim of attorney-client privilege, an assertion of work

product doctrine, or any other claim of privilege, including a quality assurance privilege, you must

provide a detailed privilege log to substantiate such claim or assertion in accord with Rule 34 of the

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Alabama Rules of Civil Procedure. Consider this a formal request for such a log pursuant to the

aforementioned Rule. Such log should identify each document withheld with particularity and state the

following: (1) the specific subject matter of such document; (2) the particular length of such document;

(3) each person to whom such document was addressed, copied or blind copied; (4) the preparer and/or

author of such document; (5) the particular and specific reason(s) why such document is considered to be

privileged from disclosure. Any such privilege log should be produced at or prior to the time a response

is required under Rule 34.

        The term “you” or “your” shall be construed to mean Defendant Avent.

        When producing deposition transcripts, please produce travel sized transcript copies provided

such transcripts contain the same testimony and information as full-sized deposition transcripts. If such

information differs between the two, please produce all copies of any such transcripts.

                                          DOCUMENTS REQUESTED

        1.      Produce true and complete copies of any and all photographs, films, slides, videos or

other graphic depictions, taken by or on behalf of the Defendant, of the accident scene and the

vehicles involved in the collision.

        2.      Produce all documents, letters, notes, memoranda, communications, or other written

documents of any type whatsoever between any parties to this lawsuit which refer to or are in regard

to the collision and/or damages caused thereby.

        3.      Produce a copy of any reports, evaluations, notes, or other written analysis by any

expert you intend to call as a witness.

        4.      Produce a copy of any reports, evaluations, notes and other written analysis by any

expert you do not intend to call as a witness.

        5.      Produce all videotapes, movie films, photographs, sound recordings, or any other

video or audio production which is of the Plaintiff that was taken at any time, either before, during


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or after the occurrence made the basis of this lawsuit. This would include but not be limited to any

type of "surveillance" recording or record of the Plaintiff as they performed any activity.

        6.      Produce a copy of Defendant’s driver's license.

        7.      Produce a copy of the driving record of the Defendant if obtained from any office or

official agency of this state.

        8.      Produce a copy of any traffic citations or complaints relating to this collision which

may have been issued to Defendant.

        9.      Produce copies of any and all statements previously made by the Plaintiff

concerning the subject matter of this lawsuit, including any written statements, signed or otherwise

adopted or approved by the Plaintiff, and any stenographic, mechanical, electrical, or other type of

recording or any transcription thereof made by Plaintiff about this lawsuit and contemporaneously

recorded.

        10.       Produce any and all drawings, maps, or sketches of the scene of the accident.

        11.       Produce a copy of your telephone bill for the day of the collision.

        12.       Produce a copy of the cell phone bill for the cell phone Defendant used just prior to

and/or during the collision.

        13.       Produce a copy of any and all other lawsuits ever filed against you in the last ten

(10) years.

        14.       Produce any and all insurance agreements or policies under which any person or

entity carrying on an insurance business may be liable to satisfy part or all of the judgment that may

be rendered in this action or to indemnify or reimburse for payments made to satisfy the judgment,

including but not limited to any liability insurance policy covering the Defendant or the automobile

being driven by Defendant at the time of the collision.



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        15.      Produce a copy of the title to the vehicle and/or any other ownership documents

regarding the vehicle driven by or for the Defendant.

        16.      Please produce the Permanent Unit File or its equivalent including, but not limited

to, records relating to the repairs, maintenance, and costs of the vehicle involved in the incident of

November 24, 2018.

        17.      Produce a copy of each photograph and other document or item of demonstrative

evidence you may or will offer as evidence at trial.

        18.     Please produce all documents used, referenced or reviewed in answering the

interrogatories, which were simultaneously served herewith.

        19.     If you are not a citizen of the United States of America, please produce a copy of any

United States Work Visa, Green Card or other document evidencing your legal status in the United States

of America.

        20.      Produce a copy of any and all photographs of any vehicle involved in the subject

collision.

        21.      Produce true and complete copies of any and all medical records, medical bills,

subrogation interests, and/or any other documents related to Plaintiff’s injuries that were obtained

by Defendant via subpoena.

        22.      Any and all documents, writing, memoranda of any kind or nature whatsoever

which you intend to introduce into evidence in the trial of this action.

        23.      A complete list of all tangible evidence which you intend to introduce in the trial of

this action, and please state when such evidence may be examined by counsel for Plaintiff.

        24.      Any and all technical publications, treatises, books, codes, standards, articles,

statutes, ordinances, regulations or other writings or documents by whatever name described which

you, your attorneys, your representatives and any witnesses (whether expert or otherwise) will offer

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into evidence upon the trial of this cause or which will be referred to or alluded to or used as a basis

of support for any opinion to be offered or opinion or fact to be proved.

       25.       Any and all charts, exhibits, models, movies, or demonstrative evidence to be

offered at the trial of this action which support or tend to support Defendant’s position and/or

affirmative defenses.

       You are reminded under the provisions of Rule 26(e), Alabama Rules of Civil Procedure,

you are under a duty to supplement your disclosures and responses under certain circumstances.

       This February 17, 2021.


                                        Respectfully submitted,


                                        /s/ Carson S. Hale
                                        CARSON S. HALE (HAL120)
                                        ATTORNEY FOR THE PLAINTIFF

OF COUNSEL:
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
Tel. No. (334) 741-4110
Fax No. (888)-853-2247


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                              REQUEST FOR SERVICE OF PROCESS

        The Plaintiffs hereby request that the Summons and Complaint in this case be served on the

following Defendants by Certified Mail at her respective mailing address as follows:

        Erika Gilmore
        203 Pickens St.
        Eutaw, AL 35462

        Keith Avent
        6400 Yager Dr.
        Moscow, TN 38057

        FedEx Freight, Inc.
        Registered Agent: CT Corporation Systems
        2 North Jackson St., Suite 605
        Montgomery, AL 36104

                                        /s/ Carson S. Hale
                                        CARSON S. HALE
                                        OF COUNSEL




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               IN THE CIRCUIT COURT FOR GREENE COUNTY, ALABAMA


CORNELIUS ROSS,                                *
                                               *
  Plaintiff,                                   *
                                               *     Case No.: CV - 2021 - ____________
 v.                                            *
                                               *
ERIKA GILMORE, KEITH AVENT,                    *
FEDEX       FREIGHT,     INC.,      and        *
Fictitious Defendants “A,” “B,” and            *
“C,” whether singular or plural, those         *
other persons, corporations, firms or          *
other entities whose wrongful conduct          *
caused or contributed to cause the             *
injuries and damages to Plaintiff, all of      *
whose true and correct names are               *
unknown to Plaintiff at this time, but         *
will be added by amendment when                *
ascertained,                                   *
                                               *
  Defendants.                                  *
                                               *
____________________________________________________________________________________

                    PLAINTIFFS’ FIRST REQUEST FOR ADMISSIONS TO
                                  DEFENDANT AVENT


       Comes now the Plaintiff, in the above-styled cause and pursuant to pursuant to Rule 36 of the

Alabama Rules of Civil Procedure, and request that the Defendant Avent admit or deny the following:

       1. Admit that you were properly served with a copy of the Summons and Complaint in the

           above-styled action.

       2. Admit that your name, as listed in the Complaint, is stated and spelled correctly.

       3. Admit that jurisdiction and venue are proper in this case.

       This February 17, 2021.
                                       Respectfully submitted,


                                       /s/ Carson S. Hale


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                                        CARSON S. HALE (HAL120)
                                        ATTORNEY FOR THE PLAINTIFF

OF COUNSEL:
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
Tel. No. (334) 741-4110
Fax No. (888)-853-2247


                              REQUEST FOR SERVICE OF PROCESS

        The Plaintiffs hereby request that the Summons and Complaint in this case be served on the

following Defendants by Certified Mail at her respective mailing address as follows:

        Erika Gilmore
        203 Pickens St.
        Eutaw, AL 35462

        Keith Avent
        6400 Yager Dr.
        Moscow, TN 38057

        FedEx Freight, Inc.
        Registered Agent: CT Corporation Systems
        2 North Jackson St., Suite 605
        Montgomery, AL 36104

                                        /s/ Carson S. Hale
                                        CARSON S. HALE
                                        OF COUNSEL




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                                                                                CIRCUIT COURT OF
                                                                            GREENE COUNTY, ALABAMA
                                                                          VERONICA MORTON-JONES, CLERK
            IN THE CIRCUIT COURT FOR GREENE COUNTY, ALABAMA


CORNELIUS ROSS,                           *
                                          *
   Plaintiff,                             *
                                          * Case No.: CV - 2021 - ____________
  v.                                      *
                                          *
ERIKA GILMORE, KEITH AVENT, *
FEDEX         FREIGHT,   INC.,      and *
Fictitious Defendants “A,” “B,” and *
“C,” whether singular or plural, those *
other persons, corporations, firms or *
other entities whose wrongful conduct *
caused or contributed to cause the *
injuries and damages to Plaintiff, all of *
whose true and correct names are *
unknown to Plaintiff at this time, but *
will be added by amendment when *
ascertained,                              *
                                          *
   Defendants.                            *
                                          *
 ______________________________________________________________________________

         PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR
            PRODUCTION OF DOCUMENTS TO DEFENDANT FEDEX
______________________________________________________________________________

       Comes now the Plaintiff, by counsel, and propounds the following interrogatories to the

Defendant, FedEx Freight, Inc., (herein after referred to as “Defendant FedEx”), pursuant to Rule

33 of the A.R.C.P. to be answered under oath within 45 days of service hereof:.

                                  Definitions and Instructions

       a.      These interrogatories are continuing in character so as to require you to file

supplementary answers if you obtain further or different information before trial.

       b.      Where the name of a person is requested, indicate the full name, home and

business address and home and business telephone number of such person.



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       c.      Unless otherwise indicated, these interrogatories refer to the time, place and

circumstances of the occurrences mentioned or complained of in Plaintiffs’ Complaint.

       d.      Where information of knowledge and possession of a party is requested, such

request includes knowledge of the party's agent, next friend, guardian, representatives, and

unless privileged, their attorney.

       e.      The pronoun "you" refers to the party to whom these interrogatories are

addressed, and the person or persons mentioned in clause (D).



                                        INTERROGATORIES

1.     Please identify yourself by stating the following: in what capacity you are authorized to
       respond to these interrogatories on behalf of this Defendant, your full name, current home
       address and home addresses for the past ten (10) years, date of birth, social security
       number, your affiliation to this Defendant, the length of time employed by this
       Defendant, current title and position, and positions held by you for the last ten (10) years,
       as well as the complete legal name of this Defendant, any trade name by which this
       Defendant is identified or under which this Defendant conducts business, any parent
       companies or subsidiaries and the address and telephone number of your principal office.
RESPONSE:


2.     Please state the correct legal name of FedEx Freight, Inc.
RESPONSE:


3.     State the name and address of the owner and all occupants of this Defendant’s vehicle at
       the time of the Wreck.
RESPONSE:


4.     State whether at the time of the Wreck, Defendant Avent, was acting within the line and
       scope of his employment with this Defendant.


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RESPONSE:


5.   Identify any other individual, entity or entities, other than those named defendants in this
     cause which may be liable or responsible for the collision made the basis of this lawsuit.
     If you contend that the Plaintiff is liable, please explain how and why.
RESPONSE:


6.   Describe all training this Defendant provides or requires for its drivers/operators, and
     include in your answer refer to section of any procedure, training or safety manuals
     which are employed by this Defendant which are provided to employees or independent
     contractors. Also please explain any differences between that training and the manner in
     which Defendant Avent was trained.
RESPONSE:


7.   Disclose the interview process you employ before hiring any individual, including, but
     not limited to, any application for employment; driving test; medical evaluation; face-to-
     face, electronic or telephonic interview; verification of insurance information; licensing;
     and safety history. Also please explain any differences between that process and the
     process employed prior to hiring Defendant Avent.
RESPONSE:


8.   Did Defendant Avent complete an application for employment or any other paperwork
     prior to being hired or employed by this Defendant? If so, identify the date the
     application and/or paperwork was completed and the present custodian of same.
RESPONSE:


9.   What, if any, background information did you obtain, or attempt to obtain, regarding
     Defendant Avent’s driving history and/or safety record prior to engaging his services or
     allowing him to use your vehicle?
RESPONSE:



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10.   Was Defendant Avent’s employment as a driver ever suspended based upon any physical
      impairment or medical condition? If so, state the time period of said suspension, the
      reason for said suspension, and all steps taken by this Defendant to ensure Defendant
      Avent could safely perform his duties as a driver upon reinstatement.
RESPONSE:


11.   With respect to the vehicle involved in the Wreck, give its complete configuration
      (including at least the following information):
         a. What the load was contained in the vehicle at the time of the collision;
         b. The make(s), model(s), and type(s) of brakes located on said vehicle;
         c. The make and model of each of the following that may have been on-board the
             vehicle in question at the time of the collision, to-wit:
             (1) CB Radio;
             (2) Telephone;
             (3) Computer / Laptop;
             (4) A Black Box;
             (5) Electronic Control Module (ECM);
             (6) Recording or data storage devices; and
             (7) Qualcomm system;
RESPONSE:


12.   Was the vehicle involved in this Wreck equipped with any event data recording, GPS
      location devices, speed control devices, or other electronic equipment designed to capture
      or limit the location and/or operation of the vehicle operated by Defendant Avent? If so,
      please describe:
         a. The name of the equipment or device;
         b. The manufacturer of the equipment or device;
         c. Whether information has been printed, captured or derived from the equipment
             and/or device regarding vehicle and/or Wreck;
         d. Who has possession of any data or information; and,



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         e. If the speed of the vehicle was governed, please describe the equipment and speed
             limit used to govern speed.
RESPONSE:


13.   State this Defendant’s policy with respect to retention and destruction of driver’s logs,
      time sheets, and trip receipts and explain any differences between that policy and the
      manner in which Defendant Avent’s logs, time sheets, and trip expenses for the trip in
      question were treated.
RESPONSE:


14.   State this Defendant’s policy with respect for testing its drivers for substance abuse and
      explain any differences between that policy and the manner in which it treated Defendant
      Avent after the Wreck.
RESPONSE:


15.   Was a urine sample taken from Defendant Avent within thirty-two (32) hours of the
      Wreck and, if not, why not?
RESPONSE:


16.   Was a blood sample taken from Defendant Avent within eight (8) hours of the Wreck
      and, if not, why not?
RESPONSE:




17.   If the answer to either interrogatory #15 or #16 is affirmative, please state the results of
      said urine and/or blood sample and the person(s), corporation(s), lab(s) or health care
      facility responsible for conducting said urine and/or blood sample.
RESPONSE:


18.   State this Defendant’s policy with respect to having its drivers report accidents, collisions
      or wrecks to this Defendant and explain what this defendant’s drivers are supposed to do


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      with respect to helping persons who have been injured, protecting its equipment, making
      statements to the police, making statements to other persons involved in the wrecks,
      making statements to bystanders and all other actions or inactions required.
RESPONSE:


19.   Identify any individual, or anyone acting on this Defendant’s behalf, who has personal
      knowledge of the facts and circumstances of this case, including eyewitnesses, people
      claiming to be eyewitnesses and any individuals who arrived on the scene within five (5)
      hours after the Wreck, and the nature of your and/or this Defendant’s relationship to each
      person. Please provide the person’s full name and address, giving the street, street
      numbers, city and state, of every witness know to you and your attorneys, who has
      knowledge regarding facts and circumstances surrounding the happening of the Wreck,
      including, but not limited to, eyewitnesses to such Wreck or events.
RESPONSE:


20.   Describe any insurance agreement under which any insurance business may be liable to

      satisfy part or all of the judgments that may be entered in this action, or to indemnify or

      reimburse for payments made to satisfy the judgment, by stating the name of the insurer

      and the amount of any liability or excess insurance coverage.

RESPONSE:


21.   State all prior motor vehicle accidents involving Defendant FedEx, for the three (3) year

      period preceding date of wreck.

RESPONSE:


22.   If anyone investigated the Wreck for this Defendant, including experts, private
      investigators or insurance adjusters, state their name(s) and address(es), and state whether
      such investigation was reduced to writing, and the substance of their investigation and
      findings. If said investigator obtained any signed, recorded, transcribed or oral statement


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      from any individual, identify the person who gave the statement and the present custodian
      of such statement.
RESPONSE:


23.   State the name and address and telephone number of each person having any knowledge
      related to the Wreck.
RESPONSE:


24.   If you know of the existence of any pictures, photographs, plats, visual recorded images,
      police reports, diagrams or objects relative to the Wreck, the Plaintiff’s physical
      condition, or the scene of the Wreck, identify the substance of such recording and the
      present custodian of each such item.
RESPONSE:


25.   Do you know of any statement, conversation, comment, testimony or report made by any
      party to this lawsuit, individual or witness, including Plaintiff, made at the time of the
      occurrence or following the occurrence, concerning the occurrence or facts relevant to
      any issue in this case? If your answer is “yes,” state the content of such statement,
      conversation, comment or report, the place where it took place, the name, address and
      telephone number from whom the statement was taken or made, and the custodian of
      such statement.
RESPONSE:


26.   With respect to expert witnesses whom you will call or may call as experts to give
      testimony at the trial of this matter, please state the following:
         a. His/her name, address, and telephone number;
         b. The name, address, and telephone number of his/her employer or the organization
             with which he/she is associated in any professional capacity;
         c. The field in which he/she is to be offered as an expert;
         d. A summary of his/her qualifications within the field in which he/she is expected
             to testify;


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          e. The substance of the facts to which he/she is expected to testify; and,
          f. The substance of the opinions to which he/she is expected to testify and a
              summary of the grounds for each opinion.
RESPONSE:


27.   If this Defendant or anyone on behalf of this Defendant has or knows of any photographs
      or motion pictures of the persons, places or things involved in the Wreck and/or the scene
      of the Wreck, please describe each by subject matter, date taken, and the name and
      address of such person who has possession, custody or control of such photographs or
      motion pictures, or copies of same.
RESPONSE:


28.   List any and all articles, or authoritative materials, statutes, ordinances or codes that this
      Defendant intends to use, refer to, or present at the trial of this case.
RESPONSE:



29.   Please state the identity of any person, firm or corporation including their name, address,
      qualifications, who may have downloaded any event data information or information
      from an electronic data recorder or black box on board the vehicle being operated by
      Defendant Avent at the time of the Wreck.
RESPONSE:


30.   Give the names, business and home addresses, and business and home telephone numbers
      of each person listed below who was employed by this Defendant or contracted by this
      Defendant both at the time of the Wreck, as well as at the time these interrogatories are
      being answered:
      a. Safety Director;
      b. Director of Safety Program;
      c. Medical Review Officer;
      d. Director of Employee Assistance Program;


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      e. Medical Technologist (for blood, urine and breath tests);
      f. Dispatcher(s) who dispatched the vehicle from the time it left home base until the
      collision;
      g. Insurance loss control expert for motor carrier’s insurance company who has inspected
      Defendant FedEx’s operations;
      h. Chief Executive Officer;
      i. Motor carrier’s officer or official in charge of operational safety;
      j. Supervisor of records; and
      k. Person(s) who investigated the collision in question for this Defendant, including but
      not limited to investigator employed by your insurance carrier(s).
RESPONSE:


31.   State whether you have information about whether Defendant Avent consumed any
      alcoholic beverages or drugs, prescription, over the counter, or illicit, within eight (8)
      hours prior to the Wreck, and if the answer is in the affirmative, state where they were
      obtained and consumed and the nature and amount thereof.
RESPONSE:


32.   State the full itinerary for the forty-eight (48) hours immediately preceding the
      occurrence of Defendant Avent and vehicle involved in the occurrence, stating the place
      and time of the beginning of each trip, the place and time and duration of each stop, the
      routes taken, the final destination, the anticipated time of arrival at that destination and
      the details of Defendant Avent’s sleep/drive schedule for those forty-eight (48) hours.
RESPONSE:


33.   Please state with specificity exactly how the Wreck took place and include in your
      answer the date, time and location of the Wreck, description of the vehicles (including
      make, model, year), where the vehicles were just prior to the Wreck, how far apart the
      vehicles were just prior to impact, the speed of each vehicle just before the Wreck, the
      exact location of each vehicle in relation to the roadway prior to the Wreck, and where
      the vehicles came to rest.


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RESPONSE:


34.      Did you, your agents, servants, employees or representatives have any conversation or
         contact with any of the parties to this lawsuit, any witness to the accident, or any
         investigator of the occurrence? If so, state the substance of such conversations and
         outline the contact.
RESPONSE:


35.      Following the Wreck of April 3, 2020, please state:
      a. The person with this Defendant who was first notified of the accident?
      b. The date and time this person was notified?
      c. Whether anyone with this Defendant created a written record regarding the Wreck, and if
         so, whom?
      d. Is this record kept in any Vehicle Accident Investigation File or its equivalent?
      e. Is this record kept in the ordinary course of business?
RESPONSE:


36.      What maintenance had been performed on the vehicle of the subject vehicle for the 6
         months prior to the collision. For each such maintenance, please list the following:
                 (a)     What prompted the maintenance visit;
                 (b)     Who performed the maintenance;
                 (c)     Who diagnosed the necessity for maintenance;
                 (d)     What diagnosis was rendered;
                 (e)     When were the repairs performed;
                 (f)     What, if any, parts were replaced; and,
                 (g)     Did the problem reoccur? If so, when?
RESPONSE:


37.      Please list all prior or subsequent accidents in which Defendant Avent has been involved,
         either with other persons or with property. Please include the name of any other driver or



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       property owner involved, the location of the collision, the date and time of the collision,
       and disposition of the matter.
RESPONSE:




                 You are reminded under the provisions of Rule 26(e), Alabama Rules of Civil

Procedure, you are under a duty to supplement your disclosures and responses under certain

circumstances.

                              REQUESTS FOR PRODUCTION


       These Requests for Production are intended to be continuing in nature. Therefore, if at

any time after the submission of your responses to these requests any additional or supplemental

information, documents or records, becomes known to this answering defendant, its attorneys, its

agents, it servants or its employees, then Plaintiff hereby requests that their responses to these

requests be amended and submitted as amended to the Plaintiff so as to supply such additional

supplemental information.

       The term “document” is used in the broadest possible sense, meaning anything that may

be considered to be a document within the meaning of the Alabama Rules of Civil Procedure and

means and includes, without limitation, any written, printed, typed, photostatic, photographic,

recorded or otherwise reproduced communication or representation, whether comprised of

letters, words, numbers, pictures, sound or symbols, or any combination thereto. This definition

likewise includes copies or duplicates of documents contemporaneously or subsequently created

that have any non-conforming notes or other markings. Without limiting the generality of the

foregoing, the term “document” includes, but is not limited to correspondence, memoranda,

notes, records, letters, envelopes, telegrams, messages, studies, analyses, contracts, agreements,


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working papers, summaries, statistical statements, financial statements, work papers, accounts,

local records, reports and/or summaries of investigation, trade letters, press releases,

comparisons, books, calendars, diaries, articles, magazines, newspapers, booklets, brochures,

pamphlets, circulars, bulletins, notices, drawings, diagrams, instructions, notes or minutes of

meeting, or other communications of any type, including inter-office and intra-office

communications, questionnaires, surveys’ charts, graphs, photographs, recordings, tapes, discs,

data cells, printouts, and all other data compilations from which information can be obtained

(translated, if necessary, into usable form), and any preliminary versions, drafts or revisions of

any of the foregoing. Documents are defined herein specifically includes electronic versions and

computerized formats of all the foregoing and shall also include electronic communications,

whether maintained presently in the normal course of business or available in backup or legacy

data formats, wherever found or maintained, including all servers, hard drives, laptops, and

firewalls.

        When producing documents, if maintained in electronic format or presently in an

electronic format, these shall be produced in electronic format. If a file was maintained in a

format compatible with commonly available PC software, it should be produced in the format in

which it was maintained. For example, databases should be produced in either Microsoft Access

format or Commodore Delimited ASCII; spreadsheets should be produced as Microsoft Excel or

comparable spreadsheet files; presentations should be produced as Microsoft Power Point or

comparable format.    Because of the variables that may exist in electronic production, the

undersigned is willing to “meet and confer” in order to work out the protocols and variables in

such production.




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        Documents requested and produced herein shall be organized and labeled to correspond

with the categories in this request or they shall be produced as kept in the ordinary course of

business.

        If you withhold any document due to a claim of attorney-client privilege, an assertion of

work product doctrine, or any other claim of privilege, including a quality assurance privilege,

you must provide a detailed privilege log to substantiate such claim or assertion in accord with

Rule 34 of the Alabama Rules of Civil Procedure. Consider this a formal request for such a log

pursuant to the aforementioned Rule. Such log should identify each document withheld with

particularity and state the following: (1) the specific subject matter of such document; (2) the

particular length of such document; (3) each person to whom such document was addressed,

copied or blind copied; (4) the preparer and/or author of such document; (5) the particular and

specific reason(s) why such document is considered to be privileged from disclosure. Any such

privilege log should be produced at or prior to the time a response is required under Rule 34.

        The term “you” or “your” shall be construed to mean Defendant FedEx.

        When producing deposition transcripts, please produce travel sized transcript copies

provided such transcripts contain the same testimony and information as full-sized deposition

transcripts. If such information differs between the two, please produce all copies of any such

transcripts.



                                 DOCUMENTS REQUESTED

1. Please produce the entire drug and alcohol file of Defendant Avent including but not limited

    to pre-employment, post accident, random, reasonable suspicion, and return to duty drug and

    alcohol testing results.

2. Please produce the entire safety performance history file for Defendant Avent.

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3. Please produce any and all state safety audits of Defendant FedEx for the year of this

   collision and three years prior.

4. Please produce any and all accident reports filed by Defendant FedEx the year of this

   collision and three years prior.

5. Produce any and all photographs taken by or on behalf of the Defendants which depict any

   and all vehicles involved in the collision.

6. Produce any and all photographs taken by or on behalf of the Defendants which depict the

   accident scene.

7. Produce copies of any and all accident documentation kit materials, including, but not limited

   to, photographs, diagrams, scene information forms, notes by the driver or his companion,

   exoneration cards, emergency telephone aid cards, witness cards, and any and all other

   information which has anything to do with the collision at issue.

8. Produce any photographs take of the vehicle operated by the driver at the scene of the

   collision, or anytime after.

9. Produce copies of any documentation evidencing the completion or non-completion of

   training programs and driver orientation programs by Defendant Avent.

10. Produce all policies including liability, general liability, excess umbrella for the vehicle and

   any other insurance that will cover or arguably cover this collision.

11. Please produce a copy of the completion or non-completion of any safe driving programs by

   Defendant Avent.

12. Please produce a copy of any and all pre-maintenance inspection reports for the vehicle
   occupied by Defendant Avent on April 3, 2020 for six months prior to April 3, 2020.
13. Please produce any and all medical records of Defendant Avent.
14. Please produce a copy of the driver manual or handbook issued to Defendant Avent.


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15. Please produce a copy of the company safety rules issued to Defendant Avent.

16. As to Defendant Avent, produce any and all of the following documents and records

   (including documents which are not now in existence but which can be generated by

   computer from the information stored by or in computers):

       (a.)   Qualification file;

       (b.)   Personnel file;

       (c.)   Any and all written tests;

       (d.)   Any and all disciplinary actions;

       (e.)   Any and all violations of company policy;

       (f.)   Medical Examination Report Form completed by Medical

              Examiner prior to issuing Medical Certificate;

       (g.)   Log books for three (3) months prior to collision, including the

              entire month in which the collision occurred;

       (h.)   Time sheets for three (3) months prior to collision, including the

              entire month in which the collision occurred;

       (i.)   Results of all drug and alcohol tests;

       (j.)   Gas receipts, charge card receipts, hotel receipts, and restaurant

              receipts for three (3) months prior to the collision, including the

              entire month in which the collision occurred;

       (k.)   Payroll records for three (3) months prior to the collision including

              the entire month in which the collision occurred;

       (l.)   Trip receipts for three (3) months prior to the collision including

              the entire month in which the collision occurred;



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      (m.)   Any and all log audit summaries and time sheet summaries for

             three (3) months prior to the collision;

      (n.)   Documentation given at driver safety meetings, including visual

             aids;

      (o.)   Documentation regarding phone calls to and from Defendant Avent

             regarding accident at issue;

      (p.)   1-800 complaints.

17. As to Defendant FedEx, produce any and all of the following documents and records

   (including documents which are not now in existence but which can be generated by

   computer from information stored by or in computers):

      (a.)   Accident register for the past five (5) years;

      (b.)   State DOT audits for the past ten (10) years;

      (c.)   Federal DOT audits for the past ten (10) years;

      (d.)   Company’s policy manual in effect at the time of the accident;

      (e.)   Motor carrier safety profile;

      (f.)   Violations from DOT inspections for the past three (3) years prior

             to the collision;

      (g.)   Violations from DOT inspections subsequent to the collision;

      (h.)   Safety policies and procedures manual in effect at the time of the

             collision.

18. Produce any and all documents and records (including documents which are not now in

   existence but which can be generated by computer from information stored by or in




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   computers) which have anything to do with Defendant Avent, the collision at issue, and the

   vehicle involved in said collision, including but not limited to, the following:

       (a.)    Registration and Title;

       (b.)    Bill of Sale;

       (c.)    Repairs from any and all previous collisions involving the vehicle

               in question;

       (d.)    Letters to Defendant Avent;

       (e.)    Training and educational documentation;

       (f.)    Documentation regarding phoned in reports concerning accident at

               issue;

       (g.)    All documentation indicating collision at issue was non-

               preventable;

       (h.)    All documentation indicating collision at issue was preventable;

       (i.)    Accident policy and procedures manual in effect at time of

               collision;

       (j)     Accident investigation policies and procedures in effect at time of

               collision.

               collision.

19. To the extent not already produced, please produce all records of Defendant FedEx for the 7

days prior to the collision and for the day of the collision. Specifically, produce the following

materials, as you are required to retain under 49 C.F.R. § 395.8(k) and subsequent DOT guidance

and interpretation of supporting documents.

               A. Bills of lading;



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      B. Carrier pros;

      C. Freight bills;

      D. Dispatch records;

      E. Driver call-in records;

      F. Gate record receipts;

      G. Weight/scale tickets;

      H. Fuel billing statements.

      I. Toll receipts;

      J. International registration plan receipts;

      K. International fuel tax agreement receipts;

      L. Trip permits;

      M. Lessor settlement sheets;

      N. Port of entry receipts;

      O. Cash advance receipts;

      P. Delivery receipts;

      Q. Lumper receipts;

      R. Interchange and inspection reports;

      S. Over/short and damage reports;

      T. Agricultural inspection reports;

      U. Commercial Vehicle Safety Alliance reports;

      V. Accident reports;

      W. Telephone billing statements;

      X. Credit card receipts;



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                 Y. Driver fax reports;

                 Z. On-board computer reports;

                 AA.    Border crossing reports;

                 BB.    Custom declarations;

                 CC.    Traffic citations;

                 DD.    Overweight/oversize reports and citations;

                 EE.    And/or other documents directly related to the motor carrier’s

                        operation which are retained by the motor carrier in connection with the

                        operation of its transportation business.

                 You are reminded under the provisions of Rule 26(e), Alabama Rules of Civil

Procedure, you are under a duty to supplement your disclosures and responses under certain

circumstances.



       February 17, 2021.


                                          Respectfully submitted,
                                          /s/ Carson S. Hale
                                          CARSON S. HALE (HAL120)
                                          ATTORNEY FOR THE PLAINTIFF

OF COUNSEL:
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
Tel. No. (334) 741-4110
Fax No. (888)-853-2247


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                         REQUEST FOR SERVICE OF PROCESS

       The Plaintiff hereby requests that the foregoing be served along with the Summons and

Complaint, upon defendant, by Certified Mail at their respective mailing address as follows:


       Erika Gilmore
       203 Pickens St.
       Eutaw, AL 35462

       Keith Avent
       6400 Yager Dr.
       Moscow, TN 38057

       FedEx Freight, Inc.
       Registered Agent: CT Corporation Systems
       2 North Jackson St., Suite 605
       Montgomery, AL 36104

                                     /s/ Carson S. Hale
                                     CARSON S. HALE
                                     OF COUNSEL




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             IN THE CIRCUIT COURT FOR GREENE COUNTY, ALABAMA


CORNELIUS ROSS,                           *
                                          *
   Plaintiff,                             *
                                          * Case No.: CV - 2021 - ____________
  v.                                      *
                                          *
ERIKA GILMORE, KEITH AVENT, *
FEDEX         FREIGHT,   INC.,      and *
Fictitious Defendants “A,” “B,” and *
“C,” whether singular or plural, those *
other persons, corporations, firms or *
other entities whose wrongful conduct *
caused or contributed to cause the *
injuries and damages to Plaintiff, all of *
whose true and correct names are *
unknown to Plaintiff at this time, but *
will be added by amendment when *
ascertained,                              *
                                          *
   Defendants.                            *
                                          *
 ______________________________________________________________________________
                  PLAINTIFFS’ FIRST REQUEST FOR ADMISSIONS TO
                                   DEFENDANT FEDEX


       Comes now the Plaintiff, in the above-styled cause and pursuant to pursuant to Rule 36 of

the Alabama Rules of Civil Procedure, and request that the Defendant FedEx admit or deny the

following:

   1. Admit or Deny that Defendant motor carrier is an authorized motor carrier as defined by

       the Federal Motor Carrier Safety Regulations.

       RESPONSE:



   2. Admit or Deny that the purpose of the Federal Motor Carrier Safety Administration

       Regulations is to promote safety.

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   RESPONSE:



3. Admit or Deny that Defendant motor carrier is required to comply with the Federal Motor

   Carrier Safety Administration Regulations.

   RESPONSE:



4. Admit or Deny that the State of Alabama has adopted the Federal Motor Carrier Safety

   Administration Regulations.

   RESPONSE:



5. Admit or Deny that the Federal Motor Carrier Safety Administration Regulations require

   accurate record keeping.

   RESPONSE:



6. Admit or Deny that the Federal Motor Carrier Safety Administration Regulations requires

   Defendant motor carrier to qualify its driver.

   RESPONSE:



7. Admit or Deny that the Federal Motor Carrier Safety Administration Regulations requires

   a written and signed driver’s application for employment.

   RESPONSE:




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8. Admit or Deny that the Federal Motor Carrier Safety Administration Regulations requires

   an investigation of the Defendant motor carrier’s driver’s employment record for the

   three years preceding the date of the driver’s application.

   RESPONSE:



9. Admit or Deny that the Federal Motor Carrier Safety Administration Regulations requires

   Defendant motor carrier to verify the motor vehicle record for the three years preceding

   the date of the driver’s application.

   RESPONSE:



10. Admit or Deny that the Federal Motor Carrier Safety Administration Regulations requires

   Defendant motor carrier to request driving records annually for its drivers.

   RESPONSE:



11. Admit or Deny that the Federal Motor Carrier Safety Administration Regulations requires

   Defendant motor carrier to perform an annual review of its drivers’ driving records.

   RESPONSE:



12. Admit or Deny that the Federal Motor Carrier Safety Administration Regulations requires

   Defendant motor carrier to prepare a driver’s Certification of Violations annually.

   RESPONSE:




                                            23
                                       DOCUMENT 5
   Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 78 of 505




13. Admit or Deny that the Federal Motor Carrier Safety Administration Regulations require

   Defendant motor carrier’s drivers to successfully complete a road test or its equivalent

   before allowing said driver to operate a commercial vehicle.

   RESPONSE:



14. Admit or Deny that the Federal Motor Carrier Safety Administration Regulations requires

   Defendant motor carrier’s drivers to pass a Medical Examination conducted by a licensed

   health care professional prior to allowing said driver to operate its commercial vehicle.

   RESPONSE:



15. Admit or Deny that the Federal Motor Carrier Safety Administration Regulations requires

   Defendant motor carrier to train its drivers prior to allowing the driver to operate its

   commercial vehicle.

   RESPONSE:



16. Admit or Deny that the Federal Motor Carrier Safety Administration Regulations requires

   that daily inspection reports be prepared by the driver of Defendant motor carrier’s

   commercial vehicle.

   RESPONSE:



17. Admit or Deny that the Federal Motor Carrier Safety Administration Regulations requires

   Defendant motor carrier to perform annual inspections of its trucks.

   RESPONSE:



                                             24
                                        DOCUMENT 5
     Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 79 of 505




  18. Admit or Deny that the Federal Motor Carrier Safety Administration Regulations requires

     Defendant motor carrier to supervise its drivers.

     RESPONSE:

  19. Admit or Deny that Defendant FedEx was properly served with a a copy of the Summons

     and Complaint in the above-styled action.

     RESPONSE:

  20. Admit or Deny that your name, as listed in the Complaint, is stated and spelled correctly.

     RESPONSE:

  21. Admit or Deny that jurisdiction and venue are proper in this case.

     RESPONSE:



     This February 17, 2021.


                                    Respectfully submitted,


                                    /s/ Carson S. Hale
                                    CARSON S. HALE (HAL120)
                                    ATTORNEY FOR THE PLAINTIFF

OF COUNSEL:
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
Tel. No. (334) 741-4110
Fax No. (888)-853-2247


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                                              25
                                         DOCUMENT 5
       Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 80 of 505




                         REQUEST FOR SERVICE OF PROCESS

       The Plaintiff hereby requests that the foregoing be served along with the Summons and

Complaint, upon defendant, by Certified Mail at their respective mailing address as follows:


       Erika Gilmore
       203 Pickens St.
       Eutaw, AL 35462

       Keith Avent
       6400 Yager Dr.
       Moscow, TN 38057

       FedEx Freight, Inc.
       Registered Agent: CT Corporation Systems
       2 North Jackson St., Suite 605
       Montgomery, AL 36104

                                     /s/ Carson S. Hale
                                     CARSON S. HALE
                                     OF COUNSEL




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                                               26
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 81 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: CARSON SCOTT HALE
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following complaint was FILED on 2/17/2021 8:25:17 AM




    Notice Date:    2/17/2021 8:25:17 AM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 82 of 505


                                        AlaFile E-Notice




                                                                          35-CV-2021-900009.00


To: ERIKA GILMORE
    203 PICKENS ST.
    EUTAW, AL, 35462




                   NOTICE OF ELECTRONIC FILING
                       IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following complaint was FILED on 2/17/2021 8:25:17 AM




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                                                                    VERONICA MORTON-JONES
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                                                                    GREENE COUNTY, ALABAMA
                                                                        400 MORROW AVENUE
                                                                             EUTAW, AL, 35462

                                                                                    205-372-3598
                                                                      veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 83 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: KEITH AVENT
    6400 YAGER DR.
    MOSCOW, TN, 38057




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following complaint was FILED on 2/17/2021 8:25:17 AM




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                                                                  VERONICA MORTON-JONES
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                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 84 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: FEDEX FREIGHT, INC.
    2 N JACKSON ST, STE 605
    MONTGOMERY, AL, 36104




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following complaint was FILED on 2/17/2021 8:25:17 AM




    Notice Date:    2/17/2021 8:25:17 AM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
                Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 85 of 505

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                     SUMMONS
                                                                                                      35-CV-2021-900009.00
Form C-34 Rev. 4/2017                                 - CIVIL -
                                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
                                       CORNELIUS ROSS V. ERIKA GILMORE ET AL
  NOTICE TO:       ERIKA GILMORE, 203 PICKENS ST., EUTAW, AL 35462

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  CARSON SCOTT HALE                                                                              ,
                                                          [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 145 E. MAGNOLIA AVE. SUITE 201, AUBURN, AL 36830                                                                  .
                                                                       [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of CORNELIUS ROSS
     pursuant to the Alabama Rules of the Civil Procedure.                                      [Name(s)]

                02/17/2021                           /s/ VERONICA MORTON-JONES              By:
                     (Date)                                              (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                         /s/ CARSON SCOTT HALE
                                                                 (Plaintiff's/Attorney's Signature)


                                                     RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                          (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                    (Name of County)

  Alabama on                                               .
                                   (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                      (Server's Signature)


                                                (Server's Printed Name)                               (Phone Number of Server)
                Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 86 of 505

State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     35-CV-2021-900009.00
Form C-34 Rev. 4/2017                                - CIVIL -
                                IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
                                      CORNELIUS ROSS V. ERIKA GILMORE ET AL
  NOTICE TO:       KEITH AVENT, 6400 YAGER DR., MOSCOW, TN 38057

                                                              (Name and Address of Defendant)
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  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
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  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  CARSON SCOTT HALE                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 145 E. MAGNOLIA AVE. SUITE 201, AUBURN, AL 36830                                                                 .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
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     pursuant to the Alabama Rules of the Civil Procedure.                                      [Name(s)]

                02/17/2021                           /s/ VERONICA MORTON-JONES              By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ CARSON SCOTT HALE
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                   (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
                Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 87 of 505

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                     SUMMONS
                                                                                                      35-CV-2021-900009.00
Form C-34 Rev. 4/2017                                 - CIVIL -
                                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
                                       CORNELIUS ROSS V. ERIKA GILMORE ET AL
  NOTICE TO:       FEDEX FREIGHT, INC., 2 N JACKSON ST, STE 605, MONTGOMERY, AL 36104

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  CARSON SCOTT HALE                                                                              ,
                                                          [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 145 E. MAGNOLIA AVE. SUITE 201, AUBURN, AL 36830                                                                  .
                                                                       [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
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              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
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     pursuant to the Alabama Rules of the Civil Procedure.                                      [Name(s)]

                02/17/2021                           /s/ VERONICA MORTON-JONES              By:
                     (Date)                                              (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                         /s/ CARSON SCOTT HALE
                                                                 (Plaintiff's/Attorney's Signature)


                                                    RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                          (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                    (Name of County)

  Alabama on                                               .
                                   (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                      (Server's Signature)


                                                (Server's Printed Name)                               (Phone Number of Server)
                  !                                  DOCUMENT 88
                                                     DOCUMENT

                          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 88 of 505
                      USPSTRACKWG#
                                                                                              First-Class Mall
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        United States         • Sender Pfease print your name, address, and ZIP+4® in this box’
        Postal Service

                                                 Veronica Morton-Jones
                                          Circuit and District Court Clerk
                                                        RO. Box 307
                                                     Eutaw, AL 35462




I
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                                                            DOCUMENT 88
                                                          — DOCUMENT
i
                                 Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 89 of 505
j




    SENDER: COMPLE * t THIS SECTION                                COMPLETE THIS SECTION ON DELIVERY


                                                                   A. Signature
;      Complete Items 1,2, and 3.
       Print your name and address on the reverse                                                                          D Agent
       so that we can return the card to you                                                                         “
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                                                                   B. Revived by (Bwied tone)                      1 Date of' Delivery
                                                                                                                   C.
    * Attach this card to the back of the mailplece,
       or on the front If space permits.                                                                      FT3 2 2 TIT
    1. Article Addressed to:                                       D. Is defivay address different from item 1?              Yes
                                                                          If YES, enter delivery address below:            QNo

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                                                                 3. Service Type                                Priority Mall Express®
                                                                  Adult Signature

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                                                                  Adult Signature Restricted Delivery           Registered Mail Restricted
                                                                 !K»d Mall®                                     Delivery
            9590 9402 6286 0274 8988 06                             Certified Mell Restricted Delivery          Signature Confirmation™
                                                                    Collect on Delivery                         Signature Confirmation  .
    2. Article Number (Dansfer from service label)                  Collect on Delivery Restricted Dellvaty     Restricted Delivery
                                                                    Insured Mall
                                                                            Mall Restricted Delivery
         7020 2450 0000 355fa 5251                                          DO) ... -

    PS Form 3811, July 2020 PSN 7530-02-000-9053                                                          Domestic Return Receipt j
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 90 of 505


                                      AlaFile E-Notice




                                                                           35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: HALE CARSON SCOTT
    chale@slocumblaw.com




                           NOTICE OF SERVICE
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                            The following matter was served on 2/26/2021

                                    D003 FEDEX FREIGHT, INC.
                                         Corresponding To
                                         CERTIFIED MAIL




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
            Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 91 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following answer was FILED on 3/22/2021 1:25:29 PM




     Notice Date:    3/22/2021 1:25:29 PM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
                                         DOCUMENT 10
        Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 PageELECTRONICALLY
                                                                92 3/22/2021    FILED
                                                                   of 505 1:26 PM
                                                                               35-CV-2021-900009.00
                                                                               CIRCUIT COURT OF
                                                                           GREENE COUNTY, ALABAMA
                                                                         VERONICA MORTON-JONES, CLERK
                  IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
 CORNELIUS ROSS,                   )
                                   )
 Plaintiff,                        )
                                   )
 v.                                )
                                   )                   Civil Action No.: CV-2021-900009
 ERIKA GILMORE, KEITH AVENT, FEDEX )
 FREIGHT, INC., et al.             )
                                   )
 Defendants.



                                    ANSWER TO COMPLAINT


        COMES NOW the Defendant, FEDEX FREIGHT, INC. d/b/a FEDEX FREIGHT, by and

through the undersigned counsel, and for Answer to Plaintiff’s Complaint sets down and assigns

the following defenses:


                                         First Defense


        Defendant denies each and every material averment not previously admitted herein above

and demands strict proof thereof.


                                       Second Defense


        Defendant pleads the general issue.


                                         Third Defense


        Defendant denies the material allegations contained in Plaintiff’s Complaint and demands

strict proof thereof.


                                        Fourth Defense


        The Complaint fails to state a claim against Defendant upon which relief can be granted.




{DOC# 00716601}
                                           DOCUMENT 10
        Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 93 of 505



                                           Fifth Defense


        Defendant avers the Plaintiff was guilty of contributory negligence on the occasion made

the subject of this action.


                                          Sixth Defense


        Plaintiff’s claims are barred by the equitable doctrines of waiver and estoppel.


                                         Seventh Defense


        Defendant pleads the doctrines of laches and unclean hands.


                                          Eighth Defense


        Defendant pleads the doctrine of last clear chance.


                                          Ninth Defense


        Defendant pleads the applicable statute of limitations.


                                          Tenth Defense


        Defendant pleads the defense of no personal or subject-matter jurisdiction.


                                        Eleventh Defense


        Defendant says the Plaintiff and/or his driver violated one or more of the Rules of the Road

of the State of Alabama, and such violation proximately caused, or contributed to cause, the

injuries complained of in the Plaintiff’s Complaint.


                                         Twelfth Defense


        For that on the occasion complained of, the Plaintiff assumed the risk of his injuries, with

knowledge of the dangers involved in the act the Plaintiff was performing at the time of said

injuries.

{DOC# 00716601}                                   2
                                               DOCUMENT 10
       Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 94 of 505



                                         Thirteenth Defense


        For that there is no causal connection or relationship between any alleged negligence or

wantonness/recklessness on the part of Defendant and the Plaintiff’s injuries or damages.


                                         Fourteenth Defense


        Defendant denies there was any causal relationship between any of its alleged activities

and the alleged injuries of the Plaintiff.


                                             Fifteenth Defense


        Defendant avers the Plaintiff’s injuries were proximately caused by the intervening acts of

others or an intervening cause.


                                             Sixteenth Defense


        Defendant claims as a set off any monies received by, or paid on behalf of, the Plaintiff for

the acts or injuries alleged in the Plaintiff’s Complaint, including insurance proceeds or

settlements of any kind.


                                        Seventeenth Defense


        Defendant pleads the defense of sudden emergency.


                                         Eighteenth Defense


        Defendant denies the Plaintiff was injured to the nature and extent claimed and contests

damages.


                                         Nineteenth Defense




{DOC# 00716601}                                      3
                                         DOCUMENT 10
       Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 95 of 505



       Defendant denies Plaintiff’s injuries were proximately caused by the accident.


                                       Twentieth Defense


       Defendant pleads as a defense that the Plaintiff failed to mitigate his damages.


                                     Twenty-First Defense


       Defendant pleads the defense of improper service and process of service.


                                   Twenty-Second Defense


       Defendant pleads the defense of unavoidable accident.


                                     Twenty-Third Defense


       Defendant asserts the Plaintiff’s Complaint is due to be dismissed for failure to join a

necessary and indispensable party.


                                     Twenty-Fourth Defense


       Defendant pleads improper venue.


                                     Twenty-Fifth Defense


       Defendant is not guilty of any conduct that would warrant the imposition of punitive

damages against it.


                                     Twenty-Sixth Defense


       Plaintiff’s Complaint, to the extent it seeks exemplary or punitive damages, violates

Defendant’s rights to procedural due process under the Fourteenth Amendment of the United

States Constitution, and under the Constitution of the State of Alabama and, therefore, fails to

state a cause of action under which either punitive or exemplary damages may be awarded.




{DOC# 00716601}                                4
                                          DOCUMENT 10
       Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 96 of 505



                                   Twenty-Seventh Defense


       Plaintiff’s Complaint, to the extent it seeks punitive or exemplary damages, violates

Defendant’s right to protection from “excessive fines” as provided in the Eighth Amendment of the

United States Constitution and in Article I, § 15 of the Constitution of the State of Alabama. Same

also violates Defendant’s right to due process as provided in the Fifth and Fourteenth

Amendments of the United States Constitution and as provided in the Constitution of Alabama,

and fails to state a cause of action supporting the imposition of punitive or exemplary damages.


                                    Twenty-Eighth Defense


       Any award of punitive damages to the Plaintiff in this case would violate the constitutional

safeguards provided to Defendant under the Constitution of the United States of America.


                                     Twenty-Ninth Defense


       Any award of punitive damages to the Plaintiff in this case would violate the constitutional

safeguards provided to Defendant under the due process clause of the Fourteenth Amendment

of the United States Constitution in that punitive damages are vague and not rationally related to

legitimate government concern or interest.


                                        Thirtieth Defense


       Any award of punitive damages to the Plaintiff in this case would violate Article I, § 6 of

the Constitution of the State of Alabama, which provides that no person shall be deprived of life,

liberty, or property except by due process of law, in that punitive damages are vague and not

rationally related to legitimate government concern or interest.


                                      Thirty-First Defense


        Any award of punitive damages to the Plaintiff in this case would violate the procedural

safeguards provided to Defendant under the Sixth Amendment to the Constitution of the United

{DOC# 00716601}                                  5
                                               DOCUMENT 10
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 97 of 505



States in that punitive damages are penal in nature and, consequently, Defendant is entitled to

the same procedural safeguards afforded to a criminal defendant.


                                         Thirty-Second Defense


          It is violative of the self-incrimination clause of the Fifth Amendment to the Constitution of

the United States of America to impose upon Defendant punitive damages, which are penal in

nature, yet compel Defendant to disclose potentially incriminating documents and evidence.


                                           Thirty-Third Defense


          It is violative of the self-incrimination clause of Article I, § 6 of the Constitution of the State

of Alabama to impose against Defendant punitive damages, which are penal in nature, yet compel

Defendant to disclose potentially incriminating documents and evidence.


                                          Thirty-Fourth Defense


          It is violative of the rights guaranteed by the United States Constitution and the Alabama

Constitution to impose against Defendant punitive damages, which are penal in nature, by

requiring a burden of proof by the Plaintiff which is less than the “beyond a reasonable doubt”

burden required in criminal cases.


                                           Thirty-Fifth Defense


          Any award of punitive damages to the Plaintiff in this case will violate the Eighth

Amendment of the United States Constitution in that said damages would be an excessive fine in

violation of the Excessive Fine Clause to the Eighth Amendment of the Constitution of the United

States.




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                                       Thirty-Sixth Defense


       Any award of punitive damages to the Plaintiff in this case would violate the Equal

Protection Clause of the Fourteenth Amendment of the Constitution of the United States.


                                     Thirty-Seventh Defense


       The imposition of punitive damages in this case violates the Due Process Clause of

Amendments V and XIV to the United States Constitution, and Article I, Sections 1, 2, 6, 11, 13,

15, 27, and 35 of the Alabama Constitution, because the authorization for unlimited punitive

damage awards has the substantial chilling effect on the exercise of fundamental rights to order,

liberty and of access to the courts. Among other things, the present procedure and standards for

imposing punitive damages are unconstitutionally vague and violate due process under the state

and federal constitution provisions by: (1) failing to provide sufficiently objective and specific

standards by which a jury may decide whether to award punitive damages and to determine the

amount of punitive damage awards; (2) failing to provide sufficiently objective and specific

standards by which a jury may impose punitive damages based upon the culpability of alleged

tort-feasors; (3) failing to provide sufficiently objective and specific guidelines by which a jury may

award punitive damages against multiple defendants for different alleged acts of wrong doing; (4)

failing to provide sufficiently objective and specific standards by which a jury may award separate

judgments against alleged joint-feasors; (5) by failing to provide sufficiently clear, objective, and

specific standard for appellate review for punitive damages; and (6) by failing to provide a

meaningful opportunity for challenging the excessiveness of such awards.


                                      Thirty-Eighth Defense


       The imposition of punitive damages in this case violates the Equal Protection Clause

Amendments V and XIV of the United States Constitution, and deprives Defendant of the right to

equal protection under the law provided in Article I, Sections 1, 6, and 22 of the Alabama


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Constitution, because, among other reasons, a criminal defendant is placed in a position of

distinctive advantage over a civil defendant of comparable culpability due to the disparity and

punitive treatment for similar conduct, and because of the absence of sufficiently objective and

specific standards for the imposition of punitive damages which fails to ensure equal treatment

between similarly situated defendants.


                                       Thirty-Ninth Defense


       Any and all claims for punitive damages in this action are limited in amount by application

of Alabama Code § 6-11-21 (1975), which provides an award of punitive damages shall not

exceed $1,500,000.00.


                                         Fortieth Defense


       Defendant pleads application of § 6-11-27 of the Alabama Code, which expressly limits

the imposition of vicarious liability for the punitive damages authorized to situations in which the

principal has either negligently employed or continued to employ the agent guilty of the alleged

misconduct; participates in, authorizes or ratifies such misconduct.


                                        Forty-First Defense


       The award of punitive damages against Defendant in this action violates the due process

clause of the United States Constitution, in accordance with the decisions of the United States

Supreme Court in BMW v. Gore, 517 U.S. 559 (1996), and the Alabama Supreme Court in BMW

v. Gore, 701 So. 2d 507 (Ala. 1997), or Phillip Morris USA v. Williams, 127 S. Ct. 1057 (2007), on

the following grounds:


               a.        It is a violation of Defendant’s right to due process to impose punitive

damages to deter future conduct, where less drastic remedies could achieve this goal;




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                b.         It is a violation of due process to subject Defendant to punitive damages

without providing Defendant fair notice of the conduct that will subject it to punishment and the

severity of the penalty that may be imposed;


                c.         It is a violation of Defendant’s rights to due process to impose punitive

damages which are grossly excessive.


                                        Forty-Second Defense


        "[T]he Due Process Clause forbids a State to use a punitive damages award to punish a

Defendant for injury that it inflicts upon non-parties or those whom they directly represent, i.e.,

injury that it inflicts upon those who are, essentially, strangers to the litigation." Phillip Morris USA

v. Williams, 127 S. Ct. 1057 (2007).


                                             Forty-Third Defense


        Defendant denies Mr. Avent was incompetent; denies it had knowledge of Mr. Avent’s

incompetence;        and      denies    it     exercised   a   lack     of    reasonable      care     in

hiring/training/retaining/supervising Mr. Avent and/or entrusting Mr. Avent with any of its

equipment.




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                                    Forty-Fourth Defense


       Defendant avers that Plaintiff contributed to his negligence when riding as a passenger

with an incompetent and/or impaired driver violating Section 32-5A-191 of the Code of Alabama.


                                     Forty-Fifth Defense


       Defendant pleads forum non conveniens pursuant to Ala. Code Section 6-3-21.1.


                                     Forty-Sixth Defense


       Defendant reserves the right to amend its Answer to include any other matter that might

constitute an avoidance or affirmative defense.



DEFENDANT HEREBY DEMANDS TRIAL BY STRUCK JURY ON ALL ISSUES SO TRIABLE



                                            Respectfully submitted,

                                             /s/ Sara Elizabeth Delisle
                                            Lea Richmond, IV (RIC062)
                                            Sara Elizabeth DeLisle (DEL025)
                                            Attorneys for Defendant FedEx Freight


OF COUNSEL:

CARR ALLISON
100 Vestavia Parkway
Birmingham, Alabama 35216
Telephone:    (205) 822-2006
Facsimile:    (205) 822-2057
E-mail:       lrichmond@carrallison.com
              sbdelisle@carrallison.com




{DOC# 00716601}                                   10
                                         DOCUMENT 10
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 102 of 505



                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 22nd day of March, 2021, I have served a copy of the above
and foregoing on counsel for all parties by:


              Facsimile transmission;
              Hand Delivery;
              Electronic Mail;
              Placing a copy of same in the United States Mail, properly
              addressed and first-class postage prepaid to; and/or
         X    Using the Alafile or CM/ECF system which will send notifications
              of such to the following:


Carson S. Hale, Esq.
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave, Suite 201
Auburn, Alabama 36830
chale@slocumblaw.com

                                                    /s/ Sara Elizabeth DeLisle
                                                    OF COUNSEL




{DOC# 00716601}                                11
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                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following answer was FILED on 3/22/2021 1:25:29 PM




     Notice Date:    3/22/2021 1:25:29 PM




                                                                  VERONICA MORTON-JONES
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                                                                  GREENE COUNTY, ALABAMA
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                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
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                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 105 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
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                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 106 of 505


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                                                                        35-CV-2021-900009.00


To: FEDEX FREIGHT, INC. (PRO SE)
    2 N JACKSON ST, STE 605
    MONTGOMERY, AL, 36104-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 107 of 505


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                                                                        35-CV-2021-900009.00


To: HALE CARSON SCOTT
    chale@slocumblaw.com




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                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 108 of 505


                                       AlaFile E-Notice




                                                                          35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: DELISLE SARA ELIZABETH
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                        The following matter was FILED on 3/22/2021 1:42:19 PM

                                     D003 FEDEX FREIGHT, INC.
                           MOTION FOR CHANGE OF VENUE/TRANSFER
                                  [Filer: SAUNDERS ANNA CERISE]


     Notice Date:    3/22/2021 1:42:19 PM




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
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                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
                                                                              DOCUMENT 12
         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                                 1093/22/2021      FILED
                                                                      of 505 1:42 PM
STATE OF ALABAMA             Revised 3/5/08             Case No.   35-CV-2021-900009.00
Unified Judicial System                                                                                                  CIRCUIT COURT OF
35-GREENE                                                         District Court      Circuit Court                  GREENE COUNTY, ALABAMA
                                                                                                             CV202190000900
                                                                                                                   VERONICA MORTON-JONES, CLERK
                                                                                                CIVIL MOTION COVER SHEET
CORNELIUS ROSS V. ERIKA GILMORE ET AL                                              Name of Filing Party:D003 - FEDEX FREIGHT, INC.



Name, Address, and Telephone No. of Attorney or Party. If Not Represented.                      Oral Arguments Requested
 ANNA CERISE SAUNDERS
 100 VESTAVIA PARKWAY
 BIRMINGHAM, AL 35216
Attorney Bar No.: SAU019

                                                                           TYPE OF MOTION
                         Motions Requiring Fee                                                               Motions Not Requiring Fee
      Default Judgment ($50.00)                                                              Add Party
      Joinder in Other Party's Dispositive Motion                                            Amend
      (i.e.Summary Judgment, Judgment on the Pleadings,                                      Change of Venue/Transfer
      orother Dispositive Motion not pursuant to Rule 12(b))
      ($50.00)                                                                               Compel
      Judgment on the Pleadings ($50.00)                                                     Consolidation
      Motion to Dismiss, or in the Alternative                                               Continue
      SummaryJudgment($50.00)                                                                Deposition
      Renewed Dispositive Motion(Summary                                                     Designate a Mediator
      Judgment,Judgment on the Pleadings, or other                                           Judgment as a Matter of Law (during Trial)
      DispositiveMotion not pursuant to Rule 12(b)) ($50.00)
                                                                                             Disburse Funds
      Summary Judgment pursuant to Rule 56($50.00)
                                                                                             Extension of Time
      Motion to Intervene ($297.00)
                                                                                             In Limine
      Other
                                                                                             Joinder
  pursuant to Rule                                                         ($50.00)
                                                                                             More Definite Statement
  *Motion fees are enumerated in §12-19-71(a). Fees                                          Motion to Dismiss pursuant to Rule 12(b)
  pursuant to Local Act are not included. Please contact the                                 New Trial
  Clerk of the Court regarding applicable local fees.
                                                                                             Objection of Exemptions Claimed
      Local Court Costs $               0                                                    Pendente Lite
                                                                                             Plaintiff's Motion to Dismiss
                                                                                             Preliminary Injunction
                                                                                             Protective Order
                                                                                             Quash
                                                                                             Release from Stay of Execution
                                                                                             Sanctions
                                                                                             Sever
                                                                                             Special Practice in Alabama
                                                                                             Stay
                                                                                             Strike
                                                                                             Supplement to Pending Motion
                                                                                             Vacate or Modify
                                                                                             Withdraw
                                                                                            Other
                                                                                          pursuant to Rule                               (Subject to Filing Fee)
Check here if you have filed or are filing contemoraneously                                                  Signature of Attorney or Party
with this motion an Affidavit of Substantial Hardship or if you
                                                                   Date:
                                                                                                             /s/ ANNA CERISE SAUNDERS
are filing on behalf of an agency or department of the State,
county, or municipal government. (Pursuant to §6-5-1 Code
                                                                   3/22/2021 1:42:12 PM
of Alabama (1975), governmental entities are exempt from
prepayment of filing fees)

*This Cover Sheet must be completed and submitted to the Clerk of Court upon the filing of any motion. Each motion should contain a separate Cover Sheet.
**Motions titled 'Motion to Dismiss' that are not pursuant to Rule 12(b) and are in fact Motions for Summary Judgments are subject to filing fee.
                                           DOCUMENT 13
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                                                                                   CIRCUIT COURT OF
                                                                               GREENE COUNTY, ALABAMA
                                                                             VERONICA MORTON-JONES, CLERK

                  IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
    CORNELIUS ROSS,                   )
                                      )
    Plaintiff,                        )
                                      )
    v.                                )
                                      )                   Civil Action No.: CV-2021-900009
    ERIKA GILMORE, KEITH AVENT, FEDEX )
    FREIGHT, INC., et al.             )                         HEARING REQUESTED
                                      )
    Defendants.



                        DEFENDANT’S MOTION TO TRANSFER VENUE


        Plaintiff Cornelius Ross, a resident of Jefferson County, was riding in the car late at night

with an intoxicated Defendant Erika Gilmore on Glasgow Hollow Road in Jefferson County when

Defendant Gilmore failed to yield to the right-of-way at a stop sign, pulled out onto Highway 78

into the right lane directly in front of FedEx Freight driver Avent, and collided with Avent’s tractor-

trailer1. Investigating Officers Milton W. Bice and James Eastis responded to the scene from the

Adamsville Police Department, which is located in Jefferson County. Thereafter, Plaintiff Ross

was taken to UAB Hospital in Jefferson County for medical treatment.2

        In short, all the events underlying this action occurred in Jefferson County and

substantially all sources of evidence pertaining to this action are located in Jefferson County.

Pursuant to Ala. Code § 6-3-21.1, and in the interest of justice and convenience to all parties and

persons involved, Defendant FedEx Freight, Inc. d/b/a FedEx Freight (“FXF”) moves this Court to

transfer this action to the Circuit Court of Jefferson County, Alabama.




1 (See generally Complaint, Doc. 2; Affidavit of Deputy Eastis, attached hereto as Exhibit 1; Alabama
Uniform Traffic Crash Report, attached to Exhibit 1 as Exhibit A, hereinafter “Exhibit 1A”).
2 (Ex. 1A).

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                                            DOCUMENT 13
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                                      FACTUAL BACKGROUND

           The accident giving rise to this lawsuit occurred nearly one year ago, on April 3, 2020.3

Plaintiff filed this lawsuit on February 17, 2021, in Greene County, Alabama. Interestingly, Plaintiff

brought this action against Defendant Gilmore, who was driving him at the time of the accident

and allegedly lives in Greene County. Plaintiff has asserted claims for negligence, wantonness,

and negligence per se against Defendant Gilmore. Plaintiff specifically alleges that Defendant

Gilmore violated Section 32-5A-191 of the Alabama Code (1975), which provides that no person

shall operate a vehicle under the influence of alcohol or any substances that renders her incapable

of driving safely. This means Plaintiff voluntarily rode in a vehicle driven by an impaired person

and is now suing that impaired person in order to bring this lawsuit in Greene County.

           Plaintiff also brought claims of negligence and wantonness against FXF Driver Keith Avent

alleging that, as a result of Avent’s negligence and/or wantonness, Avent allowed his vehicle to

collide with the vehicle in which Plaintiff was riding. At all relevant times, Avent was a resident of

Fayette County, Tennessee.

           Plaintiff has also named FXF as a Defendant alleging that Driver Avent was an employee

and/or agent of FXF. Plaintiff brought claims of negligence, wantonness, negligent and wanton

entrustment, negligent and wanton hiring, training, retention, and supervision against FXF. At all

relevant times, FXF’s principal place of business was in Memphis, Tennessee.

           As detailed at great length below, the single event giving rise to this action took

place in Jefferson County and substantially all documents and evidence related to that

event are located in Jefferson County.4 The only connection to Greene County is that one of

three defendants allegedly lives there. Furthermore, Officer Eastis has asserted in his Affidavit



3   (Doc. 2).
4   (Ex. 1, Aff. of Deputy Eastis).
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                                             DOCUMENT 13
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that it would be inconvenient for him to attend trial in Greene County, and much more convenient

to attend trial in Jefferson County.5 Under Ala. Code § 6-3-21.1, the interest of justice and the

convenience of the parties require transfer of this case to the Circuit Court of Jefferson County.

                                              ARGUMENT

           Alabama Code Section 6-3-21.1 provides as follows: “With respect to civil actions filed in

an appropriate venue, any court of general jurisdiction shall, for the convenience of the parties

and witnesses, or in the interest of justice, transfer any civil action or any claim in any civil action

to any court of general jurisdiction in which the action might have been properly filed[.]” Ala. Code

§ 6-3-21.1(a) (emphasis added). As the Alabama Supreme Court has noted, this statute is

“compulsory, and the use of the word “shall” is “imperative and mandatory.” Ex parte Sawyer, 892

So.2d 898, 905 n. 9 (Ala.2004); Ex parte Prudential Ins. Co. of America, 721 So.2d 1135, 1138

(Ala.1998) (comparing the use of the word “shall” in Alabama's interstate forum non

conveniens statute, Ala.Code 1975, § 6–5–430, with its use in § 6–3–21.1). Accordingly, a court

must transfer venue when doing so would (1) serve the convenience of the parties and witnesses;

or (2) serve the interest of justice. Ex Parte Ford Motor Co., 561 So.2d 244, 246 (Ala. Civ. App.

1990). A defendant seeking transfer under § 6-3-21.1 has the initial burden of showing that the

transfer is justified, based on the convenience of the parties and witnesses or based on the

interest of justice. Ex parte Southeast Ala. Timber Harvesting, LLC, 94 So. 3d 371, 373 (Ala.

2012).

           The decision to change venue is, “to some degree, left to the discretion of the court in the

original forum,” but that discretion “is not unbridled.” Ex parte Eng’g Design Group, LLC, 200 So.

3d 634, 643 (Ala. 2016) (holding change of venue was proper and the connection with the county

was strong where the dam made the basis of the suit failed). “[W]here the convenience of the


5   (Ex. 1, Aff. of Deputy Eastis).
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                                            DOCUMENT 13
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parties and witnesses or the interest of justice would be best served by a transfer, § 6-3-

21.1 compels the trial court to transfer the action to the alternative forum.” Ex parte Midsouth

Paving, Inc., 250 So. 3d 527, 531 (Ala. 2017) (internal citation and quotation marks omitted)

(emphasis added); see also Ex parte Maynard, Cooper & Gale, P.C., 280 So. 3d 391, 397 (Ala.

2018).

          Likewise,     the   forum   non     conveniens      statute   imposes      upon     the    trial

courts both “the power and the duty to transfer a case when ‘the interest of justice’ requires a

transfer.” Ex parte Eng’g Design Group, LLC, 200 So. 3d 634, 643 (Ala. 2016) (internal

citations and quotation marks omitted) (emphasis in original).

         While satisfaction of either prong of § 6-3-21.1 mandates transfer, both are met here.

    I.      The “interest of justice” requires transfer to Jefferson County.

         This lawsuit should be transferred to Jefferson County because it has a strong connection

to this lawsuit while Greene County has little to no connection to this lawsuit. The “interest of

justice” prong “requires ‘the transfer of the action from a county with little, if any, connection to the

action, to the county with a strong connection to the action.’” Ex parte Elliott, 254 So. 3d 882, 885

(Ala. Dec. 22, 2017) (quoting Ex parte Nat’l Sec. Ins. Co., 727 So. 3d 788, 790 (Ala. 1998)). In

analyzing this prong, the court should focus on “whether the ‘nexus’ or ‘connection’ between the

plaintiff’s action and the original forum is strong enough to warrant burdening the plaintiff’s forum

with the action.” Id.

         To warrant a transfer, “the county to which transfer is sought must have a ‘strong’ nexus

or connection to the lawsuit, while the county from which the transfer is sought must have a ‘weak’

or ‘little’ connection to the action.” Ex parte J & W Enters., LLC, 150 So. 3d 190, 196 (Ala. 2014).

This analysis considers “the burden of piling court services and resources upon the people of a

county that is not affected by the case and…the interest of the people of a county to have a cause

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that arises in their county tried close to public view in their county.” Ex parte Indiana Mills & Mfg.,

Inc., 10 So. 3d 536, 540 (Ala. 2008) (internal citations and quotation marks omitted).

   “Although it is not a talisman, the fact that the injury occurred in the proposed transferee

county is assigned considerable weight when determining whether to change venue under

interest of justice prong of forum non conveniens statute.” Ex parte Complete Employment

Services, Inc., 158 So.3d 461 (Ala. Civ. App. 2014) (emphasis added).

   A. The interest of justice mandates a transfer to Jefferson County because the
      accident occurred in Jefferson County, the Plaintiff received medical treatment in
      Jefferson County, and no material events occurred in Greene County.

       Jefferson County has a strong connection to this case that warrants transfer from Greene

County, which has a weak connection. As shown in the accident report, the Complaint, and

attached affidavit, all of the issues addressed in Plaintiff’s Complaint took place in Jefferson

County, Alabama. This case must be transferred to Jefferson County because the accident at

issue occurred in Jefferson County and other material factors weigh in favor of the case being

heard there. Plaintiff’s claims arise from Defendant Gilmore, Avent, and FXF’s alleged conduct in

Jefferson County, and Plaintiff received medical care in Jefferson County. Additionally, no

material events concerning the claims in this action occurred in Greene County. See Ex

parte Benton, 226 So.3d 147, 150–51 (Ala. 2016) (explaining that “great weight” must be given

“to the fact that the accident occurred in Shelby County and to the fact that no material events

occurred in Bibb County”); see also Ex parte Complete Employment Services, Inc., 158 So.3d

461 (Ala. Civ. App. 2014) (the fact that the injury occurred in the proposed transferee county is

given “considerable weight” when determining whether to change venue).


       Based on the foregoing, it is beyond dispute that Jefferson County has a strong connection

to this lawsuit. If Defendant Avent or FXF committed any act or omission or breached any

applicable duty of care to Plaintiff, that act or omission or breach of duty of care occurred in
{DOC# 00717348}                                   5
                                           DOCUMENT 13
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Jefferson County. This is a primary determinant of whether a county has a strong connection to

the dispute under Alabama law. See Ex parte Eng’g Design Group, 200 So. 3d at 640 (“in

determining whether a county has a strong connection to a case, the fact that a defendant’s

allegedly wrongful conduct occurred there carries considerably more weight than the fact that a

plaintiff's injury was felt elsewhere”).


        To the extent Plaintiff was harmed by any act or omission of Avent or FXF, that harm

necessarily occurred in Jefferson County where accident occurred. This, too, is a primary

determinant of whether a county has a strong connection to the dispute under Alabama law. Ex

parte Wachovia Bank, 77 So.3d 570, 573-4 (Ala. 2011) (“[T]he fact that the injury occurred in the

proposed transferee county is often assigned considerable weight in an interest-of-justice

analysis.”). In fact, the Alabama Supreme Court has expressly instructed that “litigation should be

handled in the forum where the injury occurred.” Ex parte Fuller, 955 So. 2d 414, 416 (Ala.

2006) (citing Ex parte Sawyer, 892 So. 2d 898, 904 (Ala. 2004)).


        Furthermore, as detailed above, all in-state witnesses, other than the Defendant Gilmore,

with potentially relevant information related to these events are in Jefferson County. (Ex. 2, Aff.

of Deputy Eastis). In addition, all the relevant documents related to the accident are located in

Jefferson County at the Adamsville Police Department. (Ex. 2, Aff. of Deputy Eastis). This

accident occurred on roads in Jefferson County, near a gas station in Jefferson County, and any

potential witnesses—known or unknown at this time—were in Jefferson County at the time of the

accident. Likewise, the emergency medical technicians who responded to this accident were from

Jefferson County and took the Plaintiff to UAB Hospital for treatment in Jefferson County. Thus,

Plaintiff’s treating physicians and emergency medical transportation personnel are in Jefferson

County.


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       On the other hand, Greene County has little to no connection to this case. None of the

relevant events happened in Greene County. None of the parties, save Defendant Gilmore, are

residents of Greene County. The investigating officers who responded to the accident are not

located in Greene County and were not working for Greene County when the accident occurred.

None of the evidence related to this accident is located in Greene County. Importantly, neither

FXF nor Driver Avent are linked to Greene County as both are out-of-state defendants.

Furthermore, a Greene County court and jury should not be burdened with analyzing an accident

that has no connection to their county or with roads and an intersection with which they are likely

unfamiliar.


       The Alabama Supreme Court has repeatedly held that a defendant’s mere residence in a

county is the hallmark of a “weak connection to the case”—in other words, the fact that Defendant

Gilmore allegedly lives in Greene County is a “weak connection to the case” under Alabama law.

Ex parte Eng’g Design Group, 200 So. 3d at 642-43 (citing as examples, inter alia, Ex parte

Morton, 167 So. 3d 295, 302 (Ala. 2014) (noting that Greene County was “connected to th[e] case

only by the fact that[one of the defendants] reside[d] there – a connection this Court has

characterized as ‘weak’”); Ex parte Southeast Ala. Timber Harvesting, LLC, 94 So. 3d 371, 376

(Ala. 2012) (“Chambers County’s sole connection with the case – that it is the principal place of

business of [one of the defendants] – is weak in comparison to Lee County’s connection with the

case.”); Ex parte Wachovia Bank, 77 So. 3d at 575 (noting, in granting a petition for a writ of

mandamus directing the transfer of the case, that “no material act or omission occurred in the

forum county” and that the forum county’s sole contact with the case was that two of the three

defendants resided there); Ex parte Autauga Heating & Cooling, LLC, 58 So. 3d 745, 750 (Ala.

2010) (noting that, where Montgomery County’s only connection to the case was that one

defendant resided there and another conducted business there, there was “no need to burden
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Montgomery County, with its weak connection to the case, with an action that arose in Elmore

County”); and Ex parte Indiana Mills, 10 So. 3d at 542 (noting that, where the only connection

between Macon County and the case was that one defendant resided there and another

defendant did business there, there was no need for Macon County, with its weak connection with

[the] case, to be burdened with an action that arose in Lee County”)).


        In Ex parte Morton, 167 So. 3d 295, 302 (Ala. 2014), the Alabama Supreme Court held

that the trial court abused its discretion in denying the defendants’ motion to transfer venue under

strikingly similar circumstances. The plaintiff there, a resident of Jefferson County, filed a

complaint in the Greene County Circuit Court against Defendant, a resident of Greene County,

asserting claims that arose out of an automobile accident that had occurred in Jefferson County.

Id. at 297. After the accident, Plaintiff was treated at a hospital in Jefferson County and later

received medical treatment at four health-care facilities located in Jefferson County. Id. Morton

filed a motion to transfer the case to Jefferson County based on the doctrine of forum non

conveniens; the trial court denied that motion, and Morton petitioned the Supreme Court of

Alabama for a writ of mandamus. Id. In reversing the trial court’s opinion, the Alabama Supreme

Court noted that,


        Jefferson County has a significantly stronger connection to this case than
        does Greene County, which is connected to this case only by the fact that
        [the sole Defendant] resides there—a connection this Court has
        characterized as weak… Accordingly, the interest of justice overrides
        Plaintiff’s choice of forum.
Id. at 302. (internal citations omitted).


        Similarly, in Ex parte Autauga Heating & Cooling, LLC, the Alabama Supreme Court

issued a writ of mandamus directing the Montgomery Circuit Court—in the interest of justice—to

transfer the action to Elmore County. 58 So.3d at 747. That case arose out of an automobile

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accident involving the Plaintiff, a resident of Elmore County, and Defendant Rogers, a resident of

Montgomery County. The vehicle being operated by Rogers at the time of the accident was owned

by Autauga Heating & Cooling, LLC (‘Autauga’), which had its principal place of business in

Autauga County. The accident occurred in Elmore County, and Plaintiff received treatment at the

scene of the accident from emergency medical personnel who lived in Elmore County. 58 So.3d

at 749. When an action was brought against Defendant Rogers in the county of his residence,

Montgomery County, Rogers sought the removal of the action to Elmore County, the situs of the

alleged acts or omissions and the place of the injury.


       The Alabama Supreme Court concluded that a transfer of the case was required. In so

doing, the Court stated as follows:


       Although we agree with [Plaintiff] that the case has a connection with Montgomery
       County because [Defendant] Rogers is a resident of Montgomery County and
       [Autauga] may have some business connections there, ... the overall connection
       between Montgomery County and this case is weak and ... the connection between
       the case and Elmore County is strong.... Besides the fact that Rogers is a resident
       of Montgomery County, there was no other evidence before the trial court
       indicating a connection between the case and Montgomery County. The accident
       underlying this action occurred in Elmore County, and the emergency personnel
       who responded to the accident were from Elmore County. The plaintiff herself is a
       resident of Elmore County. This Court sees no need to burden Montgomery
       County, with its weak connection to the case, with an action that arose in Elmore
       County simply because the individual defendant resides in Montgomery
       County and the corporate defendant does some business there.
58 So.3d at 750 (emphasis added) (internal citations omitted).


       There, the Court in Autauga relied on and discussed Ex parte Indiana Mills &

Manufacturing, Inc. Ex parte Indiana Mills, 10 So. 3d at 542. In Indiana Mills, the Alabama

Supreme Court again addressed similar facts where the decedent was driving a garbage truck in

Lee County owned by his employer and the truck crashed. Id. at 538. The plaintiff was ejected

from the truck and was transferred to a hospital in Lee County before dying from his injuries. Id.

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The plaintiff’s widow filed a complaint in Macon County against the manufacturers of the garbage

truck and the seat belts in the truck and three employees of the decedent's employer. Id. The

employer's principal place of business was in Tallapoosa County. Id. The employer conducted

business in Macon County, and one of the individual defendants lived in Macon County. Ex parte

Indiana Mills, 10 So. 3d at 538. The defendants moved the trial court to transfer the case to Lee

County based on the doctrine of forum non conveniens. Id. at 539. The trial court denied that

motion, and the defendants petitioned The Alabama Supreme Court for mandamus relief. Id. The

Alabama Supreme Court granted the defendants' mandamus petition and ordered the trial court

to transfer the case from Macon County to Lee County based on the “interest of justice” prong

of § 6–3–21.1. Id. at 539. In doing so, the Court noted that the accident occurred in Lee County,

that the law-enforcement and emergency personnel who had responded to the accident were

based out of Lee County, the chief deputy coroner who investigated the decedent's death did his

work in Lee County, and the records and documents of the fire department that responded to the

accident were located in Lee County. Id. at 541. Comparing this to the fact that only one of the

individual defendants resided in Macon County and that the employer conducted business there,

there being no other relevant facts involving Macon County, the court held that the nexus between

Lee County and the case was strong, the nexus between Macon County and the case was weak,

and the trial court thus had exceeded its discretion in refusing to transfer the case to Lee County.

Ex parte Indiana Mills, 10 So. 3d at 542-43; Ex parte Autauga Heating & Cooling, 58 So.3d at

750 (discussing Ex parte Indiana Mills).


       Here, as in Ex parte Morton, Autauga Heating & Cooling and Indiana Mills, any alleged

injuries to Plaintiff occurred in Jefferson County—the county to which the transfer is sought. Also

here, like Ex parte Morton, Autauga Heating & Cooling and Indiana Mills, no material act or

omission occurred in Greene County—the forum county. Furthermore, as in Indiana Mills, the
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accident investigation here occurred in Jefferson County—the county to which the transfer was

sought.6 And as in Ex parte Morton, Ex parte Autauga Heating & Cooling, LLC, and Ex parte

Indiana Mills & Manufacturing, Inc., Plaintiff is a resident of Jefferson County and received

treatment in medical facilities located in Jefferson County, the county to which the transfer is

sought.7


           Jefferson County clearly has a significantly stronger connection to this case than Greene

County, which is connected to this case only by the fact that one of three defendants resides

there—a connection this Court has characterized as “weak.” See Autauga Heating & Cooling, 58

So.3d at 750 (“This Court sees no need to burden Montgomery County, with its weak connection

to the case, with an action that arose in Elmore County simply because the individual defendant

resides in Montgomery County and the corporate defendant does some business there.”); Indiana

Mills, 10 So.3d at 542 (“We see no need for Macon County, with its weak connection with this

case, to be burdened with an action that arose in Lee County simply because one of several

defendants resides there. Instead, Lee County clearly has a strong connection with this case.”);

see also Ex parte Verbena United Methodist Church, 953 So.2d 395, 400 (Ala.2006) (holding that

the “weak nexus” with the county in which an action was filed did not “justify burdening” that county

with the trial of that action; thus, the doctrine of forum non conveniens required the case be

transferred to a county that had “a much stronger nexus”). Accordingly, FXF has met its burden

of showing that transfer of this action to Jefferson County is justified in the interest of justice.




6   (Ex. 1, Aff. of Deputy Eastis).
7   (Doc. 1).
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   II.      “Convenience for the parties and witnesses” requires transfer to Jefferson
            County.

         The purpose of the doctrine of forum non conveniens is to prevent the waste of time,

energy, and money and to protect witnesses, litigants, and the public against unnecessary

expense and inconvenience. Ex parte Sanders, 2020 WL 3478601 (Ala. 2020). As the Alabama

Supreme Court has stated, “‘one of the fundamental purposes of the doctrine of forum non

conveniens is to spare witnesses the unnecessary inconvenience associated with testifying in a

distant forum.’” Id. (quoting Ex parte Sawyer, 892 So. 3d at 904). In determining whether transfer

is appropriate, the trial court should consider “the relative ease of access to sources of proof, the

location of the evidence, the availability of compulsory process for the attendance of unwilling

witnesses, the cost of obtaining the attendance of willing witnesses, the possibility of a view of

the premises, if a view would be appropriate to the action, and any other matter in order to assess

the degree of actual difficulty and hardship that would result to the defendant in litigating the case

in the forum chosen by the plaintiff.” Ex parte DaimlerChrysler Corp., 899 So. 2d 928, 934 (Ala.

2004) (quoting Ex parte Ben-Acadia, Ltd., 566 So. 2d 486, 488 (Ala. 1990)); Ex parte Kia Motors,

America, Inc., 881 So. 2d 396, 400 (Ala. 2003).


         Although Defendant Gilmore resides in Greene County, this action arises out of an

accident that occurred in Jefferson County, involves a plaintiff who resides in Jefferson County,

and another out-of-state driver who was driving thru Jefferson County when the accident

occurred. The evidence essential to this lawsuit is in Jefferson County. Furthermore, the

investigating officer, Deputy Eastis, who was working in Jefferson County when this accident

occurred stated clearly in his Affidavit that Jefferson County is a significantly more convenient




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forum for him.8 Jefferson County is a far more convenient forum for four of three parties to this

lawsuit.


           Likewise, all documents, files, and evidence related to the accident at issue in the

complaint are located in Jefferson County.9 “The substance of a nonparty witness’s testimony is

equally as important as the witness’s physical location when determining whether the doctrine of

forum non conveniens is applicable.” Ex parte DaimlerChrysler, So. 2d at 936 (citing Ex parte

Preston Hood Chevrolet, Inc., 638 So. 2d 842, 845 (Ala. 1994)). The attached affidavit shows that

Jefferson County holds substantially all of the documents, files, information, and other evidence

concerning the accident forming the basis of the complaint. Further, the Plaintiff resides in

Jefferson County, and the investigating officer has stated it would be far more convenient for them

to attend court proceedings or other discovery proceedings in Jefferson County. Likewise, the

emergency medical technicians who responded to this accident came from Jefferson County, the

treatment facility and treating physicians were in Jefferson County, and any potential witnesses

to the accident were in Jefferson County at the time of the accident. Accordingly, the convenience

of the parties mandates transfer of this case to Jefferson County.


                                            CONCLUSION


           This personal injury action arises from a motor vehicle accident that occurred entirely in

Jefferson County, Alabama and involves (1) a Plaintiff who resides in Jefferson County; (2) two

Defendants, FedEx Freight, and its driver, Keith Avent, who were doing business in Jefferson

County at the time of the accident; (3) investigating officers who responded to this accident who

were employees of the Adamsville Police Department, which is located in Jefferson County; and,



8   (Ex. 1, Aff. of Deputy Eastis).
9   (Ex. 1, Aff. of Deputy Eastis, ¶ 5).
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(4) medical providers located in Jefferson County. In short, all of the events underlying this action

occurred in Jefferson County and substantially all sources of evidence related to this action are

located in Jefferson County.

       Pursuant to Ala. Code § 6-3-21.1, and in the interest of justice and convenience to all

parties and persons involved, Defendant FEDEX FREIGHT, INC. d/b/a FEDEX FREIGHT (“FXF”)

moves this Court to transfer this action to the Circuit Court of Jefferson County, Alabama.



                                              Respectfully submitted,

                                               /s/ Sara Elizabeth Delisle
                                              Lea Richmond, IV (RIC062)
                                              Sara Elizabeth DeLisle (DEL025)
                                              Anna C. Saunders (SAU019)
                                              Attorneys for Defendant FedEx Freight


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              sbdelisle@carrallison.com




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 22nd day of March 2021, I have served a copy of the above
and foregoing on counsel for all parties by:


              Facsimile transmission;
              Hand Delivery;
              Electronic Mail;
              Placing a copy of same in the United States Mail, properly
              addressed and first-class postage prepaid to; and/or
         X    Using the Alafile or CM/ECF system which will send notifications
              of such to the following:


Carson S. Hale, Esq.
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave, Suite 201
Auburn, Alabama 36830
chale@slocumblaw.com

                                                   /s/ Sara Elizabeth DeLisle
                                                   OF COUNSEL




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                                       AlaFile E-Notice




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                                                                 Judge: HON. EDDIE HARDAWAY
To: ANNA CERISE SAUNDERS
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                        The following matter was FILED on 3/22/2021 1:42:19 PM

                                     D003 FEDEX FREIGHT, INC.
                           MOTION FOR CHANGE OF VENUE/TRANSFER
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                                      AlaFile E-Notice




                                                                         35-CV-2021-900009.00
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    203 PICKENS ST.
    EUTAW, AL, 35462-0000




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    MOSCOW, TN, 38057-0000




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    chale@slocumblaw.com




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    sbdelisle@carrallison.com




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    lrichmond@carrallison.com




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                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following matter was FILED on 3/23/2021 12:15:22 PM

                                     D003 FEDEX FREIGHT, INC.
                                             SUPPLEMENT
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                          EXHIBIT 1
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                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

 CORNELIUS ROSS,


 Plaintiff,


 v.


                                                   )      Civil Action No.: CV-2021 -900009
 ERIKA GILMORE, KEITH AVENT, FEDEX
                                                   )
 FREIGHT, INC., et al.


 Defendants.




                              AFFIDAVIT OF DEPUTY JAMES EASTIS




          I, Deputy James Eastis, hereby offer the following as my sworn affidavit:

          1.     I am over nineteen (19) years of age and am competent to make this affidavit. It is
based upon my personal knowledge.


          2.     At the time of this accident, I was a police officer employed by the Adamsville
Police Department. I am currently employed as a Deputy Sheriff with the Chilton County Sheriff's
Office.


          3.     On April 3, 2020, I responded to the scene of an accident involving Erika Gilmore,
Cornelius Ross, and Keith Avent. The accident occurred in Jefferson County, Alabama. Attached
as Exhibit A is a copy of the accident report I prepared for this accident.

          4.     I interviewed Keith Avent as part of my accident investigation.


          5.     Any other records prepared by the Adamsville Police Department regarding this
accident would be located in Jefferson County.


          6.     I am aware that Cornelius Ross has filed a lawsuit against Erika Gilmore, Keith
Avent, and FedEx Freight, Inc. I am also aware the lawsuit is pending in Greene County. My post
is in the northern part Chilton County which is approximately 50 miles from the Jefferson County
Courthouse. Also, I live in Shelby County which is approximately 30 miles from the Jefferson
County Courthouse. On the contrary, the Greene County Courthouse is approximately 90 miles
from my post in Chilton County and approximately 100 miles from Shelby County, where I live.          I
could attend a trial in Greene County, but it would be inconvenient for me to do so given the
significant difference in distance. It would be more convenient for me to attend a trial in
Birmingham.


          Further Affiant sayeth not.




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                                                      James Eastis

STATE OF ALABAMA               )
CM4on        COUNTY            )

        BEFORE ME, a Notary Public in and for said County and State, personally appeared
James Eastis, who being by me first duly sworn and who being known to me, deposes and says
that the facts set out in the foregoing Affidavit are true and correct to the best of his knowledge,
information and belief.


       SWORN TO AND SUBSCRIBED before me on this the                   day of   NAordc      . 2021 .



                                                        L
                                                      Notary PublioO        U         ^

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                         EXHIBIT 1A
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AST-27                                                                                                                                                                                                                                     Crash Report Case No.
REV. 06/08                     Check if Amendment                         ALABAMA UNIFORM TRAFFIC CRASH REPORT                                                                                                                                                                              0638140

                           Check if Error Correction [v^]                    # Vehicles               # Pedestrians                  # Injured           # Fatalities             # Unit 1 Type         Unit 2 Type              Local Case No.
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                                                                                  Time                               Day of Week                 County                                              City                                                      Rural |        |       Local Zone
                      1
                      °      Month             Day                Year                  11:17 PM                               Fri                             Jefferson                                                        Adamsville                                                  N/A
       i=                 Hwy Class.                         On Street, Road, Highway                                                               At Intersection of or Between (Node 1)                                             And (Node 2)
                                       2                                                         US-78                                                                     Galsgow Hollow Rd.
       D
       2                                                                           (On) Street/                                                                1       2
                                                                                                                                                                                                                                                                                                     From
          <                                                                        Road/Hiway
                                               S005                                                                                                                                                                                                                                              Node 1
          2                                                                              Code                              1439                              Node Code                            N/A                                                      N/A
                          Mile Post                                               Control Access                 Primary Contrib Circums
       o                                                                                                                                                 Primary Contributing                      First Harmful Event                 First Harmful Event                Most Harmful Event
                                               143.6                              Hwy Loc                  97                      32                    Unit#              1                                 23                                                    1                   23
       P                                                                                                                                                                                                                               Location
                          Distance to Fixed Object                       Roadway Junction/                       Manner of                          Lat Coordinate
       <                                                                                                                                                                                             Long Coordinate                               Coordinate Type                    Hwy Side
       o                                   N/A                    feet Feature           7                       Crash         9                                           NC                                               NC                                  97                               3
       O                  School Bus Related                              Crash Severity                         Distracted Driving
                                               1                                         A                                     99
                          Driver Full Name                                                                       Street Address                                                                   City and State                                   ZIP                            Telephone
                      ERIKA MONIQUE GILMORE                                                                  203 PICKENS ST                                                                      EUTAWAL                                               35462                                99
      1
                               11              09             1990           Race        Sex      DL State         Driver License No.                                                   DL Class        DL Status           Restrict               CDL Status                         Endorse
     UNIT             o
                                                                                                                                                                                                                            Violations                                                Violations
      NO              °      Month             Day             Year           2              2         AL                                    8168400                                        D                 C                               97                              97                           97
                          Place of Employment                                                                                                                                                                                                     Residence Less
                                                                                                                                      99                                                                                                          Than 25 Miles                                            99
                QL
                UJ        Liability Insurance Co.                                                                                                                          Liability Policy No.                                                   Insurance
                >                                                                       USAA
                g                                                                                                                                                                           0378621257101                                         NAIC Number
  LEFT
                       Driver Condition                               Sobriety/               Alcohol:      No                         Type Alcohol                        Alcohol Test                  Type Drug                          Drug Test                              Maneuver
 SCENE
                                           1                          Officer Opinion         Drugs:        No                         Test Given                  6       Results                N/A    Test Given                    4    Results 97                                       1
                       Most Harmful                               Travel Road Name                                                                                         Road Code                 Travel Direction                       Unit Contributing                         Total Injuries
                       Event for MV                    23                                     Glasgow Hollow Rd.                                                                   1439                                 2                   Circumstance                     32       in Unit               1
                          Sequence             Event 1                             Event 2                            Event 3                                 Event 4                             First Harmful
  COM                                                                                                                                                                                                                                                    Areas Damaged Are Shaded
                          of Events                          23                                   3                                     97                                   97                   Event Location            1
     VEH
                       Veh Year                       Make                               Veh Model                                                                 Body                              V.I.N.                                               j 14 j             Undercarriage
                              2018                             HOND                                               ACCORD                                                          2                     1 HGCV1 F39JA220305
                       Owner's Name                                                                                                            License                                                  State
            £                                                                                                                                                                                                                    Year
                                                                          Same                                                                 Tag Number                              35AF612                AL                       2020                             12
 s          8
 y          o
                       Street orR.F.D.                                                                                                  City                                                State                 Zip
                                                                                                                                                                                                                                                          11                            1
                                                                                                                                                                                                                                                                                                 H    N/A
                                                                         Same
 I 1
 >          2
                       Type
                                       1
                                                             Usage
                                                                  i
                                                                             Emergency Status
                                                                                         97
                                                                                                             Placard Status
                                                                                                                       3
                                                                                                                                               Placard Required
                                                                                                                                                         97
                                                                                                                                                                                 Hazardous Cargo
                                                                                                                                                                                            97
                                                                                                                                                                                                                  Hazardous Cargo                         10                            2
                UJ
                                                                                                                                                                                                                  Released?                       97
0               92
                      Attachment                   Oversized Load                 If Yes, Did Owner
                                                                                  Have Permit?
                                                                                                                 Contrib
                                                                                                                 Defect
                                                                                                                                                 Speed Limit                    Est Speed               Citation Offense(s) Charged                       9
                                                                                                                                                                                                                                                                        0
                                                                                                                                                                                                                                                                                        3
                                                                                                                                                                                                                                                                                                 H
                                                                                                                                                                                                                                                                                                 Totaled
                S              1                             N/A                         N/A                               1                          N/A MPH                          N/A MPH                              None
                                                                                                                                                                                                                                                          8                             4


                       Damage Severity Towed?                         Vehicle Towed By Whom:                                                                                                                                                              7
                                   4                     1                                                                                               Jett's
                                                                                                                                                                                                                                                                         6
                                                                                                                                                                                                                                                                                   ll
                      Towed To Where:
                                                                                                                                     Jett's
                                                                                                                                                                                                                                                                                                 GE3
                                                                                                                                                                                                                                                                                            Attachment
                                                                                                                                                                                                                                                         Point of
                                                                                                                                                                                                                                                         Initial Impact                 4


                       Driver Full Name                                                                          Street Address                                                                   City and State                                   ZIPOUO/-                       Telephone
                      Keith Edward Avent                                                                     6400 Yager Dr.                                                                     Moscow TN                                                8555                               99
      2
                              05               02             1973          Race         Sex      DL State        Driver License No.                                                    DL Class        DL Status           Restrict               CDL Status                         Endorse
     UNIT
                      O
                                                                                                                                                                                                                            Violations                                                Violations
     NO               Q      Month             Day            Year            1           1           TN                                    071913490                                       a                 C                               97                                  C                        97
                      Place of Employment                                                                                                                                                                                                         Residence Less
                                                                                                                               Fed Ex                                                                                                             Than 25 Miles                                        No
                cr
                LU    Liability Insurance Co.                                                                                                                              Liability Policy No.                                                   Insurance
                >
                g                                                     Protective Ins. Company                                                                                                       B-12022                                       NAIC Number
 LEFT
                      Driver Condition                                Sobriety/               Alcohol:      No                        Type Alcohol                         Alcohol Test                  Type Drug                          Drug Test                              Maneuver
SCENE
                                           1                          Officer Opinion         Drugs:        No                        Test Given                  6        Results               N/A     Test Given                    4    Results 97                                       1
                      Most Harmful                             Travel Road Name                                                                                            Road Code                 Travel Direction                       Unit Contributing                         Total Injuries
                                                      23                                                 US-78
     0                Event for MV                                                                                                                                                S005                                  2                   Circumstance                     78       in Unit               0
                          Sequence             Event 1                             Event 2                            Event 3                                 Event 4                             First Harmful
 COM                                                                                                                                                                                                                                                     Areas Damaged Are Shaded
                          of Events                          23                                  97                                    97                                    97                   Event Location            1
  VEH
                      Veh Year                        Make                               Veh Model                                                                 Body                              V.I.N.                                                                  Undercarriage
                                                                                                                                                                                                                                                               14
                              2015                                 KW                                                 99                                                          97                    1XKYA48X7FJ443696
           c7         Owner's Name                                                                                                           License                                                    State                    Year
                                                                         Fed Ex                                                              Tag Number                                2285352                  IN                     2020
 s         8          Street or R.F.D.
                                                                                                                                                                                                                                                                         12
                                                                                                                                                                                                                                                                                                 H
                                                                                                                                        City                                                State                 Zip
 H         O                                                                                                                                                                                                                                              11                            1             N/A
 y         3                                                 2200 Forward Dr.                                                                          Harrison                                   AR                            72601
 I         2
                      Type                                   Usage           Emergency Status                Placard Status                  Placard Required                    Hazardous Cargo                  Hazardous Cargo
 >         S                                                                                                                                                                                                                                                                            2
                LLl
                                   TT                             6                      97                           3                                  2                                  1                     Released?                       97 n
0                     Attachment                   Oversized Load             If Yes, Did Owner                  Contrib                        Speed Limit                     Est Speed               Citation Offense(s) Charged                       9                             3             16

                                                                              Have Permit?                       Defect                                                                                                                                                 0                        Totaled
                5              4                             No                          N/A                               1                             55    MPH                     55   MPH                             None
                                                                                                                                                                                                                                                          8                             4


                      Damage Severity Towed?                          Vehicle Towed By Whom:                                                                                                                                                              7
                                   4                     1                                                                                        Weil Wrecker
                                                                                                                                                                                                                                                                         6
                                                                                                                                                                                                                                                                                   i±
                      Towed To Where:
                                                                                                                                       99
                                                                                                                                                                                                                                                                                                 H
                                                                                                                                                                                                                                                                                            Attachment
                                                                                                                                                                                                                                                         Point of
                                                                                                                                                                                                                                                         Initial Impact                 12
                                                                                                            DOCUMENT 15
                                                                                                            DOCUMENT 15

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                                                                                                   Seating Position Codes
    2, 4, or 6 Passenger               9 Passenger (add):             12 Passenger (add):                Bicycle, Motorcycle, ATV          12 - Pedestrian                                             16 - Not in Passenger Compartment
                                                                                                                                           1 3 - Rider of Domestic Animal                              97 - Not Applicable
         1        2   3                   7       8    9                      17   18    19                          10
                                                                                                                                           14 - Occ. of Non-Motorized Vehicle                          98 - Other (Explain)

         4        5   6                                                                                              11                    15 - Passenger of Bus                                       99 - Unknown




                                                                                           UNINJURED OCCUPANTS
  Unit       Seat     Occ.    Safety      Air-        Age       Sex   Ejec-                 Birth Date                    Unit     Seat   Occ.   Safety       Air-          Age      Sex         Ejec-               Birth Date
   No        Pos      Type    Equip.      bag         Code            tion                                                No       Pos    Type   Equip.       bag         Code                   tion

   1          1           1     2             8        8         2     1                 11/09/1990                        2         1      1      2           2             8        1            1                05/02/1973

                                                                                                            VICTIMS
                                                                                                                                                                     Seat    Occ.    Safety       Air-     Injury   Age       Sex   Ejec-    First
                                                                                                                                            n/ad r                   Pos     Type    Equip.       bag      Type                     tion    Aid By
  Name
CORNELIUS TYRONE ROSS                                                                                                                                     1           3          2        2        8         2        8        1     1        1
  Address
349 CARVER CIR EUTAW AL 35462
  Taken To                                                                                                                     Taken By
UAB                                                                                                                        Paramedics
  Medical Facility                                                                                                                                                                            Birth Date
 EMS ground                                                                                                                                                                                   10/09/1987

                                                                                                           DIAGRAM




                                                                                   Galsgow Hollow Rd.




                                                                              i
                                                                                                                                                                            N
                                                                                   J               V                                                                            \



                                                                                                                                                          Not to SCalc
                                                              US-78



                                                                               A                 r



                                                                               J                 v.
                                                             US-78




                                                                                                   T            !'




                                                                                                         NARRATIVE
Unit 1 was traveling on Glasgow Hollow Rd. and was crossing Hwy 78 without yielding to continue onto Main St. when it was struck by unit 2 in the rear,
passenger side door. The collision caused unit 1 to spin and slide off the roadway for a total of approximately 40 yrds. Unit 1 slid for approximately 15 yrds
after leaving roadway. Unit 1 came to a rest in the ditch on the roadside. Paramedics cleared the driver but transported the passenger to UAB. The driver of
unit 2 was uninjured, and pulled into a parking lot just down the street.
                                                                                                                     DOCUMENT
                                                                                                                     DOCUMENT 15
                                                                                                                              15

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                                                                                            ROADWAY ENVIRONMENT
Unit               Involved           Road                   Roadway            Workzone                  Workzone               Workers                                 Workzone Law                 Contributing                 Contrib
No.        1        Road/        1   Surface         1       Condition    1     Related?          1         Type        97       Present         NotApplicable               Enforcement             Circumstances        1     Matl In         1
                    Bridge               Type                                                                                       ?                                         Present?          97    Environment              Roadway
Contrib                 Rdway               Vision             Traffic            Traffic                   Opposing               Trafficway                 Turn                One-            Total #            Total #          Total #
Material       97       Curve &      1     Obscur        1     Control    8       Control             1       Lane           1          Lanes       2         Lanes      1        Way      No    Occupant    2       injured   1       Killed   0
Source                   Grade              ed By                               Functioning                Separation                                                           Street           s In Unit           in Unit          in Unit
Total Number of Units                            Light                                  Weather                                         Locale                        Police Present?                 DOT Railroad Crossing No.
               2                                     6                                        1                                             2                                No
                                                                                                                                                                                                                    N/A
Unit               Involved              Road                Roadway            Workzone                  Workzone               Workers                                 Workzone Law                 Contributing                 Contrib
 No.      2        Road/        1    Surface         1       Condition    1     Related?          1         Type        97       Present         NotApplicable            Enforcement                Circumstances        1     Matl In         1
                   Bridge                Type                                                                                       ?                                         Present?          97    Environment              Roadway
Contrib                 Rdway              Vision               Traffic           Traffic                   Opposing               Trafficway                 Turn                One-           Total #             Total#           Total #
Material       97       Curve &      2     Obscur        1     Control    8       Control             1       Lane           3          Lanes       4     Lanes         1         Way      No   Occupant      1      Injured   0       Killed   0
Source                  Grade               ed By                               Functioning                Separation                                                           Street           s In Unit           in Unit          in Unit
Total Number of Units                           Light                                   Weather                                         Locale                        Police Present?                 DOT Railroad Crossing No.
               2                                     6                                        1                                             2                                No
                                                                                                                                                                                                                    N/A

                                                                                                             INVESTIGATION
 Name of Photographer
                                                                          N/A
 Time Police Notified                    Time Police Arrived                  Time EMS Arrived                     EMS Response Run #
           11:20 PM                             11:25 PM                            11:25 PM                                       N/A
 Name of Investigating Officer                                                                                                      Officer ID                                     Agency ORI
                                                         Milton W Bice                                                                                  320                                AL0012200
 Name of Investigating Officer                                                                                                      Officer ID                                     Agency ORI
                                                         James Eastis                                                                                0919                                  AL0012200
The data on this report reflects the best knowledge, opinion, and belief regarding the crash, but no warrant is made as to the factual accuracy thereof.
                                                                                   DOCUMENT
                                                                                   DOCUMENT 15
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                                                                                                                                                            AST-27B Rev. 06/00
                                           ALABAMA UNIFORM TRAFFIC CRASH REPORT
Unit No.        2
                                                         Truck/Bus Supplemental Sheet
(same as on main report)


                                                                             General Instructions

Complete this form each qualifying vehicle ONLY if the crash meets                        BOTH of the Following criteria:
     1. The crash involved a qualifying vehicle (a truck with a gross vehicle weight rating (GVWR) or a gross combination weight rating
        (GCWR) of more than 10,000 pounds, or Haz/Mat placard, or a vehicle designed to carry nine 9 or more, including driver) and;

     2. The crash resulted in at least one of the following:                 A.    one or more fatalities      B.    one or more persons injured and taken from
        the scene for immediate medical attention, or                  C.    one or more involved vehicles had to be towed from the scene as a result of
        disabling damage or had to receive assistance to leave.

                                                                            Screening Information

Number of Qualifying Vehicles:                                                                  Number of Persons:

     Trucks with GVWR or GCWR of more than                                                             Sustaining fatal injuries       o
                10,000 pounds or Haz/Mat placard             1
     Buses designed to carry 9 or more (including driver)                      o                      Transported for      immediate medical treatment            1


                                       Number of vehicles towed from scene due to damage                             2


                                                                             Vehicle Information
    Weight Rating of Power Unit of the Truck                          Hazardous Material Involvement


                                                                       Did vehicle have a Haz/Mat placard?
                                                                      If Yes, include following information from placard
             3. - More than 26,000 pounds
                                                                      A.    Name or 4-digit number from Diamond or box
                                                                      B.    The 1 -digit number from bottom of diamond

                                                                  Was hazardous material released from THIS vehicle's cargo?

Vehicle Configuration                                                                                        Bus Usage

9. -Tractorwith semi-trailer                                                                                 1. - Not a bus


Cargo Body Type                                                                                 Cargo Type
3. - Van / enclosed box                                                                         10. - General freight

                                                                       Motor Carrier Information
NOTE: If NOT a motor carrier, enter NONE under Carrier Name. 0 for None under Carrier Identification Numbers, and go to Sequence Of Events Section

 Carrier Name       Fed Ex
 Carrier Phone

 Carrier Mailing Address (Street or P. O. Box) 2200 Forward Dr.

 City, State, Zip Harrison, AR 72601

                                                                                    None = 0)
 Motor Carrier Type        1 . - Interstate carrier

 US DOT 239039                                                    ICC MC            Unk                                        STATE NO.      UNK
 STATE     in                             OTHER COUNTRY AUTHORITY                         UNK                                  COUNTRY        us~~
                                                                            Sequence of Events
NOTE: for THIS vehicle - list up to four      Event #1            13               Event #2                         Event #3                     Event #4
                                                                                                       97                             97                              97

           Non-Collision          1.   Ran off road              2.    Jackknife                 3.   Overturned (rollover)      4.   Downhill runaway
                                  5.   Cargo loss or shift       6.     Explosion or fire        7.   Separation of units        8.   Cross median/centerline

                                  9.   Equipment Failure (brake failure, blown tires, etc.)                         10. Other non-collision          11- Unknown
EVENT      Collision with        12. Pedestrian                  13. Motor Vehicle in Transport                     14.   Parked Motor Vehicle       15. Train
CODES
                                 IB.   Pedalcycle                m. Animal                      18. Fixed object                19. Work Zone Maintenance equipment

                                 20. Other movable object                                                           21. Unknown movable object

           Not applicable        97. Not applicable
                                                                                  DOCUMENT
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                                                                                    Definitions
                                            Truck                                                                                Reportable Crash

A motor vehicle designed, used or maintained primarily for the                                    A highway related incident normally investigated by a
transportation of property.            For the purpose of this form the                           police officer and reported on a standard crash report
vehicle must also meet one of the following criteria:                                             form involving one or more trucks or buses (as defined
 * Have a GVWR or a GCWR of more than 10,000 pounds,                                    or        here) which results in:
 * Carry a Hazardous Material Placard                                                               * One or more fatalities, or
                                                                                                    * One or more non-fatal injuries requiring
                                            Bus                                                        transportation for the purpose of

A motor vehicle providing seats for 9 or more persons including                                        obtaining immediate medical treatment,                       or
the driver and used primarily for the transportation of persons.                                    * One or more of the vehicles being removed
                                                                                                       from the scene as a result of disabling damage,                            0r

                                         Trailer                                                   * One or more of the vehicles requiring intervening
                                                                                                     assistance before proceding under its own power.
A non-power vehicle towed by a motor vehicle.

                                                                      Typical Vehicle Silhouettes

 1. Passenger Vehicle                       2. Light truck (van, mini-van, panel, pickup, sport utility vehicle)             3. Bus (seats for 9-15 people, including driver)




                                                                                                                                                                0            iN



                                                                                                                                                                             p.




4.       Bus (seats for more than 15 people, including driver)             5. Single unit truck - 2 axles / 6 tires                     6. Single unit truck - 3 axles

                                                                                       fS~


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           St




                inn                     i
                                            m
7. Truck with trailer                                                     8. Truck tractor (bobtail)         9.




                                                    V-
                                               C3



 H0=l—                                                   A




10. Tractor with double trailers                                                                 1 1 . Tractor with triple trailers



     a




  WW                       wwww                                                                   PS                                           WW
                                                             ©

                                                               Typical Hazardous Material Placards



                                                                    $
  f 303®
                                                                 OXIDIZER                                    POISON            kAocSstive"      Wtlrirttiag,;

             11
                                                                    5.1
           \U                                                                                6                    6              \7                   0                  S
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                                                                                              DOCUMENT 15
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                                                                                              LEGEND
   Location                Category              Code                 Description                     Location          Category              Code             Description


  Report Header              Unit Type                1                Passenger car                    Driver      Place of Employment                             Not Set


  Report Header              Unit Type            11                T ractor / semi-trailer             Driver      Place of Employment        99                  Unknown

                                                            Failed to yield right-of-way from stop
Location And Time   Contributing Circumstance     32                         sign                       Driver              Race                1             White / Caucasian


Location And Time        Contributing Unit        10                        Unitl                       Driver              Race               2           Black / African-American

                    Controlled Access Highway
Location And Time            Location             97          Not a controlled access highway           Driver    Residence Within 25 Miles    99                  Unknown


Location And Time       Coordinate Status         NC                    NoCapability                    Driver    Residence Within 25 Miles    No                     No


Location And Time        Coordinate Type          97                   Not applicable                   Driver        Travel Direction         2                     East


Location And Time         Crash Manner                9           Side impact (90 degree)              Vehicle           Attachment            1                     None


Location And Time         Crash Severity          A               Suspected serious injury             Vehicle           Attachment            4               Other semi trailer


Location And Time       Distance Node Unit        0                       Unknown                      Vehicle              Body               2                   Four door

                                                                                                                                                      Not applicable - not passenger car,
Location And Time        Distracted Driving       99                      Unknown                      Vehicle              Body               97            personal van, or SUV

                                                          Collision with vehicle in (or from) other
Location And Time         Harmful Event           23                      roadway                      Vehicle        Citation Offense         99                    None


Location And Time     Highway Classification      2                        Federal                     Vehicle        Damage Severity          4                Major, disabled


Location And Time         Highway Side            3                      Eastbound                     Vehicle             Defect              1                     None


Location And Time       Roadway Feature           7                Related to intersection             Vehicle       Emergency Status          97               Not applicable


Location And Time      School Bus Related         1               No school bus involved               Vehicle     Estimated Speed Code                             Not set


Location And Time      Time Display Format        10                      Standard                     Vehicle     Estimated Speed Code       N/A               Not applicable


     Driver             Alcohol Test Type         6                    No Test Given                   Vehicle        Hazardous Cargo          1                     None

                    Commercial Driver License
     Driver                 Status               97             Not applicable / unlicensed            Vehicle        Hazardous Cargo          97               Not applicable

                    Commercial Driver License                                                                     Hazardous Cargo Release
     Driver                 Status                C                    Current / valid                 Vehicle              Type               97               Not applicable

                                                           Failed to yield right-of-way from stop                  K12 Child Going To Or
     Driver         Contributing Circumstance    32                         sign                       Vehicle         From School             0                    Not Set

                                                          Other - no improper driving (explain in
     Driver         Contributing Circumstance    78                     narrative)                     Vehicle             Make               HOND                  Honda


     Driver            Driver Address Code        0                       Not Set                      Vehicle             Make               KW             Kenworth T ruck Co.


     Driver              Driver Condition         1                 Apparently normal                  Vehicle       Non-Motorist Action       0                    Not Set


     Driver         Driver License Class Code     0                        Not set                     Vehicle     Non-Motorist Location       0                    Not Set

                          Driver License
     Driver               Endorsement            97                    Not applicable                  Vehicle        Oversized Load          N/A               NotApplicable


     Driver          Driver License Number        0                        Not set                     Vehicle        Oversized Load           No                     No


     Driver         Driver License Restriction   97                    Not applicable                  Vehicle     Oversized Load Permit      N/A                NotApplicable


     Driver         Driver License State Code     0                        Not set                     Vehicle      Owner Address Code         0                    Not Set


     Driver           Driver License Status       C                    Current / valid                 Vehicle      Owner Address Code        Same                   Same


     Driver            Driver Name Code           0                       Not Set                      Vehicle       Owner Name Code                                Not Set


     Driver             Drug Test Result         97                   Not applicable                   Vehicle       Owner Name Code          Same              Same as driver


     Driver              Drug Test Type           4                    No test given                   Vehicle      Placard Requirement        2                      No


     Driver                  Gender               1                         Male                       Vehicle      Placard Requirement        97               Not applicable


     Driver                  Gender              ~2                       female                       Vehicle         Riacand Status          3     Not applicable (ptacarcf not required)

                                                          Collision with vehicle in (or from) other
     Driver              Harmful Event           23                       roadway                      Vehicle          Tag Number                                  Not set


     Driver         Liability Ins. Policy Code    0                       Not Set                      Vehicle           Tag State             0                    Not set

                     Liability Insurance NAIC
     Driver                Number Code                                    Not Set                      Vehicle           Tag Year              0                    Not set


     Driver                .Maneuver              1           Movement essentially straight            Vehicle.         Tow-Status-            A--     TowedPueto-Pisablingdamage


     Driver           Phone Number Code          99                      Unknown                       Vehicle          Towed Code             0                    Not Set
                                                                                              DOCUMENT
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                                                                                                       15

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                                                                                              LEGEND
     Location                 Category              Code                Description                        Location              Category             Code        Description


       Vehicle                Towed Code             99                     Unknown                   Roadway Environment        Traffic Control       8              Stop sign


       Vehicle                  Unit Type                1               Passenger car                Roadway Environment    Traffic Control Status    1                 Yes


       Vehicle                  Unit Type            11               Tractor /semi-trailer           Roadway Environment    Trafficway Lane Count     2             Two lanes


       Vehicle                   Usage                   1              Personal vehicle              Roadway Environment    Trafficway Lane Count     4             Four lanes


       Vehicle                   Usage                   6           Cargo Transportation             Roadway Environment     Turn Lane Presence       1                None


       Vehicle                    VI N                   0                   Not set                  Roadway Environment     Vision Obscuration       1            Not obscured


       Vehicle                    Year                                       Not set                  Roadway Environment     Weather Condition        1                Clear

                                                                                                                                Workzone Law
 Uninjured Occupants           Age Code                  8                  26-64                     Roadway Environment    Encorcement Presence      97          Not applicable


 Uninjured Occupants             Airbag              2             Not deployed, no switch            Roadway Environment    Workzone Relationship     1     Not in / related to workzone


 Uninjured Occupants             Airbag              8             Deployed side, no switch           Roadway Environment       Workzone Type          97          Not applicable


 Uninjured Occupants        Birth Date Code          0                      Not Set                   Truck/Bus Supplement        Bus Usage            1              Not a bus


 Uninjured Occupants         Ejection Status             1          Not ejected or trapped            Truck/Bus Supplement     Cargo Body Type         3         Van / enclosed box


 Uninjured Occupants            Gender                   1                    Male                    Truck/Bus Supplement        Cargo Type           10          General freight


 Uninjured Occupants            Gender               2                      Female                    Truck/Bus Supplement   Carrier Address Code      0               Not Set


 Uninjured Occupants         Occupant Type           1                       Driver                   Truck/Bus Supplement    Carrier Name Code        0               Not Set


 Uninjured Occupants       Safety Equipment          2            Shoulder and lap belt used          Truck/Bus Supplement    Carrier Phone Code       0               Not Set


       Victims                 Age Code              8                      26-64                     Truck/Bus Supplement   Country Number Code       0               Not Set


       Victims                   Airbag              8             Deployed side, no switch           Truck/Bus Supplement   ICCMC Number Code        Unk             Unknown


       Victims              Birth Date Code          0                      Not Set                   Truck/Bus Supplement    Motor Carrier Type       1          Interstate carrier


       Victims               Ejection Status         1              Not ejected or trapped            Truck/Bus Supplement    State Number Code        0               Not Set


       Victims             First Aid Provider        1                 Paramedic / EMT                Truck/Bus Supplement   USDOT Number Code         0               Not Set


       Victims                  Gender               1                       Male                     Truck/Bus Supplement   Vehicle Configuration     9      Tractor with semi-trailer


      Victims                 Injury Type            2           (A) Suspected serious injury         Truck/Bus Supplement      Weight Rating          3     More than 26,000 pounds


      Victims          Medical Facility Transport    2                   EMS ground


      Victims               Occupant Type            2                    Passenger


      Victims              Safety Equipment          2           Shoulder and lap belt used


      Victims               Victim Taken By                                 Not Set


      Victims               Victim Taken To                                 Not Set

                       Environmental Contributing
Roadway Environment          Circumstance            1                  None apparent

                                                             Dark, spot illumination, both sides of
Roadway Environment         Light Condition          6                      roadway


Roadway Environment             Locale               2                    Residential



Roadway Environment    Opposing Lane Separation      1                       None


Roadway Environment    Opposing Lane Separation      3                Un paved surface


Roadway Environment     Road Bridge Condition        1                  None apparent



Roadway "Environment     "Road Surface Type          1                     7Ksp?iaIF


Roadway Environment       Roadway Condtion           1                        Dry

                        Roadway Curvature And
Roadway Environment             Grade                1                  Straight, level

                        Roadway Curvature And
Roadway Environment             Grade                2              Straight, down grade


RoadwayEnvironmenU         RoadwayMaterial          =4=                     -None-



Roadway Environment    Roadway Material Source      97                  Not applicable
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 143 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: ANNA CERISE SAUNDERS
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following matter was FILED on 3/23/2021 12:15:22 PM

                                     D003 FEDEX FREIGHT, INC.
                                             SUPPLEMENT
                                  [Filer: SAUNDERS ANNA CERISE]


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                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
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                                                                       400 MORROW AVENUE
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                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 144 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
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                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: AVENT KEITH (PRO SE)
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                                                                        35-CV-2021-900009.00
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    chale@slocumblaw.com




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                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
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    sbdelisle@carrallison.com




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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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                                                                          35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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                                                                          35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
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                    NOTICE OF ELECTRONIC FILING
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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                               35-CV-2021-900009.00
                                                                               CIRCUIT COURT OF
                                                                           GREENE COUNTY, ALABAMA
                                                                         VERONICA MORTON-JONES, CLERK
                  IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
 CORNELIUS ROSS,                   )
                                   )
 Plaintiff,                        )
                                   )
 v.                                )
                                   )                    Civil Action No.: CV-2021-900009
 ERIKA GILMORE, KEITH AVENT, FEDEX )
 FREIGHT, INC., et al.             )
                                   )
 Defendants.



                    NOTICE OF SERVICE OF DISCOVERY DOCUMENTS


       PLEASE TAKE NOTICE that the following discovery documents have been served on

behalf of Defendant, FedEx Freight, Inc.:

       •      Defendant FedEx Freight, Inc.’s Objections to Plaintiff’s Interrogatories and
              Requests for Production of Documents




                                              Respectfully submitted,

                                               /s/ Sara Elizabeth Delisle
                                              Lea Richmond, IV (RIC062)
                                              Sara Elizabeth DeLisle (DEL025)
                                              Attorneys for Defendant FedEx Freight, Inc.


OF COUNSEL:

CARR ALLISON
100 Vestavia Parkway
Birmingham, Alabama 35216
Telephone:    (205) 822-2006
Facsimile:    (205) 822-2057
E-mail:       lrichmond@carrallison.com
              sbdelisle@carrallison.com




{DOC# 00724056}
                                         DOCUMENT 17
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 151 of 505



                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 9th day of April 2021, I have served a copy of the above and
foregoing on counsel for all parties by:


               Facsimile transmission;
               Hand Delivery;
               Electronic Mail;
               Placing a copy of same in the United States Mail, properly
               addressed and first-class postage prepaid to; and/or
          X    Using the Alafile or CM/ECF system which will send notifications
               of such to the following:


Carson S. Hale, Esq.
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave, Suite 201
Auburn, Alabama 36830
chale@slocumblaw.com

                                                    /s/ Sara Elizabeth DeLisle
                                                    OF COUNSEL




{DOC# 00724056}                                 2
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 152 of 505


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                                                                          35-CV-2021-900009.00


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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 153 of 505


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    203 PICKENS ST.
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                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 154 of 505


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                                                                           35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




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                             CORNELIUS ROSS V. ERIKA GILMORE ET AL
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 157 of 505


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                                                                          35-CV-2021-900009.00


To: SAUNDERS ANNA CERISE
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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 158 of 505


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                                                                          35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                               CIRCUIT COURT OF
                                                                           GREENE COUNTY, ALABAMA
                                                                         VERONICA MORTON-JONES, CLERK
                  IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
 CORNELIUS ROSS,                   )
                                   )
 Plaintiff,                        )
                                   )
 v.                                )
                                   )                    Civil Action No.: CV-2021-900009
 ERIKA GILMORE, KEITH AVENT, FEDEX )
 FREIGHT, INC., et al.             )
                                   )
 Defendants.



                    NOTICE OF SERVICE OF DISCOVERY DOCUMENTS


       PLEASE TAKE NOTICE that the following discovery documents have been served on

behalf of Defendant, FedEx Freight, Inc.:

       •      Defendant FedEx Freight, Inc.’s First Requests for Admissions to Plaintiff
       •      Defendant FedEx Freight, Inc.’s First Interrogatories to Plaintiff
       •      Defendant FedEx Freight, Inc.’s First Request for Production to Plaintiff




                                              Respectfully submitted,

                                               /s/ Sara Elizabeth Delisle
                                              Lea Richmond, IV (RIC062)
                                              Sara Elizabeth DeLisle (DEL025)
                                              Attorneys for Defendant FedEx Freight, Inc.


OF COUNSEL:

CARR ALLISON
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Birmingham, Alabama 35216
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Facsimile:    (205) 822-2057
E-mail:       lrichmond@carrallison.com
              sbdelisle@carrallison.com




{DOC# 00725990}
                                         DOCUMENT 19
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 160 of 505



                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of April 2021, I have served a copy of the above and
foregoing on counsel for all parties by:


               Facsimile transmission;
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               Electronic Mail;
               Placing a copy of same in the United States Mail, properly
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Carson S. Hale, Esq.
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave, Suite 201
Auburn, Alabama 36830
chale@slocumblaw.com

                                                    /s/ Sara Elizabeth DeLisle
                                                    OF COUNSEL




{DOC# 00725990}                                 2
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 161 of 505


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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 162 of 505


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To: RICHMOND LEA IV
    lrichmond@carrallison.com




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                                                                          35-CV-2021-900009.00


To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 167 of 505


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                                                                         35-CV-2021-900009.00


To: DELISLE SARA ELIZABETH
    sbdelisle@carrallison.com




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                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

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                                                                          35-CV-2021-900009.00
                                                                          CIRCUIT COURT OF
                                                                      GREENE COUNTY, ALABAMA
                                                                    VERONICA MORTON-JONES, CLERK
            IN THE CIRCUIT COURT FOR GREENE COUNTY, ALABAMA


CORNELIUS ROSS,                     *
                                    *
  Plaintiff,                        *
                                    *     Case No.: CV - 2021 - 900009
 v.                                 *
                                    *
ERIKA GILMORE, KEITH AVENT, *
AND FEDEX FREIGHT, INC.,            *
                                    *
  Defendants.                       *
                                    *
______________________________________________________________________________

                           NOTICE OF SERVICE OF DISCOVERY


       COMES NOW Plaintiff, by and through undersigned counsel, and provides the

following to Defendants:

              1. Plaintiff’s Answers to Defendant FedEx’s Request for Admissions



                                  /s/ Carson S. Hale
                                  CARSON S. HALE (HAL120)
                                  ATTORNEY FOR THE PLAINTIFF

OF COUNSEL:
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
Tel. No. (334) 741-4110
Fax No. (888)-853-2247
                                        DOCUMENT 21
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 169 of 505




                              CERTIFICATE OF SERVICE

       I hereby certify that on May 19, 2021, an exact copy of the foregoing instrument has been

served (a) through the Court’s e-filing system; (b) by placing a copy of the same in the United

States Mail, postage prepaid and properly addressed; and/or (c) by personal/ firm email to the

following:

       Erika Gilmore
       203 Pickens St.
       Eutaw, AL 35462

       Keith Avent
       6400 Yager Dr.
       Moscow, TN 38057

       Sara Elizabeth Delisle
       Carr Allison
       100 Vestavia Parkway
       Birmingham, AL 35216
                                    /s/ Carson S. Hale
                                    CARSON S. HALE
                                    OF COUNSEL



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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 170 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: CARSON SCOTT HALE
    chale@slocumblaw.com




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                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 171 of 505


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                                                                        35-CV-2021-900009.00


To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
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                                                                        35-CV-2021-900009.00


To: AVENT KEITH (PRO SE)
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    MOSCOW, TN, 38057-0000




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                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
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                                                                         35-CV-2021-900009.00


To: DELISLE SARA ELIZABETH
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 174 of 505


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                                                                          35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 175 of 505


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                                                                         35-CV-2021-900009.00


To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 176 of 505


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                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                        The following matter was FILED on 6/3/2021 8:15:08 AM

                                     D003 FEDEX FREIGHT, INC.
                                MOTION FOR PROTECTIVE ORDER
                                  [Filer: DELISLE SARA ELIZABETH]


     Notice Date:    6/3/2021 8:15:08 AM




                                                                   VERONICA MORTON-JONES
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         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                                 177 6/3/2021      FILED
                                                                      of 505 8:15 AM
STATE OF ALABAMA             Revised 3/5/08             Case No.   35-CV-2021-900009.00
Unified Judicial System                                                                                                  CIRCUIT COURT OF
35-GREENE                                                         District Court      Circuit Court                  GREENE COUNTY, ALABAMA
                                                                                                             CV202190000900
                                                                                                                   VERONICA MORTON-JONES, CLERK
                                                                                                CIVIL MOTION COVER SHEET
CORNELIUS ROSS V. ERIKA GILMORE ET AL                                              Name of Filing Party:D003 - FEDEX FREIGHT, INC.



Name, Address, and Telephone No. of Attorney or Party. If Not Represented.                      Oral Arguments Requested
 SARA ELIZABETH DELISLE
 100 Vestavia Parkway
 Birmingham, AL 35216
Attorney Bar No.: DEL025

                                                                           TYPE OF MOTION
                         Motions Requiring Fee                                                               Motions Not Requiring Fee
      Default Judgment ($50.00)                                                              Add Party
      Joinder in Other Party's Dispositive Motion                                            Amend
      (i.e.Summary Judgment, Judgment on the Pleadings,                                      Change of Venue/Transfer
      orother Dispositive Motion not pursuant to Rule 12(b))
      ($50.00)                                                                               Compel
      Judgment on the Pleadings ($50.00)                                                     Consolidation
      Motion to Dismiss, or in the Alternative                                               Continue
      SummaryJudgment($50.00)                                                                Deposition
      Renewed Dispositive Motion(Summary                                                     Designate a Mediator
      Judgment,Judgment on the Pleadings, or other                                           Judgment as a Matter of Law (during Trial)
      DispositiveMotion not pursuant to Rule 12(b)) ($50.00)
                                                                                             Disburse Funds
      Summary Judgment pursuant to Rule 56($50.00)
                                                                                             Extension of Time
      Motion to Intervene ($297.00)
                                                                                             In Limine
      Other
                                                                                             Joinder
  pursuant to Rule                                                         ($50.00)
                                                                                             More Definite Statement
  *Motion fees are enumerated in §12-19-71(a). Fees                                          Motion to Dismiss pursuant to Rule 12(b)
  pursuant to Local Act are not included. Please contact the                                 New Trial
  Clerk of the Court regarding applicable local fees.
                                                                                             Objection of Exemptions Claimed
      Local Court Costs $               0                                                    Pendente Lite
                                                                                             Plaintiff's Motion to Dismiss
                                                                                             Preliminary Injunction
                                                                                             Protective Order
                                                                                             Quash
                                                                                             Release from Stay of Execution
                                                                                             Sanctions
                                                                                             Sever
                                                                                             Special Practice in Alabama
                                                                                             Stay
                                                                                             Strike
                                                                                             Supplement to Pending Motion
                                                                                             Vacate or Modify
                                                                                             Withdraw
                                                                                            Other
                                                                                          pursuant to Rule                               (Subject to Filing Fee)
Check here if you have filed or are filing contemoraneously                                                  Signature of Attorney or Party
with this motion an Affidavit of Substantial Hardship or if you
                                                                   Date:
                                                                                                             /s/ SARA ELIZABETH DELISLE
are filing on behalf of an agency or department of the State,
county, or municipal government. (Pursuant to §6-5-1 Code
                                                                   6/3/2021 8:14:27 AM
of Alabama (1975), governmental entities are exempt from
prepayment of filing fees)

*This Cover Sheet must be completed and submitted to the Clerk of Court upon the filing of any motion. Each motion should contain a separate Cover Sheet.
**Motions titled 'Motion to Dismiss' that are not pursuant to Rule 12(b) and are in fact Motions for Summary Judgments are subject to filing fee.
                                          DOCUMENT 24
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              178 6/3/2021     FILED
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                                                                              35-CV-2021-900009.00
                                                                              CIRCUIT COURT OF
                                                                          GREENE COUNTY, ALABAMA
                                                                        VERONICA MORTON-JONES, CLERK
                IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
                                  )
v.                                )                  Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


                      MOTION FOR ENTRY OF PROTECTIVE ORDER


       COME NOW the Defendants FedEx Freight Inc, DBA FedEx Freight, and hereby move

this Court for a Protective Order authorizing the disclosure of protected health information

pertaining to Plaintiff CORNELIUS ROSS. As grounds for this motion, Defendants states as

follows:

       1.     This lawsuit arises out of an alleged motor vehicle accident that occurred on or

              about April 3, 2020.

       2.     Plaintiff alleges to have sustained various physical injuries as a result of this

              alleged accident. Because of the nature of this litigation, Defendants need access

              to Plaintiff’s medical records to evaluate whether the subject accident was the

              proximate cause of Plaintiff’s injuries.

       3.     Pursuant to the implementation of the Health Insurance Privacy and Accountability

              Act (“HIPAA”), health care providers may require the assurance of a protective

              order limiting disclosure of medical information pertaining to Plaintiff before

              responding to a subpoena or other directive to produce medical records or bills. A

              proposed Protective Order is submitted herewith.

       WHEREFORE, PREMISES CONSIDERED, Defendants respectfully request this


{DOC# 00733152}
                                         DOCUMENT 24
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 179 of 505



Honorable Court to enter a Protective Order governing the dissemination of protected health

information of the Plaintiff, CORNELIUS ROSS.

                                            Respectfully submitted,

                                            /s/ Sara Elizabeth Delisle
                                            Lea Richmond, IV (RIC062)
                                            Sara Elizabeth DeLisle (DEL025)
                                            Anna Saunders (SAU019)
                                            Attorneys for Defendant FedEx Freight


OF COUNSEL:

CARR ALLISON
100 Vestavia Parkway
Birmingham, Alabama 35216
Telephone:    (205) 822-2006
Facsimile:    (205) 822-2057
E-mail:       lrichmond@carrallison.com
              sbdelisle@carrallison.com
              asaunders@carrallison.com



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 2nd day of June 2021, I served a copy of the above and

foregoing on the following by:

               Facsimile transmission;
               Hand Delivery;
               Placing a copy of same in the United States Mail, properly addressed and first
               class postage prepaid to; and/or
          x    Using the Alafile or CM/ECF system which will send notifications of such to the
               following:

Carson S. Hale
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830

                                                    /s/ Sara Elizabeth DeLisle
                                                    OF COUNSEL




{DOC# 00733152}
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 180 of 505


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                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 181 of 505


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                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




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                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 182 of 505


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                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




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                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 184 of 505


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                                                                          35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: RICHMOND LEA IV
    lrichmond@carrallison.com




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                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




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                                                                Judge: HON. EDDIE HARDAWAY
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                                      DOCUMENT 26
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 187 of 505




            IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA


ROSS CORNELIUS,                            )
Plaintiff,                                 )
                                           )
V.                                         ) Case No.:       CV-2021-900009.00
                                           )
GILMORE ERIKA,                             )
AVENT KEITH,                               )
FEDEX FREIGHT, INC.,                       )
Defendants.                                )




                                               R
                                             DE
                             HIPPA PROTECTIVE ORDER

                                          OR
        Upon compliance with applicable provisions of Alabama law, the attorneys for
the parties (and any pro se parties) to this lawsuit may obtain all health information
relating to any individual who is a party to this case, or of any decedent or other real
                                      D

party in interest, represented by an executor, administrator, guardian, next friend, bailee
                                  SE


or trustee, and to obtain all information relative to payment for the provision of medical
care to any such individual. This order neither broadens nor restricts any party’s ability
to conduct discovery pursuant to the Alabama Rules of Civil Procedure, the sole
                          O



purpose hereof being only to permit compliance with the Health Insurance Portability
                       OP




and Accountability Act of 1996.

         This Court Order authorizes any third-party who is provided with a subpoena
                     PR




requesting the production of documents or commanding attendance at deposition or
trial to disclose Protected Health Information in response to such request or subpoena.
This Court Order is intended to authorize such disclosures under Section 164.512(e)(1)
of the privacy regulations issued pursuant to the Health Insurance Portability and
Accountability Act of 1996.

        Nothing in this Order shall be deemed to relieve any party or attorney of the
requirements of the Alabama Rules of Civil Procedure. Nothing in this Order permits
disclosure of confidential communications, made for the purposes of diagnosis or
treatment of a patient's mental or emotional condition, including alcohol or drug
addiction, among the patient, the patient's psychotherapist, and persons who are
participating in the diagnosis or treatment under the direction of the psychotherapist,
including members of the patient's family, nor does this Order permit disclosure of
records or information relating to HIV testing or sexually transmitted disease.

       Nothing in this Order shall be construed to authorize any party or any attorney
for any party to release, exchange, submit or share any Protected Health Information
with any other person or any other entity, other than an agent or employee of the
                                        DOCUMENT 26
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 188 of 505




attorney or party. This Order prohibits any use or disclosure of Protected Health
Information for any purpose other than this litigation.

        At the conclusion of this action and at the written request of an individual whose
Protected Health Information has been disclosed, or such Individual's authorized
representative, all recipients of the Protected Health Information shall return to the
requesting party the documents and all copies thereof containing Protected Health
Information received by them pursuant to this Order, except that Protected Health
Information included in insurance claim files and law firm litigation files may be retained
to allow compliance to the extent and for the period that such retention is required by
Alabama Insurance laws and Alabama State Bar rules and regulations.




                                                R
                                              DE
DONE this[To be filled by the Judge].

                                          /s/[To be filled by the Judge]
                                           OR
                                          CIRCUIT JUDGE
                                        D
                          O       SE
                       OP
                     PR
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 189 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




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                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 190 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                       The following matter was FILED on 6/3/2021 8:16:15 AM




                                              [Filer: ]


    Notice Date:    6/3/2021 8:16:15 AM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 191 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 192 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 193 of 505


                                        AlaFile E-Notice




                                                                          35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                         The following matter was FILED on 6/3/2021 8:16:15 AM




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                                                                    VERONICA MORTON-JONES
                                                                       CIRCUIT COURT CLERK
                                                                    GREENE COUNTY, ALABAMA
                                                                        400 MORROW AVENUE
                                                                             EUTAW, AL, 35462

                                                                                    205-372-3598
                                                                      veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 194 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                        The following matter was FILED on 6/3/2021 8:16:15 AM




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                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 195 of 505


                                       AlaFile E-Notice




                                                                          35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following discovery was FILED on 6/3/2021 8:53:09 AM




     Notice Date:    6/3/2021 8:53:09 AM




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                    205-372-3598
                                                                      veronica.jones@alacourt.gov
                                         DOCUMENT 28
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              196 6/3/2021     FILED
                                                                  of 505 8:53 AM
                                                                                35-CV-2021-900009.00
                                                                                CIRCUIT COURT OF
                                                                            GREENE COUNTY, ALABAMA
                                                                          VERONICA MORTON-JONES, CLERK
                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                 Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


             NOTICE OF INTENT TO SERVE SUBPOENA UPON NON-PARTY


        Take notice that upon the expiration of fifteen (15) days from the date of service of this
notice that the Defendant will apply to the Clerk of the Court for issuance of subpoena directed
to:
        UAB Health Information Management
        1201 11th Avenue South
        Birmingham, AL 35205

       to produce the documents or things at the time and place specified in the subpoena.

                                             /s/ Sara Elizabeth Delisle
                                             Lea Richmond, IV (RIC062)
                                             Sara Elizabeth DeLisle (DEL025)
                                             Anna Saunders (SAU019)
                                             Attorneys for Defendant FedEx Freight


OF COUNSEL:

CARR ALLISON
100 Vestavia Parkway
Birmingham, Alabama 35216
Telephone:    (205) 822-2006
Facsimile:    (205) 822-2057
E-mail:       lrichmond@carrallison.com
              sbdelisle@carrallison.com
              asaunders@carrallison.com




{DOC# 00733181}
                                         DOCUMENT 28
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 197 of 505



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 3rd day of June 2021, I served a copy of the above and

foregoing on the following by:

               Facsimile transmission;
               Hand Delivery;
               Placing a copy of same in the United States Mail, properly addressed and first
               class postage prepaid to; and/or
          x    Using the Alafile or CM/ECF system which will send notifications of such to the
               following:

Carson S. Hale
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
                                                    /s/ Sara Elizabeth DeLisle
                                                    OF COUNSEL




{DOC# 00733181}
                                           DOCUMENT 29
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              198 6/3/2021     FILED
                                                                  of 505 8:53 AM
                                                                                  35-CV-2021-900009.00
                                                                                  CIRCUIT COURT OF
                                                                              GREENE COUNTY, ALABAMA
                                                                            VERONICA MORTON-JONES, CLERK
                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                   Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


         CIVIL SUBPOENA TO APPEAR AND FOR PRODUCTION OF DOCUMENTS
                               UNDER RULE 45


TO:    UAB Health Information Management
       ATTN: Release of Information
       1201 11th Ave. South
       Birmingham, AL 35205

        You are hereby commanded, at the instance of the Defendant within fifteen (15) days
after service of this subpoena:

       To produce and permit said party to inspect and to copy each of the following documents:

         A CERTIFIED COPY of your entire file, including but not limited to, all insurance records,
hospital records, pharmacy records, physical therapy notes/records, office notes, S.O.A.P. notes,
digital copies of all imaging (no actual films) and all imaging reports, consultation reports, copies
of correspondence to or from attorneys or other physicians or other written material contained in
your file, billing and insurance codes on the care and treatment of: CORNEILUS ROSS; Date of
Birth: **/**/1987; Social Security No.: ***-**-*075; together with copies of ALL ITEMIZED
BILLING FOR SERVICES RENDERED to said patient, showing the dates of treatment,
amount(s) charged, payment(s) made and by whom, and any adjustments/ write-offs made.

                         (Please return a copy of the subpoena with records)

                 ***This subpoena is continuing until the conclusion of litigation***

        Such production and inspection is to take place where the documents are regularly kept
or at some other reasonable place designated by you.

       You are further advised that other parties to the action in which this subpoena has been
issued have the right to be present at the time of such production or inspection.

      You have the option to deliver or mail legible copies of documents to the party
causing the issuance of this subpoena, but you may condition such activity on your part
upon the payment in advance by the party causing issuance of this subpoena of the
reasonable costs of making such copies. The said party agrees to pay all reasonable


{DOC# 00733179}                             Page 1 of 4
                                         DOCUMENT 29
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 199 of 505



expenses incurred by you at the aforementioned time and place or upon receipt of said
documents. Please advise us if the reasonable copying cost will be over $100.00.

       Should you choose to mail legible copies of the records requested, please deliver or mail
them to Kimberly Frazier c/o Carr Allison, 100 Vestavia Parkway, Birmingham, AL 35216 within
15 days of service of this subpoena.

     Rule 45 of the Alabama Rules of Civil Procedure, which applies to this request for
documents, provides in sections (c) and (d) as follows:

       (c)    Protection of Persons Subject to Subpoenas:

              (1)     A party or an attorney responsible for the issuance and service of a
              subpoena shall take reasonable steps to avoid imposing undue burden or expense
              on a person subject to that subpoena. The court on behalf of which the subpoena
              was issued shall enforce this duty and impose upon the party or attorney in breach
              of this duty an appropriate sanction, which may include, but is not limited to, lost
              earnings and a reasonable attorney's fee.

              (2)     (A)    A person commanded to produce and inspection and copying of
                      designated books, papers, documents or tangible things or inspection of
                      premises need not appear in person at the place of production           or
                      inspection unless commanded to appear for deposition, hearing or trial.

                      (B)     Subject to paragraph (d)(2) of this rule, a person commanded to
                      produce and permit inspection of and copying at any time before the time
                      specified for compliance may serve upon the party or attorney designated
                      in the subpoena written objection to inspection or copying of any or all of
                      the designated materials or of the premises. "Serve" as used herein,
                      means mailing to the party or attorney. If objection is made, the party
                      serving the subpoena shall not be entitled to inspect and copy the materials
                      or inspect the premises except pursuant to an order of the court by which
                      the subpoena was issued. If objection has been made, the party serving
                      the subpoena may, upon notice to the person commanded to produce,
                      move at any time for an order to compel production. Such an order to
                      compel production shall protect any person who is not a party or an officer
                      of a party from significant expense resulting from the inspection and
                      copying commanded.

              (3)     (A)   On timely motion, the court by which a subpoena was issued shall
                      quash or modify the subpoena if it

                             (i)     fails to allow reasonable time for compliance.

                             (ii)     requires a resident of this state who is not a party or an
                             officer of a party to travel to a place more than one hundred (100)
                             miles from the place where that person resides, is employed or
                             regularly transacts business in person, or requires a non-resident
                             of this state who is not a party or an officer of a party to travel to a
                             place within the state more than one hundred (100) miles from the
                             place of service or, where separate from the place of service, more

{DOC# 00733179}                           Page 2 of 4
                                         DOCUMENT 29
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 200 of 505



                             than one hundred (100) miles from the place where that person is
                             employed or regularly transacts business in person, except that,
                             subject to the provisions of Clause (c)(3)(B)(iii) of this rule, such a
                             person may in order to attend trial be commanded to travel from
                             any such place within the state in which the trial is held, or

                             (iii)  requires disclosure of privileged or other protected matter
                             and no exception or waiver applies, or

                             (iv) subjects a person to undue burden.

                      (B)    If a subpoena

                             (i)    requires a disclosure of a trade secret or other confidential
                             research, development, or commercial information, or

                             (ii)    requires disclosure of an un-retained expert's opinion or
                             information not describing specific events or occurrences in dispute
                             and resulting from the expert's study made not at the request of any
                             party, or

                             (iii)   requires a person who is not a party or an officer of a party
                             to incur substantial expense to travel more than one hundred (100)
                             miles to attend trial,

                             the court may, to protect a person subject to or affected by the
                             subpoena, quash or modify the subpoena, or, if the party in whose
                             behalf the subpoena is issued, shows a substantial need for the
                             testimony or material that cannot be otherwise met without undue
                             hardship and assures that the person to whom the subpoena is
                             addressed will be reasonably compensated, the court may order
                             appearance or production only upon specified conditions.

       (d)    Duties in Responding to Subpoena:

              (1)    A person responding to a subpoena to produce documents shall produce
              them as they are kept in the usual course of business or shall organize and label
              them to correspond with the categories in the demand.

              (2)     When information subject to a subpoena is withheld on a claim that is
              privileged or subject to protection as trial preparation materials, the claim shall be
              made expressly and shall be supported by a description of the nature of the
              documents, communications, or things not produced that is sufficient to enable the
              demanding party to contest the claim.

        You have the right to object at any time prior to the date set forth in this subpoena for
compliance. Should you choose to object, you should communicate such objection in writing to
the party causing the issuance of this subpoena and stating, with respect to any item to which
objection is made, your reasons for such objection.



{DOC# 00733179}                            Page 3 of 4
                                      DOCUMENT 29
         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 201 of 505




CIRCUIT CLERK:

By:      _______________________

Date: _______________________




                                 RETURN ON SERVICE

         I, __________________, served this subpoena on _______________________ on the
day of                                                    , 2021.


                                               PROCESS SERVER




{DOC# 00733179}                        Page 4 of 4
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 202 of 505


                                       AlaFile E-Notice




                                                                          35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following discovery was FILED on 6/3/2021 8:53:09 AM




     Notice Date:    6/3/2021 8:53:09 AM




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                    205-372-3598
                                                                      veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 203 of 505


                                      AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 204 of 505


                                      AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 205 of 505


                                      AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
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                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 206 of 505


                                        AlaFile E-Notice




                                                                           35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                             CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                     35-CV-2021-900009.00

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                                                                       CIRCUIT COURT CLERK
                                                                    GREENE COUNTY, ALABAMA
                                                                        400 MORROW AVENUE
                                                                             EUTAW, AL, 35462

                                                                                     205-372-3598
                                                                       veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 207 of 505


                                       AlaFile E-Notice




                                                                          35-CV-2021-900009.00


To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                    205-372-3598
                                                                      veronica.jones@alacourt.gov
                                         DOCUMENT 31
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              208 6/3/2021     FILED
                                                                  of 505 9:04 AM
                                                                                35-CV-2021-900009.00
                                                                                CIRCUIT COURT OF
                                                                            GREENE COUNTY, ALABAMA
                                                                          VERONICA MORTON-JONES, CLERK
                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                 Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


              NOTICE OF INTENT TO SERVE SUBPOENA UPON NON-PARTY


        Take notice that upon the expiration of fifteen (15) days from the date of service of this
notice that the Defendant will apply to the Clerk of the Court for issuance of subpoena directed
to:
        Regional Paramedical Services
        PO Box 11407
        Dept 1633
        Birmingham, AL 35246

       to produce the documents or things at the time and place specified in the subpoena.

                                             /s/ Sara Elizabeth Delisle
                                             Lea Richmond, IV (RIC062)
                                             Sara Elizabeth DeLisle (DEL025)
                                             Anna Saunders (SAU019)
                                             Attorneys for Defendant FedEx Freight


OF COUNSEL:

CARR ALLISON
100 Vestavia Parkway
Birmingham, Alabama 35216
Telephone:    (205) 822-2006
Facsimile:    (205) 822-2057
E-mail:       lrichmond@carrallison.com
              sbdelisle@carrallison.com
              asaunders@carrallison.com




{DOC# 00733187}
                                         DOCUMENT 31
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 209 of 505



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 3rd day of June 2021, I served a copy of the above and

foregoing on the following by:

               Facsimile transmission;
               Hand Delivery;
               Placing a copy of same in the United States Mail, properly addressed and first
               class postage prepaid to; and/or
          x    Using the Alafile or CM/ECF system which will send notifications of such to the
               following:

Carson S. Hale
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
                                                    /s/ Sara Elizabeth DeLisle
                                                    OF COUNSEL




{DOC# 00733187}
                                           DOCUMENT 32
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              210 6/3/2021     FILED
                                                                  of 505 9:04 AM
                                                                                  35-CV-2021-900009.00
                                                                                  CIRCUIT COURT OF
                                                                              GREENE COUNTY, ALABAMA
                                                                            VERONICA MORTON-JONES, CLERK
                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                   Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


         CIVIL SUBPOENA TO APPEAR AND FOR PRODUCTION OF DOCUMENTS
                               UNDER RULE 45


TO:    Regional Paramedical Services
       PO Box 11407
       Dept 1633
       Birmingham, AL 35246

        You are hereby commanded, at the instance of the Defendant within fifteen (15) days
after service of this subpoena:

       To produce and permit said party to inspect and to copy each of the following documents:

         A CERTIFIED COPY of your entire file, including but not limited to, all insurance records,
hospital records, pharmacy records, physical therapy notes/records, office notes, S.O.A.P. notes,
digital copies of all imaging (no actual films) and all imaging reports, consultation reports, copies
of correspondence to or from attorneys or other physicians or other written material contained in
your file, billing and insurance codes on the care and treatment of: CORNEILUS ROSS; Date of
Birth: **/**/1987; Social Security No.: ***-**-*075; together with copies of ALL ITEMIZED
BILLING FOR SERVICES RENDERED to said patient, showing the dates of treatment,
amount(s) charged, payment(s) made and by whom, and any adjustments/ write-offs made.

                         (Please return a copy of the subpoena with records)

                 ***This subpoena is continuing until the conclusion of litigation***

        Such production and inspection is to take place where the documents are regularly kept
or at some other reasonable place designated by you.

       You are further advised that other parties to the action in which this subpoena has been
issued have the right to be present at the time of such production or inspection.

      You have the option to deliver or mail legible copies of documents to the party
causing the issuance of this subpoena, but you may condition such activity on your part
upon the payment in advance by the party causing issuance of this subpoena of the
reasonable costs of making such copies. The said party agrees to pay all reasonable


{DOC# 00733186}                             Page 1 of 4
                                         DOCUMENT 32
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 211 of 505



expenses incurred by you at the aforementioned time and place or upon receipt of said
documents. Please advise us if the reasonable copying cost will be over $100.00.

       Should you choose to mail legible copies of the records requested, please deliver or mail
them to Kimberly Frazier c/o Carr Allison, 100 Vestavia Parkway, Birmingham, AL 35216 within
15 days of service of this subpoena.

     Rule 45 of the Alabama Rules of Civil Procedure, which applies to this request for
documents, provides in sections (c) and (d) as follows:

       (c)    Protection of Persons Subject to Subpoenas:

              (1)     A party or an attorney responsible for the issuance and service of a
              subpoena shall take reasonable steps to avoid imposing undue burden or expense
              on a person subject to that subpoena. The court on behalf of which the subpoena
              was issued shall enforce this duty and impose upon the party or attorney in breach
              of this duty an appropriate sanction, which may include, but is not limited to, lost
              earnings and a reasonable attorney's fee.

              (2)     (A)    A person commanded to produce and inspection and copying of
                      designated books, papers, documents or tangible things or inspection of
                      premises need not appear in person at the place of production           or
                      inspection unless commanded to appear for deposition, hearing or trial.

                      (B)     Subject to paragraph (d)(2) of this rule, a person commanded to
                      produce and permit inspection of and copying at any time before the time
                      specified for compliance may serve upon the party or attorney designated
                      in the subpoena written objection to inspection or copying of any or all of
                      the designated materials or of the premises. "Serve" as used herein,
                      means mailing to the party or attorney. If objection is made, the party
                      serving the subpoena shall not be entitled to inspect and copy the materials
                      or inspect the premises except pursuant to an order of the court by which
                      the subpoena was issued. If objection has been made, the party serving
                      the subpoena may, upon notice to the person commanded to produce,
                      move at any time for an order to compel production. Such an order to
                      compel production shall protect any person who is not a party or an officer
                      of a party from significant expense resulting from the inspection and
                      copying commanded.

              (3)     (A)   On timely motion, the court by which a subpoena was issued shall
                      quash or modify the subpoena if it

                             (i)     fails to allow reasonable time for compliance.

                             (ii)     requires a resident of this state who is not a party or an
                             officer of a party to travel to a place more than one hundred (100)
                             miles from the place where that person resides, is employed or
                             regularly transacts business in person, or requires a non-resident
                             of this state who is not a party or an officer of a party to travel to a
                             place within the state more than one hundred (100) miles from the
                             place of service or, where separate from the place of service, more

{DOC# 00733186}                           Page 2 of 4
                                         DOCUMENT 32
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 212 of 505



                             than one hundred (100) miles from the place where that person is
                             employed or regularly transacts business in person, except that,
                             subject to the provisions of Clause (c)(3)(B)(iii) of this rule, such a
                             person may in order to attend trial be commanded to travel from
                             any such place within the state in which the trial is held, or

                             (iii)  requires disclosure of privileged or other protected matter
                             and no exception or waiver applies, or

                             (iv) subjects a person to undue burden.

                      (B)    If a subpoena

                             (i)    requires a disclosure of a trade secret or other confidential
                             research, development, or commercial information, or

                             (ii)    requires disclosure of an un-retained expert's opinion or
                             information not describing specific events or occurrences in dispute
                             and resulting from the expert's study made not at the request of any
                             party, or

                             (iii)   requires a person who is not a party or an officer of a party
                             to incur substantial expense to travel more than one hundred (100)
                             miles to attend trial,

                             the court may, to protect a person subject to or affected by the
                             subpoena, quash or modify the subpoena, or, if the party in whose
                             behalf the subpoena is issued, shows a substantial need for the
                             testimony or material that cannot be otherwise met without undue
                             hardship and assures that the person to whom the subpoena is
                             addressed will be reasonably compensated, the court may order
                             appearance or production only upon specified conditions.

       (d)    Duties in Responding to Subpoena:

              (1)    A person responding to a subpoena to produce documents shall produce
              them as they are kept in the usual course of business or shall organize and label
              them to correspond with the categories in the demand.

              (2)     When information subject to a subpoena is withheld on a claim that is
              privileged or subject to protection as trial preparation materials, the claim shall be
              made expressly and shall be supported by a description of the nature of the
              documents, communications, or things not produced that is sufficient to enable the
              demanding party to contest the claim.

        You have the right to object at any time prior to the date set forth in this subpoena for
compliance. Should you choose to object, you should communicate such objection in writing to
the party causing the issuance of this subpoena and stating, with respect to any item to which
objection is made, your reasons for such objection.



{DOC# 00733186}                            Page 3 of 4
                                      DOCUMENT 32
         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 213 of 505




CIRCUIT CLERK:

By:      _______________________

Date: _______________________




                                 RETURN ON SERVICE

         I, __________________, served this subpoena on _______________________ on the
day of                                                    , 2021.


                                               PROCESS SERVER




{DOC# 00733186}                        Page 4 of 4
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 214 of 505


                                       AlaFile E-Notice




                                                                          35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following discovery was FILED on 6/3/2021 9:04:46 AM




     Notice Date:    6/3/2021 9:04:46 AM




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                    205-372-3598
                                                                      veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 215 of 505


                                      AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 216 of 505


                                      AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                  GREENE COUNTY, ALABAMA
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                                                                           EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 217 of 505


                                      AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 218 of 505


                                        AlaFile E-Notice




                                                                           35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                             CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                     35-CV-2021-900009.00

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                                                                    VERONICA MORTON-JONES
                                                                       CIRCUIT COURT CLERK
                                                                    GREENE COUNTY, ALABAMA
                                                                        400 MORROW AVENUE
                                                                             EUTAW, AL, 35462

                                                                                     205-372-3598
                                                                       veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 219 of 505


                                       AlaFile E-Notice




                                                                          35-CV-2021-900009.00


To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following discovery was FILED on 6/3/2021 9:04:46 AM




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                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                    205-372-3598
                                                                      veronica.jones@alacourt.gov
                                         DOCUMENT 34
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                  of 505 1:13 PM
                                                                                35-CV-2021-900009.00
                                                                                CIRCUIT COURT OF
                                                                            GREENE COUNTY, ALABAMA
                                                                          VERONICA MORTON-JONES, CLERK
                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                 Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


              NOTICE OF INTENT TO SERVE SUBPOENA UPON NON-PARTY


        Take notice that upon the expiration of fifteen (15) days from the date of service of this
notice that the Defendant will apply to the Clerk of the Court for issuance of subpoena directed
to:
        USAA Casualty Insurance
        and/or USAA General Indemnity Company
        c/o Corporation Service Company, Inc.
        641 South Lawrence Street
        Montgomery, AL 36104

       to produce the documents or things at the time and place specified in the subpoena.

                                             /s/ Sara Elizabeth Delisle
                                             Lea Richmond, IV (RIC062)
                                             Sara Elizabeth DeLisle (DEL025)
                                             Anna Saunders (SAU019)
                                             Attorneys for Defendant FedEx Freight


OF COUNSEL:

CARR ALLISON
100 Vestavia Parkway
Birmingham, Alabama 35216
Telephone:    (205) 822-2006
Facsimile:    (205) 822-2057
E-mail:       lrichmond@carrallison.com
              sbdelisle@carrallison.com
              asaunders@carrallison.com




{DOC# 00734984}
                                         DOCUMENT 34
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 221 of 505



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 10th day of June 2021, I served a copy of the above and

foregoing on the following by:

               Facsimile transmission;
               Hand Delivery;
               Placing a copy of same in the United States Mail, properly addressed and first
               class postage prepaid to; and/or
          x    Using the Alafile or CM/ECF system which will send notifications of such to the
               following:

Carson S. Hale
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
                                                    /s/ Sara Elizabeth DeLisle
                                                    OF COUNSEL




{DOC# 00734984}
                                          DOCUMENT 35
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              2226/10/2021     FILED
                                                                  of 505 1:13 PM
                                                                                35-CV-2021-900009.00
                                                                                CIRCUIT COURT OF
                                                                            GREENE COUNTY, ALABAMA
                                                                          VERONICA MORTON-JONES, CLERK
                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                  Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


        CIVIL SUBPOENA TO APPEAR AND FOR PRODUCTION OF DOCUMENTS
                              UNDER RULE 45


TO:    USAA Casualty Insurance
       and/or USAA General Indemnity Company
       c/o Corporation Service Company, Inc.
       641 South Lawrence Street
       Montgomery, AL 36104

        You are hereby commanded, at the instance of the Defendant within fifteen (15) days
after service of this subpoena:

       To produce and permit said party to inspect and to copy each of the following documents:

         A CERTIFIED COPY OF: The complete claims file pertaining to an insured motorist
automobile claim for monetary benefits for property damages and injuries arising from a collision
that occurred on or about April 3, 2020, including but not limited to, current location of vehicle,
claims forms, repair estimates or vehicle valuation reports, billing statements, adjuster notes,
investigative file, photographs, witness statements, audio interviews, medical bills, invoices,
payments made, disability or lost wage payments, computer data, compilations or reports, copies
of any litigation records, pleadings, discovery responses, records production, settlement
agreements, all other forms of documents, correspondence, letters, writings, and/or any other
written material contained in your file, in your possession or under your control which relates to
insurance coverage of: Erika Monique Gilmore; Date of Birth: **/**/1990; Social Security No.:
***-**-****; Policy No.: 0378621257101.

                        (Please return a copy of the subpoena with records)

                ***This subpoena is continuing until the conclusion of litigation***

        Such production and inspection is to take place where the documents are regularly kept
or at some other reasonable place designated by you.

       You are further advised that other parties to the action in which this subpoena has been
issued have the right to be present at the time of such production or inspection.



{DOC# 00734977}                            Page 1 of 4
                                         DOCUMENT 35
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 223 of 505



      You have the option to deliver or mail legible copies of documents to the party
causing the issuance of this subpoena, but you may condition such activity on your part
upon the payment in advance by the party causing issuance of this subpoena of the
reasonable costs of making such copies. The said party agrees to pay all reasonable
expenses incurred by you at the aforementioned time and place or upon receipt of said
documents. Please advise us if the reasonable copying cost will be over $100.00.

       Should you choose to mail legible copies of the records requested, please deliver or mail
them to Kimberly Frazier c/o Carr Allison, 100 Vestavia Parkway, Birmingham, AL 35216 within
15 days of service of this subpoena.

     Rule 45 of the Alabama Rules of Civil Procedure, which applies to this request for
documents, provides in sections (c) and (d) as follows:

       (c)    Protection of Persons Subject to Subpoenas:

              (1)     A party or an attorney responsible for the issuance and service of a
              subpoena shall take reasonable steps to avoid imposing undue burden or expense
              on a person subject to that subpoena. The court on behalf of which the subpoena
              was issued shall enforce this duty and impose upon the party or attorney in breach
              of this duty an appropriate sanction, which may include, but is not limited to, lost
              earnings and a reasonable attorney's fee.

              (2)     (A)    A person commanded to produce and inspection and copying of
                      designated books, papers, documents or tangible things or inspection of
                      premises need not appear in person at the place of production           or
                      inspection unless commanded to appear for deposition, hearing or trial.

                      (B)     Subject to paragraph (d)(2) of this rule, a person commanded to
                      produce and permit inspection of and copying at any time before the time
                      specified for compliance may serve upon the party or attorney designated
                      in the subpoena written objection to inspection or copying of any or all of
                      the designated materials or of the premises. "Serve" as used herein,
                      means mailing to the party or attorney. If objection is made, the party
                      serving the subpoena shall not be entitled to inspect and copy the materials
                      or inspect the premises except pursuant to an order of the court by which
                      the subpoena was issued. If objection has been made, the party serving
                      the subpoena may, upon notice to the person commanded to produce,
                      move at any time for an order to compel production. Such an order to
                      compel production shall protect any person who is not a party or an officer
                      of a party from significant expense resulting from the inspection and
                      copying commanded.

              (3)     (A)   On timely motion, the court by which a subpoena was issued shall
                      quash or modify the subpoena if it

                             (i)     fails to allow reasonable time for compliance.

                             (ii)    requires a resident of this state who is not a party or an
                             officer of a party to travel to a place more than one hundred (100)
                             miles from the place where that person resides, is employed or

{DOC# 00734977}                           Page 2 of 4
                                         DOCUMENT 35
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 224 of 505



                             regularly transacts business in person, or requires a non-resident
                             of this state who is not a party or an officer of a party to travel to a
                             place within the state more than one hundred (100) miles from the
                             place of service or, where separate from the place of service, more
                             than one hundred (100) miles from the place where that person is
                             employed or regularly transacts business in person, except that,
                             subject to the provisions of Clause (c)(3)(B)(iii) of this rule, such a
                             person may in order to attend trial be commanded to travel from
                             any such place within the state in which the trial is held, or

                             (iii)  requires disclosure of privileged or other protected matter
                             and no exception or waiver applies, or

                             (iv) subjects a person to undue burden.

                      (B)    If a subpoena

                             (i)    requires a disclosure of a trade secret or other confidential
                             research, development, or commercial information, or

                             (ii)    requires disclosure of an un-retained expert's opinion or
                             information not describing specific events or occurrences in dispute
                             and resulting from the expert's study made not at the request of any
                             party, or

                             (iii)   requires a person who is not a party or an officer of a party
                             to incur substantial expense to travel more than one hundred (100)
                             miles to attend trial,

                             the court may, to protect a person subject to or affected by the
                             subpoena, quash or modify the subpoena, or, if the party in whose
                             behalf the subpoena is issued, shows a substantial need for the
                             testimony or material that cannot be otherwise met without undue
                             hardship and assures that the person to whom the subpoena is
                             addressed will be reasonably compensated, the court may order
                             appearance or production only upon specified conditions.

       (d)    Duties in Responding to Subpoena:

              (1)    A person responding to a subpoena to produce documents shall produce
              them as they are kept in the usual course of business or shall organize and label
              them to correspond with the categories in the demand.

              (2)     When information subject to a subpoena is withheld on a claim that is
              privileged or subject to protection as trial preparation materials, the claim shall be
              made expressly and shall be supported by a description of the nature of the
              documents, communications, or things not produced that is sufficient to enable the
              demanding party to contest the claim.

       You have the right to object at any time prior to the date set forth in this subpoena for
compliance. Should you choose to object, you should communicate such objection in writing to

{DOC# 00734977}                            Page 3 of 4
                                         DOCUMENT 35
         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 225 of 505



the party causing the issuance of this subpoena and stating, with respect to any item to which
objection is made, your reasons for such objection.




         This the            day of                         , 2020.


CIRCUIT CLERK:

By:

Date:




                                   RETURN ON SERVICE

         I,                           , served this subpoena on
on the        day of                                        , 2020.


                                                    PROCESS SERVER




{DOC# 00734977}                            Page 4 of 4
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 226 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                      The following discovery was FILED on 6/10/2021 1:14:02 PM




     Notice Date:    6/10/2021 1:14:02 PM




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 227 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 228 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 229 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 230 of 505


                                        AlaFile E-Notice




                                                                          35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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                                                                    GREENE COUNTY, ALABAMA
                                                                        400 MORROW AVENUE
                                                                             EUTAW, AL, 35462

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                                                                      veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 231 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

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                                                                     veronica.jones@alacourt.gov
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      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                                CIRCUIT COURT OF
                                                                            GREENE COUNTY, ALABAMA
                                                                          VERONICA MORTON-JONES, CLERK
                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                 Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


        AMENDED NOTICE OF INTENT TO SERVE SUBPOENA UPON NON-PARTY


        Take notice that upon the expiration of fifteen (15) days from the date of service of this
notice that the Defendant will apply to the Clerk of the Court for issuance of subpoena directed
to:
        USAA Casualty Insurance
        and/or USAA General Indemnity Company
        c/o Corporation Service Company, Inc.
        641 South Lawrence Street
        Montgomery, AL 36104

       to produce the documents or things at the time and place specified in the subpoena.

                                             /s/ Sara Elizabeth Delisle
                                             Lea Richmond, IV (RIC062)
                                             Sara Elizabeth DeLisle (DEL025)
                                             Anna Saunders (SAU019)
                                             Attorneys for Defendant FedEx Freight


OF COUNSEL:

CARR ALLISON
100 Vestavia Parkway
Birmingham, Alabama 35216
Telephone:    (205) 822-2006
Facsimile:    (205) 822-2057
E-mail:       lrichmond@carrallison.com
              sbdelisle@carrallison.com
              asaunders@carrallison.com




{DOC# 00734984}
                                         DOCUMENT 37
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 233 of 505



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 10th day of June 2021, I served a copy of the above and

foregoing on the following by:

               Facsimile transmission;
               Hand Delivery;
               Placing a copy of same in the United States Mail, properly addressed and first
               class postage prepaid to; and/or
          x    Using the Alafile or CM/ECF system which will send notifications of such to the
               following:

Carson S. Hale
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
                                                    /s/ Sara Elizabeth DeLisle
                                                    OF COUNSEL




{DOC# 00734984}
                                          DOCUMENT 38
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              2346/10/2021     FILED
                                                                  of 505 3:48 PM
                                                                                35-CV-2021-900009.00
                                                                                CIRCUIT COURT OF
                                                                            GREENE COUNTY, ALABAMA
                                                                          VERONICA MORTON-JONES, CLERK
                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                  Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


        CIVIL SUBPOENA TO APPEAR AND FOR PRODUCTION OF DOCUMENTS
                              UNDER RULE 45


TO:    USAA Casualty Insurance
       and/or USAA General Indemnity Company
       c/o Corporation Service Company, Inc.
       641 South Lawrence Street
       Montgomery, AL 36104

        You are hereby commanded, at the instance of the Defendant within fifteen (15) days
after service of this subpoena:

       To produce and permit said party to inspect and to copy each of the following documents:

         A CERTIFIED COPY OF: The complete claims file pertaining to an insured motorist
automobile claim for monetary benefits for property damages and injuries arising from a collision
that occurred on or about April 3, 2020, including but not limited to, current location of vehicle,
claims forms, repair estimates or vehicle valuation reports, billing statements, adjuster notes,
investigative file, photographs, witness statements, audio interviews, medical bills, invoices,
payments made, disability or lost wage payments, computer data, compilations or reports, copies
of any litigation records, pleadings, discovery responses, records production, settlement
agreements, all other forms of documents, correspondence, letters, writings, and/or any other
written material contained in your file, in your possession or under your control which relates to
insurance coverage of: Erika Monique Gilmore; Date of Birth: **/**/1990; Social Security No.:
***-**-****; Policy No.: 0378621257101; Vehicle: 2018 Honda Accord; VIN #:
1HGCV1F39JA220305.

                        (Please return a copy of the subpoena with records)

                ***This subpoena is continuing until the conclusion of litigation***

        Such production and inspection is to take place where the documents are regularly kept
or at some other reasonable place designated by you.

       You are further advised that other parties to the action in which this subpoena has been
issued have the right to be present at the time of such production or inspection.


{DOC# 00734977}                            Page 1 of 4
                                         DOCUMENT 38
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 235 of 505



      You have the option to deliver or mail legible copies of documents to the party
causing the issuance of this subpoena, but you may condition such activity on your part
upon the payment in advance by the party causing issuance of this subpoena of the
reasonable costs of making such copies. The said party agrees to pay all reasonable
expenses incurred by you at the aforementioned time and place or upon receipt of said
documents. Please advise us if the reasonable copying cost will be over $100.00.

       Should you choose to mail legible copies of the records requested, please deliver or mail
them to Kimberly Frazier c/o Carr Allison, 100 Vestavia Parkway, Birmingham, AL 35216 within
15 days of service of this subpoena.

     Rule 45 of the Alabama Rules of Civil Procedure, which applies to this request for
documents, provides in sections (c) and (d) as follows:

       (c)    Protection of Persons Subject to Subpoenas:

              (1)     A party or an attorney responsible for the issuance and service of a
              subpoena shall take reasonable steps to avoid imposing undue burden or expense
              on a person subject to that subpoena. The court on behalf of which the subpoena
              was issued shall enforce this duty and impose upon the party or attorney in breach
              of this duty an appropriate sanction, which may include, but is not limited to, lost
              earnings and a reasonable attorney's fee.

              (2)     (A)    A person commanded to produce and inspection and copying of
                      designated books, papers, documents or tangible things or inspection of
                      premises need not appear in person at the place of production           or
                      inspection unless commanded to appear for deposition, hearing or trial.

                      (B)     Subject to paragraph (d)(2) of this rule, a person commanded to
                      produce and permit inspection of and copying at any time before the time
                      specified for compliance may serve upon the party or attorney designated
                      in the subpoena written objection to inspection or copying of any or all of
                      the designated materials or of the premises. "Serve" as used herein,
                      means mailing to the party or attorney. If objection is made, the party
                      serving the subpoena shall not be entitled to inspect and copy the materials
                      or inspect the premises except pursuant to an order of the court by which
                      the subpoena was issued. If objection has been made, the party serving
                      the subpoena may, upon notice to the person commanded to produce,
                      move at any time for an order to compel production. Such an order to
                      compel production shall protect any person who is not a party or an officer
                      of a party from significant expense resulting from the inspection and
                      copying commanded.

              (3)     (A)   On timely motion, the court by which a subpoena was issued shall
                      quash or modify the subpoena if it

                             (i)     fails to allow reasonable time for compliance.

                             (ii)    requires a resident of this state who is not a party or an
                             officer of a party to travel to a place more than one hundred (100)
                             miles from the place where that person resides, is employed or

{DOC# 00734977}                           Page 2 of 4
                                         DOCUMENT 38
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 236 of 505



                             regularly transacts business in person, or requires a non-resident
                             of this state who is not a party or an officer of a party to travel to a
                             place within the state more than one hundred (100) miles from the
                             place of service or, where separate from the place of service, more
                             than one hundred (100) miles from the place where that person is
                             employed or regularly transacts business in person, except that,
                             subject to the provisions of Clause (c)(3)(B)(iii) of this rule, such a
                             person may in order to attend trial be commanded to travel from
                             any such place within the state in which the trial is held, or

                             (iii)  requires disclosure of privileged or other protected matter
                             and no exception or waiver applies, or

                             (iv) subjects a person to undue burden.

                      (B)    If a subpoena

                             (i)    requires a disclosure of a trade secret or other confidential
                             research, development, or commercial information, or

                             (ii)    requires disclosure of an un-retained expert's opinion or
                             information not describing specific events or occurrences in dispute
                             and resulting from the expert's study made not at the request of any
                             party, or

                             (iii)   requires a person who is not a party or an officer of a party
                             to incur substantial expense to travel more than one hundred (100)
                             miles to attend trial,

                             the court may, to protect a person subject to or affected by the
                             subpoena, quash or modify the subpoena, or, if the party in whose
                             behalf the subpoena is issued, shows a substantial need for the
                             testimony or material that cannot be otherwise met without undue
                             hardship and assures that the person to whom the subpoena is
                             addressed will be reasonably compensated, the court may order
                             appearance or production only upon specified conditions.

       (d)    Duties in Responding to Subpoena:

              (1)    A person responding to a subpoena to produce documents shall produce
              them as they are kept in the usual course of business or shall organize and label
              them to correspond with the categories in the demand.

              (2)     When information subject to a subpoena is withheld on a claim that is
              privileged or subject to protection as trial preparation materials, the claim shall be
              made expressly and shall be supported by a description of the nature of the
              documents, communications, or things not produced that is sufficient to enable the
              demanding party to contest the claim.

       You have the right to object at any time prior to the date set forth in this subpoena for
compliance. Should you choose to object, you should communicate such objection in writing to

{DOC# 00734977}                            Page 3 of 4
                                         DOCUMENT 38
         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 237 of 505



the party causing the issuance of this subpoena and stating, with respect to any item to which
objection is made, your reasons for such objection.




         This the            day of                         , 2021.


CIRCUIT CLERK:

By:

Date:




                                   RETURN ON SERVICE

         I,                           , served this subpoena on
on the        day of                                        , 2021.


                                                    PROCESS SERVER




{DOC# 00734977}                            Page 4 of 4
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 238 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                      The following discovery was FILED on 6/10/2021 3:48:53 PM




     Notice Date:    6/10/2021 3:48:53 PM




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 239 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following discovery was FILED on 6/10/2021 3:48:53 PM




    Notice Date:    6/10/2021 3:48:53 PM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 240 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following discovery was FILED on 6/10/2021 3:48:53 PM




    Notice Date:    6/10/2021 3:48:53 PM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 241 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following discovery was FILED on 6/10/2021 3:48:53 PM




    Notice Date:    6/10/2021 3:48:53 PM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 242 of 505


                                        AlaFile E-Notice




                                                                          35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following discovery was FILED on 6/10/2021 3:48:53 PM




     Notice Date:    6/10/2021 3:48:53 PM




                                                                    VERONICA MORTON-JONES
                                                                       CIRCUIT COURT CLERK
                                                                    GREENE COUNTY, ALABAMA
                                                                        400 MORROW AVENUE
                                                                             EUTAW, AL, 35462

                                                                                    205-372-3598
                                                                      veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 243 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                      The following discovery was FILED on 6/10/2021 3:48:53 PM




     Notice Date:    6/10/2021 3:48:53 PM




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
                                         DOCUMENT 40
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              2446/16/2021       FILED
                                                                   of 505 11:32 AM
                                                                                35-CV-2021-900009.00
                                                                                CIRCUIT COURT OF
                                                                            GREENE COUNTY, ALABAMA
                                                                          VERONICA MORTON-JONES, CLERK
                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                 Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


        AMENDED NOTICE OF INTENT TO SERVE SUBPOENA UPON NON-PARTY


        Take notice that upon the expiration of fifteen (15) days from the date of service of this
notice that the Defendant will apply to the Clerk of the Court for issuance of subpoena directed
to:
        Copart – Birmingham
        Post Office Box 3533
        Hueytown, Alabama 35023

to produce the documents or things at the time and place specified in the subpoena.

                                             /s/ Sara Elizabeth Delisle
                                             Lea Richmond, IV (RIC062)
                                             Sara Elizabeth DeLisle (DEL025)
                                             Anna Saunders (SAU019)
                                             Attorneys for Defendant FedEx Freight


OF COUNSEL:

CARR ALLISON
100 Vestavia Parkway
Birmingham, Alabama 35216
Telephone:    (205) 822-2006
Facsimile:    (205) 822-2057
E-mail:       lrichmond@carrallison.com
              sbdelisle@carrallison.com
              asaunders@carrallison.com




{DOC# 00736676}
                                         DOCUMENT 40
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 245 of 505



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 16th day of June 2021, I served a copy of the above and

foregoing on the following by:

               Facsimile transmission;
               Hand Delivery;
               Placing a copy of same in the United States Mail, properly addressed and first
               class postage prepaid to; and/or
          x    Using the Alafile or CM/ECF system which will send notifications of such to the
               following:

Carson S. Hale
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
                                                    /s/ Sara Elizabeth DeLisle
                                                    OF COUNSEL




{DOC# 00736676}
                                        DOCUMENT 41
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              2466/16/2021       FILED
                                                                   of 505 11:32 AM
                                                                              35-CV-2021-900009.00
                                                                              CIRCUIT COURT OF
                                                                          GREENE COUNTY, ALABAMA
                                                                        VERONICA MORTON-JONES, CLERK
                IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


        CIVIL SUBPOENA TO APPEAR AND FOR PRODUCTION OF DOCUMENTS
                              UNDER RULE 45


TO:    ATTN: Custodian of Records
       Copart – Birmingham
       Post Office Box 3533
       Hueytown, Alabama 35023

        You are hereby commanded, at the instance of the Defendant within fifteen (15) days
after service of this subpoena:

       To produce and permit said party to inspect and to copy each of the following documents:

       A CERTIFIED COPY of any and all records relating to the auction or sale of a 2018 Honda
       Accord (VIN 1HGCV1F39JA220305) which was auctioned/sold from the Birmingham
       Copart on May 26, 2020, including information for the buyer.

                       (Please return a copy of the subpoena with records)

                ***This subpoena is continuing until the conclusion of litigation***

        Such production and inspection is to take place where the documents are regularly kept
or at some other reasonable place designated by you.

       You are further advised that other parties to the action in which this subpoena has been
issued have the right to be present at the time of such production or inspection.

      You have the option to deliver or mail legible copies of documents to the party
causing the issuance of this subpoena, but you may condition such activity on your part
upon the payment in advance by the party causing issuance of this subpoena of the
reasonable costs of making such copies. The said party agrees to pay all reasonable
expenses incurred by you at the aforementioned time and place or upon receipt of said
documents. Please advise us if the reasonable copying cost will be over $100.00.

       Should you choose to mail legible copies of the records requested, please deliver or mail
them to Kimberly Frazier c/o Carr Allison, 100 Vestavia Parkway, Birmingham, AL 35216 within
15 days of service of this subpoena.

{DOC# 00736666}                           Page 1 of 4
                                        DOCUMENT 41
     Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 247 of 505



     Rule 45 of the Alabama Rules of Civil Procedure, which applies to this request for
documents, provides in sections (c) and (d) as follows:

      (c)    Protection of Persons Subject to Subpoenas:

             (1)     A party or an attorney responsible for the issuance and service of a
             subpoena shall take reasonable steps to avoid imposing undue burden or expense
             on a person subject to that subpoena. The court on behalf of which the subpoena
             was issued shall enforce this duty and impose upon the party or attorney in breach
             of this duty an appropriate sanction, which may include, but is not limited to, lost
             earnings and a reasonable attorney's fee.

             (2)    (A)    A person commanded to produce and inspection and copying of
                    designated books, papers, documents or tangible things or inspection of
                    premises need not appear in person at the place of production           or
                    inspection unless commanded to appear for deposition, hearing or trial.

                    (B)     Subject to paragraph (d)(2) of this rule, a person commanded to
                    produce and permit inspection of and copying at any time before the time
                    specified for compliance may serve upon the party or attorney designated
                    in the subpoena written objection to inspection or copying of any or all of
                    the designated materials or of the premises. "Serve" as used herein,
                    means mailing to the party or attorney. If objection is made, the party
                    serving the subpoena shall not be entitled to inspect and copy the materials
                    or inspect the premises except pursuant to an order of the court by which
                    the subpoena was issued. If objection has been made, the party serving
                    the subpoena may, upon notice to the person commanded to produce,
                    move at any time for an order to compel production. Such an order to
                    compel production shall protect any person who is not a party or an officer
                    of a party from significant expense resulting from the inspection and
                    copying commanded.

             (3)    (A)   On timely motion, the court by which a subpoena was issued shall
                    quash or modify the subpoena if it

                            (i)    fails to allow reasonable time for compliance.

                            (ii)     requires a resident of this state who is not a party or an
                            officer of a party to travel to a place more than one hundred (100)
                            miles from the place where that person resides, is employed or
                            regularly transacts business in person, or requires a non-resident
                            of this state who is not a party or an officer of a party to travel to a
                            place within the state more than one hundred (100) miles from the
                            place of service or, where separate from the place of service, more
                            than one hundred (100) miles from the place where that person is
                            employed or regularly transacts business in person, except that,
                            subject to the provisions of Clause (c)(3)(B)(iii) of this rule, such a
                            person may in order to attend trial be commanded to travel from
                            any such place within the state in which the trial is held, or



{DOC# 00736666}                          Page 2 of 4
                                         DOCUMENT 41
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 248 of 505



                             (iii)  requires disclosure of privileged or other protected matter
                             and no exception or waiver applies, or

                             (iv) subjects a person to undue burden.

                      (B)    If a subpoena

                             (i)    requires a disclosure of a trade secret or other confidential
                             research, development, or commercial information, or

                             (ii)    requires disclosure of an un-retained expert's opinion or
                             information not describing specific events or occurrences in dispute
                             and resulting from the expert's study made not at the request of any
                             party, or

                             (iii)   requires a person who is not a party or an officer of a party
                             to incur substantial expense to travel more than one hundred (100)
                             miles to attend trial,

                             the court may, to protect a person subject to or affected by the
                             subpoena, quash or modify the subpoena, or, if the party in whose
                             behalf the subpoena is issued, shows a substantial need for the
                             testimony or material that cannot be otherwise met without undue
                             hardship and assures that the person to whom the subpoena is
                             addressed will be reasonably compensated, the court may order
                             appearance or production only upon specified conditions.

       (d)    Duties in Responding to Subpoena:

              (1)    A person responding to a subpoena to produce documents shall produce
              them as they are kept in the usual course of business or shall organize and label
              them to correspond with the categories in the demand.

              (2)     When information subject to a subpoena is withheld on a claim that is
              privileged or subject to protection as trial preparation materials, the claim shall be
              made expressly and shall be supported by a description of the nature of the
              documents, communications, or things not produced that is sufficient to enable the
              demanding party to contest the claim.

        You have the right to object at any time prior to the date set forth in this subpoena for
compliance. Should you choose to object, you should communicate such objection in writing to
the party causing the issuance of this subpoena and stating, with respect to any item to which
objection is made, your reasons for such objection.




{DOC# 00736666}                            Page 3 of 4
                                      DOCUMENT 41
         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 249 of 505



CIRCUIT CLERK:

By:      _______________________

Date: _______________________




                                 RETURN ON SERVICE

         I, __________________, served this subpoena on _______________________ on the
day of                                                    , 2021.


                                               PROCESS SERVER




{DOC# 00736666}                        Page 4 of 4
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 250 of 505


                                       AlaFile E-Notice




                                                                          35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                      The following discovery was FILED on 6/16/2021 11:32:26 AM




     Notice Date:    6/16/2021 11:32:26 AM




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 251 of 505


                                      AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following discovery was FILED on 6/16/2021 11:32:26 AM




    Notice Date:    6/16/2021 11:32:26 AM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 252 of 505


                                      AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following discovery was FILED on 6/16/2021 11:32:26 AM




    Notice Date:    6/16/2021 11:32:26 AM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 253 of 505


                                      AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 254 of 505


                                       AlaFile E-Notice




                                                                          35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 255 of 505


                                       AlaFile E-Notice




                                                                          35-CV-2021-900009.00


To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 256 of 505


                                        AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: CARSON SCOTT HALE
    chale@slocumblaw.com




                    NOTICE OF VIRTUAL HEARING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                             CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                     35-CV-2021-900009.00

                           The following matter is SET FOR VIRTUAL HEARING


                                      PRETRIAL CONFERENCE
                                        6/28/2021 10:04:48 AM

    Hearing Date:   08/17/2021
    Hearing Time:   09:00:00 AM                Central Time
    Location:       Virtual Hearing
    Notice Date:    6/28/2021 10:04:48 AM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 257 of 505


                                        AlaFile E-Notice




                                                                       35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                     NOTICE OF VIRTUAL HEARING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 258 of 505


                                        AlaFile E-Notice




                                                                       35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: LEA RICHMOND IV
    lrichmond@carrallison.com




                     NOTICE OF VIRTUAL HEARING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 259 of 505


                                        AlaFile E-Notice




                                                                       35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: ANNA CERISE SAUNDERS
    asaunders@carrallison.com




                     NOTICE OF VIRTUAL HEARING
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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 260 of 505


                                       AlaFile E-Notice




                                                                      35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                    NOTICE OF VIRTUAL HEARING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                  veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 261 of 505


                                       AlaFile E-Notice




                                                                      35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                    NOTICE OF VIRTUAL HEARING
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                                                                    400 MORROW AVENUE
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                                                                                205-372-3598
                                                                  veronica.jones@alacourt.gov
                                  DOCUMENT 45
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                  of 505 3:41 PM
                                                                   35-CV-2021-900009.00
                                                                   CIRCUIT COURT OF
                                                               GREENE COUNTY, ALABAMA
                                                             VERONICA MORTON-JONES, CLERK
       IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA


 ROSS CORNELIUS,                       )
 Plaintiff,                            )
                                       )
 V.                                    ) Case No.:     CV-2021-900009.00
                                       )
 GILMORE ERIKA,                        )
 AVENT KEITH,                          )
 FEDEX FREIGHT, INC.,                  )
 Defendants.                           )


                        HIPPA PROTECTIVE ORDER

       Upon compliance with applicable provisions of Alabama law, the
attorneys for the parties (and any pro se parties) to this lawsuit may obtain
all health information relating to any individual who is a party to this case, or
of any decedent or other real party in interest, represented by an executor,
administrator, guardian, next friend, bailee or trustee, and to obtain all
information relative to payment for the provision of medical care to any such
individual. This order neither broadens nor restricts any party’s ability to
conduct discovery pursuant to the Alabama Rules of Civil Procedure, the
sole purpose hereof being only to permit compliance with the Health
Insurance Portability and Accountability Act of 1996.

      This Court Order authorizes any third-party who is provided with a
subpoena requesting the production of documents or commanding
attendance at deposition or trial to disclose Protected Health Information in
response to such request or subpoena. This Court Order is intended to
authorize such disclosures under Section 164.512(e)(1) of the privacy
regulations issued pursuant to the Health Insurance Portability and
Accountability Act of 1996.

       Nothing in this Order shall be deemed to relieve any party or attorney
of the requirements of the Alabama Rules of Civil Procedure. Nothing in
this Order permits disclosure of confidential communications, made for the
purposes of diagnosis or treatment of a patient's mental or emotional
condition, including alcohol or drug addiction, among the patient, the
                                  DOCUMENT 45
     Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 263 of 505




patient's psychotherapist, and persons who are participating in the diagnosis
or treatment under the direction of the psychotherapist, including members
of the patient's family, nor does this Order permit disclosure of records or
information relating to HIV testing or sexually transmitted disease.

         Nothing in this Order shall be construed to authorize any party or any
attorney for any party to release, exchange, submit or share any Protected
Health Information with any other person or any other entity, other than an
agent or employee of the attorney or party. This Order prohibits any use or
disclosure of Protected Health Information for any purpose other than this
litigation.

        At the conclusion of this action and at the written request of an
individual whose Protected Health Information has been disclosed, or such
Individual's authorized representative, all recipients of the Protected Health
Information shall return to the requesting party the documents and all copies
thereof containing Protected Health Information received by them pursuant
to this Order, except that Protected Health Information included in insurance
claim files and law firm litigation files may be retained to allow compliance to
the extent and for the period that such retention is required by Alabama
Insurance laws and Alabama State Bar rules and regulations.

      DONE this 28th day of June, 2021.

                                     /s/ HON. EDDIE HARDAWAY
                                     CIRCUIT JUDGE
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 264 of 505


                                      AlaFile E-Notice




                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
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                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 265 of 505


                                       AlaFile E-Notice




                                                                          35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: DELISLE SARA ELIZABETH
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 266 of 505


                                       AlaFile E-Notice




                                                                          35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: RICHMOND LEA IV
    lrichmond@carrallison.com




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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 267 of 505


                                       AlaFile E-Notice




                                                                          35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 268 of 505


                                      AlaFile E-Notice




                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 269 of 505


                                      AlaFile E-Notice




                                                                         35-CV-2021-900009.00
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                                                                                  205-372-3598
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State of Alabama
                   Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                        ORDER TO APPEAR          Case Number:35-CV-2021-900009.00
Unified Judicial System
                                          (SUBPOENA)             35-CV-2021-900009.00
                                                                             CIRCUIT COURT OF
Form C-13 (front)         Rev. 4/18                                                                          GREENE COUNTY, ALABAMA
                                                                                                           VERONICA MORTON-JONES, CLERK
                                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

   State of Alabama
   Municipality of ___________________________________________________________________________________
   CORNELIUS ROSS V. ERIKA GILMORE ET AL
  (For Juvenile cases only):
   In the Matter of ___________________________________________________________________________________
                                                                             A. Issued at the request of :
                                                                             1.      Plaintiff/State
                                                                             2.      Defendant
  USAA CASUALTY INSURANCE
                                                                             3.      Grand Jury
                                                                             B. Special Instructions
  C/O CORPORATION SERVICE C                                                          You are ordered to:
  641 SOUTH LAWRENCE STREET                                                  1.      Appear at trial
  MONTGOMERY, AL 36104                                                       2.      Produce records or documents-See attached schedule(s)
                                                                             3.      Appear at deposition
                                                                             4.      Other

You may contact: SARA ELIZABETH DELISLE 100 Vestavia Parkway Birmingham, AL 35216 (205) 822-2006

YOU ARE ORDERED TO APPEAR to give testimony before the court or by deposition; and/or produce and permit inspection and
copying of books, documents, or tangible things; and/or permit inspection of premises as stated below until otherwise excused.
Failure to obey this subpoena may be deemed a contempt of court from which the subpoena was issued.

                                                                                                 ADDITIONAL INSTRUCTIONS
                                                                                          Any inspection or production of documents or records
DATE:                07/15/2021 10:00 AM                                                  must be completed within 15 days
ROOM:                c/o Kimberly Frazier
                                                                           Please see attached civil subpoena. You may contact paralegal,
ADDRESS:             Carr Allison                                          Kimberly Frazier, at kfrazier@carrallison.com with any questions.
                     100 Vestavia Parkway
                     Birmingham, AL 35216
DATE ISSUED: 6/30/2021


/s/ VERONICA MORTON-JONES
Signature of Court Clerk                           Deputy Clerk Initials


TO ANY SHERIFF OF THE STATE OF ALABAMA You are ordered to serve this order on the above named person and make return to this
OR ANY AUTHORIZED PERSON:              court.
                                                                RETURN ON SERVICE
I certify that I personally delivered a copy of this order
to                                                                         (For Criminal cases only)
                     on                                                       Served By Mail


                                                                           Date Mailed



Signature and Title of Server



                                                                           Sheriff                                                     Deputy Sheriff
                       Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 271 of 505
Form C-13 (back)          Rev.4/18                                                     ORDER TO APPEAR (SUBPOENA)

NOTICE

With respect to a subpoena which seeks only a production of documents or tangible things or an inspection of premises, as provided in Ala.R.Civ.P 45(a) (3) (C),
the production of documents or tangible things or the inspection of premises pursuant to this subpoena shall take place where the documents or tangible things are
regularly kept or at some other reasonable place designated by the recipient of this subpoena. As recipient of this subpoena, you have the option to deliver or mail
legible copies of the documents or things to the party causing issuance of this subpoena, and the preparation of copies may be conditioned on the payment in
advance of the reasonable cost of making such copies. Other parties involved in this lawsuit have the right to be present at the time of the production or inspection.
The recipient of this subpoena has the right to object to the production or inspection at any time prior to the date of production or inspection set forth in this
subpoena. See Ala. R.Civ.P. 45(c) (2) (B), which is set out below.

Rule 45, Ala. R.Civ.P., Paragraphs (c) & (d)

(c) Protection of person subject to subpoenas.

   (1) A party or an attorney responsible for the issuance and service of a subpoena shall take reasonable steps to avoid imposing undue burden or expense on a
   person subject to that subpoena. The court from which the subpoena was issued shall enforce this duty and impose upon the party or attorney in breach of this
   duty on appropriate sanction, which may include, but is not limited to, lost earnings and a reasonable attorney fee.

   (2) (A) A person commanded to produce and permit inspection and copying of designated books, papers, document or tangible things, or inspection of premises
   need not appear in person at the place of production or inspection unless commanded to appear for deposition, hearing or trial.
      (B) Subject to paragraph (d)(2) of this rule, a person commanded to produce and permit inspection and copying at any time before the time specified for
      compliance may serve upon the party or attorney designed in the subpoena written objection to inspection or copying of any or all of the designated
      materials or of the premises. “Serve” as used herein means mailing to the party or attorney. If objection is made, the party serving the subpoena shall not be
      entitled to inspect and copy the materials or inspect the premises except pursuant to an order of the court by which the subpoena was issued. If objection
      has been made, the party serving the subpoena may, upon notice to the person commanded to produce, move at any time for an order to compel the
      production. Such an order to compel production shall protect any person who is not a party or an officer of a party from significant expenses resulting from
      the inspection and copying commanded.

   (3) (A) On timely motion, the court by which a subpoena was issued shall quash or modify the subpoena if it
         (i) fails to allow reasonable time for compliance;
         (ii) requires a resident of this state who is not a party or an officer of a party to travel to a place more than one hundred (100) miles form the place where
         that person resides, is employed or regularly transacts business in person, or requires a nonresident of this state who is not a party or an officer of a party
         to travel to a place within this state more than one hundred (100) miles from the place of service or, where separate from the place of service, more than
         one hundred (100) miles from the place where that person is employed or regularly transacts business in person, except that, subject to the provision of
         clause (c)(3)(B)(iii) of this rule, such a person may in order to attend trial be commanded to travel from any such place within the state in which the trial is
         held, or
         (iii) requires disclosure of privileged or other protected matter and no exception or waiver applies, or
         (iv) subjects a person to undue burden.

      (B) If a subpoena
         (i) requires disclosure of a trade secret or other confidential research, development, or commercial information, or
         (ii) requires disclosure of an unretained expert’s opinion or information not describing specific events or occurrences in dispute and resulting from the
         expert’s study made not at the request of any party, or
         (iii) requires a person who is not a party or an officer of a party to incur substantial expenses to travel more than 100 miles to attend trial, the court may, to
         protect a person subject to or affected by the subpoena, quash or modify the subpoena or, if the party in whose behalf the subpoena is issued shows a
         substantial need for the testimony or material that cannot be otherwise met without undue hardship and assures that the person to whom the subpoena is
         addressed will be reasonably compensated, the court may order appearance or production only upon specified conditions.
(d) Duties in responding to subpoena.

   (1) A person responding to a subpoena to produce documents shall produce them as they are kept in the usual course of business or shall organize
   and label them to correspond with the categories in the demand.

   (2) When information subject to a subpoena is withheld on a claim that it is privileged or subject to protection as trial preparation materials, the claim shall
   be made expressly and shall be supported by a description of the nature of the documents, communications, or things not produced that is sufficient to
   enable the demanding party to contest the claim.

   (3) If a subpoena does not specify the form or forms for producing electronically stored information, a person responding to a subpoena must produce the
   information in a form or forms in which the person ordinarily maintains it or in a form or forms that are reasonably usable.

   (4) A person responding to a subpoena need not produce the same electronically stored information in more than one form.

   (5) A person responding to a subpoena need not provide discovery of electronically stored information from sources the person identifies to the requesting
   party as not reasonably accessible because of undue burden or cost. On motion to compel discovery or to quash, the person from whom discovery is sought
   must show that the information is not reasonably accessible because of undue burden or cost. If that showing is made, the court may nonetheless order
   discovery from such sources if the requesting party shows good cause, considering the limitations of Rule 26(b)(2)(B). The court may specify conditions
   regarding the production of the discovery.

   (6) If information is produced in discovery that is subject to a claim of privilege or of protection as trial-preparation material, the person or party making the
   claim may notify any party that received the information of the claim and the basis for it. After being notified, a party must promptly return, sequester, or
   destroy the specified information and any copies it has and may not use or disclose the information until the claim is resolved. Any party or the producing
   person may promptly present the information to the court under seal for a determination of the claim. If the receiving party disclosed the information before
   being notified, it must take reasonable steps to retrieve it. The person who produced the information must preserve the information until the claim is resolved.
                                          DOCUMENT 48
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                                35-CV-2021-900009.00
                                                                                CIRCUIT COURT OF
                                                                            GREENE COUNTY, ALABAMA
                                                                          VERONICA MORTON-JONES, CLERK
                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                  Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


        CIVIL SUBPOENA TO APPEAR AND FOR PRODUCTION OF DOCUMENTS
                              UNDER RULE 45


TO:    USAA Casualty Insurance
       and/or USAA General Indemnity Company
       c/o Corporation Service Company, Inc.
       641 South Lawrence Street
       Montgomery, AL 36104

        You are hereby commanded, at the instance of the Defendant within fifteen (15) days
after service of this subpoena:

       To produce and permit said party to inspect and to copy each of the following documents:

         A CERTIFIED COPY OF: The complete claims file pertaining to an insured motorist
automobile claim for monetary benefits for property damages and injuries arising from a collision
that occurred on or about April 3, 2020, including but not limited to, current location of vehicle,
claims forms, repair estimates or vehicle valuation reports, billing statements, adjuster notes,
investigative file, photographs, witness statements, audio interviews, medical bills, invoices,
payments made, disability or lost wage payments, computer data, compilations or reports, copies
of any litigation records, pleadings, discovery responses, records production, settlement
agreements, all other forms of documents, correspondence, letters, writings, and/or any other
written material contained in your file, in your possession or under your control which relates to
insurance coverage of: Erika Monique Gilmore; Date of Birth: **/**/1990; Social Security No.:
***-**-****; Policy No.: 0378621257101; Vehicle: 2018 Honda Accord; VIN #:
1HGCV1F39JA220305.

                        (Please return a copy of the subpoena with records)

                ***This subpoena is continuing until the conclusion of litigation***

        Such production and inspection is to take place where the documents are regularly kept
or at some other reasonable place designated by you.

       You are further advised that other parties to the action in which this subpoena has been
issued have the right to be present at the time of such production or inspection.


{DOC# 00734977}                            Page 1 of 4
                                         DOCUMENT 48
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 273 of 505



      You have the option to deliver or mail legible copies of documents to the party
causing the issuance of this subpoena, but you may condition such activity on your part
upon the payment in advance by the party causing issuance of this subpoena of the
reasonable costs of making such copies. The said party agrees to pay all reasonable
expenses incurred by you at the aforementioned time and place or upon receipt of said
documents. Please advise us if the reasonable copying cost will be over $100.00.

       Should you choose to mail legible copies of the records requested, please deliver or mail
them to Kimberly Frazier c/o Carr Allison, 100 Vestavia Parkway, Birmingham, AL 35216 within
15 days of service of this subpoena.

     Rule 45 of the Alabama Rules of Civil Procedure, which applies to this request for
documents, provides in sections (c) and (d) as follows:

       (c)    Protection of Persons Subject to Subpoenas:

              (1)     A party or an attorney responsible for the issuance and service of a
              subpoena shall take reasonable steps to avoid imposing undue burden or expense
              on a person subject to that subpoena. The court on behalf of which the subpoena
              was issued shall enforce this duty and impose upon the party or attorney in breach
              of this duty an appropriate sanction, which may include, but is not limited to, lost
              earnings and a reasonable attorney's fee.

              (2)     (A)    A person commanded to produce and inspection and copying of
                      designated books, papers, documents or tangible things or inspection of
                      premises need not appear in person at the place of production           or
                      inspection unless commanded to appear for deposition, hearing or trial.

                      (B)     Subject to paragraph (d)(2) of this rule, a person commanded to
                      produce and permit inspection of and copying at any time before the time
                      specified for compliance may serve upon the party or attorney designated
                      in the subpoena written objection to inspection or copying of any or all of
                      the designated materials or of the premises. "Serve" as used herein,
                      means mailing to the party or attorney. If objection is made, the party
                      serving the subpoena shall not be entitled to inspect and copy the materials
                      or inspect the premises except pursuant to an order of the court by which
                      the subpoena was issued. If objection has been made, the party serving
                      the subpoena may, upon notice to the person commanded to produce,
                      move at any time for an order to compel production. Such an order to
                      compel production shall protect any person who is not a party or an officer
                      of a party from significant expense resulting from the inspection and
                      copying commanded.

              (3)     (A)   On timely motion, the court by which a subpoena was issued shall
                      quash or modify the subpoena if it

                             (i)     fails to allow reasonable time for compliance.

                             (ii)    requires a resident of this state who is not a party or an
                             officer of a party to travel to a place more than one hundred (100)
                             miles from the place where that person resides, is employed or

{DOC# 00734977}                           Page 2 of 4
                                         DOCUMENT 48
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 274 of 505



                             regularly transacts business in person, or requires a non-resident
                             of this state who is not a party or an officer of a party to travel to a
                             place within the state more than one hundred (100) miles from the
                             place of service or, where separate from the place of service, more
                             than one hundred (100) miles from the place where that person is
                             employed or regularly transacts business in person, except that,
                             subject to the provisions of Clause (c)(3)(B)(iii) of this rule, such a
                             person may in order to attend trial be commanded to travel from
                             any such place within the state in which the trial is held, or

                             (iii)  requires disclosure of privileged or other protected matter
                             and no exception or waiver applies, or

                             (iv) subjects a person to undue burden.

                      (B)    If a subpoena

                             (i)    requires a disclosure of a trade secret or other confidential
                             research, development, or commercial information, or

                             (ii)    requires disclosure of an un-retained expert's opinion or
                             information not describing specific events or occurrences in dispute
                             and resulting from the expert's study made not at the request of any
                             party, or

                             (iii)   requires a person who is not a party or an officer of a party
                             to incur substantial expense to travel more than one hundred (100)
                             miles to attend trial,

                             the court may, to protect a person subject to or affected by the
                             subpoena, quash or modify the subpoena, or, if the party in whose
                             behalf the subpoena is issued, shows a substantial need for the
                             testimony or material that cannot be otherwise met without undue
                             hardship and assures that the person to whom the subpoena is
                             addressed will be reasonably compensated, the court may order
                             appearance or production only upon specified conditions.

       (d)    Duties in Responding to Subpoena:

              (1)    A person responding to a subpoena to produce documents shall produce
              them as they are kept in the usual course of business or shall organize and label
              them to correspond with the categories in the demand.

              (2)     When information subject to a subpoena is withheld on a claim that is
              privileged or subject to protection as trial preparation materials, the claim shall be
              made expressly and shall be supported by a description of the nature of the
              documents, communications, or things not produced that is sufficient to enable the
              demanding party to contest the claim.

       You have the right to object at any time prior to the date set forth in this subpoena for
compliance. Should you choose to object, you should communicate such objection in writing to

{DOC# 00734977}                            Page 3 of 4
                                         DOCUMENT 48
         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 275 of 505



the party causing the issuance of this subpoena and stating, with respect to any item to which
objection is made, your reasons for such objection.




         This the            day of                         , 2021.


CIRCUIT CLERK:

By:

Date:




                                   RETURN ON SERVICE

         I,                           , served this subpoena on
on the        day of                                        , 2021.


                                                    PROCESS SERVER




{DOC# 00734977}                            Page 4 of 4
                                  DOCUMENT 48
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      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                   35-CV-2021-900009.00
                                                                   CIRCUIT COURT OF
                                                               GREENE COUNTY, ALABAMA
                                                             VERONICA MORTON-JONES, CLERK
       IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA


 ROSS CORNELIUS,                       )
 Plaintiff,                            )
                                       )
 V.                                    ) Case No.:     CV-2021-900009.00
                                       )
 GILMORE ERIKA,                        )
 AVENT KEITH,                          )
 FEDEX FREIGHT, INC.,                  )
 Defendants.                           )


                        HIPPA PROTECTIVE ORDER

       Upon compliance with applicable provisions of Alabama law, the
attorneys for the parties (and any pro se parties) to this lawsuit may obtain
all health information relating to any individual who is a party to this case, or
of any decedent or other real party in interest, represented by an executor,
administrator, guardian, next friend, bailee or trustee, and to obtain all
information relative to payment for the provision of medical care to any such
individual. This order neither broadens nor restricts any party’s ability to
conduct discovery pursuant to the Alabama Rules of Civil Procedure, the
sole purpose hereof being only to permit compliance with the Health
Insurance Portability and Accountability Act of 1996.

      This Court Order authorizes any third-party who is provided with a
subpoena requesting the production of documents or commanding
attendance at deposition or trial to disclose Protected Health Information in
response to such request or subpoena. This Court Order is intended to
authorize such disclosures under Section 164.512(e)(1) of the privacy
regulations issued pursuant to the Health Insurance Portability and
Accountability Act of 1996.

       Nothing in this Order shall be deemed to relieve any party or attorney
of the requirements of the Alabama Rules of Civil Procedure. Nothing in
this Order permits disclosure of confidential communications, made for the
purposes of diagnosis or treatment of a patient's mental or emotional
condition, including alcohol or drug addiction, among the patient, the
                                  DOCUMENT 48
                                           45
     Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 277 of 505




patient's psychotherapist, and persons who are participating in the diagnosis
or treatment under the direction of the psychotherapist, including members
of the patient's family, nor does this Order permit disclosure of records or
information relating to HIV testing or sexually transmitted disease.

         Nothing in this Order shall be construed to authorize any party or any
attorney for any party to release, exchange, submit or share any Protected
Health Information with any other person or any other entity, other than an
agent or employee of the attorney or party. This Order prohibits any use or
disclosure of Protected Health Information for any purpose other than this
litigation.

        At the conclusion of this action and at the written request of an
individual whose Protected Health Information has been disclosed, or such
Individual's authorized representative, all recipients of the Protected Health
Information shall return to the requesting party the documents and all copies
thereof containing Protected Health Information received by them pursuant
to this Order, except that Protected Health Information included in insurance
claim files and law firm litigation files may be retained to allow compliance to
the extent and for the period that such retention is required by Alabama
Insurance laws and Alabama State Bar rules and regulations.

      DONE this 28th day of June, 2021.

                                     /s/ HON. EDDIE HARDAWAY
                                     CIRCUIT JUDGE
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 278 of 505


                                       AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                      The following subpoena was FILED on 6/30/2021 1:46:29 PM




     Notice Date:    6/30/2021 1:46:29 PM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 279 of 505


                                      AlaFile E-Notice




                                                                       35-CV-2021-900009.00


To: USAA CASUALTY INSURANCE
    C/O CORPORATION SERVICE C
    641 SOUTH LAWRENCE STREET
    MONTGOMERY, AL, 36104




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                 GREENE COUNTY, ALABAMA
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                                                                          EUTAW, AL, 35462

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                                                                   veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 280 of 505


                                      AlaFile E-Notice




                                                                       35-CV-2021-900009.00


To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                 VERONICA MORTON-JONES
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                                                                 GREENE COUNTY, ALABAMA
                                                                     400 MORROW AVENUE
                                                                          EUTAW, AL, 35462

                                                                                 205-372-3598
                                                                   veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 281 of 505


                                      AlaFile E-Notice




                                                                       35-CV-2021-900009.00


To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                 GREENE COUNTY, ALABAMA
                                                                     400 MORROW AVENUE
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                                                                   veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 282 of 505


                                      AlaFile E-Notice




                                                                       35-CV-2021-900009.00


To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                 VERONICA MORTON-JONES
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                                                                 GREENE COUNTY, ALABAMA
                                                                     400 MORROW AVENUE
                                                                          EUTAW, AL, 35462

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                                                                   veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 283 of 505


                                        AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 284 of 505


                                       AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
State of Alabama
                   Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                                           2856/30/2021      FILED
                                                                                of 505 1:49 PM
                                        ORDER TO APPEAR          Case Number:35-CV-2021-900009.00
Unified Judicial System
                                          (SUBPOENA)             35-CV-2021-900009.00
                                                                             CIRCUIT COURT OF
Form C-13 (front)         Rev. 4/18                                                                          GREENE COUNTY, ALABAMA
                                                                                                           VERONICA MORTON-JONES, CLERK
                                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

   State of Alabama
   Municipality of ___________________________________________________________________________________
   CORNELIUS ROSS V. ERIKA GILMORE ET AL
  (For Juvenile cases only):
   In the Matter of ___________________________________________________________________________________
                                                                             A. Issued at the request of :
                                                                             1.      Plaintiff/State
                                                                             2.      Defendant
  REGIONAL PARAMEDICAL SERVICES, INC.
                                                                             3.      Grand Jury
                                                                             B. Special Instructions
  POST OFFICE BOX 11407                                                              You are ordered to:
  DEPT 1633                                                                  1.      Appear at trial
  BIRMINGHAM, AL 35246                                                       2.      Produce records or documents-See attached schedule(s)
                                                                             3.      Appear at deposition
                                                                             4.      Other

You may contact: SARA ELIZABETH DELISLE 100 Vestavia Parkway Birmingham, AL 35216 (205) 822-2006

YOU ARE ORDERED TO APPEAR to give testimony before the court or by deposition; and/or produce and permit inspection and
copying of books, documents, or tangible things; and/or permit inspection of premises as stated below until otherwise excused.
Failure to obey this subpoena may be deemed a contempt of court from which the subpoena was issued.

                                                                                                 ADDITIONAL INSTRUCTIONS
                                                                                          Any inspection or production of documents or records
DATE:                07/15/2021 10:00 AM                                                  must be completed within 15 days
ROOM:                c/o Kimberly Frazier
                                                                           Please see attached civil subpoena. You may contact paralegal,
ADDRESS:             Carr Allison                                          Kimberly Frazier, at kfrazier@carrallison.com with any questions.
                     100 Vestavia Parkway
                     Birmingham, AL 35216
DATE ISSUED: 6/30/2021


/s/ VERONICA MORTON-JONES
Signature of Court Clerk                           Deputy Clerk Initials


TO ANY SHERIFF OF THE STATE OF ALABAMA You are ordered to serve this order on the above named person and make return to this
OR ANY AUTHORIZED PERSON:              court.
                                                                RETURN ON SERVICE
I certify that I personally delivered a copy of this order
to                                                                         (For Criminal cases only)
                     on                                                       Served By Mail


                                                                           Date Mailed



Signature and Title of Server



                                                                           Sheriff                                                     Deputy Sheriff
                       Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 286 of 505
Form C-13 (back)          Rev.4/18                                                     ORDER TO APPEAR (SUBPOENA)

NOTICE

With respect to a subpoena which seeks only a production of documents or tangible things or an inspection of premises, as provided in Ala.R.Civ.P 45(a) (3) (C),
the production of documents or tangible things or the inspection of premises pursuant to this subpoena shall take place where the documents or tangible things are
regularly kept or at some other reasonable place designated by the recipient of this subpoena. As recipient of this subpoena, you have the option to deliver or mail
legible copies of the documents or things to the party causing issuance of this subpoena, and the preparation of copies may be conditioned on the payment in
advance of the reasonable cost of making such copies. Other parties involved in this lawsuit have the right to be present at the time of the production or inspection.
The recipient of this subpoena has the right to object to the production or inspection at any time prior to the date of production or inspection set forth in this
subpoena. See Ala. R.Civ.P. 45(c) (2) (B), which is set out below.

Rule 45, Ala. R.Civ.P., Paragraphs (c) & (d)

(c) Protection of person subject to subpoenas.

   (1) A party or an attorney responsible for the issuance and service of a subpoena shall take reasonable steps to avoid imposing undue burden or expense on a
   person subject to that subpoena. The court from which the subpoena was issued shall enforce this duty and impose upon the party or attorney in breach of this
   duty on appropriate sanction, which may include, but is not limited to, lost earnings and a reasonable attorney fee.

   (2) (A) A person commanded to produce and permit inspection and copying of designated books, papers, document or tangible things, or inspection of premises
   need not appear in person at the place of production or inspection unless commanded to appear for deposition, hearing or trial.
      (B) Subject to paragraph (d)(2) of this rule, a person commanded to produce and permit inspection and copying at any time before the time specified for
      compliance may serve upon the party or attorney designed in the subpoena written objection to inspection or copying of any or all of the designated
      materials or of the premises. “Serve” as used herein means mailing to the party or attorney. If objection is made, the party serving the subpoena shall not be
      entitled to inspect and copy the materials or inspect the premises except pursuant to an order of the court by which the subpoena was issued. If objection
      has been made, the party serving the subpoena may, upon notice to the person commanded to produce, move at any time for an order to compel the
      production. Such an order to compel production shall protect any person who is not a party or an officer of a party from significant expenses resulting from
      the inspection and copying commanded.

   (3) (A) On timely motion, the court by which a subpoena was issued shall quash or modify the subpoena if it
         (i) fails to allow reasonable time for compliance;
         (ii) requires a resident of this state who is not a party or an officer of a party to travel to a place more than one hundred (100) miles form the place where
         that person resides, is employed or regularly transacts business in person, or requires a nonresident of this state who is not a party or an officer of a party
         to travel to a place within this state more than one hundred (100) miles from the place of service or, where separate from the place of service, more than
         one hundred (100) miles from the place where that person is employed or regularly transacts business in person, except that, subject to the provision of
         clause (c)(3)(B)(iii) of this rule, such a person may in order to attend trial be commanded to travel from any such place within the state in which the trial is
         held, or
         (iii) requires disclosure of privileged or other protected matter and no exception or waiver applies, or
         (iv) subjects a person to undue burden.

      (B) If a subpoena
         (i) requires disclosure of a trade secret or other confidential research, development, or commercial information, or
         (ii) requires disclosure of an unretained expert’s opinion or information not describing specific events or occurrences in dispute and resulting from the
         expert’s study made not at the request of any party, or
         (iii) requires a person who is not a party or an officer of a party to incur substantial expenses to travel more than 100 miles to attend trial, the court may, to
         protect a person subject to or affected by the subpoena, quash or modify the subpoena or, if the party in whose behalf the subpoena is issued shows a
         substantial need for the testimony or material that cannot be otherwise met without undue hardship and assures that the person to whom the subpoena is
         addressed will be reasonably compensated, the court may order appearance or production only upon specified conditions.
(d) Duties in responding to subpoena.

   (1) A person responding to a subpoena to produce documents shall produce them as they are kept in the usual course of business or shall organize
   and label them to correspond with the categories in the demand.

   (2) When information subject to a subpoena is withheld on a claim that it is privileged or subject to protection as trial preparation materials, the claim shall
   be made expressly and shall be supported by a description of the nature of the documents, communications, or things not produced that is sufficient to
   enable the demanding party to contest the claim.

   (3) If a subpoena does not specify the form or forms for producing electronically stored information, a person responding to a subpoena must produce the
   information in a form or forms in which the person ordinarily maintains it or in a form or forms that are reasonably usable.

   (4) A person responding to a subpoena need not produce the same electronically stored information in more than one form.

   (5) A person responding to a subpoena need not provide discovery of electronically stored information from sources the person identifies to the requesting
   party as not reasonably accessible because of undue burden or cost. On motion to compel discovery or to quash, the person from whom discovery is sought
   must show that the information is not reasonably accessible because of undue burden or cost. If that showing is made, the court may nonetheless order
   discovery from such sources if the requesting party shows good cause, considering the limitations of Rule 26(b)(2)(B). The court may specify conditions
   regarding the production of the discovery.

   (6) If information is produced in discovery that is subject to a claim of privilege or of protection as trial-preparation material, the person or party making the
   claim may notify any party that received the information of the claim and the basis for it. After being notified, a party must promptly return, sequester, or
   destroy the specified information and any copies it has and may not use or disclose the information until the claim is resolved. Any party or the producing
   person may promptly present the information to the court under seal for a determination of the claim. If the receiving party disclosed the information before
   being notified, it must take reasonable steps to retrieve it. The person who produced the information must preserve the information until the claim is resolved.
                                           DOCUMENT 51
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                                  35-CV-2021-900009.00
                                                                                  CIRCUIT COURT OF
                                                                              GREENE COUNTY, ALABAMA
                                                                            VERONICA MORTON-JONES, CLERK
                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                   Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


         CIVIL SUBPOENA TO APPEAR AND FOR PRODUCTION OF DOCUMENTS
                               UNDER RULE 45


TO:    Regional Paramedical Services
       PO Box 11407
       Dept 1633
       Birmingham, AL 35246

        You are hereby commanded, at the instance of the Defendant within fifteen (15) days
after service of this subpoena:

       To produce and permit said party to inspect and to copy each of the following documents:

         A CERTIFIED COPY of your entire file, including but not limited to, all insurance records,
hospital records, pharmacy records, physical therapy notes/records, office notes, S.O.A.P. notes,
digital copies of all imaging (no actual films) and all imaging reports, consultation reports, copies
of correspondence to or from attorneys or other physicians or other written material contained in
your file, billing and insurance codes on the care and treatment of: CORNEILUS ROSS; Date of
Birth: **/**/1987; Social Security No.: ***-**-*075; together with copies of ALL ITEMIZED
BILLING FOR SERVICES RENDERED to said patient, showing the dates of treatment,
amount(s) charged, payment(s) made and by whom, and any adjustments/ write-offs made.

                         (Please return a copy of the subpoena with records)

                 ***This subpoena is continuing until the conclusion of litigation***

        Such production and inspection is to take place where the documents are regularly kept
or at some other reasonable place designated by you.

       You are further advised that other parties to the action in which this subpoena has been
issued have the right to be present at the time of such production or inspection.

      You have the option to deliver or mail legible copies of documents to the party
causing the issuance of this subpoena, but you may condition such activity on your part
upon the payment in advance by the party causing issuance of this subpoena of the
reasonable costs of making such copies. The said party agrees to pay all reasonable


{DOC# 00733186}                             Page 1 of 4
                                         DOCUMENT 51
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 288 of 505



expenses incurred by you at the aforementioned time and place or upon receipt of said
documents. Please advise us if the reasonable copying cost will be over $100.00.

       Should you choose to mail legible copies of the records requested, please deliver or mail
them to Kimberly Frazier c/o Carr Allison, 100 Vestavia Parkway, Birmingham, AL 35216 within
15 days of service of this subpoena.

     Rule 45 of the Alabama Rules of Civil Procedure, which applies to this request for
documents, provides in sections (c) and (d) as follows:

       (c)    Protection of Persons Subject to Subpoenas:

              (1)     A party or an attorney responsible for the issuance and service of a
              subpoena shall take reasonable steps to avoid imposing undue burden or expense
              on a person subject to that subpoena. The court on behalf of which the subpoena
              was issued shall enforce this duty and impose upon the party or attorney in breach
              of this duty an appropriate sanction, which may include, but is not limited to, lost
              earnings and a reasonable attorney's fee.

              (2)     (A)    A person commanded to produce and inspection and copying of
                      designated books, papers, documents or tangible things or inspection of
                      premises need not appear in person at the place of production           or
                      inspection unless commanded to appear for deposition, hearing or trial.

                      (B)     Subject to paragraph (d)(2) of this rule, a person commanded to
                      produce and permit inspection of and copying at any time before the time
                      specified for compliance may serve upon the party or attorney designated
                      in the subpoena written objection to inspection or copying of any or all of
                      the designated materials or of the premises. "Serve" as used herein,
                      means mailing to the party or attorney. If objection is made, the party
                      serving the subpoena shall not be entitled to inspect and copy the materials
                      or inspect the premises except pursuant to an order of the court by which
                      the subpoena was issued. If objection has been made, the party serving
                      the subpoena may, upon notice to the person commanded to produce,
                      move at any time for an order to compel production. Such an order to
                      compel production shall protect any person who is not a party or an officer
                      of a party from significant expense resulting from the inspection and
                      copying commanded.

              (3)     (A)   On timely motion, the court by which a subpoena was issued shall
                      quash or modify the subpoena if it

                             (i)     fails to allow reasonable time for compliance.

                             (ii)     requires a resident of this state who is not a party or an
                             officer of a party to travel to a place more than one hundred (100)
                             miles from the place where that person resides, is employed or
                             regularly transacts business in person, or requires a non-resident
                             of this state who is not a party or an officer of a party to travel to a
                             place within the state more than one hundred (100) miles from the
                             place of service or, where separate from the place of service, more

{DOC# 00733186}                           Page 2 of 4
                                         DOCUMENT 51
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 289 of 505



                             than one hundred (100) miles from the place where that person is
                             employed or regularly transacts business in person, except that,
                             subject to the provisions of Clause (c)(3)(B)(iii) of this rule, such a
                             person may in order to attend trial be commanded to travel from
                             any such place within the state in which the trial is held, or

                             (iii)  requires disclosure of privileged or other protected matter
                             and no exception or waiver applies, or

                             (iv) subjects a person to undue burden.

                      (B)    If a subpoena

                             (i)    requires a disclosure of a trade secret or other confidential
                             research, development, or commercial information, or

                             (ii)    requires disclosure of an un-retained expert's opinion or
                             information not describing specific events or occurrences in dispute
                             and resulting from the expert's study made not at the request of any
                             party, or

                             (iii)   requires a person who is not a party or an officer of a party
                             to incur substantial expense to travel more than one hundred (100)
                             miles to attend trial,

                             the court may, to protect a person subject to or affected by the
                             subpoena, quash or modify the subpoena, or, if the party in whose
                             behalf the subpoena is issued, shows a substantial need for the
                             testimony or material that cannot be otherwise met without undue
                             hardship and assures that the person to whom the subpoena is
                             addressed will be reasonably compensated, the court may order
                             appearance or production only upon specified conditions.

       (d)    Duties in Responding to Subpoena:

              (1)    A person responding to a subpoena to produce documents shall produce
              them as they are kept in the usual course of business or shall organize and label
              them to correspond with the categories in the demand.

              (2)     When information subject to a subpoena is withheld on a claim that is
              privileged or subject to protection as trial preparation materials, the claim shall be
              made expressly and shall be supported by a description of the nature of the
              documents, communications, or things not produced that is sufficient to enable the
              demanding party to contest the claim.

        You have the right to object at any time prior to the date set forth in this subpoena for
compliance. Should you choose to object, you should communicate such objection in writing to
the party causing the issuance of this subpoena and stating, with respect to any item to which
objection is made, your reasons for such objection.



{DOC# 00733186}                            Page 3 of 4
                                      DOCUMENT 51
         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 290 of 505




CIRCUIT CLERK:

By:      _______________________

Date: _______________________




                                 RETURN ON SERVICE

         I, __________________, served this subpoena on _______________________ on the
day of                                                    , 2021.


                                               PROCESS SERVER




{DOC# 00733186}                        Page 4 of 4
                                  DOCUMENT 51
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      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                   35-CV-2021-900009.00
                                                                   CIRCUIT COURT OF
                                                               GREENE COUNTY, ALABAMA
                                                             VERONICA MORTON-JONES, CLERK
       IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA


 ROSS CORNELIUS,                       )
 Plaintiff,                            )
                                       )
 V.                                    ) Case No.:     CV-2021-900009.00
                                       )
 GILMORE ERIKA,                        )
 AVENT KEITH,                          )
 FEDEX FREIGHT, INC.,                  )
 Defendants.                           )


                        HIPPA PROTECTIVE ORDER

       Upon compliance with applicable provisions of Alabama law, the
attorneys for the parties (and any pro se parties) to this lawsuit may obtain
all health information relating to any individual who is a party to this case, or
of any decedent or other real party in interest, represented by an executor,
administrator, guardian, next friend, bailee or trustee, and to obtain all
information relative to payment for the provision of medical care to any such
individual. This order neither broadens nor restricts any party’s ability to
conduct discovery pursuant to the Alabama Rules of Civil Procedure, the
sole purpose hereof being only to permit compliance with the Health
Insurance Portability and Accountability Act of 1996.

      This Court Order authorizes any third-party who is provided with a
subpoena requesting the production of documents or commanding
attendance at deposition or trial to disclose Protected Health Information in
response to such request or subpoena. This Court Order is intended to
authorize such disclosures under Section 164.512(e)(1) of the privacy
regulations issued pursuant to the Health Insurance Portability and
Accountability Act of 1996.

       Nothing in this Order shall be deemed to relieve any party or attorney
of the requirements of the Alabama Rules of Civil Procedure. Nothing in
this Order permits disclosure of confidential communications, made for the
purposes of diagnosis or treatment of a patient's mental or emotional
condition, including alcohol or drug addiction, among the patient, the
                                  DOCUMENT 51
                                           45
     Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 292 of 505




patient's psychotherapist, and persons who are participating in the diagnosis
or treatment under the direction of the psychotherapist, including members
of the patient's family, nor does this Order permit disclosure of records or
information relating to HIV testing or sexually transmitted disease.

         Nothing in this Order shall be construed to authorize any party or any
attorney for any party to release, exchange, submit or share any Protected
Health Information with any other person or any other entity, other than an
agent or employee of the attorney or party. This Order prohibits any use or
disclosure of Protected Health Information for any purpose other than this
litigation.

        At the conclusion of this action and at the written request of an
individual whose Protected Health Information has been disclosed, or such
Individual's authorized representative, all recipients of the Protected Health
Information shall return to the requesting party the documents and all copies
thereof containing Protected Health Information received by them pursuant
to this Order, except that Protected Health Information included in insurance
claim files and law firm litigation files may be retained to allow compliance to
the extent and for the period that such retention is required by Alabama
Insurance laws and Alabama State Bar rules and regulations.

      DONE this 28th day of June, 2021.

                                     /s/ HON. EDDIE HARDAWAY
                                     CIRCUIT JUDGE
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 293 of 505


                                       AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                      The following subpoena was FILED on 6/30/2021 1:50:02 PM




     Notice Date:    6/30/2021 1:50:02 PM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 294 of 505


                                      AlaFile E-Notice




                                                                       35-CV-2021-900009.00


To: REGIONAL PARAMEDICAL SERVICES, INC.
    POST OFFICE BOX 11407
    DEPT 1633
    BIRMINGHAM, AL, 35246




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following subpoena was FILED on 6/30/2021 1:50:02 PM




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                                                                 VERONICA MORTON-JONES
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                                                                 GREENE COUNTY, ALABAMA
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                                                                          EUTAW, AL, 35462

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                                                                   veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 295 of 505


                                      AlaFile E-Notice




                                                                       35-CV-2021-900009.00


To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following subpoena was FILED on 6/30/2021 1:50:02 PM




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                                                                     400 MORROW AVENUE
                                                                          EUTAW, AL, 35462

                                                                                 205-372-3598
                                                                   veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 296 of 505


                                      AlaFile E-Notice




                                                                       35-CV-2021-900009.00


To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following subpoena was FILED on 6/30/2021 1:50:02 PM




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                                                                   veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 297 of 505


                                      AlaFile E-Notice




                                                                       35-CV-2021-900009.00


To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                   veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 298 of 505


                                        AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following subpoena was FILED on 6/30/2021 1:50:02 PM




     Notice Date:    6/30/2021 1:50:02 PM




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 299 of 505


                                       AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                      The following subpoena was FILED on 6/30/2021 1:50:02 PM




     Notice Date:    6/30/2021 1:50:02 PM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
State of Alabama
                   Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                        ORDER TO APPEAR          Case Number:35-CV-2021-900009.00
Unified Judicial System
                                          (SUBPOENA)             35-CV-2021-900009.00
                                                                             CIRCUIT COURT OF
Form C-13 (front)         Rev. 4/18                                                                          GREENE COUNTY, ALABAMA
                                                                                                           VERONICA MORTON-JONES, CLERK
                                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

   State of Alabama
   Municipality of ___________________________________________________________________________________
   CORNELIUS ROSS V. ERIKA GILMORE ET AL
  (For Juvenile cases only):
   In the Matter of ___________________________________________________________________________________
                                                                             A. Issued at the request of :
                                                                             1.      Plaintiff/State
                                                                             2.      Defendant
  UAB HEALTH INFORMATION MANAGEMENT
                                                                             3.      Grand Jury
                                                                             B. Special Instructions
  1201 11TH AVENUE SOUTH                                                             You are ordered to:
  BIRMINGHAM, AL 35205                                                       1.      Appear at trial
                                                                             2.      Produce records or documents-See attached schedule(s)
                                                                             3.      Appear at deposition
                                                                             4.      Other

You may contact: SARA ELIZABETH DELISLE 100 Vestavia Parkway Birmingham, AL 35216 (205) 822-2006

YOU ARE ORDERED TO APPEAR to give testimony before the court or by deposition; and/or produce and permit inspection and
copying of books, documents, or tangible things; and/or permit inspection of premises as stated below until otherwise excused.
Failure to obey this subpoena may be deemed a contempt of court from which the subpoena was issued.

                                                                                                 ADDITIONAL INSTRUCTIONS
                                                                                          Any inspection or production of documents or records
DATE:                07/15/2021 10:00 AM                                                  must be completed within 15 days
ROOM:                c/o Kimberly Frazier
                                                                           Please see attached civil subpoena. You may contact paralegal,
ADDRESS:             Carr Allison                                          Kimberly Frazier, at kfrazier@carrallison.com with any questions.
                     100 Vestavia Parkway
                     Birmingham, AL 35216
DATE ISSUED: 6/30/2021


/s/ VERONICA MORTON-JONES
Signature of Court Clerk                           Deputy Clerk Initials


TO ANY SHERIFF OF THE STATE OF ALABAMA You are ordered to serve this order on the above named person and make return to this
OR ANY AUTHORIZED PERSON:              court.
                                                                RETURN ON SERVICE
I certify that I personally delivered a copy of this order
to                                                                         (For Criminal cases only)
                     on                                                       Served By Mail


                                                                           Date Mailed



Signature and Title of Server



                                                                           Sheriff                                                     Deputy Sheriff
                       Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 301 of 505
Form C-13 (back)          Rev.4/18                                                     ORDER TO APPEAR (SUBPOENA)

NOTICE

With respect to a subpoena which seeks only a production of documents or tangible things or an inspection of premises, as provided in Ala.R.Civ.P 45(a) (3) (C),
the production of documents or tangible things or the inspection of premises pursuant to this subpoena shall take place where the documents or tangible things are
regularly kept or at some other reasonable place designated by the recipient of this subpoena. As recipient of this subpoena, you have the option to deliver or mail
legible copies of the documents or things to the party causing issuance of this subpoena, and the preparation of copies may be conditioned on the payment in
advance of the reasonable cost of making such copies. Other parties involved in this lawsuit have the right to be present at the time of the production or inspection.
The recipient of this subpoena has the right to object to the production or inspection at any time prior to the date of production or inspection set forth in this
subpoena. See Ala. R.Civ.P. 45(c) (2) (B), which is set out below.

Rule 45, Ala. R.Civ.P., Paragraphs (c) & (d)

(c) Protection of person subject to subpoenas.

   (1) A party or an attorney responsible for the issuance and service of a subpoena shall take reasonable steps to avoid imposing undue burden or expense on a
   person subject to that subpoena. The court from which the subpoena was issued shall enforce this duty and impose upon the party or attorney in breach of this
   duty on appropriate sanction, which may include, but is not limited to, lost earnings and a reasonable attorney fee.

   (2) (A) A person commanded to produce and permit inspection and copying of designated books, papers, document or tangible things, or inspection of premises
   need not appear in person at the place of production or inspection unless commanded to appear for deposition, hearing or trial.
      (B) Subject to paragraph (d)(2) of this rule, a person commanded to produce and permit inspection and copying at any time before the time specified for
      compliance may serve upon the party or attorney designed in the subpoena written objection to inspection or copying of any or all of the designated
      materials or of the premises. “Serve” as used herein means mailing to the party or attorney. If objection is made, the party serving the subpoena shall not be
      entitled to inspect and copy the materials or inspect the premises except pursuant to an order of the court by which the subpoena was issued. If objection
      has been made, the party serving the subpoena may, upon notice to the person commanded to produce, move at any time for an order to compel the
      production. Such an order to compel production shall protect any person who is not a party or an officer of a party from significant expenses resulting from
      the inspection and copying commanded.

   (3) (A) On timely motion, the court by which a subpoena was issued shall quash or modify the subpoena if it
         (i) fails to allow reasonable time for compliance;
         (ii) requires a resident of this state who is not a party or an officer of a party to travel to a place more than one hundred (100) miles form the place where
         that person resides, is employed or regularly transacts business in person, or requires a nonresident of this state who is not a party or an officer of a party
         to travel to a place within this state more than one hundred (100) miles from the place of service or, where separate from the place of service, more than
         one hundred (100) miles from the place where that person is employed or regularly transacts business in person, except that, subject to the provision of
         clause (c)(3)(B)(iii) of this rule, such a person may in order to attend trial be commanded to travel from any such place within the state in which the trial is
         held, or
         (iii) requires disclosure of privileged or other protected matter and no exception or waiver applies, or
         (iv) subjects a person to undue burden.

      (B) If a subpoena
         (i) requires disclosure of a trade secret or other confidential research, development, or commercial information, or
         (ii) requires disclosure of an unretained expert’s opinion or information not describing specific events or occurrences in dispute and resulting from the
         expert’s study made not at the request of any party, or
         (iii) requires a person who is not a party or an officer of a party to incur substantial expenses to travel more than 100 miles to attend trial, the court may, to
         protect a person subject to or affected by the subpoena, quash or modify the subpoena or, if the party in whose behalf the subpoena is issued shows a
         substantial need for the testimony or material that cannot be otherwise met without undue hardship and assures that the person to whom the subpoena is
         addressed will be reasonably compensated, the court may order appearance or production only upon specified conditions.
(d) Duties in responding to subpoena.

   (1) A person responding to a subpoena to produce documents shall produce them as they are kept in the usual course of business or shall organize
   and label them to correspond with the categories in the demand.

   (2) When information subject to a subpoena is withheld on a claim that it is privileged or subject to protection as trial preparation materials, the claim shall
   be made expressly and shall be supported by a description of the nature of the documents, communications, or things not produced that is sufficient to
   enable the demanding party to contest the claim.

   (3) If a subpoena does not specify the form or forms for producing electronically stored information, a person responding to a subpoena must produce the
   information in a form or forms in which the person ordinarily maintains it or in a form or forms that are reasonably usable.

   (4) A person responding to a subpoena need not produce the same electronically stored information in more than one form.

   (5) A person responding to a subpoena need not provide discovery of electronically stored information from sources the person identifies to the requesting
   party as not reasonably accessible because of undue burden or cost. On motion to compel discovery or to quash, the person from whom discovery is sought
   must show that the information is not reasonably accessible because of undue burden or cost. If that showing is made, the court may nonetheless order
   discovery from such sources if the requesting party shows good cause, considering the limitations of Rule 26(b)(2)(B). The court may specify conditions
   regarding the production of the discovery.

   (6) If information is produced in discovery that is subject to a claim of privilege or of protection as trial-preparation material, the person or party making the
   claim may notify any party that received the information of the claim and the basis for it. After being notified, a party must promptly return, sequester, or
   destroy the specified information and any copies it has and may not use or disclose the information until the claim is resolved. Any party or the producing
   person may promptly present the information to the court under seal for a determination of the claim. If the receiving party disclosed the information before
   being notified, it must take reasonable steps to retrieve it. The person who produced the information must preserve the information until the claim is resolved.
                                           DOCUMENT 54
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                                  35-CV-2021-900009.00
                                                                                  CIRCUIT COURT OF
                                                                              GREENE COUNTY, ALABAMA
                                                                            VERONICA MORTON-JONES, CLERK
                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                   Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


         CIVIL SUBPOENA TO APPEAR AND FOR PRODUCTION OF DOCUMENTS
                               UNDER RULE 45


TO:    UAB Health Information Management
       ATTN: Release of Information
       1201 11th Ave. South
       Birmingham, AL 35205

        You are hereby commanded, at the instance of the Defendant within fifteen (15) days
after service of this subpoena:

       To produce and permit said party to inspect and to copy each of the following documents:

         A CERTIFIED COPY of your entire file, including but not limited to, all insurance records,
hospital records, pharmacy records, physical therapy notes/records, office notes, S.O.A.P. notes,
digital copies of all imaging (no actual films) and all imaging reports, consultation reports, copies
of correspondence to or from attorneys or other physicians or other written material contained in
your file, billing and insurance codes on the care and treatment of: CORNEILUS ROSS; Date of
Birth: **/**/1987; Social Security No.: ***-**-*075; together with copies of ALL ITEMIZED
BILLING FOR SERVICES RENDERED to said patient, showing the dates of treatment,
amount(s) charged, payment(s) made and by whom, and any adjustments/ write-offs made.

                         (Please return a copy of the subpoena with records)

                 ***This subpoena is continuing until the conclusion of litigation***

        Such production and inspection is to take place where the documents are regularly kept
or at some other reasonable place designated by you.

       You are further advised that other parties to the action in which this subpoena has been
issued have the right to be present at the time of such production or inspection.

      You have the option to deliver or mail legible copies of documents to the party
causing the issuance of this subpoena, but you may condition such activity on your part
upon the payment in advance by the party causing issuance of this subpoena of the
reasonable costs of making such copies. The said party agrees to pay all reasonable


{DOC# 00733179}                             Page 1 of 4
                                         DOCUMENT 54
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 303 of 505



expenses incurred by you at the aforementioned time and place or upon receipt of said
documents. Please advise us if the reasonable copying cost will be over $100.00.

       Should you choose to mail legible copies of the records requested, please deliver or mail
them to Kimberly Frazier c/o Carr Allison, 100 Vestavia Parkway, Birmingham, AL 35216 within
15 days of service of this subpoena.

     Rule 45 of the Alabama Rules of Civil Procedure, which applies to this request for
documents, provides in sections (c) and (d) as follows:

       (c)    Protection of Persons Subject to Subpoenas:

              (1)     A party or an attorney responsible for the issuance and service of a
              subpoena shall take reasonable steps to avoid imposing undue burden or expense
              on a person subject to that subpoena. The court on behalf of which the subpoena
              was issued shall enforce this duty and impose upon the party or attorney in breach
              of this duty an appropriate sanction, which may include, but is not limited to, lost
              earnings and a reasonable attorney's fee.

              (2)     (A)    A person commanded to produce and inspection and copying of
                      designated books, papers, documents or tangible things or inspection of
                      premises need not appear in person at the place of production           or
                      inspection unless commanded to appear for deposition, hearing or trial.

                      (B)     Subject to paragraph (d)(2) of this rule, a person commanded to
                      produce and permit inspection of and copying at any time before the time
                      specified for compliance may serve upon the party or attorney designated
                      in the subpoena written objection to inspection or copying of any or all of
                      the designated materials or of the premises. "Serve" as used herein,
                      means mailing to the party or attorney. If objection is made, the party
                      serving the subpoena shall not be entitled to inspect and copy the materials
                      or inspect the premises except pursuant to an order of the court by which
                      the subpoena was issued. If objection has been made, the party serving
                      the subpoena may, upon notice to the person commanded to produce,
                      move at any time for an order to compel production. Such an order to
                      compel production shall protect any person who is not a party or an officer
                      of a party from significant expense resulting from the inspection and
                      copying commanded.

              (3)     (A)   On timely motion, the court by which a subpoena was issued shall
                      quash or modify the subpoena if it

                             (i)     fails to allow reasonable time for compliance.

                             (ii)     requires a resident of this state who is not a party or an
                             officer of a party to travel to a place more than one hundred (100)
                             miles from the place where that person resides, is employed or
                             regularly transacts business in person, or requires a non-resident
                             of this state who is not a party or an officer of a party to travel to a
                             place within the state more than one hundred (100) miles from the
                             place of service or, where separate from the place of service, more

{DOC# 00733179}                           Page 2 of 4
                                         DOCUMENT 54
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 304 of 505



                             than one hundred (100) miles from the place where that person is
                             employed or regularly transacts business in person, except that,
                             subject to the provisions of Clause (c)(3)(B)(iii) of this rule, such a
                             person may in order to attend trial be commanded to travel from
                             any such place within the state in which the trial is held, or

                             (iii)  requires disclosure of privileged or other protected matter
                             and no exception or waiver applies, or

                             (iv) subjects a person to undue burden.

                      (B)    If a subpoena

                             (i)    requires a disclosure of a trade secret or other confidential
                             research, development, or commercial information, or

                             (ii)    requires disclosure of an un-retained expert's opinion or
                             information not describing specific events or occurrences in dispute
                             and resulting from the expert's study made not at the request of any
                             party, or

                             (iii)   requires a person who is not a party or an officer of a party
                             to incur substantial expense to travel more than one hundred (100)
                             miles to attend trial,

                             the court may, to protect a person subject to or affected by the
                             subpoena, quash or modify the subpoena, or, if the party in whose
                             behalf the subpoena is issued, shows a substantial need for the
                             testimony or material that cannot be otherwise met without undue
                             hardship and assures that the person to whom the subpoena is
                             addressed will be reasonably compensated, the court may order
                             appearance or production only upon specified conditions.

       (d)    Duties in Responding to Subpoena:

              (1)    A person responding to a subpoena to produce documents shall produce
              them as they are kept in the usual course of business or shall organize and label
              them to correspond with the categories in the demand.

              (2)     When information subject to a subpoena is withheld on a claim that is
              privileged or subject to protection as trial preparation materials, the claim shall be
              made expressly and shall be supported by a description of the nature of the
              documents, communications, or things not produced that is sufficient to enable the
              demanding party to contest the claim.

        You have the right to object at any time prior to the date set forth in this subpoena for
compliance. Should you choose to object, you should communicate such objection in writing to
the party causing the issuance of this subpoena and stating, with respect to any item to which
objection is made, your reasons for such objection.



{DOC# 00733179}                            Page 3 of 4
                                      DOCUMENT 54
         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 305 of 505




CIRCUIT CLERK:

By:      _______________________

Date: _______________________




                                 RETURN ON SERVICE

         I, __________________, served this subpoena on _______________________ on the
day of                                                    , 2021.


                                               PROCESS SERVER




{DOC# 00733179}                        Page 4 of 4
                                  DOCUMENT 54
                                           45
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              3066/28/2021     FILED
                                                                  of 505 3:41 PM
                                                                   35-CV-2021-900009.00
                                                                   CIRCUIT COURT OF
                                                               GREENE COUNTY, ALABAMA
                                                             VERONICA MORTON-JONES, CLERK
       IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA


 ROSS CORNELIUS,                       )
 Plaintiff,                            )
                                       )
 V.                                    ) Case No.:     CV-2021-900009.00
                                       )
 GILMORE ERIKA,                        )
 AVENT KEITH,                          )
 FEDEX FREIGHT, INC.,                  )
 Defendants.                           )


                        HIPPA PROTECTIVE ORDER

       Upon compliance with applicable provisions of Alabama law, the
attorneys for the parties (and any pro se parties) to this lawsuit may obtain
all health information relating to any individual who is a party to this case, or
of any decedent or other real party in interest, represented by an executor,
administrator, guardian, next friend, bailee or trustee, and to obtain all
information relative to payment for the provision of medical care to any such
individual. This order neither broadens nor restricts any party’s ability to
conduct discovery pursuant to the Alabama Rules of Civil Procedure, the
sole purpose hereof being only to permit compliance with the Health
Insurance Portability and Accountability Act of 1996.

      This Court Order authorizes any third-party who is provided with a
subpoena requesting the production of documents or commanding
attendance at deposition or trial to disclose Protected Health Information in
response to such request or subpoena. This Court Order is intended to
authorize such disclosures under Section 164.512(e)(1) of the privacy
regulations issued pursuant to the Health Insurance Portability and
Accountability Act of 1996.

       Nothing in this Order shall be deemed to relieve any party or attorney
of the requirements of the Alabama Rules of Civil Procedure. Nothing in
this Order permits disclosure of confidential communications, made for the
purposes of diagnosis or treatment of a patient's mental or emotional
condition, including alcohol or drug addiction, among the patient, the
                                  DOCUMENT 54
                                           45
     Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 307 of 505




patient's psychotherapist, and persons who are participating in the diagnosis
or treatment under the direction of the psychotherapist, including members
of the patient's family, nor does this Order permit disclosure of records or
information relating to HIV testing or sexually transmitted disease.

         Nothing in this Order shall be construed to authorize any party or any
attorney for any party to release, exchange, submit or share any Protected
Health Information with any other person or any other entity, other than an
agent or employee of the attorney or party. This Order prohibits any use or
disclosure of Protected Health Information for any purpose other than this
litigation.

        At the conclusion of this action and at the written request of an
individual whose Protected Health Information has been disclosed, or such
Individual's authorized representative, all recipients of the Protected Health
Information shall return to the requesting party the documents and all copies
thereof containing Protected Health Information received by them pursuant
to this Order, except that Protected Health Information included in insurance
claim files and law firm litigation files may be retained to allow compliance to
the extent and for the period that such retention is required by Alabama
Insurance laws and Alabama State Bar rules and regulations.

      DONE this 28th day of June, 2021.

                                     /s/ HON. EDDIE HARDAWAY
                                     CIRCUIT JUDGE
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 308 of 505


                                       AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                      The following subpoena was FILED on 6/30/2021 1:54:14 PM




     Notice Date:    6/30/2021 1:54:14 PM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 309 of 505


                                      AlaFile E-Notice




                                                                       35-CV-2021-900009.00


To: UAB HEALTH INFORMATION MANAGEMENT
    1201 11TH AVENUE SOUTH
    BIRMINGHAM, AL, 35205




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following subpoena was FILED on 6/30/2021 1:54:14 PM




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                                                                 VERONICA MORTON-JONES
                                                                    CIRCUIT COURT CLERK
                                                                 GREENE COUNTY, ALABAMA
                                                                     400 MORROW AVENUE
                                                                          EUTAW, AL, 35462

                                                                                 205-372-3598
                                                                   veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 310 of 505


                                      AlaFile E-Notice




                                                                       35-CV-2021-900009.00


To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                 VERONICA MORTON-JONES
                                                                    CIRCUIT COURT CLERK
                                                                 GREENE COUNTY, ALABAMA
                                                                     400 MORROW AVENUE
                                                                          EUTAW, AL, 35462

                                                                                 205-372-3598
                                                                   veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 311 of 505


                                      AlaFile E-Notice




                                                                       35-CV-2021-900009.00


To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following subpoena was FILED on 6/30/2021 1:54:14 PM




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                                                                 VERONICA MORTON-JONES
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                                                                 GREENE COUNTY, ALABAMA
                                                                     400 MORROW AVENUE
                                                                          EUTAW, AL, 35462

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                                                                   veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 312 of 505


                                      AlaFile E-Notice




                                                                       35-CV-2021-900009.00


To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following subpoena was FILED on 6/30/2021 1:54:14 PM




    Notice Date:    6/30/2021 1:54:14 PM




                                                                 VERONICA MORTON-JONES
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                                                                 GREENE COUNTY, ALABAMA
                                                                     400 MORROW AVENUE
                                                                          EUTAW, AL, 35462

                                                                                 205-372-3598
                                                                   veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 313 of 505


                                        AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following subpoena was FILED on 6/30/2021 1:54:14 PM




     Notice Date:    6/30/2021 1:54:14 PM




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 314 of 505


                                       AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                      The following subpoena was FILED on 6/30/2021 1:54:14 PM




     Notice Date:    6/30/2021 1:54:14 PM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
State of Alabama
                   Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                                           315 7/1/2021      FILED
                                                                                of 505 7:43 AM
                                        ORDER TO APPEAR          Case Number:35-CV-2021-900009.00
Unified Judicial System
                                          (SUBPOENA)             35-CV-2021-900009.00
                                                                             CIRCUIT COURT OF
Form C-13 (front)         Rev. 4/18                                                                          GREENE COUNTY, ALABAMA
                                                                                                           VERONICA MORTON-JONES, CLERK
                                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

   State of Alabama
   Municipality of ___________________________________________________________________________________
   CORNELIUS ROSS V. ERIKA GILMORE ET AL
  (For Juvenile cases only):
   In the Matter of ___________________________________________________________________________________
                                                                             A. Issued at the request of :
                                                                             1.      Plaintiff/State
                                                                             2.      Defendant
  COPART - BIRMINGHAM
                                                                             3.      Grand Jury
                                                                             B. Special Instructions
  POST OFFICE BOX 3533                                                               You are ordered to:
  HUEYTOWN, AL 35023                                                         1.      Appear at trial
                                                                             2.      Produce records or documents-See attached schedule(s)
                                                                             3.      Appear at deposition
                                                                             4.      Other

You may contact: SARA ELIZABETH DELISLE 100 Vestavia Parkway Birmingham, AL 35216 (205) 822-2006

YOU ARE ORDERED TO APPEAR to give testimony before the court or by deposition; and/or produce and permit inspection and
copying of books, documents, or tangible things; and/or permit inspection of premises as stated below until otherwise excused.
Failure to obey this subpoena may be deemed a contempt of court from which the subpoena was issued.

                                                                                                 ADDITIONAL INSTRUCTIONS
                                                                                          Any inspection or production of documents or records
DATE:                07/16/2021 10:00 AM                                                  must be completed within 15 days
ROOM:                c/o Kimberly Frazier
                                                                           Please see attached Civil Subpoena. You may contact paralegal,
ADDRESS:             Carr Allison                                          Kimberly Frazier, at kfrazier@carrallison.com.
                     100 Vestavia Parkway
                     Birmingham, AL 35216
DATE ISSUED: 7/1/2021


/s/ VERONICA MORTON-JONES
Signature of Court Clerk                           Deputy Clerk Initials


TO ANY SHERIFF OF THE STATE OF ALABAMA You are ordered to serve this order on the above named person and make return to this
OR ANY AUTHORIZED PERSON:              court.
                                                                RETURN ON SERVICE
I certify that I personally delivered a copy of this order
to                                                                         (For Criminal cases only)
                     on                                                       Served By Mail


                                                                           Date Mailed



Signature and Title of Server



                                                                           Sheriff                                                     Deputy Sheriff
                       Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 316 of 505
Form C-13 (back)          Rev.4/18                                                     ORDER TO APPEAR (SUBPOENA)

NOTICE

With respect to a subpoena which seeks only a production of documents or tangible things or an inspection of premises, as provided in Ala.R.Civ.P 45(a) (3) (C),
the production of documents or tangible things or the inspection of premises pursuant to this subpoena shall take place where the documents or tangible things are
regularly kept or at some other reasonable place designated by the recipient of this subpoena. As recipient of this subpoena, you have the option to deliver or mail
legible copies of the documents or things to the party causing issuance of this subpoena, and the preparation of copies may be conditioned on the payment in
advance of the reasonable cost of making such copies. Other parties involved in this lawsuit have the right to be present at the time of the production or inspection.
The recipient of this subpoena has the right to object to the production or inspection at any time prior to the date of production or inspection set forth in this
subpoena. See Ala. R.Civ.P. 45(c) (2) (B), which is set out below.

Rule 45, Ala. R.Civ.P., Paragraphs (c) & (d)

(c) Protection of person subject to subpoenas.

   (1) A party or an attorney responsible for the issuance and service of a subpoena shall take reasonable steps to avoid imposing undue burden or expense on a
   person subject to that subpoena. The court from which the subpoena was issued shall enforce this duty and impose upon the party or attorney in breach of this
   duty on appropriate sanction, which may include, but is not limited to, lost earnings and a reasonable attorney fee.

   (2) (A) A person commanded to produce and permit inspection and copying of designated books, papers, document or tangible things, or inspection of premises
   need not appear in person at the place of production or inspection unless commanded to appear for deposition, hearing or trial.
      (B) Subject to paragraph (d)(2) of this rule, a person commanded to produce and permit inspection and copying at any time before the time specified for
      compliance may serve upon the party or attorney designed in the subpoena written objection to inspection or copying of any or all of the designated
      materials or of the premises. “Serve” as used herein means mailing to the party or attorney. If objection is made, the party serving the subpoena shall not be
      entitled to inspect and copy the materials or inspect the premises except pursuant to an order of the court by which the subpoena was issued. If objection
      has been made, the party serving the subpoena may, upon notice to the person commanded to produce, move at any time for an order to compel the
      production. Such an order to compel production shall protect any person who is not a party or an officer of a party from significant expenses resulting from
      the inspection and copying commanded.

   (3) (A) On timely motion, the court by which a subpoena was issued shall quash or modify the subpoena if it
         (i) fails to allow reasonable time for compliance;
         (ii) requires a resident of this state who is not a party or an officer of a party to travel to a place more than one hundred (100) miles form the place where
         that person resides, is employed or regularly transacts business in person, or requires a nonresident of this state who is not a party or an officer of a party
         to travel to a place within this state more than one hundred (100) miles from the place of service or, where separate from the place of service, more than
         one hundred (100) miles from the place where that person is employed or regularly transacts business in person, except that, subject to the provision of
         clause (c)(3)(B)(iii) of this rule, such a person may in order to attend trial be commanded to travel from any such place within the state in which the trial is
         held, or
         (iii) requires disclosure of privileged or other protected matter and no exception or waiver applies, or
         (iv) subjects a person to undue burden.

      (B) If a subpoena
         (i) requires disclosure of a trade secret or other confidential research, development, or commercial information, or
         (ii) requires disclosure of an unretained expert’s opinion or information not describing specific events or occurrences in dispute and resulting from the
         expert’s study made not at the request of any party, or
         (iii) requires a person who is not a party or an officer of a party to incur substantial expenses to travel more than 100 miles to attend trial, the court may, to
         protect a person subject to or affected by the subpoena, quash or modify the subpoena or, if the party in whose behalf the subpoena is issued shows a
         substantial need for the testimony or material that cannot be otherwise met without undue hardship and assures that the person to whom the subpoena is
         addressed will be reasonably compensated, the court may order appearance or production only upon specified conditions.
(d) Duties in responding to subpoena.

   (1) A person responding to a subpoena to produce documents shall produce them as they are kept in the usual course of business or shall organize
   and label them to correspond with the categories in the demand.

   (2) When information subject to a subpoena is withheld on a claim that it is privileged or subject to protection as trial preparation materials, the claim shall
   be made expressly and shall be supported by a description of the nature of the documents, communications, or things not produced that is sufficient to
   enable the demanding party to contest the claim.

   (3) If a subpoena does not specify the form or forms for producing electronically stored information, a person responding to a subpoena must produce the
   information in a form or forms in which the person ordinarily maintains it or in a form or forms that are reasonably usable.

   (4) A person responding to a subpoena need not produce the same electronically stored information in more than one form.

   (5) A person responding to a subpoena need not provide discovery of electronically stored information from sources the person identifies to the requesting
   party as not reasonably accessible because of undue burden or cost. On motion to compel discovery or to quash, the person from whom discovery is sought
   must show that the information is not reasonably accessible because of undue burden or cost. If that showing is made, the court may nonetheless order
   discovery from such sources if the requesting party shows good cause, considering the limitations of Rule 26(b)(2)(B). The court may specify conditions
   regarding the production of the discovery.

   (6) If information is produced in discovery that is subject to a claim of privilege or of protection as trial-preparation material, the person or party making the
   claim may notify any party that received the information of the claim and the basis for it. After being notified, a party must promptly return, sequester, or
   destroy the specified information and any copies it has and may not use or disclose the information until the claim is resolved. Any party or the producing
   person may promptly present the information to the court under seal for a determination of the claim. If the receiving party disclosed the information before
   being notified, it must take reasonable steps to retrieve it. The person who produced the information must preserve the information until the claim is resolved.
                                        DOCUMENT 57
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              317 7/1/2021     FILED
                                                                  of 505 7:43 AM
                                                                              35-CV-2021-900009.00
                                                                              CIRCUIT COURT OF
                                                                          GREENE COUNTY, ALABAMA
                                                                        VERONICA MORTON-JONES, CLERK
                IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


        CIVIL SUBPOENA TO APPEAR AND FOR PRODUCTION OF DOCUMENTS
                              UNDER RULE 45


TO:    ATTN: Custodian of Records
       Copart – Birmingham
       Post Office Box 3533
       Hueytown, Alabama 35023

        You are hereby commanded, at the instance of the Defendant within fifteen (15) days
after service of this subpoena:

       To produce and permit said party to inspect and to copy each of the following documents:

       A CERTIFIED COPY of any and all records relating to the auction or sale of a 2018 Honda
       Accord (VIN 1HGCV1F39JA220305) which was auctioned/sold from the Birmingham
       Copart on May 26, 2020, including information for the buyer.

                       (Please return a copy of the subpoena with records)

                ***This subpoena is continuing until the conclusion of litigation***

        Such production and inspection is to take place where the documents are regularly kept
or at some other reasonable place designated by you.

       You are further advised that other parties to the action in which this subpoena has been
issued have the right to be present at the time of such production or inspection.

      You have the option to deliver or mail legible copies of documents to the party
causing the issuance of this subpoena, but you may condition such activity on your part
upon the payment in advance by the party causing issuance of this subpoena of the
reasonable costs of making such copies. The said party agrees to pay all reasonable
expenses incurred by you at the aforementioned time and place or upon receipt of said
documents. Please advise us if the reasonable copying cost will be over $100.00.

       Should you choose to mail legible copies of the records requested, please deliver or mail
them to Kimberly Frazier c/o Carr Allison, 100 Vestavia Parkway, Birmingham, AL 35216 within
15 days of service of this subpoena.

{DOC# 00736666}                           Page 1 of 4
                                        DOCUMENT 57
     Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 318 of 505



     Rule 45 of the Alabama Rules of Civil Procedure, which applies to this request for
documents, provides in sections (c) and (d) as follows:

      (c)    Protection of Persons Subject to Subpoenas:

             (1)     A party or an attorney responsible for the issuance and service of a
             subpoena shall take reasonable steps to avoid imposing undue burden or expense
             on a person subject to that subpoena. The court on behalf of which the subpoena
             was issued shall enforce this duty and impose upon the party or attorney in breach
             of this duty an appropriate sanction, which may include, but is not limited to, lost
             earnings and a reasonable attorney's fee.

             (2)    (A)    A person commanded to produce and inspection and copying of
                    designated books, papers, documents or tangible things or inspection of
                    premises need not appear in person at the place of production           or
                    inspection unless commanded to appear for deposition, hearing or trial.

                    (B)     Subject to paragraph (d)(2) of this rule, a person commanded to
                    produce and permit inspection of and copying at any time before the time
                    specified for compliance may serve upon the party or attorney designated
                    in the subpoena written objection to inspection or copying of any or all of
                    the designated materials or of the premises. "Serve" as used herein,
                    means mailing to the party or attorney. If objection is made, the party
                    serving the subpoena shall not be entitled to inspect and copy the materials
                    or inspect the premises except pursuant to an order of the court by which
                    the subpoena was issued. If objection has been made, the party serving
                    the subpoena may, upon notice to the person commanded to produce,
                    move at any time for an order to compel production. Such an order to
                    compel production shall protect any person who is not a party or an officer
                    of a party from significant expense resulting from the inspection and
                    copying commanded.

             (3)    (A)   On timely motion, the court by which a subpoena was issued shall
                    quash or modify the subpoena if it

                            (i)    fails to allow reasonable time for compliance.

                            (ii)     requires a resident of this state who is not a party or an
                            officer of a party to travel to a place more than one hundred (100)
                            miles from the place where that person resides, is employed or
                            regularly transacts business in person, or requires a non-resident
                            of this state who is not a party or an officer of a party to travel to a
                            place within the state more than one hundred (100) miles from the
                            place of service or, where separate from the place of service, more
                            than one hundred (100) miles from the place where that person is
                            employed or regularly transacts business in person, except that,
                            subject to the provisions of Clause (c)(3)(B)(iii) of this rule, such a
                            person may in order to attend trial be commanded to travel from
                            any such place within the state in which the trial is held, or



{DOC# 00736666}                          Page 2 of 4
                                         DOCUMENT 57
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 319 of 505



                             (iii)  requires disclosure of privileged or other protected matter
                             and no exception or waiver applies, or

                             (iv) subjects a person to undue burden.

                      (B)    If a subpoena

                             (i)    requires a disclosure of a trade secret or other confidential
                             research, development, or commercial information, or

                             (ii)    requires disclosure of an un-retained expert's opinion or
                             information not describing specific events or occurrences in dispute
                             and resulting from the expert's study made not at the request of any
                             party, or

                             (iii)   requires a person who is not a party or an officer of a party
                             to incur substantial expense to travel more than one hundred (100)
                             miles to attend trial,

                             the court may, to protect a person subject to or affected by the
                             subpoena, quash or modify the subpoena, or, if the party in whose
                             behalf the subpoena is issued, shows a substantial need for the
                             testimony or material that cannot be otherwise met without undue
                             hardship and assures that the person to whom the subpoena is
                             addressed will be reasonably compensated, the court may order
                             appearance or production only upon specified conditions.

       (d)    Duties in Responding to Subpoena:

              (1)    A person responding to a subpoena to produce documents shall produce
              them as they are kept in the usual course of business or shall organize and label
              them to correspond with the categories in the demand.

              (2)     When information subject to a subpoena is withheld on a claim that is
              privileged or subject to protection as trial preparation materials, the claim shall be
              made expressly and shall be supported by a description of the nature of the
              documents, communications, or things not produced that is sufficient to enable the
              demanding party to contest the claim.

        You have the right to object at any time prior to the date set forth in this subpoena for
compliance. Should you choose to object, you should communicate such objection in writing to
the party causing the issuance of this subpoena and stating, with respect to any item to which
objection is made, your reasons for such objection.




{DOC# 00736666}                            Page 3 of 4
                                      DOCUMENT 57
         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 320 of 505



CIRCUIT CLERK:

By:      _______________________

Date: _______________________




                                 RETURN ON SERVICE

         I, __________________, served this subpoena on _______________________ on the
day of                                                    , 2021.


                                               PROCESS SERVER




{DOC# 00736666}                        Page 4 of 4
                                  DOCUMENT 57
                                           45
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              3216/28/2021     FILED
                                                                  of 505 3:41 PM
                                                                   35-CV-2021-900009.00
                                                                   CIRCUIT COURT OF
                                                               GREENE COUNTY, ALABAMA
                                                             VERONICA MORTON-JONES, CLERK
       IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA


 ROSS CORNELIUS,                       )
 Plaintiff,                            )
                                       )
 V.                                    ) Case No.:     CV-2021-900009.00
                                       )
 GILMORE ERIKA,                        )
 AVENT KEITH,                          )
 FEDEX FREIGHT, INC.,                  )
 Defendants.                           )


                        HIPPA PROTECTIVE ORDER

       Upon compliance with applicable provisions of Alabama law, the
attorneys for the parties (and any pro se parties) to this lawsuit may obtain
all health information relating to any individual who is a party to this case, or
of any decedent or other real party in interest, represented by an executor,
administrator, guardian, next friend, bailee or trustee, and to obtain all
information relative to payment for the provision of medical care to any such
individual. This order neither broadens nor restricts any party’s ability to
conduct discovery pursuant to the Alabama Rules of Civil Procedure, the
sole purpose hereof being only to permit compliance with the Health
Insurance Portability and Accountability Act of 1996.

      This Court Order authorizes any third-party who is provided with a
subpoena requesting the production of documents or commanding
attendance at deposition or trial to disclose Protected Health Information in
response to such request or subpoena. This Court Order is intended to
authorize such disclosures under Section 164.512(e)(1) of the privacy
regulations issued pursuant to the Health Insurance Portability and
Accountability Act of 1996.

       Nothing in this Order shall be deemed to relieve any party or attorney
of the requirements of the Alabama Rules of Civil Procedure. Nothing in
this Order permits disclosure of confidential communications, made for the
purposes of diagnosis or treatment of a patient's mental or emotional
condition, including alcohol or drug addiction, among the patient, the
                                  DOCUMENT 57
                                           45
     Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 322 of 505




patient's psychotherapist, and persons who are participating in the diagnosis
or treatment under the direction of the psychotherapist, including members
of the patient's family, nor does this Order permit disclosure of records or
information relating to HIV testing or sexually transmitted disease.

         Nothing in this Order shall be construed to authorize any party or any
attorney for any party to release, exchange, submit or share any Protected
Health Information with any other person or any other entity, other than an
agent or employee of the attorney or party. This Order prohibits any use or
disclosure of Protected Health Information for any purpose other than this
litigation.

        At the conclusion of this action and at the written request of an
individual whose Protected Health Information has been disclosed, or such
Individual's authorized representative, all recipients of the Protected Health
Information shall return to the requesting party the documents and all copies
thereof containing Protected Health Information received by them pursuant
to this Order, except that Protected Health Information included in insurance
claim files and law firm litigation files may be retained to allow compliance to
the extent and for the period that such retention is required by Alabama
Insurance laws and Alabama State Bar rules and regulations.

      DONE this 28th day of June, 2021.

                                     /s/ HON. EDDIE HARDAWAY
                                     CIRCUIT JUDGE
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 323 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following subpoena was FILED on 7/1/2021 7:44:02 AM




     Notice Date:    7/1/2021 7:44:02 AM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 324 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: COPART - BIRMINGHAM
    POST OFFICE BOX 3533
    HUEYTOWN, AL, 35023




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                      The following subpoena was FILED on 7/1/2021 7:44:02 AM




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                                                                 VERONICA MORTON-JONES
                                                                    CIRCUIT COURT CLERK
                                                                 GREENE COUNTY, ALABAMA
                                                                     400 MORROW AVENUE
                                                                          EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 325 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                 VERONICA MORTON-JONES
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                                                                 GREENE COUNTY, ALABAMA
                                                                     400 MORROW AVENUE
                                                                          EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 326 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                      The following subpoena was FILED on 7/1/2021 7:44:02 AM




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                                                                 VERONICA MORTON-JONES
                                                                    CIRCUIT COURT CLERK
                                                                 GREENE COUNTY, ALABAMA
                                                                     400 MORROW AVENUE
                                                                          EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 327 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                      The following subpoena was FILED on 7/1/2021 7:44:02 AM




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                                                                 VERONICA MORTON-JONES
                                                                    CIRCUIT COURT CLERK
                                                                 GREENE COUNTY, ALABAMA
                                                                     400 MORROW AVENUE
                                                                          EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 328 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following subpoena was FILED on 7/1/2021 7:44:02 AM




     Notice Date:    7/1/2021 7:44:02 AM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 329 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following subpoena was FILED on 7/1/2021 7:44:02 AM




     Notice Date:    7/1/2021 7:44:02 AM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
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      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                                35-CV-2021-900009.00
                                                                                CIRCUIT COURT OF
                                                                            GREENE COUNTY, ALABAMA
                                                                          VERONICA MORTON-JONES, CLERK
                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                   )
                                  )
Plaintiff,                        )
v.                                )                 Civil Action No.: CV-2021-900009
                                  )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.             )
                                  )
Defendants.                       )


              NOTICE OF INTENT TO SERVE SUBPOENA UPON NON-PARTY


        Take notice that upon the expiration of fifteen (15) days from the date of service of this
notice that the Defendant will apply to the Clerk of the Court for issuance of subpoena directed
to:
        Adamsville Police Department
        ATTN: Lynn Lindsey
        4911 Main Street
        Adamsville, AL 35005

       to produce the documents or things at the time and place specified in the subpoena.

                                             /s/ Sara Elizabeth Delisle
                                             Lea Richmond, IV (RIC062)
                                             Sara Elizabeth DeLisle (DEL025)
                                             Anna Saunders (SAU019)
                                             Attorneys for Defendant FedEx Freight


OF COUNSEL:

CARR ALLISON
100 Vestavia Parkway
Birmingham, Alabama 35216
Telephone:    (205) 822-2006
Facsimile:    (205) 822-2057
E-mail:       lrichmond@carrallison.com
              sbdelisle@carrallison.com
              asaunders@carrallison.com




{DOC# 00745590}
                                         DOCUMENT 59
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 331 of 505



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 29th day of July 2021, I served a copy of the above and

foregoing on the following by:

               Facsimile transmission;
               Hand Delivery;
               Placing a copy of same in the United States Mail, properly addressed and first
               class postage prepaid to; and/or
          x    Using the Alafile or CM/ECF system which will send notifications of such to the
               following:

Carson S. Hale
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
                                                    /s/ Sara Elizabeth DeLisle
                                                    OF COUNSEL




{DOC# 00745590}
                                         DOCUMENT 60
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              3327/29/2021     FILED
                                                                  of 505 3:56 PM
                                                                               35-CV-2021-900009.00
                                                                               CIRCUIT COURT OF
                                                                           GREENE COUNTY, ALABAMA
                                                                         VERONICA MORTON-JONES, CLERK
                IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                    )
                                   )
Plaintiff,                         )
v.                                 )     Civil Action No.: CV-2021-900009
                                   )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.              )
                                   )
Defendants.                        )
__________________________________________________________________________

                            CIVIL SUBPOENA FOR PRODUCTION
                             OF DOCUMENTS UNDER RULE 45


TO:    Adamsville Police Department
       ATTN: Lynn Lindsey
       4911 Main Street
       Adamsville, AL 35005

        You are hereby commanded, at the instance of the Defendant within fifteen (15) days
after service of this subpoena:

       To produce and permit said party to inspect and to copy each of the following documents:

        Any and all documents pertaining to Erika Monique Gilmore (DOB: 11/9/1990) and/or
Keith Edward Avent (DOB: 5/2/1973), including but not limited to, ROAD Call Log, dispatch
records, dispatch notes, run reports incident or accident reports, notes, memoranda, video or
digital recordings, statements (oral or written), body and/or dash cam audio and video,
investigation documents or reports, billing and any other documents prepared at any time
regarding an incident(s) on or about April 3, 2020 on US-78 at Galsgow Hollow Road in the
city of Adamsville, Jefferson County, Alabama (Local Case Number 200400001999; Crash
Report Number 0638140).

                        (Please return a copy of the subpoena with records)

                ***This subpoena is continuing until the conclusion of litigation***

        Such production and inspection is to take place where the documents are regularly kept
or at some other reasonable place designated by you.


       You are further advised that other parties to this action in which this subpoena has been
issued have the right to be present at the time of such production or inspection.
      You have the option to deliver or mail legible copies of documents to the party
causing the issuance of this subpoena, but you may condition such activity on your part
upon the payment in advance by the party causing issuance of this subpoena of the
reasonable costs of making such copies. The said party agrees to pay all reasonable


{DOC# 00745589}
                                         DOCUMENT 60
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 333 of 505



expenses incurred by you at the aforementioned time and place or upon receipt of said
documents. Please advise us if the reasonable copying cost will be over $100.00.


       Should you choose to mail legible copies of the records requested, please deliver or mail
them, within 15 days of service of this subpoena, to:
       Kimberly Frazier, Paralegal
       c/o Carr Allison, Pugh, Howard, Oliver & Sisson, P.C.
       100 Vestavia Parkway
       Birmingham, AL 35216


     Rule 45 of the Alabama Rules of Civil Procedure, which applies to this request for
documents provides in sections (c.) and (d) as follows:
       (c.) Protection of Persons Subject to Subpoenas:
       (1)    A party or an attorney responsible for the issuance and service of a subpoena shall
       take reasonable steps to avoid imposing undue burden or expense on a person subject to
       that subpoena. The court on behalf of which the subpoena was issued shall enforce this
       duty and impose upon the party or attorney in breach of this duty an appropriate sanction,
       which may include, but is not limited to, lost earnings and a reasonable attorney's fee.
       (2)    (A)      A person commanded to produce and inspection and copying of
       designated books, papers, documents or tangible things or inspection of premises need
       not appear in person at the place of production or inspection unless commanded to appear
       for deposition, hearing or trial.
               (B)    Subject to paragraph (d)(2) of this rule, a person commanded to produce
       and permit inspection of and copying at any time before the time specified for compliance
       may serve upon the party or attorney designated in the subpoena written objection to
       inspection or copying of any or all of the designated materials or of the premises. "Serve"
       as used herein, means mailing to the party or attorney. If objection is made, the party
       serving the subpoena shall not be entitled to inspect and copy the materials or inspect the
       premises except pursuant to an order of the court by which the subpoena was issued. If
       objection has been made, the party serving the subpoena may, upon notice to the person
       commanded to produce, move at any time for an order to compel production. Such an
       order to compel production shall protect any person who is not a party or an officer of a
       party from significant expense resulting from the inspection and copying commanded.
       (3)    (A)     On timely motion, the court by which a subpoena was issued shall quash
       or modify the subpoena if it
                      (I)    fails to allow reasonable time for compliance.
                      (ii)   requires a resident of this state who is not a party or an officer of a
                             party to travel to a place more than one hundred (100) miles from
                             the place where that person resides, is employed or regularly
                             transacts business in person, or requires a non-resident of this state
                             who is not a party or an officer of a party to travel to a place within
                             the state more than one hundred (100) miles from the place of
                             service or, where separate from the place of service, more than one
                             hundred (100) miles from the place where that person is employed



{DOC# 00745589}
                                         DOCUMENT 60
     Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 334 of 505



                             or regularly transacts business in person, except that, subject to the
                             provisions of Clause (c)(3)(B)(iii) of this rule, such a person may in
                             order to attend trial be commanded to travel from any such place
                             within the state in which the trial is held, or
                     (iii)   requires disclosure of privileged or other protected matter and no
                             exception or waiver applies, or
                     (iv)    subjects a person to undue burden.
                     (B)     If a subpoena
                     (I)     requires a disclosure of a trade secret or other confidential
                             research, development, or commercial information, or
                     (ii)    requires disclosure of an unretained expert's opinion or information
                             not describing specific events or occurrences in dispute and
                             resulting from the expert's study made not at the request of any
                             party, or
                     (iii)   requires a person who is not a party or an officer of a party to incur
                             substantial expense to travel more than one hundred (100) miles to
                             attend trial, the court may, to protect a person subject to or affected
                             by the subpoena, quash or modify the subpoena, or, if the party in
                             whose behalf the subpoena is issued, shows a substantial need for
                             the testimony or material that cannot be otherwise met without
                             undue hardship and assures that the person to whom the subpoena
                             is addressed will be reasonably compensated, the court may order
                             appearance or production only upon specified conditions.
      (d) Duties in Responding to Subpoena:
      (1)    A person responding to a subpoena to produce documents shall produce them as
      they are kept in the usual course of business or shall organize and label them to
      correspond with the categories in the demand.
      (2)     When information subject to a subpoena is withheld on a claim that is privileged or
      subject to protection as trial preparation materials, the claim shall be made expressly and
      shall be supported by a description of the nature of the documents, communications, or
      things not produced that is sufficient to enable the demanding party to contest the claim.


      (e) HIPAA RULES
      In compliance with 145 CFR 164.512(e) (1) (ii), (iii), the undersigned states as
      follows:
             1.      The defendant has given or attempted to give the individual
             whose records we are seeking notice of this subpoena. The notice
             of intent of this subpoena was issued at least fifteen (15) days prior
             to the issuance of the subpoena. The attorney for the patient has
             received this notice.
             2.    The notice of the intent to issue the subpoena as well as the
             subpoena, are sufficiently specific about the records sought. This



{DOC# 00745589}
                                          DOCUMENT 60
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 335 of 505



              notice provides sufficient information about the litigation to allow the
              attorney for the patient to raise an objection before the court.
              3.      That the attorney for the patient has fifteen (15) days from
              the issuance of the Notice of Intent to issue the subpoena to file or
              raise any objections to same, and that time has passed with no
              objections being raised or if any objections have been raised, they
              have been resolved by the court.
        You have the right object at any time prior to the date set forth in this subpoena for
compliance. Should you choose to object, you should communicate such objection in writing to
the party causing the issuance of this subpoena and stating, with respect to any item to which
objection is made, your reasons for such objection.
       This the ____ day of _________________, 2021.



____________________________
CIRCUIT COURT CLERK

DATE OF ISSUE: _________________



                                RETURN ON SERVICE
Received this subpoena on _________________________and served it on the within named

on the____________ day of __________________, 2021.

                                              ________________________________
                                              PROCESS SERVER




{DOC# 00745589}
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 336 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                      The following discovery was FILED on 7/29/2021 3:56:36 PM




     Notice Date:    7/29/2021 3:56:36 PM




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 337 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following discovery was FILED on 7/29/2021 3:56:36 PM




    Notice Date:    7/29/2021 3:56:36 PM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 338 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following discovery was FILED on 7/29/2021 3:56:36 PM




    Notice Date:    7/29/2021 3:56:36 PM




                                                                  VERONICA MORTON-JONES
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                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 339 of 505


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                                                                        35-CV-2021-900009.00


To: HALE CARSON SCOTT
    chale@slocumblaw.com




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                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 340 of 505


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                                                                          35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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                                                                      veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 341 of 505


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                                                                         35-CV-2021-900009.00


To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                      The following discovery was FILED on 7/29/2021 3:56:36 PM




     Notice Date:    7/29/2021 3:56:36 PM




                                                                   VERONICA MORTON-JONES
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                                                                     veronica.jones@alacourt.gov
                                                                              DOCUMENT 62
         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                                      of 505 4:52 PMFILED
                                                                 342 8/4/2021
STATE OF ALABAMA             Revised 3/5/08             Case No.   35-CV-2021-900009.00
Unified Judicial System                                                                                                  CIRCUIT COURT OF
35-GREENE                                                         District Court      Circuit Court                  GREENE COUNTY, ALABAMA
                                                                                                             CV202190000900
                                                                                                                   VERONICA MORTON-JONES, CLERK
                                                                                                CIVIL MOTION COVER SHEET
CORNELIUS ROSS V. ERIKA GILMORE ET AL                                              Name of Filing Party:D001 - GILMORE ERIKA



Name, Address, and Telephone No. of Attorney or Party. If Not Represented.                      Oral Arguments Requested
 JAMES LAURENS PATTILLO
 505 20th Street North, Suite 1800
 BIRMINGHAM, AL 35203
Attorney Bar No.: PAT061

                                                                           TYPE OF MOTION
                         Motions Requiring Fee                                                               Motions Not Requiring Fee
      Default Judgment ($50.00)                                                              Add Party
      Joinder in Other Party's Dispositive Motion                                            Amend
      (i.e.Summary Judgment, Judgment on the Pleadings,                                      Change of Venue/Transfer
      orother Dispositive Motion not pursuant to Rule 12(b))
      ($50.00)                                                                               Compel
      Judgment on the Pleadings ($50.00)                                                     Consolidation
      Motion to Dismiss, or in the Alternative                                               Continue
      SummaryJudgment($50.00)                                                                Deposition
      Renewed Dispositive Motion(Summary                                                     Designate a Mediator
      Judgment,Judgment on the Pleadings, or other                                           Judgment as a Matter of Law (during Trial)
      DispositiveMotion not pursuant to Rule 12(b)) ($50.00)
                                                                                             Disburse Funds
      Summary Judgment pursuant to Rule 56($50.00)
                                                                                             Extension of Time
      Motion to Intervene ($297.00)
                                                                                             In Limine
      Other
                                                                                             Joinder
  pursuant to Rule                                                         ($50.00)
                                                                                             More Definite Statement
  *Motion fees are enumerated in §12-19-71(a). Fees                                          Motion to Dismiss pursuant to Rule 12(b)
  pursuant to Local Act are not included. Please contact the                                 New Trial
  Clerk of the Court regarding applicable local fees.
                                                                                             Objection of Exemptions Claimed
      Local Court Costs $               0                                                    Pendente Lite
                                                                                             Plaintiff's Motion to Dismiss
                                                                                             Preliminary Injunction
                                                                                             Protective Order
                                                                                             Quash
                                                                                             Release from Stay of Execution
                                                                                             Sanctions
                                                                                             Sever
                                                                                             Special Practice in Alabama
                                                                                             Stay
                                                                                             Strike
                                                                                             Supplement to Pending Motion
                                                                                             Vacate or Modify
                                                                                             Withdraw
                                                                                            Other
                                                                                          pursuant to Rule                               (Subject to Filing Fee)
Check here if you have filed or are filing contemoraneously                                                  Signature of Attorney or Party
with this motion an Affidavit of Substantial Hardship or if you
                                                                   Date:
                                                                                                             /s/ JAMES LAURENS PATTILLO
are filing on behalf of an agency or department of the State,
county, or municipal government. (Pursuant to §6-5-1 Code
                                                                   8/4/2021 4:51:42 PM
of Alabama (1975), governmental entities are exempt from
prepayment of filing fees)

*This Cover Sheet must be completed and submitted to the Clerk of Court upon the filing of any motion. Each motion should contain a separate Cover Sheet.
**Motions titled 'Motion to Dismiss' that are not pursuant to Rule 12(b) and are in fact Motions for Summary Judgments are subject to filing fee.
                                             DOCUMENT 63
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                                  of 505 4:52 PMFILED
                                                              343 8/4/2021
                                                                                 35-CV-2021-900009.00
                                                                                 CIRCUIT COURT OF
                                                                             GREENE COUNTY, ALABAMA
                                                                           VERONICA MORTON-JONES, CLERK

              IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
                                       )
CORNELIUS ROSS,
                                       )
      Plaintiff,                       )
vs.                                    ) Civil Action No.: 35-CV-2021-900009
                                       )
                                       )
ERIKA GILMORE, KEITH AVENT,            )
FEDEX FREIGHT, INC.,                   )
                                       )
      Defendants.                      )
______________________________________________________________________________

                             MOTION TO DISMISS
______________________________________________________________________________

       COMES NOW the Defendant, Erika Gilmore (hereinafter "Gilmore"), pursuant to Rule

12(b)(6) of the Alabama Rules of Civil Procedure and moves to dismiss all claims. In support

thereof, this defendant states as follows:

       1.        The Complaint alleges "Plaintiff was occupying a vehicle owned and operated

by Defendant Gilmore in Jefferson County, Alabama." (See Complaint at par. 8).

       2.        The Complaint contains no factual allegations that would support any allegation

of wantonness against Gilmore. The only factual allegation is that "Defendant Gilmore failed to

yield the right of way to Defendant Avent's vehicle, and allowed and/or caused their vehicle to

collide with the Defendant Avent's vehicle." There is no factual allegation that any action by

Gilmore is proximately related to any damages suffered by the plaintiff.

       3.        The Complaint alleges the following causes of action against Gilmore: Count

One – Negligence; Count Two – Negligence Per Se; Count Three – Reckless and Wantonness.

       4.        Count One – Negligence and Count Two – Negligence Per Se are barred by the

Alabama Guest Passenger Statute:
                                         DOCUMENT 63
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 344 of 505




       The owner, operator, or person responsible for the operation of a motor vehicle
       shall not be liable for loss or damage arising from injuries to or death of a guest
       while being transported without payment therefor in or upon said motor vehicle,
       resulting from the operation thereof, unless such injuries or death are caused by
       the willful or wanton misconduct of such operator, owner, or person responsible
       for the operation of the motor vehicle.

Ala. Code 32-1-2 (1975).

       5.        The Complaint contains no allegations that would circumvent the Alabama

Guest Passenger Statute. It also contains no allegations that would connect any wantonness by

Defendant Gilmore to any injury suffered by the plaintiff.

       6.        Defendant Gilmore is filing a joinder in the co-defendant's Motion to Transfer.

Defendant Gilmore requests this Court to rule on the Motion to Transfer before ruling on this

Motion to Dismiss.

       WHEREFORE, PREMISES CONSIDERED, Defendant Gilmore moves to dismiss all

claims against her with prejudice.



                                                    s/ James L. Pattillo
                                                    James L. Pattillo (PAT061)
                                                    Attorney for Defendant Gilmore


OF COUNSEL:

CHRISTIAN & SMALL LLP
505 20th Street North, Suite 1800
Birmingham, Alabama 35203
Phone: (205) 795-6588
Facsimile: (205) 328-7234
Email: JLP@csattorneys.com




                                                2
                                         DOCUMENT 63
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 345 of 505




                               CERTIFICATE OF SERVICE

       Unless otherwise serve by the Alafile system, I do hereby certify that a copy of the above
and foregoing instrument was served on the following by placing a copy of same in the United
States Mail, first class postage pre-paid and properly addressed on August 4, 2021:

       Carson S. Hale, Esq.
       SLOCUMB LAW FIRM, LLC
       145 E. Magnolia Ave, Suite 201
       Auburn, Alabama 36830
       chale@slocumblaw.com
       Attorney for Plaintiff

       Lea Richmond, IV (RIC062)
       Sara Elizabeth DeLisle (DEL025)
       CARR ALLISON
       100 Vestavia Parkway
       Birmingham, Alabama 35216
       Telephone: (205) 822-2006
       Facsimile: (205) 822-2057
       Attorneys for Defendant FedEx Freight




                                                    s/ James L. Pattillo
                                                    OF COUNSEL




                                               3
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 346 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: JAMES LAURENS PATTILLO
    jlp@csattorneys.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                       The following matter was FILED on 8/4/2021 4:52:59 PM

                                          D001 GILMORE ERIKA
                         MOTION TO DISMISS PURSUANT TO RULE 12(B)
                                 [Filer: PATTILLO JAMES LAURENS]


    Notice Date:    8/4/2021 4:52:59 PM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
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                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 347 of 505


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                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                       The following matter was FILED on 8/4/2021 4:52:59 PM

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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 348 of 505


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                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                          D001 GILMORE ERIKA
                         MOTION TO DISMISS PURSUANT TO RULE 12(B)
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                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
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                                                                           EUTAW, AL, 35462

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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 349 of 505


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                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 350 of 505


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                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: DELISLE SARA ELIZABETH
    sbdelisle@carrallison.com




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                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 351 of 505


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                                                                          35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 352 of 505


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                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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                                                                              DOCUMENT 65
         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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STATE OF ALABAMA             Revised 3/5/08             Case No.   35-CV-2021-900009.00
Unified Judicial System                                                                                                  CIRCUIT COURT OF
35-GREENE                                                         District Court      Circuit Court                  GREENE COUNTY, ALABAMA
                                                                                                             CV202190000900
                                                                                                                   VERONICA MORTON-JONES, CLERK
                                                                                                CIVIL MOTION COVER SHEET
CORNELIUS ROSS V. ERIKA GILMORE ET AL                                              Name of Filing Party:D001 - GILMORE ERIKA



Name, Address, and Telephone No. of Attorney or Party. If Not Represented.                      Oral Arguments Requested
 JAMES LAURENS PATTILLO
 505 20th Street North, Suite 1800
 BIRMINGHAM, AL 35203
Attorney Bar No.: PAT061

                                                                           TYPE OF MOTION
                         Motions Requiring Fee                                                               Motions Not Requiring Fee
      Default Judgment ($50.00)                                                              Add Party
      Joinder in Other Party's Dispositive Motion                                            Amend
      (i.e.Summary Judgment, Judgment on the Pleadings,                                      Change of Venue/Transfer
      orother Dispositive Motion not pursuant to Rule 12(b))
      ($50.00)                                                                               Compel
      Judgment on the Pleadings ($50.00)                                                     Consolidation
      Motion to Dismiss, or in the Alternative                                               Continue
      SummaryJudgment($50.00)                                                                Deposition
      Renewed Dispositive Motion(Summary                                                     Designate a Mediator
      Judgment,Judgment on the Pleadings, or other                                           Judgment as a Matter of Law (during Trial)
      DispositiveMotion not pursuant to Rule 12(b)) ($50.00)
                                                                                             Disburse Funds
      Summary Judgment pursuant to Rule 56($50.00)
                                                                                             Extension of Time
      Motion to Intervene ($297.00)
                                                                                             In Limine
      Other
                                                                                             Joinder
  pursuant to Rule                                                         ($50.00)
                                                                                             More Definite Statement
  *Motion fees are enumerated in §12-19-71(a). Fees                                          Motion to Dismiss pursuant to Rule 12(b)
  pursuant to Local Act are not included. Please contact the                                 New Trial
  Clerk of the Court regarding applicable local fees.
                                                                                             Objection of Exemptions Claimed
      Local Court Costs $               0                                                    Pendente Lite
                                                                                             Plaintiff's Motion to Dismiss
                                                                                             Preliminary Injunction
                                                                                             Protective Order
                                                                                             Quash
                                                                                             Release from Stay of Execution
                                                                                             Sanctions
                                                                                             Sever
                                                                                             Special Practice in Alabama
                                                                                             Stay
                                                                                             Strike
                                                                                             Supplement to Pending Motion
                                                                                             Vacate or Modify
                                                                                             Withdraw
                                                                                            Other
                                                                                          pursuant to Rule                               (Subject to Filing Fee)
Check here if you have filed or are filing contemoraneously                                                  Signature of Attorney or Party
with this motion an Affidavit of Substantial Hardship or if you
                                                                   Date:
                                                                                                             /s/ JAMES LAURENS PATTILLO
are filing on behalf of an agency or department of the State,
county, or municipal government. (Pursuant to §6-5-1 Code
                                                                   8/4/2021 5:18:18 PM
of Alabama (1975), governmental entities are exempt from
prepayment of filing fees)

*This Cover Sheet must be completed and submitted to the Clerk of Court upon the filing of any motion. Each motion should contain a separate Cover Sheet.
**Motions titled 'Motion to Dismiss' that are not pursuant to Rule 12(b) and are in fact Motions for Summary Judgments are subject to filing fee.
                                          DOCUMENT 66
       Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                                35-CV-2021-900009.00
                                                                                CIRCUIT COURT OF
                                                                            GREENE COUNTY, ALABAMA
                                                                          VERONICA MORTON-JONES, CLERK
              IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
                                                 )
 CORNELIUS ROSS,
                                                 )
         Plaintiff,                              )
 vs.                                             )   Civil Action No.: 35-CV-2021-900009
                                                 )
                                                 )
 ERIKA GILMORE, KEITH AVENT,                     )
 FEDEX FREIGHT, INC.,                            )
                                                 )
         Defendants.


              MOTION FOR JOINDER IN MOTION TO TRANSFER
______________________________________________________________________________

       COMES NOW the Defendant, Erika Gilmore (hereinafter "Gilmore"), and joins in

Defendant Fedex Freight, Inc.'s Motion to Transfer (Doc. 13). In support thereof, this Defendant

states as follows:

       1. In joining this motion, Defendant Gilmore adopts and incorporates all arguments made

in the motion as set out fully herein.

       2. Pursuant to Ala. Cod. 6-3-21.1 and in the interest of justice and the convenience of all

parties, this matter should properly be litigated in Jefferson County, Alabama.

       WHEREFORE, PREMISES CONSIDERED, Defendant Gilmore moves to transfer this

case to the Circuit Court of Jefferson County.

                                                     Respectfully submitted,

                                                     s/ James L. Pattillo
                                                     James L. Pattillo (PAT061)
                                                     Attorney for Defendant Gilmore
OF COUNSEL:

CHRISTIAN & SMALL LLP
505 20th Street North, Suite 1800
Birmingham, Alabama 35203
Phone: (205) 795-6588
Facsimile: (205) 328-7234
Email: JLP@csattorneys.com
                                         DOCUMENT 66
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 355 of 505




                                CERTIFICATE OF SERVICE

       Unless otherwise serve by the Alafile system, I do hereby certify that a copy of the above
and foregoing instrument was served on the following by placing a copy of same in the United
States Mail, first class postage pre-paid and properly addressed on August 4, 2021:

       Carson S. Hale, Esq.
       SLOCUMB LAW FIRM, LLC
       145 E. Magnolia Ave, Suite 201
       Auburn, Alabama 36830
       chale@slocumblaw.com
       Attorney for Plaintiff

       Lea Richmond, IV (RIC062)
       Sara Elizabeth DeLisle (DEL025)
       CARR ALLISON
       100 Vestavia Parkway
       Birmingham, Alabama 35216
       Telephone: (205) 822-2006
       Facsimile: (205) 822-2057
       Attorneys for Defendant FedEx Freight




                                                    s/ James L. Pattillo
                                                    OF COUNSEL




                                               2
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 356 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: JAMES LAURENS PATTILLO
    jlp@csattorneys.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                       The following matter was FILED on 8/4/2021 5:20:34 PM

                                          D001 GILMORE ERIKA
                                      MOTION FOR JOINDER
                                 [Filer: PATTILLO JAMES LAURENS]


    Notice Date:    8/4/2021 5:20:34 PM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 357 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: GILMORE ERIKA (PRO SE)
    203 PICKENS ST.
    EUTAW, AL, 35462-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                       The following matter was FILED on 8/4/2021 5:20:34 PM

                                          D001 GILMORE ERIKA
                                      MOTION FOR JOINDER
                                 [Filer: PATTILLO JAMES LAURENS]


    Notice Date:    8/4/2021 5:20:34 PM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 358 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 359 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 360 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: DELISLE SARA ELIZABETH
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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                                  [Filer: PATTILLO JAMES LAURENS]


     Notice Date:    8/4/2021 5:20:34 PM




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 361 of 505


                                        AlaFile E-Notice




                                                                          35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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     Notice Date:    8/4/2021 5:20:34 PM




                                                                    VERONICA MORTON-JONES
                                                                       CIRCUIT COURT CLERK
                                                                    GREENE COUNTY, ALABAMA
                                                                        400 MORROW AVENUE
                                                                             EUTAW, AL, 35462

                                                                                    205-372-3598
                                                                      veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 362 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                        The following matter was FILED on 8/4/2021 5:20:34 PM

                                           D001 GILMORE ERIKA
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     Notice Date:    8/4/2021 5:20:34 PM




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
State of Alabama
                   Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                                           3638/13/2021      FILED
                                                                                of 505 9:22 AM
                                        ORDER TO APPEAR          Case Number:35-CV-2021-900009.00
Unified Judicial System
                                          (SUBPOENA)             35-CV-2021-900009.00
                                                                             CIRCUIT COURT OF
Form C-13 (front)         Rev. 4/18                                                                          GREENE COUNTY, ALABAMA
                                                                                                           VERONICA MORTON-JONES, CLERK
                                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

   State of Alabama
   Municipality of ___________________________________________________________________________________
   CORNELIUS ROSS V. ERIKA GILMORE ET AL
  (For Juvenile cases only):
   In the Matter of ___________________________________________________________________________________
                                                                             A. Issued at the request of :
                                                                             1.      Plaintiff/State
                                                                             2.      Defendant
  ADAMSVILLE POLICE DEPARTMENT
                                                                             3.      Grand Jury
                                                                             B. Special Instructions
  4911 MAIN STREET                                                                   You are ordered to:
  ADAMSVILLE, AL 35005                                                       1.      Appear at trial
                                                                             2.      Produce records or documents-See attached schedule(s)
                                                                             3.      Appear at deposition
                                                                             4.      Other

You may contact: SARA ELIZABETH DELISLE 100 Vestavia Parkway Birmingham, AL 35216 (205) 822-2006

YOU ARE ORDERED TO APPEAR to give testimony before the court or by deposition; and/or produce and permit inspection and
copying of books, documents, or tangible things; and/or permit inspection of premises as stated below until otherwise excused.
Failure to obey this subpoena may be deemed a contempt of court from which the subpoena was issued.

                                                                                                 ADDITIONAL INSTRUCTIONS
                                                                                          Any inspection or production of documents or records
DATE:                08/30/2021 10:00 AM                                                  must be completed within 15 days
ROOM:                c/o Kimberly Frazier
                                                                           Please see attached Civil Subpoena. You may contact paralegal,
ADDRESS:             Carr Allison                                          Kimberly Frazier, at kfrazier@carrallison.com.
                     100 Vestavia Parkway
                     Birmingham, AL 35216
DATE ISSUED: 8/13/2021


/s/ VERONICA MORTON-JONES
Signature of Court Clerk                           Deputy Clerk Initials


TO ANY SHERIFF OF THE STATE OF ALABAMA You are ordered to serve this order on the above named person and make return to this
OR ANY AUTHORIZED PERSON:              court.
                                                                RETURN ON SERVICE
I certify that I personally delivered a copy of this order
to                                                                         (For Criminal cases only)
                     on                                                       Served By Mail


                                                                           Date Mailed



Signature and Title of Server



                                                                           Sheriff                                                     Deputy Sheriff
                       Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 364 of 505
Form C-13 (back)          Rev.4/18                                                     ORDER TO APPEAR (SUBPOENA)

NOTICE

With respect to a subpoena which seeks only a production of documents or tangible things or an inspection of premises, as provided in Ala.R.Civ.P 45(a) (3) (C),
the production of documents or tangible things or the inspection of premises pursuant to this subpoena shall take place where the documents or tangible things are
regularly kept or at some other reasonable place designated by the recipient of this subpoena. As recipient of this subpoena, you have the option to deliver or mail
legible copies of the documents or things to the party causing issuance of this subpoena, and the preparation of copies may be conditioned on the payment in
advance of the reasonable cost of making such copies. Other parties involved in this lawsuit have the right to be present at the time of the production or inspection.
The recipient of this subpoena has the right to object to the production or inspection at any time prior to the date of production or inspection set forth in this
subpoena. See Ala. R.Civ.P. 45(c) (2) (B), which is set out below.

Rule 45, Ala. R.Civ.P., Paragraphs (c) & (d)

(c) Protection of person subject to subpoenas.

   (1) A party or an attorney responsible for the issuance and service of a subpoena shall take reasonable steps to avoid imposing undue burden or expense on a
   person subject to that subpoena. The court from which the subpoena was issued shall enforce this duty and impose upon the party or attorney in breach of this
   duty on appropriate sanction, which may include, but is not limited to, lost earnings and a reasonable attorney fee.

   (2) (A) A person commanded to produce and permit inspection and copying of designated books, papers, document or tangible things, or inspection of premises
   need not appear in person at the place of production or inspection unless commanded to appear for deposition, hearing or trial.
      (B) Subject to paragraph (d)(2) of this rule, a person commanded to produce and permit inspection and copying at any time before the time specified for
      compliance may serve upon the party or attorney designed in the subpoena written objection to inspection or copying of any or all of the designated
      materials or of the premises. “Serve” as used herein means mailing to the party or attorney. If objection is made, the party serving the subpoena shall not be
      entitled to inspect and copy the materials or inspect the premises except pursuant to an order of the court by which the subpoena was issued. If objection
      has been made, the party serving the subpoena may, upon notice to the person commanded to produce, move at any time for an order to compel the
      production. Such an order to compel production shall protect any person who is not a party or an officer of a party from significant expenses resulting from
      the inspection and copying commanded.

   (3) (A) On timely motion, the court by which a subpoena was issued shall quash or modify the subpoena if it
         (i) fails to allow reasonable time for compliance;
         (ii) requires a resident of this state who is not a party or an officer of a party to travel to a place more than one hundred (100) miles form the place where
         that person resides, is employed or regularly transacts business in person, or requires a nonresident of this state who is not a party or an officer of a party
         to travel to a place within this state more than one hundred (100) miles from the place of service or, where separate from the place of service, more than
         one hundred (100) miles from the place where that person is employed or regularly transacts business in person, except that, subject to the provision of
         clause (c)(3)(B)(iii) of this rule, such a person may in order to attend trial be commanded to travel from any such place within the state in which the trial is
         held, or
         (iii) requires disclosure of privileged or other protected matter and no exception or waiver applies, or
         (iv) subjects a person to undue burden.

      (B) If a subpoena
         (i) requires disclosure of a trade secret or other confidential research, development, or commercial information, or
         (ii) requires disclosure of an unretained expert’s opinion or information not describing specific events or occurrences in dispute and resulting from the
         expert’s study made not at the request of any party, or
         (iii) requires a person who is not a party or an officer of a party to incur substantial expenses to travel more than 100 miles to attend trial, the court may, to
         protect a person subject to or affected by the subpoena, quash or modify the subpoena or, if the party in whose behalf the subpoena is issued shows a
         substantial need for the testimony or material that cannot be otherwise met without undue hardship and assures that the person to whom the subpoena is
         addressed will be reasonably compensated, the court may order appearance or production only upon specified conditions.
(d) Duties in responding to subpoena.

   (1) A person responding to a subpoena to produce documents shall produce them as they are kept in the usual course of business or shall organize
   and label them to correspond with the categories in the demand.

   (2) When information subject to a subpoena is withheld on a claim that it is privileged or subject to protection as trial preparation materials, the claim shall
   be made expressly and shall be supported by a description of the nature of the documents, communications, or things not produced that is sufficient to
   enable the demanding party to contest the claim.

   (3) If a subpoena does not specify the form or forms for producing electronically stored information, a person responding to a subpoena must produce the
   information in a form or forms in which the person ordinarily maintains it or in a form or forms that are reasonably usable.

   (4) A person responding to a subpoena need not produce the same electronically stored information in more than one form.

   (5) A person responding to a subpoena need not provide discovery of electronically stored information from sources the person identifies to the requesting
   party as not reasonably accessible because of undue burden or cost. On motion to compel discovery or to quash, the person from whom discovery is sought
   must show that the information is not reasonably accessible because of undue burden or cost. If that showing is made, the court may nonetheless order
   discovery from such sources if the requesting party shows good cause, considering the limitations of Rule 26(b)(2)(B). The court may specify conditions
   regarding the production of the discovery.

   (6) If information is produced in discovery that is subject to a claim of privilege or of protection as trial-preparation material, the person or party making the
   claim may notify any party that received the information of the claim and the basis for it. After being notified, a party must promptly return, sequester, or
   destroy the specified information and any copies it has and may not use or disclose the information until the claim is resolved. Any party or the producing
   person may promptly present the information to the court under seal for a determination of the claim. If the receiving party disclosed the information before
   being notified, it must take reasonable steps to retrieve it. The person who produced the information must preserve the information until the claim is resolved.
                                         DOCUMENT 69
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              3658/13/2021     FILED
                                                                  of 505 9:22 AM
                                                                               35-CV-2021-900009.00
                                                                               CIRCUIT COURT OF
                                                                           GREENE COUNTY, ALABAMA
                                                                         VERONICA MORTON-JONES, CLERK
                IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

CORNELIUS ROSS,                    )
                                   )
Plaintiff,                         )
v.                                 )     Civil Action No.: CV-2021-900009
                                   )
ERIKA GILMORE, KEITH AVENT, FEDEX )
FREIGHT, INC., et al.              )
                                   )
Defendants.                        )
__________________________________________________________________________

                            CIVIL SUBPOENA FOR PRODUCTION
                             OF DOCUMENTS UNDER RULE 45


TO:    Adamsville Police Department
       ATTN: Lynn Lindsey
       4911 Main Street
       Adamsville, AL 35005

        You are hereby commanded, at the instance of the Defendant within fifteen (15) days
after service of this subpoena:

       To produce and permit said party to inspect and to copy each of the following documents:

        Any and all documents pertaining to Erika Monique Gilmore (DOB: 11/9/1990) and/or
Keith Edward Avent (DOB: 5/2/1973), including but not limited to, ROAD Call Log, dispatch
records, dispatch notes, run reports incident or accident reports, notes, memoranda, video or
digital recordings, statements (oral or written), body and/or dash cam audio and video,
investigation documents or reports, billing and any other documents prepared at any time
regarding an incident(s) on or about April 3, 2020 on US-78 at Galsgow Hollow Road in the
city of Adamsville, Jefferson County, Alabama (Local Case Number 200400001999; Crash
Report Number 0638140).

                        (Please return a copy of the subpoena with records)

                ***This subpoena is continuing until the conclusion of litigation***

        Such production and inspection is to take place where the documents are regularly kept
or at some other reasonable place designated by you.


       You are further advised that other parties to this action in which this subpoena has been
issued have the right to be present at the time of such production or inspection.
      You have the option to deliver or mail legible copies of documents to the party
causing the issuance of this subpoena, but you may condition such activity on your part
upon the payment in advance by the party causing issuance of this subpoena of the
reasonable costs of making such copies. The said party agrees to pay all reasonable


{DOC# 00745589}
                                         DOCUMENT 69
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 366 of 505



expenses incurred by you at the aforementioned time and place or upon receipt of said
documents. Please advise us if the reasonable copying cost will be over $100.00.


       Should you choose to mail legible copies of the records requested, please deliver or mail
them, within 15 days of service of this subpoena, to:
       Kimberly Frazier, Paralegal
       c/o Carr Allison, Pugh, Howard, Oliver & Sisson, P.C.
       100 Vestavia Parkway
       Birmingham, AL 35216


     Rule 45 of the Alabama Rules of Civil Procedure, which applies to this request for
documents provides in sections (c.) and (d) as follows:
       (c.) Protection of Persons Subject to Subpoenas:
       (1)    A party or an attorney responsible for the issuance and service of a subpoena shall
       take reasonable steps to avoid imposing undue burden or expense on a person subject to
       that subpoena. The court on behalf of which the subpoena was issued shall enforce this
       duty and impose upon the party or attorney in breach of this duty an appropriate sanction,
       which may include, but is not limited to, lost earnings and a reasonable attorney's fee.
       (2)    (A)      A person commanded to produce and inspection and copying of
       designated books, papers, documents or tangible things or inspection of premises need
       not appear in person at the place of production or inspection unless commanded to appear
       for deposition, hearing or trial.
               (B)    Subject to paragraph (d)(2) of this rule, a person commanded to produce
       and permit inspection of and copying at any time before the time specified for compliance
       may serve upon the party or attorney designated in the subpoena written objection to
       inspection or copying of any or all of the designated materials or of the premises. "Serve"
       as used herein, means mailing to the party or attorney. If objection is made, the party
       serving the subpoena shall not be entitled to inspect and copy the materials or inspect the
       premises except pursuant to an order of the court by which the subpoena was issued. If
       objection has been made, the party serving the subpoena may, upon notice to the person
       commanded to produce, move at any time for an order to compel production. Such an
       order to compel production shall protect any person who is not a party or an officer of a
       party from significant expense resulting from the inspection and copying commanded.
       (3)    (A)     On timely motion, the court by which a subpoena was issued shall quash
       or modify the subpoena if it
                      (I)    fails to allow reasonable time for compliance.
                      (ii)   requires a resident of this state who is not a party or an officer of a
                             party to travel to a place more than one hundred (100) miles from
                             the place where that person resides, is employed or regularly
                             transacts business in person, or requires a non-resident of this state
                             who is not a party or an officer of a party to travel to a place within
                             the state more than one hundred (100) miles from the place of
                             service or, where separate from the place of service, more than one
                             hundred (100) miles from the place where that person is employed



{DOC# 00745589}
                                         DOCUMENT 69
     Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 367 of 505



                             or regularly transacts business in person, except that, subject to the
                             provisions of Clause (c)(3)(B)(iii) of this rule, such a person may in
                             order to attend trial be commanded to travel from any such place
                             within the state in which the trial is held, or
                     (iii)   requires disclosure of privileged or other protected matter and no
                             exception or waiver applies, or
                     (iv)    subjects a person to undue burden.
                     (B)     If a subpoena
                     (I)     requires a disclosure of a trade secret or other confidential
                             research, development, or commercial information, or
                     (ii)    requires disclosure of an unretained expert's opinion or information
                             not describing specific events or occurrences in dispute and
                             resulting from the expert's study made not at the request of any
                             party, or
                     (iii)   requires a person who is not a party or an officer of a party to incur
                             substantial expense to travel more than one hundred (100) miles to
                             attend trial, the court may, to protect a person subject to or affected
                             by the subpoena, quash or modify the subpoena, or, if the party in
                             whose behalf the subpoena is issued, shows a substantial need for
                             the testimony or material that cannot be otherwise met without
                             undue hardship and assures that the person to whom the subpoena
                             is addressed will be reasonably compensated, the court may order
                             appearance or production only upon specified conditions.
      (d) Duties in Responding to Subpoena:
      (1)    A person responding to a subpoena to produce documents shall produce them as
      they are kept in the usual course of business or shall organize and label them to
      correspond with the categories in the demand.
      (2)     When information subject to a subpoena is withheld on a claim that is privileged or
      subject to protection as trial preparation materials, the claim shall be made expressly and
      shall be supported by a description of the nature of the documents, communications, or
      things not produced that is sufficient to enable the demanding party to contest the claim.


      (e) HIPAA RULES
      In compliance with 145 CFR 164.512(e) (1) (ii), (iii), the undersigned states as
      follows:
             1.      The defendant has given or attempted to give the individual
             whose records we are seeking notice of this subpoena. The notice
             of intent of this subpoena was issued at least fifteen (15) days prior
             to the issuance of the subpoena. The attorney for the patient has
             received this notice.
             2.    The notice of the intent to issue the subpoena as well as the
             subpoena, are sufficiently specific about the records sought. This



{DOC# 00745589}
                                          DOCUMENT 69
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 368 of 505



              notice provides sufficient information about the litigation to allow the
              attorney for the patient to raise an objection before the court.
              3.      That the attorney for the patient has fifteen (15) days from
              the issuance of the Notice of Intent to issue the subpoena to file or
              raise any objections to same, and that time has passed with no
              objections being raised or if any objections have been raised, they
              have been resolved by the court.
        You have the right object at any time prior to the date set forth in this subpoena for
compliance. Should you choose to object, you should communicate such objection in writing to
the party causing the issuance of this subpoena and stating, with respect to any item to which
objection is made, your reasons for such objection.
       This the ____ day of _________________, 2021.



____________________________
CIRCUIT COURT CLERK

DATE OF ISSUE: _________________



                                RETURN ON SERVICE
Received this subpoena on _________________________and served it on the within named

on the____________ day of __________________, 2021.

                                              ________________________________
                                              PROCESS SERVER




{DOC# 00745589}
                                  DOCUMENT 69
                                           45
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                              3696/28/2021     FILED
                                                                  of 505 3:41 PM
                                                                   35-CV-2021-900009.00
                                                                   CIRCUIT COURT OF
                                                               GREENE COUNTY, ALABAMA
                                                             VERONICA MORTON-JONES, CLERK
       IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA


 ROSS CORNELIUS,                       )
 Plaintiff,                            )
                                       )
 V.                                    ) Case No.:     CV-2021-900009.00
                                       )
 GILMORE ERIKA,                        )
 AVENT KEITH,                          )
 FEDEX FREIGHT, INC.,                  )
 Defendants.                           )


                        HIPPA PROTECTIVE ORDER

       Upon compliance with applicable provisions of Alabama law, the
attorneys for the parties (and any pro se parties) to this lawsuit may obtain
all health information relating to any individual who is a party to this case, or
of any decedent or other real party in interest, represented by an executor,
administrator, guardian, next friend, bailee or trustee, and to obtain all
information relative to payment for the provision of medical care to any such
individual. This order neither broadens nor restricts any party’s ability to
conduct discovery pursuant to the Alabama Rules of Civil Procedure, the
sole purpose hereof being only to permit compliance with the Health
Insurance Portability and Accountability Act of 1996.

      This Court Order authorizes any third-party who is provided with a
subpoena requesting the production of documents or commanding
attendance at deposition or trial to disclose Protected Health Information in
response to such request or subpoena. This Court Order is intended to
authorize such disclosures under Section 164.512(e)(1) of the privacy
regulations issued pursuant to the Health Insurance Portability and
Accountability Act of 1996.

       Nothing in this Order shall be deemed to relieve any party or attorney
of the requirements of the Alabama Rules of Civil Procedure. Nothing in
this Order permits disclosure of confidential communications, made for the
purposes of diagnosis or treatment of a patient's mental or emotional
condition, including alcohol or drug addiction, among the patient, the
                                  DOCUMENT 69
                                           45
     Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 370 of 505




patient's psychotherapist, and persons who are participating in the diagnosis
or treatment under the direction of the psychotherapist, including members
of the patient's family, nor does this Order permit disclosure of records or
information relating to HIV testing or sexually transmitted disease.

         Nothing in this Order shall be construed to authorize any party or any
attorney for any party to release, exchange, submit or share any Protected
Health Information with any other person or any other entity, other than an
agent or employee of the attorney or party. This Order prohibits any use or
disclosure of Protected Health Information for any purpose other than this
litigation.

        At the conclusion of this action and at the written request of an
individual whose Protected Health Information has been disclosed, or such
Individual's authorized representative, all recipients of the Protected Health
Information shall return to the requesting party the documents and all copies
thereof containing Protected Health Information received by them pursuant
to this Order, except that Protected Health Information included in insurance
claim files and law firm litigation files may be retained to allow compliance to
the extent and for the period that such retention is required by Alabama
Insurance laws and Alabama State Bar rules and regulations.

      DONE this 28th day of June, 2021.

                                     /s/ HON. EDDIE HARDAWAY
                                     CIRCUIT JUDGE
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 371 of 505


                                       AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                      The following subpoena was FILED on 8/13/2021 9:22:04 AM




     Notice Date:    8/13/2021 9:22:04 AM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 372 of 505


                                      AlaFile E-Notice




                                                                       35-CV-2021-900009.00


To: ADAMSVILLE POLICE DEPARTMENT
    4911 MAIN STREET
    ADAMSVILLE, AL, 35005




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                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following subpoena was FILED on 8/13/2021 9:22:04 AM




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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 373 of 505


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                                                                       35-CV-2021-900009.00


To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 374 of 505


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                                                                       35-CV-2021-900009.00


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    chale@slocumblaw.com




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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 375 of 505


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                                                                       35-CV-2021-900009.00


To: PATTILLO JAMES LAURENS
    jlp@csattorneys.com




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                                                                         35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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                                                                        35-CV-2021-900009.00


To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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       Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                                  CIRCUIT COURT OF
                                                                              GREENE COUNTY, ALABAMA
                                                                            VERONICA MORTON-JONES, CLERK
             IN THE CIRCUIT COURT FOR GREENE COUNTY, ALABAMA


CORNELIUS ROSS,                           *
                                          *
   Plaintiff,                             *
                                          * Case No.: CV - 2021 - ____________
  v.                                      *
                                          *    JURY TRIAL DEMANDED
ERIKA GILMORE, KEITH AVENT, *
FEDEX         FREIGHT,   INC.,      and *
Fictitious Defendants “A,” “B,” and *
“C,” whether singular or plural, those *
other persons, corporations, firms or *
other entities whose wrongful conduct *
caused or contributed to cause the *
injuries and damages to Plaintiff, all of *
whose true and correct names are *
unknown to Plaintiff at this time, but *
will be added by amendment when *
ascertained,                              *
                                          *
   Defendants.                            *
                                          *
 ______________________________________________________________________________
                                        COMPLAINT


        This is an action by Plaintiff, Cornelius Ross (herein after referred to as “Plaintiff”),

against Defendants, Erika Gilmore (herein after referred to as “Defendant Gilmore”), Keith

Avent (herein after referred to as “Defendant Avent”), and FedEx Freight, Inc., (herein after

referred to as “Defendant FedEx”) for personal injuries and other damages sustained by Plaintiff,

as the result of a motor vehicle collision that occurred on or about April 3, 2020.

                             PARTIES, JURISDICTION, VENUE

1)      Plaintiff was a resident and citizen of Jefferson County, Alabama at all times material to

the issues in this case.

2)      Upon information and belief, Defendant Gilmore was a resident and citizen of Greene

County, Alabama at all times material to the issues in this case.

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3)     Upon information and belief, Defendant FedEx is a foreign Corporation, doing business

in Greene County, Alabama at all times material to the issues in this case. Defendant FedEx may

be served through its registered agent, CT Corporation Systems, at 2 North Jackson St., Suite

605, Montgomery, AL 36104.

4)     Upon information and belief, Defendant Avent is a resident and citizen of Fayette

County, Tennessee all times material to the issues in this case, and an employee and/or agent of

Defendant FedEx, and was doing business for said Defendant FedEx at all times material to the

issues in this case. Defendant Avent is being sued in both their official and individual capacities.

5)     Fictitious Defendant “A”, “B”, and “C”, are those persons or entities whose names will

be substituted upon learning their true identities.

6)     The motor vehicle accident that gives rise to this complaint occurred in Jefferson County,

Alabama.

7)     Venue is proper in Greene County, Alabama.

               FACTUAL BACKGROUND APPLICABLE TO ALL COUNTS

8)     On or about April 3, 2020, Plaintiff was occupying a vehicle owned and operated by

Defendant Gilmore in Jefferson County, Alabama.

9)     At said time and place, the Defendant Gilmore was traveling southbound on Glasgow

Hollow Rd crossing the intersection of Glasgow Hollow Rd and US-78.

10)    At said time and place, the Defendant Avent was traveling eastbound on US-78 in

Jefferson County, Alabama approaching the intersection of Glasgow Hollow Rd and US-78.

11)    At said time and place, Defendant Gilmore failed to yield the right of way to the

Defendant Avent’s vehicle, and allowed and/or caused their vehicle to collide with the Defendant

Avent’s vehicle.



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12)     At said time and place, Defendant Avent was not paying attention, and allowed and/or

caused their vehicle to collide with the Defendant Gilmore’s vehicle.

13)     At the time of the collision, Defendant Avent was an employee and/or agent of Defendant

FedEx and was operating under the appropriate scope and authority of his employment and/or

agency of said Defendant FedEx, at all times material to the issues in this cause of action.

14)     Plaintiff suffered substantial injuries as a proximate consequence of the negligence and/or

wantonness of Defendant Gilmore, Defendant Avent, and/or Fictitious Defendants.

                                  COUNT ONE - NEGLIGENCE

15)     The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant Gilmore.

16)     Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

17)     At all times material to this action, Defendant Gilmore owed a duty of reasonable care in

the ownership, operation and use of said vehicle.

18)     At said time and place, Defendant Gilmore operated said vehicle in such a negligent

manner as to:

        (a)     cause said vehicle, in which passengers were occupying, to collide with another;

        (b)     cause serious injuries to Plaintiff.

19)     In causing said vehicle to crash into another vehicle, Defendant Gilmore:

        (a)     Negligently failed to exercise ordinary care.

        (b)     Negligently failed to keep proper look out.

        (c)     Negligently failed to maintain proper control of the vehicle.

        (d)     Negligently failed to yield to the other vehicle.




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        (e)     Otherwise acted in negligent disregard of the rights and safety of Plaintiff and

                others traveling on said public highway at said time and place.

20)      As a direct and proximate result of the Defendant Gilmore’s negligence, Defendant

Gilmore collided with another vehicle, causing said Plaintiff to sustain personal injuries, pain,

suffering, property damage and other damages.

21)     Plaintiff avers that the acts and conduct of Defendant Gilmore, on said occasion,

constitutes common law negligence and violates the Rules of the Road for the State of Alabama.

        WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                             COUNT TWO –NEGLIGENCE PER SE

22)     The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant Gilmore.

23)     Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

24)     At said place and time, there were in force certain laws, statutes and/or ordinances that

were designed to prevent the injuries sustained by Plaintiff, specifically § 32-5A-191 of the Code

of Alabama.

25)     Defendant Gilmore violated said laws, statutes and/or ordinances, in the operation of the

vehicle that directly resulted to the injuries sustained by Plaintiff.

26)     Plaintiff is included in the class of people the laws, statutes, and/or ordinances were

intended to protect.




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        WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                  COUNT THREE – RECKLESSNESS AND WANTONNESS

27)     The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant Gilmore.

28)     Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

29)     At said place and time, Defendant Gilmore operated said vehicle in such a reckless and

wanton manner as to:

        (a)     cause said vehicle, in which the Plaintiff was occupying, to collide with another

                vehicle;

        (b)     cause damage to said vehicle; and

        (c)     cause substantial injuries to Plaintiff.

30)     In causing said vehicle to collide with the other vehicle, Defendant Gilmore:

        (a)     Recklessly and Wantonly failed to exercise ordinary care.

        (b)     Recklessly and Wantonly failed to keep a proper look out.

        (c)     Recklessly and Wantonly failed to maintain proper control of said vehicle.

        (d)     Recklessly and Wantonly failed to yield to another vehicle.

        (e)     Otherwise acted in reckless and wanton disregard of the rights and safety of

                Plaintiff and others traveling on said public highway at said time and place.




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31)     Plaintiff avers that the acts and conduct of Defendant Gilmore, at said time and place,

were in violation of the statutes of State of Alabama which constitute statutory recklessness and

wantonness

32)     Plaintiff sustained substantial injuries as the proximate result of said recklessness and

wantonness of Defendant Gilmore in violating said statutes and in colliding with another vehicle.

        WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                                 COUNT FOUR – NEGLIGENCE

33)     The Plaintiff in this Count is Plaintiff. The Defendants in this Count are Defendant FedEx

and Defendant Avent, individually.

34)     Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

35)     At said time and place, while acting in the line and scope of their employment and/or

agency as the employee and/or agent of Defendant FedEx, Defendant Avent operated said

vehicle in such a negligent manner as to (a) cause said vehicle to collide with the vehicle in

which Plaintiff was occupying, and (b) to cause said vehicle to be damaged beyond reasonable

repair, and (c) to cause serious injury to the Plaintiff.

36)     In causing said vehicle to crash into the vehicle in which Plaintiff was occupying,

Defendant FedEx’s agent and/or employee, Defendant Avent:

                (a) Negligently failed to exercise ordinary care.

                (b) Negligently failed to keep a proper look out.



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                 (c) Negligently failed to maintain proper control of said vehicle.

                 (d) Negligently failed to yield the motor vehicle in which Plaintiff was occupying.

                 (e) Otherwise acted in negligent disregard of the rights and safety of the Plaintiff

                     and others traveling on said public highway at said time and place.

37)     The Plaintiff avers that the acts and conduct of Defendant FedEx’s agent and/or employee,

      Defendant Avent on said occasion constitutes common law negligence. The Plaintiff further

      avers that the acts and conduct of the said Defendant Avent on said occasion were in

      violation of one or more of the Rules of the Road for the State of Alabama.

38)     As the proximate consequence of said negligence, Defendant FedEx’s agent and/or

      employee, Defendant Avent, (a) in violating said statutes, and (b) in colliding with the

      vehicle in which Plaintiff was occupying, Plaintiff was caused to sustain serious injuries.

39)     The Plaintiff avers that said negligent acts and conduct of the said Defendant Avent on

      said occasion are imputed to Defendant FedEx, and Defendant FedEx and Defendant Avent,

      are jointly and severally liable for the serious injuries of the Plaintiff, as a result of said

      negligent acts and conduct of the said Defendant Avent.

      WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally, for

all compensatory damages, lost wages, court costs and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                     COUNT FIVE - RECKLESSNESS AND WANTONESS

40)     The Plaintiff in this Count is Plaintiff. The Defendants in this Count are Defendant FedEx

      and Defendant Avent, individually.




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41)      Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

42)      At said time and place, while acting in the line and scope of their employment and/or

      agency as the employee and/or agent of Defendant FedEx, Defendant Avent operated said

      vehicle in such a reckless and wanton manner as to (a) cause said vehicle to collide with the

      vehicle which Plaintiff was occupying, and (b) to cause said vehicle to be damaged beyond

      reasonable repair, and (c) to cause serious injury to the Plaintiff.

43)      In causing said vehicle to crash into the vehicle in which Plaintiff was occupying,

      Defendant FedEx’s agent and/or employee, Defendant Avent:

                 (a) Recklessly and Wantonly failed to exercise ordinary care.

                 (b) Recklessly and Wantonly failed to keep a proper look out.

                 (c) Recklessly and Wantonly failed to maintain proper control of said vehicle.

                 (d) Recklessly and Wantonly failed to yield to the motor vehicle in which

                     Plaintiff was occupying.

                 (e) Otherwise acted in reckless and wanton disregard of the rights and safety of

                     the Plaintiff and others traveling on said public highway at said time and

                     place.

44)      The Plaintiff avers that the acts and conduct of Defendant FedEx’s agent and/or

      employee, Defendant Avent on said occasion constitute statutory recklessness and

      wantonness. The Plaintiff further avers that the acts and conduct of the said Defendant Avent

      on said occasion were in violation of one or more of the Rules of the Road for the State of

      Alabama.




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45)      As the proximate consequence of said recklessness and wantonness of Defendant FedEx’s

      agent and/or employee, Defendant Avent, (a) in violating said statutes, and (b) in colliding

      with the vehicle in which Plaintiff was occupying, Plaintiff was caused to sustain serious

      injuries.

46) The Plaintiff avers that said reckless and wanton acts and conduct of the said Defendant

      Avent, on said occasion, are imputed to Defendant FedEx, and Defendant FedEx and

      Defendant Avent, are jointly and severally liable to for the serious injuries, as a result of said

      reckless and wanton acts and conduct of the said Defendant Avent.

          WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees, to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                  COUNT SIX- NEGLIGENT AND WANTON ENTRUSTMENT


47)       The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant FedEx.

48)       Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

49)       The Plaintiff avers that on the occasion made the basis of this case, Defendant FedEx

      negligently, recklessly and wantonly entrusted said vehicle to the said Defendant Avent; that

      the said Defendant Avent; was unsuitable, based upon his habitual carelessness and

      disposition and temperament, to have said vehicle entrusted to him; and that Defendant

      FedEx knew, or by the exercise of reasonable care should have known, that the said

      Defendant Avent; was unsuitable to have said vehicle entrusted to them.

50)      The Plaintiff further avers that said negligent and wanton entrustment of said vehicle to

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      the said Defendant Avent; (a) is combined with the negligent, reckless and wanton acts and

      conduct of the said Defendant Avent; and (b) is a concurrent, proximate cause of the

      Plaintiff’s injuries and damages.

         WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees, to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

 COUNT SEVEN –NEGLIGENT AND WANTON HIRING, TRAINING, RETENTION,
                        AND SUPERVISION


51)      The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant FedEx.

52)       Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

53)      The Plaintiff avers that Defendant FedEx, hired, trained, retained and supervised

      Defendant Avent, as a driver for a commercial vehicle.

54) The Plaintiff avers that the Defendant FedEx:

                 (a) Acted in a negligent, reckless and wanton manner in hiring Defendant Avent,

                     as a commercial vehicle driver,

                 (b) Acted in a negligent, reckless and wanton manner in retaining Defendant

                     Avent, as a commercial vehicle driver,

                 (c) Acted in a negligent, reckless and wanton manner in failing to properly train

                     and monitor and supervise Defendant Avent, as a commercial vehicle driver,

                     and

                 (d) Acted in a negligent, reckless and wanton manner in failing to instill in



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                     Defendant Avent qualities of suitability, fitness, habits, disposition,

                     temperament, and trustworthiness to accomplish the tasks and responsibilities

                     which said Defendant FedEx entrusted to Defendant Avent, as a commercial

                     vehicle driver on the public highways of Alabama and other states.

55)      The Plaintiff further avers that the serious injuries of the Plaintiff are the proximate

      results of said negligence and wantonness of Defendant FedEx in the hiring, training,

      retention, monitoring, and supervision of the said Defendant Avent as a commercial vehicle

      driver on the public highways of Alabama and other states.

         WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                          COUNT EIGHT- FICTICIOUS DEFENDANTS


56)      The Plaintiff in this Count is Plaintiff.

57)      Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

58)      Fictitious Defendants “A”, “B”, and “C”, whether singular or plural, are those other

      persons, firms, corporations, or other entities whose negligent, wanton reckless and wrongful

      conduct contributed to cause the serious injuries of the plaintiff, of all of whose true and

      correct names are unknown to Plaintiff at this time, but will be substituted by amendment

      when ascertained.

         WHEREFORE, Plaintiff demands judgment against Fictitious Defendants “A”, “B”, and

“C”, both jointly and severally, for all compensatory damages, court costs and attorney’s fees to

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which Plaintiff is entitled. Furthermore, Plaintiff demands punitive damages in such an amount

as this Court may determine.

              A JURY TRIAL IS HEREBY DEMANDED ON ALL COUNTS

       This February 17, 2021.


                                    Respectfully submitted,


                                    /s/ Carson S. Hale
                                    CARSON S. HALE (HAL120)
                                    ATTORNEY FOR THE PLAINTIFF

OF COUNSEL:
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
Tel. No. (334) 741-4110
Fax No. (888)-853-2247


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      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 390 of 505




                         REQUEST FOR SERVICE OF PROCESS

       The Plaintiff hereby requests that the Summons and Complaint in this case be served on

the following Defendants by Certified Mail at her respective mailing address as follows:

       Erika Gilmore
       203 Pickens St.
       Eutaw, AL 35462

       Keith Avent
       6400 Yager Dr.
       Moscow, TN 38057

       FedEx Freight, Inc.
       Registered Agent: CT Corporation Systems
       2 North Jackson St., Suite 605
       Montgomery, AL 36104

                                     /s/ Carson S. Hale
                                     CARSON S. HALE
                                     OF COUNSEL




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                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: CARSON SCOTT HALE
    chale@slocumblaw.com




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                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                    The following alias summons was FILED on 8/13/2021 6:40:45 PM




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                                                                  VERONICA MORTON-JONES
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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 392 of 505


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                                                                         35-CV-2021-900009.00


To: ERIKA GILMORE
    203 PICKENS ST.
    EUTAW, AL, 35462




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                       IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 393 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: KEITH AVENT
    6400 YAGER DR.
    MOSCOW, TN, 38057




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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 394 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00


To: PATTILLO JAMES LAURENS
    jlp@csattorneys.com




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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                    The following alias summons was FILED on 8/13/2021 6:40:45 PM




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                                                                     veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 395 of 505


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                                                                          35-CV-2021-900009.00


To: DELISLE SARA ELIZABETH
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                             CORNELIUS ROSS V. ERIKA GILMORE ET AL
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 396 of 505


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                                                                          35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                             CORNELIUS ROSS V. ERIKA GILMORE ET AL
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                                                                          35-CV-2021-900009.00


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    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

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               Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 398 of 505

State of Alabama                                                                                      Court Case Number
Unified Judicial System
                                                     SUMMONS
                                                                                                      35-CV-2021-900009.00
Form C-34 Rev. 4/2017                                 - CIVIL -
                                 IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
                                       CORNELIUS ROSS V. ERIKA GILMORE ET AL
  NOTICE TO:       ERIKA GILMORE, 203 PICKENS ST., EUTAW, AL 35462

                                                               (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  CARSON SCOTT HALE                                                                              ,
                                                          [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 145 E. MAGNOLIA AVE. SUITE 201, AUBURN, AL 36830                                                                  .
                                                                       [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of
     pursuant to the Alabama Rules of the Civil Procedure.                                  [Name(s)]

                08/13/2021                           /s/ VERONICA MORTON-JONES          By:
                     (Date)                                              (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.
                                                                 (Plaintiff's/Attorney's Signature)


                                                     RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                          .
                                                                                                          (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                 in                                                                   County,
                     (Name of Person Served)                                                    (Name of County)

  Alabama on                                               .
                                   (Date)
                                                                                                      (Address of Server)

  (Type of Process Server)                      (Server's Signature)


                                                (Server's Printed Name)                               (Phone Number of Server)
               Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 399 of 505

State of Alabama                                                                                     Court Case Number
Unified Judicial System
                                                    SUMMONS
                                                                                                     35-CV-2021-900009.00
Form C-34 Rev. 4/2017                                - CIVIL -
                                IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
                                      CORNELIUS ROSS V. ERIKA GILMORE ET AL
  NOTICE TO:       KEITH AVENT, 6400 YAGER DR., MOSCOW, TN 38057

                                                              (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  CARSON SCOTT HALE                                                                              ,
                                                         [Name(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE: 145 E. MAGNOLIA AVE. SUITE 201, AUBURN, AL 36830                                                                 .
                                                                      [Address(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
              TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                          PROCEDURE TO SERVE PROCESS:
     You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of ROSS CORNELIUS
     pursuant to the Alabama Rules of the Civil Procedure.                                       [Name(s)]

                08/13/2021                           /s/ VERONICA MORTON-JONES               By:
                     (Date)                                             (Signature of Clerk)                                    (Name)

     Certified Mail is hereby requested.                        /s/ CARSON SCOTT HALE
                                                                (Plaintiff's/Attorney's Signature)


                                                   RETURN ON SERVICE
     Return receipt of certified mail received in this office on                                                                         .
                                                                                                         (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                                   County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on                                              .
                                   (Date)
                                                                                                     (Address of Server)

  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                               (Phone Number of Server)
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      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                   of 505 11:45 AM
                                                                                  35-CV-2021-900009.00
                                                                                  CIRCUIT COURT OF
                                                                              GREENE COUNTY, ALABAMA
                                                                            VERONICA MORTON-JONES, CLERK
            IN THE CIRCUIT COURT FOR GREENE COUNTY, ALABAMA


CORNELIUS ROSS,                     *
                                    *
  Plaintiff,                        *
                                    *     Case No.: CV - 2021 - 900009
 v.                                 *
                                    *
ERIKA GILMORE, KEITH AVENT, *
AND FEDEX FREIGHT, INC.,            *
                                    *
  Defendants.                       *
                                    *
______________________________________________________________________________
 PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT FEDEX’S MOTION TO
                              TRANSFER VENUE


       COMES NOW the Plaintiff, by and through undersigned counsel of record, and files his

response in opposition to Defendant FedEx’s Motion to Transfer Venue. Plaintiff respectfully

requests this Honorable Court to enter an order DENYING Defendant FedEx’s Motion to

Transfer Venue. As grounds in support of his response, Plaintiff states as follows:

                                   I.      INTRODUCTION

    1. The incident giving rise to this action was a collision between automobiles being driven

        by Defendants Gilmore and Avent. Plaintiff was a passenger in the vehicle being driven

        by Defendant Gilmore.

    2. Upon information and belief, Defendant Gilmore was a resident and citizen of Greene

        County, Alabama at all times material to the issues in this case.

    3. Upon information and belief, Defendant FedEx is a foreign Corporation, doing business

        in Greene County, Alabama at all times material to the issues in this case.

    4. Upon information and belief, Defendant Avent is a resident and citizen of Fayette

        County, Tennessee all times material to the issues in this case.


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     5. The motor vehicle accident that gives rise to this complaint occurred in Jefferson

        County, Alabama.

     6. Venue is proper in Greene County, Alabama.

     7. On March 22, 2021, Defendant FedEx filed a Motion to Transfer Venue.

     8. On March 23, 2021, Defendant FedEx filed a Supplement to the previously filed Motion

        to Transfer Venue.

     9. On August 4, 2021, Defendant Gilmore filed a Motion for Joinder in Defendant FedEx’s

        Motion to Transfer Venue.

     10. Plaintiff now responds, in opposition, to the aforementioned Motion to Transfer Venue.

                                   II.      LEGAL STANDARD

       A.      STANDARD OF REVIEW UNDER ALABAMA CODE 1975, § 6-3-21.1.(a)

       The forum non conveniens statute, Ala. Code 1975, § 6-3-21.1.(a), provides, in relevant

part: “With respect to civil actions filed in an appropriate venue, any court of general jurisdiction

shall, for the convenience of parties and witnesses, or in the interest of justice, transfer any civil

action or any claim in any civil action to any court of general jurisdiction in which the action

might have been properly filed and the case shall proceed as though originally filed therein.”

                                         III.     ARGUMENT

A.     Interests of Justice

       Alabama case law does not allow for the transfer of an action from a proper venue to

another venue simply because the requested venue has an arguably stronger connection to the

action. Rather, the Alabama Supreme Court has stated that the transferee county must “have a

significantly stronger connection to the case to justify a transfer of this case under the interest-of-

justice prong of § 6–3–21.1.” Ex parte Elliott, 254 So. 3d 882, 887 (Ala. 2017) (emphasis



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added). Furthermore, it must be noted that “’[w]hen venue is appropriate in more than one

county, the plaintiff's choice of venue is generally given great deference.’” Ex parte J & W

Enters., LLC, 150 So. 3d at 194 (quoting Ex parte Perfection Siding, Inc., 882 So.2d 307, 312

(Ala. 2003)).

       By statute, Greene County is a proper venue for this case. See Ala. Code 1975, § 6-3-

2(a)(3) (“In proceedings of a legal nature against individuals: All other personal actions, if the

defendant or one of the defendants has within the state a permanent residence, may be

commenced in the county of such residence or in the county in which the act or omission

complained of may have been done or may have occurred.”).

       Defendant FedEx contends that this action should be transferred from Greene County to

Jefferson County because the collision occurred in Jefferson County, and the collision was

investigated in Jefferson County. These assertions are the only factual support provided by

Defendant FedEx in arguing that the action should be transferred because Jefferson County has a

stronger “connection” to this case than does Greene County, Defendant Gilmore’s county of

residence and, as noted, a statutorily proper venue for this case.

       Elliott is quite instructive on this issue. In Elliott, the plaintiff filed his complaint in

Lowndes County, which was undisputedly a proper venue for his action.              The defendant

successfully moved, pursuant to the “interest of justice” prong of the doctrine of forum non

conveniens, to have the action transferred to Montgomery County, which was also undisputedly

a proper venue for the action. The plaintiff petitioned the Supreme Court of Alabama for a writ

of mandamus, seeking an order requiring the Lowndes Circuit Court to vacate its order

transferring the action to the Montgomery Circuit Court. In granting the plaintiff’s petition, the

Court notably found that “the location of the accident is not the sole factor to be considered in



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the interest-of-justice analysis and that there will be circumstances … where the interest of

justice will not compel the case to be heard in the venue where the accident occurred.” Elliott,

254 So. 3d at 887 (citing Ex parte J & W Enters., LLC, 150 So. 3d 190 (Ala. 2014)).

       Plaintiff has filed this current action in Greene County, a decision that is due significant

deference. (Ex Parte J&W Enters., LLC).          Although the incident giving rise to this claim

occurred in Jefferson County, and the treatment was largely received in Jefferson County, there

is no dispute as to Greene County being a proper venue. Also, Plaintiff contends that Defendant

Gilmore was intoxicated at the time of her collision with Defendant Avent. As a resident of

Greene County, it is wholly appropriate for a jury made up of Greene County residents to

determine the fate of Defendant Gilmore, and her co-defendants, given the serious nature of the

allegations outlined in Plaintiff’s Complaint.

B.     Convenience of the Parties

       Defendant seeking a transfer based on forum non conveniens grounds has the burden of

proving to the satisfaction of the trial court that the defendant's inconvenience and expense in

defending the action in the venue selected by the plaintiff are so great that the plaintiff's right to

choose the forum is overcome; for a transfer to be justified, the transferee forum must be

significantly more convenient than the forum chosen by the plaintiff. Ex parte Blair Logistics,

LLC, 157 So.3d 951 (Ala.Civ.App.2014).

       A party who claims that the location of documents is a consideration in a forum non

conveniens dispute must make a showing on the factors such as volume, necessity, and

inconvenience that would support such a claim. Ex parte Yocum, 963 So.2d 600 (Ala.2007)

       Again, Defendant FedEx does not dispute that venue in this case is proper in Greene

County; rather, Defendant FedEx contends that, under the doctrine of forum non conveniens, the



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action should be transferred to Jefferson County. Curiously, Defendant FedEx is a foreign

corporation whose principle place of business is Memphis, Tennessee yet seeks to transfer this

action. This Court should consider that the Defendant may be utilizing the doctrine of forum non

conveniens as a mechanism to move the action to a venue the Defendant considers more

favorable. Notably, Defendant FedEx is a forign corporation, Defendant Avent is a resident of

Fayette County, Tennessee, and Defendant Gilmore is a resident of Greene County, Alabama. It

is inconceivable that Greene County is a forum non conveniens to the parties when two of the

defendants are out of state residents, and the other defendant is a resident of Greene County. In

light of the above, it appears clear that Defendant FedEx does not seek this transfer for the

convenience of the parties, rather that Defendant FedEx is engaging in forum shopping.

       Defendant FedEx has also filed an affidavit of Deputy James Eastis. Defendant FedEx

presents this affidavit of proof that Greene County would be inconvenient for the witness;

however, Deputy James Eastis states affirmatively that he “could attend a trial in Greene

County”.

       WHEREFORE, the premises considered, Plaintiff respectfully requests that this

Honorable Court deny Defendant FedEx’s Motion to Transfer.

       This August 15, 2021.
                                     Respectfully submitted,
                                     /s/ Carson S. Hale
                                     CARSON S. HALE (HAL120)
                                     ATTORNEY FOR THE PLAINTIFF

OF COUNSEL:
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
Tel. No. (334) 741-4110
Fax No. (888)-853-2247

                                               5
                                         DOCUMENT 74
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 405 of 505




                               CERTIFICATE OF SERVICE

       I hereby certify that on August 15, 2021, an exact copy of the foregoing instrument has

been served (a) through the Court’s e-filing system; (b) by placing a copy of the same in the

United States Mail, postage prepaid and properly addressed; and/or (c) by personal/ firm email to

the following:

       James Pattillo
       Christian & Small LLP
       505 20th N., Ste 1800
       Birmingham, AL 35203

       Keith Avent
       6400 Yager Dr.
       Moscow, TN 38057

       Sara Elizabeth Delisle
       Carr Allison
       100 Vestavia Parkway
       Birmingham, AL 35216

                                     /s/ Carson S. Hale
                                     CARSON S. HALE
                                     OF COUNSEL




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                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: CARSON SCOTT HALE
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                      The following matter was FILED on 8/15/2021 11:45:24 AM

                                      C001 ROSS CORNELIUS
                   RESPONSE TO MOTION FOR CHANGE OF VENUE/TRANSFER
                                   [Filer: HALE CARSON SCOTT]


    Notice Date:    8/15/2021 11:45:24 AM




                                                                  VERONICA MORTON-JONES
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                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 408 of 505


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                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: PATTILLO JAMES LAURENS
    jlp@csattorneys.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 409 of 505


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                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: DELISLE SARA ELIZABETH
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 410 of 505


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                                                                          35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 411 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
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                                                                                   35-CV-2021-900009.00
                                                                                   CIRCUIT COURT OF
                                                                               GREENE COUNTY, ALABAMA
                                                                             VERONICA MORTON-JONES, CLERK
            IN THE CIRCUIT COURT FOR GREENE COUNTY, ALABAMA


CORNELIUS ROSS,                     *
                                    *
  Plaintiff,                        *
                                    *     Case No.: CV - 2021 - 900009
 v.                                 *
                                    *
ERIKA GILMORE, KEITH AVENT, *
AND FEDEX FREIGHT, INC.,            *
                                    *
  Defendants.                       *
                                    *
______________________________________________________________________________
 PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT GILMORE’S MOTION
                                 TO DISMISS


       COMES NOW the Plaintiff, by and through undersigned counsel of record, and files his

response in opposition to Defendant Gilmore’s Motion to Dismiss. Plaintiff respectfully requests

this Honorable Court to enter an order DENYING Defendant Gilmore’s Motion to Dismiss. As

grounds in support of his response, Plaintiff , relies upon the following:

       Exhibit A:      Plaintiff’s Complaint

       Exhibit B:      Defendant Gilmore’s Motion to Dismiss

                                  I.      LEGAL STANDARD

       A.      STANDARD OF REVIEW UNDER ALABAMA RULE OF CIVIL
               PROCEDURE RULE 12(b)(6)

       In considering whether a complaint is sufficient to withstand a motion to dismiss, this

Court must accept the allegations of the complaint as true. (Creole Land Development. Inc. v.

Bentborok Housing, LLC, et al., 828 So.2d 285 (Ala. 2002)). The appropriate standard of review

under Rule 12(b)(6) is whether, when the allegations of the complaint are viewed most strongly

in the pleader's favor, it appears that the pleader could prove any set of circumstances that would

entitle them to relief. In making this determination, this Court does not consider whether the

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plaintiff will ultimately prevail, but only whether they may possibly prevail. A Rule 12(b)(6)

dismissal is proper only when it appears beyond doubt that the plaintiff can prove no set of facts

in support of the claim that would entitle the plaintiff to relief. (Ex Parte Alabama Department of

Youth Services, 880 So.2d 393 (2003)). A dismissal governed by Rule 12(b)(6), ALA. R. Civ. P.,

should be granted sparingly, and is properly granted only when it appears beyond a doubt that

the plaintiff cannot prove any set of facts which would entitle him to relief.

                                       II.     ARGUMENT

       The sole issue presented for review is whether the allegations of the Complaint, taken as

true, state a justifiable controversy. In Plaintiff’s Complaint, there are multiple issues presented

that meet this standard. Moreover, Defendant Gilmore’s argument that the claims against her are

barred by Alabama’s Guest Passenger State not only are incorrect and premature, but undermine

her own argument that Plaintiff’s Complaint fails to state a claim upon which relief may be

granted.

       The Alabama Supreme Court in the matter of The Estate of James Carpenter, deceased v.

Mobile County, et al., 841 So.2d 1237 (2002) notes that “a trial court should not dismiss a claim

unless it appears that a plaintiff can prove no set of facts in support of the claims stated in the

complaint that would entitle the plaintiff to relief under some cognizable theory of law.” The

only issue to be considered by this Honorable Court presently is whether Plaintiff could

conceivably prove ANY set of facts that would entitle Plaintiff to relief, as alleged in

the Complaint. (Exhibit A). Nowhere in the Defendant Gimore’s Motion to Dismiss has the

Defendant claimed or shown that there are no provable set of facts contained in the Plaintiff’s

Complaint that would allow for a dismissal of this matter. (Exhibit B).          Defendant Gilmore

simply raises the affirmative defense of Alabama’s Guest Passenger Statute; however, there are



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numerous exceptions to the aforementioned statute which apply in the case at hand. It is never

proper to dismiss a complaint if it contains even a generalized statement of facts which would

support a claim for relief. (Dunson v. Friedlander Realty, 369 So. 2d 792, 796 (Ala. 1979)). The

moving Defendant has not shown, and can not show, that it is beyond a doubt that Plaintiff

cannot prove any set of facts which would entitle him to relief. (Garrett v. Hadden, 495 So. 2d

616, 617 (Ala. 1986)).

       Here, the Plaintiff was a passenger in a vehicle being driven by Defendant Gilmore that

was struck by Defendant Avent, and the question at this point is not whether Plaintiff will

ultimately prevail, “but only whether they have stated a claim under which they may possibly

prevail.” (Shaddix v. United Ins. Co. of America, 678 So. 2d 1097,1098, (Ala. Civ. App.

1995), writ quashed, 678 So. 2d 1100 (Ala. 1996)). Since “all doubts relating to the sufficiency

of the complaint” should be resolved in favor of the Plaintiff, this Honorable Court should deny

the moving Defendant’s Motion to Dismiss. Defendant Gilmore should not prevail on her

Motion to Dismiss because Plaintiff has shown genuine disputed material facts; and Defendant

has made no pleading and has cited nothing regarding these issues and cannot show beyond

doubt that said facts cannot be proven. The existence of genuine disputed material facts set forth

by Plaintiff in the Complaint meet the standard that such facts may allow for Plaintiff to prevail

on his claims. Accordingly, Defendant Gilmore’s Motion to Dismiss is due to be denied.

       WHEREFORE, the premises considered, Plaintiff respectfully requests that this

Honorable Court deny Defendant Gilmore’s Motion to Dismiss.

       This August 15, 2021.
                                     Respectfully submitted,
                                     /s/ Carson S. Hale
                                     CARSON S. HALE (HAL120)
                                     ATTORNEY FOR THE PLAINTIFF

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OF COUNSEL:
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
Tel. No. (334) 741-4110
Fax No. (888)-853-2247




                               CERTIFICATE OF SERVICE

       I hereby certify that on August 15, 2021, an exact copy of the foregoing instrument has

been served (a) through the Court’s e-filing system; (b) by placing a copy of the same in the

United States Mail, postage prepaid and properly addressed; and/or (c) by personal/ firm email to

the following:

       James Pattillo
       Christian & Small LLP
       505 20th N., Ste 1800
       Birmingham, AL 35203

       Keith Avent
       6400 Yager Dr.
       Moscow, TN 38057

       Sara Elizabeth Delisle
       Carr Allison
       100 Vestavia Parkway
       Birmingham, AL 35216

                                     /s/ Carson S. Hale
                                     CARSON S. HALE
                                     OF COUNSEL




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          Exhibit A




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                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00


To: CARSON SCOTT HALE
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                     The following complaint was FILED on 2/17/2021 8:25:17 AM




    Notice Date:    2/17/2021 8:25:17 AM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
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                                                                                                               35-CV-2021-900009.00
State of Alabama                                                                             Case Number: CIRCUIT COURT OF
                                             COVER SHEET                                                 GREENE COUNTY, ALABAMA
Unified Judicial System
                                       CIRCUIT COURT - CIVIL CASE                            35-CV-2021-900009.00
                                                                                                 VERONICA MORTON-JONES, CLERK
                                        (Not For Domestic Relations Cases)                   Date of Filing:            Judge Code:
Form ARCiv-93      Rev. 9/18
                                                                                             02/17/2021

                                                GENERAL INFORMATION
                                  IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
                                        CORNELIUS ROSS v. ERIKA GILMORE ET AL

First Plaintiff:       Business         Individual             First Defendant:         Business                Individual
                       Government       Other                                           Government              Other

NATURE OF SUIT: Select primary cause of action, by checking box (check only one) that best characterizes your action:

TORTS: PERSONAL INJURY                                OTHER CIVIL FILINGS (cont'd)
     WDEA - Wrongful Death                                   MSXX - Birth/Death Certificate Modification/Bond Forfeiture Appeal/
     TONG - Negligence: General                                     Enforcement of Agency Subpoena/Petition to Preserve

     TOMV - Negligence: Motor Vehicle                        CVRT - Civil Rights
     TOWA - Wantonness                                       COND - Condemnation/Eminent Domain/Right-of-Way

     TOPL - Product Liability/AEMLD                          CTMP - Contempt of Court

     TOMM - Malpractice-Medical                              CONT - Contract/Ejectment/Writ of Seizure

     TOLM - Malpractice-Legal                                TOCN - Conversion

     TOOM - Malpractice-Other                                EQND - Equity Non-Damages Actions/Declaratory Judgment/
                                                                    Injunction Election Contest/Quiet Title/Sale For Division
     TBFM - Fraud/Bad Faith/Misrepresentation
                                                             CVUD - Eviction Appeal/Unlawful Detainer
     TOXX - Other:
                                                             FORJ - Foreign Judgment
                                                             FORF - Fruits of Crime Forfeiture
TORTS: PERSONAL INJURY
                                                             MSHC - Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
     TOPE - Personal Property
                                                             PFAB - Protection From Abuse
     TORE - Real Properly
                                                             EPFA - Elder Protection From Abuse
OTHER CIVIL FILINGS                                          QTLB - Quiet Title Land Bank
     ABAN - Abandoned Automobile                             FELA - Railroad/Seaman (FELA)
     ACCT - Account & Nonmortgage                            RPRO - Real Property
     APAA - Administrative Agency Appeal                     WTEG - Will/Trust/Estate/Guardianship/Conservatorship
     ADPA - Administrative Procedure Act                     COMP - Workers’ Compensation
     ANPS - Adults in Need of Protective Service             CVXX - Miscellaneous Circuit Civil Case

ORIGIN:      F       INITIAL FILING                     A       APPEAL FROM                               O       OTHER
                                                                DISTRICT COURT

             R       REMANDED                           T       TRANSFERRED FROM
                                                                OTHER CIRCUIT COURT

                                                                     Note: Checking "Yes" does not constitute a demand for a
HAS JURY TRIAL BEEN DEMANDED?                   YES     NO           jury trial. (See Rules 38 and 39, Ala.R.Civ.P, for procedure)


RELIEF REQUESTED:                      MONETARY AWARD REQUESTED                    NO MONETARY AWARD REQUESTED

ATTORNEY CODE:
        HAL120                                  2/17/2021 8:25:15 AM                                /s/ CARSON SCOTT HALE
                                            Date                                              Signature of Attorney/Party filing this form


MEDIATION REQUESTED:                            YES    NO      UNDECIDED

Election to Proceed under the Alabama Rules for Expedited Civil Actions:                      YES      NO
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                                                                                  CIRCUIT COURT OF
                                                                              GREENE COUNTY, ALABAMA
                                                                            VERONICA MORTON-JONES, CLERK
             IN THE CIRCUIT COURT FOR GREENE COUNTY, ALABAMA


CORNELIUS ROSS,                           *
                                          *
   Plaintiff,                             *
                                          * Case No.: CV - 2021 - ____________
  v.                                      *
                                          *    JURY TRIAL DEMANDED
ERIKA GILMORE, KEITH AVENT, *
FEDEX         FREIGHT,   INC.,      and *
Fictitious Defendants “A,” “B,” and *
“C,” whether singular or plural, those *
other persons, corporations, firms or *
other entities whose wrongful conduct *
caused or contributed to cause the *
injuries and damages to Plaintiff, all of *
whose true and correct names are *
unknown to Plaintiff at this time, but *
will be added by amendment when *
ascertained,                              *
                                          *
   Defendants.                            *
                                          *
 ______________________________________________________________________________
                                        COMPLAINT


        This is an action by Plaintiff, Cornelius Ross (herein after referred to as “Plaintiff”),

against Defendants, Erika Gilmore (herein after referred to as “Defendant Gilmore”), Keith

Avent (herein after referred to as “Defendant Avent”), and FedEx Freight, Inc., (herein after

referred to as “Defendant FedEx”) for personal injuries and other damages sustained by Plaintiff,

as the result of a motor vehicle collision that occurred on or about April 3, 2020.

                             PARTIES, JURISDICTION, VENUE

1)      Plaintiff was a resident and citizen of Jefferson County, Alabama at all times material to

the issues in this case.

2)      Upon information and belief, Defendant Gilmore was a resident and citizen of Greene

County, Alabama at all times material to the issues in this case.

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3)     Upon information and belief, Defendant FedEx is a foreign Corporation, doing business

in Greene County, Alabama at all times material to the issues in this case. Defendant FedEx may

be served through its registered agent, CT Corporation Systems, at 2 North Jackson St., Suite

605, Montgomery, AL 36104.

4)     Upon information and belief, Defendant Avent is a resident and citizen of Fayette

County, Tennessee all times material to the issues in this case, and an employee and/or agent of

Defendant FedEx, and was doing business for said Defendant FedEx at all times material to the

issues in this case. Defendant Avent is being sued in both their official and individual capacities.

5)     Fictitious Defendant “A”, “B”, and “C”, are those persons or entities whose names will

be substituted upon learning their true identities.

6)     The motor vehicle accident that gives rise to this complaint occurred in Jefferson County,

Alabama.

7)     Venue is proper in Greene County, Alabama.

               FACTUAL BACKGROUND APPLICABLE TO ALL COUNTS

8)     On or about April 3, 2020, Plaintiff was occupying a vehicle owned and operated by

Defendant Gilmore in Jefferson County, Alabama.

9)     At said time and place, the Defendant Gilmore was traveling southbound on Glasgow

Hollow Rd crossing the intersection of Glasgow Hollow Rd and US-78.

10)    At said time and place, the Defendant Avent was traveling eastbound on US-78 in

Jefferson County, Alabama approaching the intersection of Glasgow Hollow Rd and US-78.

11)    At said time and place, Defendant Gilmore failed to yield the right of way to the

Defendant Avent’s vehicle, and allowed and/or caused their vehicle to collide with the Defendant

Avent’s vehicle.



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12)     At said time and place, Defendant Avent was not paying attention, and allowed and/or

caused their vehicle to collide with the Defendant Gilmore’s vehicle.

13)     At the time of the collision, Defendant Avent was an employee and/or agent of Defendant

FedEx and was operating under the appropriate scope and authority of his employment and/or

agency of said Defendant FedEx, at all times material to the issues in this cause of action.

14)     Plaintiff suffered substantial injuries as a proximate consequence of the negligence and/or

wantonness of Defendant Gilmore, Defendant Avent, and/or Fictitious Defendants.

                                  COUNT ONE - NEGLIGENCE

15)     The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant Gilmore.

16)     Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

17)     At all times material to this action, Defendant Gilmore owed a duty of reasonable care in

the ownership, operation and use of said vehicle.

18)     At said time and place, Defendant Gilmore operated said vehicle in such a negligent

manner as to:

        (a)     cause said vehicle, in which passengers were occupying, to collide with another;

        (b)     cause serious injuries to Plaintiff.

19)     In causing said vehicle to crash into another vehicle, Defendant Gilmore:

        (a)     Negligently failed to exercise ordinary care.

        (b)     Negligently failed to keep proper look out.

        (c)     Negligently failed to maintain proper control of the vehicle.

        (d)     Negligently failed to yield to the other vehicle.




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        (e)     Otherwise acted in negligent disregard of the rights and safety of Plaintiff and

                others traveling on said public highway at said time and place.

20)      As a direct and proximate result of the Defendant Gilmore’s negligence, Defendant

Gilmore collided with another vehicle, causing said Plaintiff to sustain personal injuries, pain,

suffering, property damage and other damages.

21)     Plaintiff avers that the acts and conduct of Defendant Gilmore, on said occasion,

constitutes common law negligence and violates the Rules of the Road for the State of Alabama.

        WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                             COUNT TWO –NEGLIGENCE PER SE

22)     The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant Gilmore.

23)     Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

24)     At said place and time, there were in force certain laws, statutes and/or ordinances that

were designed to prevent the injuries sustained by Plaintiff, specifically § 32-5A-191 of the Code

of Alabama.

25)     Defendant Gilmore violated said laws, statutes and/or ordinances, in the operation of the

vehicle that directly resulted to the injuries sustained by Plaintiff.

26)     Plaintiff is included in the class of people the laws, statutes, and/or ordinances were

intended to protect.




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        WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                  COUNT THREE – RECKLESSNESS AND WANTONNESS

27)     The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant Gilmore.

28)     Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

29)     At said place and time, Defendant Gilmore operated said vehicle in such a reckless and

wanton manner as to:

        (a)     cause said vehicle, in which the Plaintiff was occupying, to collide with another

                vehicle;

        (b)     cause damage to said vehicle; and

        (c)     cause substantial injuries to Plaintiff.

30)     In causing said vehicle to collide with the other vehicle, Defendant Gilmore:

        (a)     Recklessly and Wantonly failed to exercise ordinary care.

        (b)     Recklessly and Wantonly failed to keep a proper look out.

        (c)     Recklessly and Wantonly failed to maintain proper control of said vehicle.

        (d)     Recklessly and Wantonly failed to yield to another vehicle.

        (e)     Otherwise acted in reckless and wanton disregard of the rights and safety of

                Plaintiff and others traveling on said public highway at said time and place.




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31)     Plaintiff avers that the acts and conduct of Defendant Gilmore, at said time and place,

were in violation of the statutes of State of Alabama which constitute statutory recklessness and

wantonness

32)     Plaintiff sustained substantial injuries as the proximate result of said recklessness and

wantonness of Defendant Gilmore in violating said statutes and in colliding with another vehicle.

        WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                                 COUNT FOUR – NEGLIGENCE

33)     The Plaintiff in this Count is Plaintiff. The Defendants in this Count are Defendant FedEx

and Defendant Avent, individually.

34)     Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

35)     At said time and place, while acting in the line and scope of their employment and/or

agency as the employee and/or agent of Defendant FedEx, Defendant Avent operated said

vehicle in such a negligent manner as to (a) cause said vehicle to collide with the vehicle in

which Plaintiff was occupying, and (b) to cause said vehicle to be damaged beyond reasonable

repair, and (c) to cause serious injury to the Plaintiff.

36)     In causing said vehicle to crash into the vehicle in which Plaintiff was occupying,

Defendant FedEx’s agent and/or employee, Defendant Avent:

                (a) Negligently failed to exercise ordinary care.

                (b) Negligently failed to keep a proper look out.



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                 (c) Negligently failed to maintain proper control of said vehicle.

                 (d) Negligently failed to yield the motor vehicle in which Plaintiff was occupying.

                 (e) Otherwise acted in negligent disregard of the rights and safety of the Plaintiff

                     and others traveling on said public highway at said time and place.

37)     The Plaintiff avers that the acts and conduct of Defendant FedEx’s agent and/or employee,

      Defendant Avent on said occasion constitutes common law negligence. The Plaintiff further

      avers that the acts and conduct of the said Defendant Avent on said occasion were in

      violation of one or more of the Rules of the Road for the State of Alabama.

38)     As the proximate consequence of said negligence, Defendant FedEx’s agent and/or

      employee, Defendant Avent, (a) in violating said statutes, and (b) in colliding with the

      vehicle in which Plaintiff was occupying, Plaintiff was caused to sustain serious injuries.

39)     The Plaintiff avers that said negligent acts and conduct of the said Defendant Avent on

      said occasion are imputed to Defendant FedEx, and Defendant FedEx and Defendant Avent,

      are jointly and severally liable for the serious injuries of the Plaintiff, as a result of said

      negligent acts and conduct of the said Defendant Avent.

      WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally, for

all compensatory damages, lost wages, court costs and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                     COUNT FIVE - RECKLESSNESS AND WANTONESS

40)     The Plaintiff in this Count is Plaintiff. The Defendants in this Count are Defendant FedEx

      and Defendant Avent, individually.




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41)      Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

42)      At said time and place, while acting in the line and scope of their employment and/or

      agency as the employee and/or agent of Defendant FedEx, Defendant Avent operated said

      vehicle in such a reckless and wanton manner as to (a) cause said vehicle to collide with the

      vehicle which Plaintiff was occupying, and (b) to cause said vehicle to be damaged beyond

      reasonable repair, and (c) to cause serious injury to the Plaintiff.

43)      In causing said vehicle to crash into the vehicle in which Plaintiff was occupying,

      Defendant FedEx’s agent and/or employee, Defendant Avent:

                 (a) Recklessly and Wantonly failed to exercise ordinary care.

                 (b) Recklessly and Wantonly failed to keep a proper look out.

                 (c) Recklessly and Wantonly failed to maintain proper control of said vehicle.

                 (d) Recklessly and Wantonly failed to yield to the motor vehicle in which

                     Plaintiff was occupying.

                 (e) Otherwise acted in reckless and wanton disregard of the rights and safety of

                     the Plaintiff and others traveling on said public highway at said time and

                     place.

44)      The Plaintiff avers that the acts and conduct of Defendant FedEx’s agent and/or

      employee, Defendant Avent on said occasion constitute statutory recklessness and

      wantonness. The Plaintiff further avers that the acts and conduct of the said Defendant Avent

      on said occasion were in violation of one or more of the Rules of the Road for the State of

      Alabama.




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45)      As the proximate consequence of said recklessness and wantonness of Defendant FedEx’s

      agent and/or employee, Defendant Avent, (a) in violating said statutes, and (b) in colliding

      with the vehicle in which Plaintiff was occupying, Plaintiff was caused to sustain serious

      injuries.

46) The Plaintiff avers that said reckless and wanton acts and conduct of the said Defendant

      Avent, on said occasion, are imputed to Defendant FedEx, and Defendant FedEx and

      Defendant Avent, are jointly and severally liable to for the serious injuries, as a result of said

      reckless and wanton acts and conduct of the said Defendant Avent.

          WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees, to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                  COUNT SIX- NEGLIGENT AND WANTON ENTRUSTMENT


47)       The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant FedEx.

48)       Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

49)       The Plaintiff avers that on the occasion made the basis of this case, Defendant FedEx

      negligently, recklessly and wantonly entrusted said vehicle to the said Defendant Avent; that

      the said Defendant Avent; was unsuitable, based upon his habitual carelessness and

      disposition and temperament, to have said vehicle entrusted to him; and that Defendant

      FedEx knew, or by the exercise of reasonable care should have known, that the said

      Defendant Avent; was unsuitable to have said vehicle entrusted to them.

50)      The Plaintiff further avers that said negligent and wanton entrustment of said vehicle to

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      the said Defendant Avent; (a) is combined with the negligent, reckless and wanton acts and

      conduct of the said Defendant Avent; and (b) is a concurrent, proximate cause of the

      Plaintiff’s injuries and damages.

         WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees, to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

 COUNT SEVEN –NEGLIGENT AND WANTON HIRING, TRAINING, RETENTION,
                        AND SUPERVISION


51)      The Plaintiff in this Count is Plaintiff. The Defendant in this Count is Defendant FedEx.

52)       Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

53)      The Plaintiff avers that Defendant FedEx, hired, trained, retained and supervised

      Defendant Avent, as a driver for a commercial vehicle.

54) The Plaintiff avers that the Defendant FedEx:

                 (a) Acted in a negligent, reckless and wanton manner in hiring Defendant Avent,

                     as a commercial vehicle driver,

                 (b) Acted in a negligent, reckless and wanton manner in retaining Defendant

                     Avent, as a commercial vehicle driver,

                 (c) Acted in a negligent, reckless and wanton manner in failing to properly train

                     and monitor and supervise Defendant Avent, as a commercial vehicle driver,

                     and

                 (d) Acted in a negligent, reckless and wanton manner in failing to instill in



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                     Defendant Avent qualities of suitability, fitness, habits, disposition,

                     temperament, and trustworthiness to accomplish the tasks and responsibilities

                     which said Defendant FedEx entrusted to Defendant Avent, as a commercial

                     vehicle driver on the public highways of Alabama and other states.

55)      The Plaintiff further avers that the serious injuries of the Plaintiff are the proximate

      results of said negligence and wantonness of Defendant FedEx in the hiring, training,

      retention, monitoring, and supervision of the said Defendant Avent as a commercial vehicle

      driver on the public highways of Alabama and other states.

         WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

for all compensatory damages, lost wages, court costs, and attorney’s fees to which Plaintiff is

entitled. Furthermore, Plaintiff demands punitive damages in such an amount as this Court may

determine.

                          COUNT EIGHT- FICTICIOUS DEFENDANTS


56)      The Plaintiff in this Count is Plaintiff.

57)      Plaintiffs re-allege, adopt, and incorporate the preceding averments of this Complaint as

if fully set forth herein.

58)      Fictitious Defendants “A”, “B”, and “C”, whether singular or plural, are those other

      persons, firms, corporations, or other entities whose negligent, wanton reckless and wrongful

      conduct contributed to cause the serious injuries of the plaintiff, of all of whose true and

      correct names are unknown to Plaintiff at this time, but will be substituted by amendment

      when ascertained.

         WHEREFORE, Plaintiff demands judgment against Fictitious Defendants “A”, “B”, and

“C”, both jointly and severally, for all compensatory damages, court costs and attorney’s fees to

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which Plaintiff is entitled. Furthermore, Plaintiff demands punitive damages in such an amount

as this Court may determine.

              A JURY TRIAL IS HEREBY DEMANDED ON ALL COUNTS

       This February 17, 2021.


                                    Respectfully submitted,


                                    /s/ Carson S. Hale
                                    CARSON S. HALE (HAL120)
                                    ATTORNEY FOR THE PLAINTIFF

OF COUNSEL:
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave
Suite 201
Auburn, Alabama 36830
Tel. No. (334) 741-4110
Fax No. (888)-853-2247


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                         REQUEST FOR SERVICE OF PROCESS

       The Plaintiff hereby requests that the Summons and Complaint in this case be served on

the following Defendants by Certified Mail at her respective mailing address as follows:

       Erika Gilmore
       203 Pickens St.
       Eutaw, AL 35462

       Keith Avent
       6400 Yager Dr.
       Moscow, TN 38057

       FedEx Freight, Inc.
       Registered Agent: CT Corporation Systems
       2 North Jackson St., Suite 605
       Montgomery, AL 36104

                                     /s/ Carson S. Hale
                                     CARSON S. HALE
                                     OF COUNSEL




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                                               13
                           DOCUMENT 76
Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 432 of 505




          Exhibit B




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                                             DOCUMENT 76
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 433 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following matter was FILED on 8/4/2021 4:52:59 PM

                                          D001 GILMORE ERIKA
                           MOTION TO DISMISS PURSUANT TO RULE 12(B)
                                 [Filer: PATTILLO JAMES LAURENS]


    Notice Date:    8/4/2021 4:52:59 PM




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
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         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                                      of 505 4:52 PMFILED
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STATE OF ALABAMA             Revised 3/5/08             Case No.   35-CV-2021-900009.00
Unified Judicial System                                                                                                  CIRCUIT COURT OF
35-GREENE                                                         District Court      Circuit Court                  GREENE COUNTY, ALABAMA
                                                                                                             CV202190000900
                                                                                                                   VERONICA MORTON-JONES, CLERK
                                                                                                CIVIL MOTION COVER SHEET
CORNELIUS ROSS V. ERIKA GILMORE ET AL                                              Name of Filing Party:D001 - GILMORE ERIKA



Name, Address, and Telephone No. of Attorney or Party. If Not Represented.                      Oral Arguments Requested
 JAMES LAURENS PATTILLO
 505 20th Street North, Suite 1800
 BIRMINGHAM, AL 35203
Attorney Bar No.: PAT061

                                                                           TYPE OF MOTION
                         Motions Requiring Fee                                                               Motions Not Requiring Fee
      Default Judgment ($50.00)                                                              Add Party
      Joinder in Other Party's Dispositive Motion                                            Amend
      (i.e.Summary Judgment, Judgment on the Pleadings,                                      Change of Venue/Transfer
      orother Dispositive Motion not pursuant to Rule 12(b))
      ($50.00)                                                                               Compel
      Judgment on the Pleadings ($50.00)                                                     Consolidation
      Motion to Dismiss, or in the Alternative                                               Continue
      SummaryJudgment($50.00)                                                                Deposition
      Renewed Dispositive Motion(Summary                                                     Designate a Mediator
      Judgment,Judgment on the Pleadings, or other                                           Judgment as a Matter of Law (during Trial)
      DispositiveMotion not pursuant to Rule 12(b)) ($50.00)
                                                                                             Disburse Funds
      Summary Judgment pursuant to Rule 56($50.00)
                                                                                             Extension of Time
      Motion to Intervene ($297.00)
                                                                                             In Limine
      Other
                                                                                             Joinder
  pursuant to Rule                                                         ($50.00)
                                                                                             More Definite Statement
  *Motion fees are enumerated in §12-19-71(a). Fees                                          Motion to Dismiss pursuant to Rule 12(b)
  pursuant to Local Act are not included. Please contact the                                 New Trial
  Clerk of the Court regarding applicable local fees.
                                                                                             Objection of Exemptions Claimed
      Local Court Costs $               0                                                    Pendente Lite
                                                                                             Plaintiff's Motion to Dismiss
                                                                                             Preliminary Injunction
                                                                                             Protective Order
                                                                                             Quash
                                                                                             Release from Stay of Execution
                                                                                             Sanctions
                                                                                             Sever
                                                                                             Special Practice in Alabama
                                                                                             Stay
                                                                                             Strike
                                                                                             Supplement to Pending Motion
                                                                                             Vacate or Modify
                                                                                             Withdraw
                                                                                            Other
                                                                                          pursuant to Rule                               (Subject to Filing Fee)
Check here if you have filed or are filing contemoraneously                                                  Signature of Attorney or Party
with this motion an Affidavit of Substantial Hardship or if you
                                                                   Date:
                                                                                                             /s/ JAMES LAURENS PATTILLO
are filing on behalf of an agency or department of the State,
county, or municipal government. (Pursuant to §6-5-1 Code
                                                                   8/4/2021 4:51:42 PM
of Alabama (1975), governmental entities are exempt from
prepayment of filing fees)

*This Cover Sheet must be completed and submitted to the Clerk of Court upon the filing of any motion. Each motion should contain a separate Cover Sheet.
**Motions titled 'Motion to Dismiss' that are not pursuant to Rule 12(b) and are in fact Motions for Summary Judgments are subject to filing fee.
                                             DOCUMENT 76
                                                      63
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                                 35-CV-2021-900009.00
                                                                                 CIRCUIT COURT OF
                                                                             GREENE COUNTY, ALABAMA
                                                                           VERONICA MORTON-JONES, CLERK

              IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
                                       )
CORNELIUS ROSS,
                                       )
      Plaintiff,                       )
vs.                                    ) Civil Action No.: 35-CV-2021-900009
                                       )
                                       )
ERIKA GILMORE, KEITH AVENT,            )
FEDEX FREIGHT, INC.,                   )
                                       )
      Defendants.                      )
______________________________________________________________________________

                             MOTION TO DISMISS
______________________________________________________________________________

       COMES NOW the Defendant, Erika Gilmore (hereinafter "Gilmore"), pursuant to Rule

12(b)(6) of the Alabama Rules of Civil Procedure and moves to dismiss all claims. In support

thereof, this defendant states as follows:

       1.        The Complaint alleges "Plaintiff was occupying a vehicle owned and operated

by Defendant Gilmore in Jefferson County, Alabama." (See Complaint at par. 8).

       2.        The Complaint contains no factual allegations that would support any allegation

of wantonness against Gilmore. The only factual allegation is that "Defendant Gilmore failed to

yield the right of way to Defendant Avent's vehicle, and allowed and/or caused their vehicle to

collide with the Defendant Avent's vehicle." There is no factual allegation that any action by

Gilmore is proximately related to any damages suffered by the plaintiff.

       3.        The Complaint alleges the following causes of action against Gilmore: Count

One – Negligence; Count Two – Negligence Per Se; Count Three – Reckless and Wantonness.

       4.        Count One – Negligence and Count Two – Negligence Per Se are barred by the

Alabama Guest Passenger Statute:
                                         DOCUMENT 76
                                                  63
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 436 of 505




       The owner, operator, or person responsible for the operation of a motor vehicle
       shall not be liable for loss or damage arising from injuries to or death of a guest
       while being transported without payment therefor in or upon said motor vehicle,
       resulting from the operation thereof, unless such injuries or death are caused by
       the willful or wanton misconduct of such operator, owner, or person responsible
       for the operation of the motor vehicle.

Ala. Code 32-1-2 (1975).

       5.        The Complaint contains no allegations that would circumvent the Alabama

Guest Passenger Statute. It also contains no allegations that would connect any wantonness by

Defendant Gilmore to any injury suffered by the plaintiff.

       6.        Defendant Gilmore is filing a joinder in the co-defendant's Motion to Transfer.

Defendant Gilmore requests this Court to rule on the Motion to Transfer before ruling on this

Motion to Dismiss.

       WHEREFORE, PREMISES CONSIDERED, Defendant Gilmore moves to dismiss all

claims against her with prejudice.



                                                    s/ James L. Pattillo
                                                    James L. Pattillo (PAT061)
                                                    Attorney for Defendant Gilmore


OF COUNSEL:

CHRISTIAN & SMALL LLP
505 20th Street North, Suite 1800
Birmingham, Alabama 35203
Phone: (205) 795-6588
Facsimile: (205) 328-7234
Email: JLP@csattorneys.com




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                                         DOCUMENT 76
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      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 437 of 505




                               CERTIFICATE OF SERVICE

       Unless otherwise serve by the Alafile system, I do hereby certify that a copy of the above
and foregoing instrument was served on the following by placing a copy of same in the United
States Mail, first class postage pre-paid and properly addressed on August 4, 2021:

       Carson S. Hale, Esq.
       SLOCUMB LAW FIRM, LLC
       145 E. Magnolia Ave, Suite 201
       Auburn, Alabama 36830
       chale@slocumblaw.com
       Attorney for Plaintiff

       Lea Richmond, IV (RIC062)
       Sara Elizabeth DeLisle (DEL025)
       CARR ALLISON
       100 Vestavia Parkway
       Birmingham, Alabama 35216
       Telephone: (205) 822-2006
       Facsimile: (205) 822-2057
       Attorneys for Defendant FedEx Freight




                                                    s/ James L. Pattillo
                                                    OF COUNSEL




                                               3
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 438 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: CARSON SCOTT HALE
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following matter was FILED on 8/15/2021 11:51:55 AM

                                       C001 ROSS CORNELIUS
                   RESPONSE TO MOTION TO DISMISS PURSUANT TO RULE 12(B)
                                    [Filer: HALE CARSON SCOTT]


    Notice Date:     8/15/2021 11:51:55 AM




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                                                                                   205-372-3598
                                                                     veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 439 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 440 of 505


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                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: PATTILLO JAMES LAURENS
    jlp@csattorneys.com




                   NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 441 of 505


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                                                                          35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: DELISLE SARA ELIZABETH
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                             CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                     35-CV-2021-900009.00

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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 442 of 505


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                                                                          35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                             CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                     35-CV-2021-900009.00

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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 443 of 505


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                                                                          35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                             CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                     35-CV-2021-900009.00

                        The following matter was FILED on 8/15/2021 11:51:55 AM

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                                                                    GREENE COUNTY, ALABAMA
                                                                        400 MORROW AVENUE
                                                                             EUTAW, AL, 35462

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                                                                      veronica.jones@alacourt.gov
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                              Case 7:22-cv-00202-LSC
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BJW                            ENDER: COMPLETE THIS SECTION                                                                                                             1

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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 446 of 505


                                       AlaFile E-Notice




                                                                              35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: HALE CARSON SCOTT
    chale@slocumblaw.com




                       NOTICE OF NO SERVICE
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                           The following matter was not served on 8/19/2021

                                         D002 AVENT KEITH
                                          Corresponding To
                                      UNCLAIMED CERT MAIL




                                                                    VERONICA MORTON-JONES
                                                                       CIRCUIT COURT CLERK
                                                                    GREENE COUNTY, ALABAMA
                                                                        400 MORROW AVENUE
                                                                             EUTAW, AL, 35462

                                                                                    205-372-3598
                                                                      veronica.jones@alacourt.gov
                                                        DOCUMENT 80
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                             Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 447 of 505
VERONICA MORTON-JONES
CLERK of the DISTRICT and CIRCUIT COURTS
GREENE COUNTY
P.O. BOX 307
EUTAW, ALABAMA 35462


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    To:        KEITH AVENT
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               6400 YAGER DR.                                                     "2             ; . .>
               MOSCOW, TN, 38057
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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 448 of 505


                                      AlaFile E-Notice




                                                                          35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: HALE CARSON SCOTT
    chale@slocumblaw.com




                           NOTICE OF SERVICE
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                            The following matter was served on 9/1/2021

                                        D002 AVENT KEITH
                                         Corresponding To
                                              OTHER
                   NOT DELIVERABLE AS ADDRESSED/          UNABLE TO FORWARD




                                                                  VERONICA MORTON-JONES
                                                                     CIRCUIT COURT CLERK
                                                                  GREENE COUNTY, ALABAMA
                                                                      400 MORROW AVENUE
                                                                           EUTAW, AL, 35462

                                                                                  205-372-3598
                                                                    veronica.jones@alacourt.gov
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             Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                                                                        CIRCUIT COURT OF
State of Alabama                                                                                                    GREENE COUNTY, ALABAMA
                                                         SUMMONS                                             CourtVERONICA
                                                                                                                   Case Number
                                                                                                                            MORTON-JONES, CLERK
Unified Judicial System
                                                                                                             35-CV-2021-900009.00
Fonn C-34 Rev. 412017                                       - CIVIL -
                                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
                                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
  NOTICE TO:        ERIKA GILMORE, 203 PICKENS ST. , EUTAW, AL 35462

                                                                  (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S) OF THE PLAINTIFF(S),
  CARSON SCOTT HALE
                                                                                                                                                         '
                                                             [Name(s) of Attomey(s)]

  WHOSE ADDRESS(ES) IS/ARE: 145 E. MAGNOLIA AVE. SUITE 201 , AUBURN , AL 36830
                                                                               [Address(es) of Plaintiff(s) or Attomey(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
               TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                   PROCEDURE TO SERVE PROCESS:
   "' You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
     this action upon the above-named Defendant.
     Service by certified mail of this Summons is initiated upon the written request of
     pursuant to the Alabama Rules of the Civil Procedure.                                                                         [Name(s)]

                   08/13/2021                                   /s/ VERONICA MORTON-JONES                                    By:
                      (Date)                                                     (Signature of Clerk)                                     (Name)

     Certified Mail is hereby requested .
                                                                    (Plaintiffs/Attorney's Signature)


                                                        RETURN ON SERVICE
     Return receipt of certified mail received in this office on
                                                                                                                 (Date)
     I certify that I personally delivered a copy of this Summons and Complaint or other document to Sharon Gilmore, a
person of suitable age who resides with the above defendant in                                          Greene                                     County,
                      (Name of Person Served)                                                           (Name of County)

  Alabama on                          9/12/21
                                       (Date)                                                                130 Inverness Plaza, Ste. 500

                                                       ~LA ~~
                                                                                                             (Address of Server)
    Private Process Server
  (Type of Process Server)                          (Se f'SSii}iiature)                                      Birmingham, AL 35242
                                                         Ronald Raine:t:                                          205-259-6694
                                                    (Server's Printed Name)                                  (Phone Number of Server)

                                                       35-CV-2021-900009.00
                                                CORNELIUS ROSS V. ERIKA GILMORE ET AL

                   C001 - ROSS CORNELIUS                                  v.                             D001 - ERIKA GILMORE
                               (Plaintiff)                                                                       (Defendant)



                               ~
                             l!l~                                                                   SERVICE RETURN COPY
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 450 of 505


                                      AlaFile E-Notice




                                                                     35-CV-2021-900009.00


To: CARSON SCOTT HALE
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                               205-372-3598
                                                                 veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 451 of 505


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                                                                     35-CV-2021-900009.00


To: AVENT KEITH (PRO SE)
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    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
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                                                                     35-CV-2021-900009.00


To: PATTILLO JAMES LAURENS
    jlp@csattorneys.com




                   NOTICE OF ELECTRONIC FILING
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                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 453 of 505


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                                                                      35-CV-2021-900009.00


To: DELISLE SARA ELIZABETH
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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                                                                      35-CV-2021-900009.00


To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 455 of 505


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                                                                      35-CV-2021-900009.00


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                    NOTICE OF ELECTRONIC FILING
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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 456 of 505


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                                                                     35-CV-2021-900009.00


To: CARSON SCOTT HALE
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                   NOTICE OF ELECTRONIC FILING
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                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
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      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                            CIRCUIT COURT OF
                                                                        GREENE COUNTY, ALABAMA
                                                                      VERONICA MORTON-JONES, CLERK
                  IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
 CORNELIUS ROSS,                   )
                                   )
 Plaintiff,                        )
                                   )
 v.                                )
                                   )                  Civil Action No.: CV-2021-900009
 ERIKA GILMORE, KEITH AVENT, FEDEX )
 FREIGHT, INC., et al.             )
                                   )
 Defendants.



                    NOTICE OF SERVICE OF DISCOVERY DOCUMENTS


       PLEASE TAKE NOTICE that the following discovery documents have been served on

behalf of Defendant, FedEx Freight, Inc D/B/A FedEx Freight.:

       •      Defendant FedEx Freight, Inc.’s First Requests for Admissions to Co-Defendant
              Erika Gilmore
       •      Defendant FedEx Freight, Inc.’s First Interrogatories to Co-Defendant Erika
              Gilmore
       •      Defendant FedEx Freight, Inc.’s First Request for Production to Co-Defendant
              Erika Gilmore



                                           Respectfully submitted,

                                            /s/ Sara Elizabeth Delisle
                                           Lea Richmond, IV (RIC062)
                                           Sara Elizabeth DeLisle (DEL025)
                                           Attorneys for Defendant FedEx Freight, Inc.


OF COUNSEL:

CARR ALLISON
100 Vestavia Parkway
Birmingham, Alabama 35216
Telephone:    (205) 822-2006
Facsimile:    (205) 822-2057
E-mail:       lrichmond@carrallison.com
              sbdelisle@carrallison.com




{DOC# 00761134}
                                         DOCUMENT 84
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 458 of 505




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of October 2021, I have served a copy of the above
and foregoing on counsel for all parties by:


              Facsimile transmission;
              Hand Delivery;
              Electronic Mail;
              Placing a copy of same in the United States Mail, properly
              addressed and first-class postage prepaid to; and/or
          X   Using the Alafile or CM/ECF system which will send notifications
              of such to the following:


Carson S. Hale, Esq.
SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave, Suite 201
Auburn, Alabama 36830
chale@slocumblaw.com

James L. Pattillo
CHRISTIAN & SMALL LLP
505 20th Street North, Suite 1800
Birmingham, Alabama 35203
Phone: (205) 795-6588
Facsimile: (205) 328-7234
Email: JLP@csattorneys.com


                                                    /s/ Sara Elizabeth DeLisle
                                                    OF COUNSEL




{DOC# 00761134}                                2
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 459 of 505


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                                                                          35-CV-2021-900009.00


To: SARA ELIZABETH DELISLE
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                    NOTICE OF ELECTRONIC FILING
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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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    chale@slocumblaw.com




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                                                                         35-CV-2021-900009.00


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    jlp@csattorneys.com




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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 463 of 505


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To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 465 of 505


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                                                                                35-CV-2021-900009.00
                                                                      Judge: HON. EDDIE HARDAWAY
To: CARSON SCOTT HALE
    chale@slocumblaw.com




                    NOTICE OF VIRTUAL HEARING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                             CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                     35-CV-2021-900009.00

             The following matter is having a virtual link added. This may be to enable a virtual
           hearing or merely to enable a witness or other to connect to an in-court hearing. If you
                            have any questions, you should contact the Court.


                                        PRETRIAL CONFERENCE
                                           11/29/2021 2:38:29 PM

    Hearing Date:    01/25/2022
    Hearing Time:    09:00:00 AM                   Central Time
    Location:        Virtual Hearing
    Notice Date:     11/29/2021 2:38:29 PM




                                                                         VERONICA MORTON-JONES
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                                                                         GREENE COUNTY, ALABAMA
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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 466 of 505


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                                                                                35-CV-2021-900009.00
                                                                      Judge: HON. EDDIE HARDAWAY
To: JAMES LAURENS PATTILLO
    jlp@csattorneys.com




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                                                                                 35-CV-2021-900009.00
                                                                       Judge: HON. EDDIE HARDAWAY
To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




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                                                                                 35-CV-2021-900009.00
                                                                       Judge: HON. EDDIE HARDAWAY
To: LEA RICHMOND IV
    lrichmond@carrallison.com




                     NOTICE OF VIRTUAL HEARING
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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 469 of 505


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                                                                                 35-CV-2021-900009.00
                                                                       Judge: HON. EDDIE HARDAWAY
To: ANNA CERISE SAUNDERS
    asaunders@carrallison.com




                     NOTICE OF VIRTUAL HEARING
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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 470 of 505


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                                                                                35-CV-2021-900009.00
                                                                      Judge: HON. EDDIE HARDAWAY
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                                                                             35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: HALE CARSON SCOTT
    chale@slocumblaw.com




                       NOTICE OF NO SERVICE
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                           The following matter was not served on 9/2/2021

                                         D002 AVENT KEITH
                                          Corresponding To
                                     UNCLAIMED CERT MAIL




                                                                   VERONICA MORTON-JONES
                                                                      CIRCUIT COURT CLERK
                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

                                                                                    205-372-3598
                                                                      veronica.jones@alacourt.gov
                                                                              DOCUMENT 90
         Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
                                                                 4741/14/2022       FILED
                                                                      of 505 12:27 PM
STATE OF ALABAMA             Revised 3/5/08             Case No.   35-CV-2021-900009.00
Unified Judicial System                                                                                                  CIRCUIT COURT OF
35-GREENE                                                         District Court      Circuit Court                  GREENE COUNTY, ALABAMA
                                                                                                             CV202190000900
                                                                                                                   VERONICA MORTON-JONES, CLERK
                                                                                                CIVIL MOTION COVER SHEET
CORNELIUS ROSS V. ERIKA GILMORE ET AL                                              Name of Filing Party:D003 - FEDEX FREIGHT, INC.



Name, Address, and Telephone No. of Attorney or Party. If Not Represented.                      Oral Arguments Requested
 SARA ELIZABETH DELISLE
 100 Vestavia Parkway
 Birmingham, AL 35216
Attorney Bar No.: DEL025

                                                                           TYPE OF MOTION
                         Motions Requiring Fee                                                               Motions Not Requiring Fee
      Default Judgment ($50.00)                                                              Add Party
      Joinder in Other Party's Dispositive Motion                                            Amend
      (i.e.Summary Judgment, Judgment on the Pleadings,                                      Change of Venue/Transfer
      orother Dispositive Motion not pursuant to Rule 12(b))
      ($50.00)                                                                               Compel
      Judgment on the Pleadings ($50.00)                                                     Consolidation
      Motion to Dismiss, or in the Alternative                                               Continue
      SummaryJudgment($50.00)                                                                Deposition
      Renewed Dispositive Motion(Summary                                                     Designate a Mediator
      Judgment,Judgment on the Pleadings, or other                                           Judgment as a Matter of Law (during Trial)
      DispositiveMotion not pursuant to Rule 12(b)) ($50.00)
                                                                                             Disburse Funds
      Summary Judgment pursuant to Rule 56($50.00)
                                                                                             Extension of Time
      Motion to Intervene ($297.00)
                                                                                             In Limine
      Other
                                                                                             Joinder
  pursuant to Rule                                                         ($50.00)
                                                                                             More Definite Statement
  *Motion fees are enumerated in §12-19-71(a). Fees                                          Motion to Dismiss pursuant to Rule 12(b)
  pursuant to Local Act are not included. Please contact the                                 New Trial
  Clerk of the Court regarding applicable local fees.
                                                                                             Objection of Exemptions Claimed
      Local Court Costs $               0                                                    Pendente Lite
                                                                                             Plaintiff's Motion to Dismiss
                                                                                             Preliminary Injunction
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                                                                                            Other         JOINT MOTION FOR HEARING
                                                                                          pursuant to Rule NA                            (Subject to Filing Fee)
Check here if you have filed or are filing contemoraneously                                                  Signature of Attorney or Party
with this motion an Affidavit of Substantial Hardship or if you
                                                                   Date:
                                                                                                             /s/ SARA ELIZABETH DELISLE
are filing on behalf of an agency or department of the State,
county, or municipal government. (Pursuant to §6-5-1 Code
                                                                   1/14/2022 12:26:44 PM
of Alabama (1975), governmental entities are exempt from
prepayment of filing fees)

*This Cover Sheet must be completed and submitted to the Clerk of Court upon the filing of any motion. Each motion should contain a separate Cover Sheet.
**Motions titled 'Motion to Dismiss' that are not pursuant to Rule 12(b) and are in fact Motions for Summary Judgments are subject to filing fee.
                                           DOCUMENT 91
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page ELECTRONICALLY
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                                                                                CIRCUIT COURT OF
                                                                            GREENE COUNTY, ALABAMA
                                                                          VERONICA MORTON-JONES, CLERK
                  IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
 CORNELIUS ROSS,                   )
                                   )
 Plaintiff,                        )
                                   )
 v.                                )
                                   )                    Civil Action No.: CV-2021-900009
 ERIKA GILMORE, KEITH AVENT, FEDEX )
 FREIGHT, INC., et al.             )                          HEARING REQUESTED
                                   )
 Defendants.



                                JOINT MOTION FOR HEARING


       COME NOW Plaintiff Cornelius Ross and Defendant FedEx Freight, Inc. (“FXF”), by and

through counsel, and file this Joint Motion for Hearing on Defendant FXF’s Motion to Transfer

Venue at the Court’s earliest convenience. In support of this motion, the Parties state as follows:

       1. Defendant FXF filed a Motion to Transfer Venue on March 22, 2021. Defendant

           Gilmore filed a Motion for Joinder in Motion to Transfer on August 4, 2021. Plaintiff

           responded in opposition to the motions on August 15, 2021.

       2. Defendant Gilmore has no opposition to this motion for a hearing on the motion for

           transfer.

       3. The Parties respectfully request a hearing on the Motion to Transfer Venue at the

           Court’s earliest convenience.


                                             Respectfully submitted,

                                              /s/ Sara Elizabeth Delisle
                                             Lea Richmond, IV (RIC062)
                                             Sara Elizabeth DeLisle (DEL025)
                                             Anna C. Saunders (SAU019)
                                             Attorneys for Defendant FedEx Freight



{DOC# 00774724}                                 1
                                         DOCUMENT 91
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 476 of 505




OF COUNSEL:

CARR ALLISON
100 Vestavia Parkway
Birmingham, Alabama 35216
Telephone:    (205) 822-2006
Facsimile:    (205) 822-2057
E-mail:       lrichmond@carrallison.com
              sbdelisle@carrallison.com


                                            Respectfully submitted,

                                            /s/ Carson S. Hale
                                            Carson H. Hale
OF COUNSEL:

SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave, Suite 201
Auburn, Alabama 36830
chale@slocumblaw.com


                                 CERTIFICATE OF SERVICE
       I hereby certify that on the 14th day of January 2022, I have served a copy of the above
and foregoing on counsel for all parties by:
              Facsimile transmission;
              Hand Delivery;
              Electronic Mail;
              Placing a copy of same in the United States Mail, properly
              addressed and first-class postage prepaid to; and/or
          X Using the Alafile or CM/ECF system which will send notifications
              of such to the following:

CHRISTIAN & SMALL, LLP
James Pattillo
Attorney for Defendant Gilmore
505 20TH Street North, Suite 1800
Birmingham, Alabama 35203
Phone: (205) 795-6588
Email: JLP@csattorneys.com

                                                    /s/ Sara Elizabeth DeLisle
                                                    OF COUNSEL


{DOC# 00774724}                                2
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 477 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: SARA ELIZABETH DELISLE
    sbdelisle@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

                       The following matter was FILED on 1/14/2022 12:27:33 PM

                                     D003 FEDEX FREIGHT, INC.
                                   JOINT MOTION FOR HEARING
                                  [Filer: DELISLE SARA ELIZABETH]


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                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

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                                                                     veronica.jones@alacourt.gov
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 478 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: AVENT KEITH (PRO SE)
    6400 YAGER DR.
    MOSCOW, TN, 38057-0000




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                 [Filer: DELISLE SARA ELIZABETH]


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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 479 of 505


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                                                               Judge: HON. EDDIE HARDAWAY
To: HALE CARSON SCOTT
    chale@slocumblaw.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 480 of 505


                                      AlaFile E-Notice




                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
To: PATTILLO JAMES LAURENS
    jlp@csattorneys.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 481 of 505


                                        AlaFile E-Notice




                                                                          35-CV-2021-900009.00
                                                                 Judge: HON. EDDIE HARDAWAY
To: RICHMOND LEA IV
    lrichmond@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                      IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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                                                                      veronica.jones@alacourt.gov
           Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 482 of 505


                                       AlaFile E-Notice




                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: SAUNDERS ANNA CERISE
    asaunders@carrallison.com




                    NOTICE OF ELECTRONIC FILING
                     IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                    35-CV-2021-900009.00

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                                                                   GREENE COUNTY, ALABAMA
                                                                       400 MORROW AVENUE
                                                                            EUTAW, AL, 35462

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                                                                     veronica.jones@alacourt.gov
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STATE OF ALABAMA             Revised 3/5/08             Case No.   35-CV-2021-900009.00
Unified Judicial System                                                                                                  CIRCUIT COURT OF
35-GREENE                                                         District Court      Circuit Court                  GREENE COUNTY, ALABAMA
                                                                                                             CV202190000900
                                                                                                                   VERONICA MORTON-JONES, CLERK
                                                                                                CIVIL MOTION COVER SHEET
CORNELIUS ROSS V. ERIKA GILMORE ET AL                                              Name of Filing Party:D001 - GILMORE ERIKA



Name, Address, and Telephone No. of Attorney or Party. If Not Represented.                      Oral Arguments Requested
 JAMES LAURENS PATTILLO
 505 20th Street North, Suite 1800
 BIRMINGHAM, AL 35203
Attorney Bar No.: PAT061

                                                                           TYPE OF MOTION
                         Motions Requiring Fee                                                               Motions Not Requiring Fee
      Default Judgment ($50.00)                                                              Add Party
      Joinder in Other Party's Dispositive Motion                                            Amend
      (i.e.Summary Judgment, Judgment on the Pleadings,                                      Change of Venue/Transfer
      orother Dispositive Motion not pursuant to Rule 12(b))
      ($50.00)                                                                               Compel
      Judgment on the Pleadings ($50.00)                                                     Consolidation
      Motion to Dismiss, or in the Alternative                                               Continue
      SummaryJudgment($50.00)                                                                Deposition
      Renewed Dispositive Motion(Summary                                                     Designate a Mediator
      Judgment,Judgment on the Pleadings, or other                                           Judgment as a Matter of Law (during Trial)
      DispositiveMotion not pursuant to Rule 12(b)) ($50.00)
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      Summary Judgment pursuant to Rule 56($50.00)
                                                                                             Extension of Time
      Motion to Intervene ($297.00)
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      Other
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  pursuant to Rule                                                         ($50.00)
                                                                                             More Definite Statement
  *Motion fees are enumerated in §12-19-71(a). Fees                                          Motion to Dismiss pursuant to Rule 12(b)
  pursuant to Local Act are not included. Please contact the                                 New Trial
  Clerk of the Court regarding applicable local fees.
                                                                                             Objection of Exemptions Claimed
      Local Court Costs $               0                                                    Pendente Lite
                                                                                             Plaintiff's Motion to Dismiss
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                                                                                          pursuant to Rule N/A                           (Subject to Filing Fee)
Check here if you have filed or are filing contemoraneously                                                  Signature of Attorney or Party
with this motion an Affidavit of Substantial Hardship or if you
                                                                   Date:
                                                                                                             /s/ JAMES LAURENS PATTILLO
are filing on behalf of an agency or department of the State,
county, or municipal government. (Pursuant to §6-5-1 Code
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of Alabama (1975), governmental entities are exempt from
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**Motions titled 'Motion to Dismiss' that are not pursuant to Rule 12(b) and are in fact Motions for Summary Judgments are subject to filing fee.
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                                                                                 CIRCUIT COURT OF
                                                                             GREENE COUNTY, ALABAMA
                                                                           VERONICA MORTON-JONES, CLERK

              IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA
                                                   )
 CORNELIUS ROSS,
                                                   )
         Plaintiff,                                )
 vs.                                               )   Civil Action No.: 35-CV-2021-900009
                                                   )
                                                   )
 ERIKA GILMORE, KEITH AVENT,                       )
 FEDEX FREIGHT, INC.,                              )
                                                   )
         Defendants.                               )


                              JOINT NOTICE OF SETTLEMENT


       COME NOW the Plaintiff and Defendant, Erika Gilmore ("Defendant" or "Gilmore"), and

jointly notify the Court of their pro tanto settlement as follows:

       1.      The Plaintiff and Gilmore have agreed to a pro tanto settlement of all claims against

Gilmore.

       2.      The settlement is contingent upon a final negotiation of lien and subrogation claims.

       3.      The parties will file a stipulation of dismissal after the exchange of a release and

disbursement of settlement funds.

                                                       s/ James L. Pattillo
                                                       James L. Pattillo (PAT061)
                                                       Attorney for Defendant Gilmore

OF COUNSEL:

CHRISTIAN & SMALL LLP
505 20th Street North, Suite 1800
Birmingham, Alabama 35203
Phone: (205) 795-6588
Facsimile: (205) 328-7234
Email: JLP@csattorneys.com
                                         DOCUMENT 94
      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 485 of 505




                                                    s/ Carson S. Hale, Esq.
                                                    Carson S. Hale, Esq.
                                                    Attorney for Plaintiff

SLOCUMB LAW FIRM, LLC
145 E. Magnolia Ave, Suite 201
Auburn, Alabama 36830
chale@slocumblaw.com

                                CERTIFICATE OF SERVICE

       Unless otherwise served by the Alafile system, I do hereby certify that a copy of the above
and foregoing instrument was served on the following by placing a copy of same in the United
States Mail, first class postage pre-paid and properly addressed on January 20, 2022:


       Lea Richmond, IV
       Sara Elizabeth DeLisle
       CARR ALLISON
       100 Vestavia Parkway
       Birmingham, Alabama 35216
       Telephone: (205) 822-2006
       Facsimile: (205) 822-2057
       Attorneys for Defendant FedEx Freight

                                                    s/ James L. Pattillo
                                                    OF COUNSEL




                                                                                          3119176.1
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                                      AlaFile E-Notice




                                                                         35-CV-2021-900009.00
                                                                Judge: HON. EDDIE HARDAWAY
To: JAMES LAURENS PATTILLO
    jlp@csattorneys.com




                   NOTICE OF ELECTRONIC FILING
                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

                       The following matter was FILED on 1/20/2022 8:08:53 AM

                                       D001 GILMORE ERIKA
                                 JOINT NOTICE OF SETTLEMENT
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                                                                         35-CV-2021-900009.00
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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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      Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 492 of 505




             IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA


ROSS CORNELIUS,                                )
Plaintiff,                                     )
                                               )
V.                                             ) Case No.:       CV-2021-900009.00
                                               )
GILMORE ERIKA,                                 )
AVENT KEITH,                                   )
FEDEX FREIGHT, INC.,                           )
Defendants.                                    )




                                                   R
                                                 DE
                                              ORDER

                                              OR
       This action came before the Court on the Joint Notice of Settlement filed by Plaintiff and

Defendant, Erika Gilmore. After having reviewed and considered the same, it is hereby
                                        D
                                    SE


ORDERED and DECREED that the Parties are to file a stipulation of dismissal after the

exchange of a release and settlement funds.
                           O
                        OP
                      PR




DONE this[To be filled by the Judge].

                                              /s/[To be filled by the Judge]
                                              CIRCUIT JUDGE
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 493 of 505


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                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
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                    IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
                                   35-CV-2021-900009.00

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                                                                        35-CV-2021-900009.00
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                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
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                            CORNELIUS ROSS V. ERIKA GILMORE ET AL
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                                                                  35-CV-2021-900009.00
                                                                  CIRCUIT COURT OF
                                                              GREENE COUNTY, ALABAMA
                                                            VERONICA MORTON-JONES, CLERK
       IN THE CIRCUIT COURT OF GREENE COUNTY, ALABAMA

 ROSS CORNELIUS,                       )
 Plaintiff,                            )
                                       )
 V.                                    ) Case No.:    CV-2021-900009.00
                                       )
 GILMORE ERIKA,                        )
 AVENT KEITH,                          )
 FEDEX FREIGHT, INC.,                  )
 Defendants.                           )


                                    ORDER


      This action came before the Court on the Joint Notice of Settlement

filed by Plaintiff and Defendant, Erika Gilmore. After having reviewed and

considered the same, it is hereby ORDERED and DECREED that the

Parties are to file a stipulation of dismissal after the exchange of a release

and settlement funds.

      DONE this 9th day of February, 2022.

                                     /s/ HON. EDDIE HARDAWAY
                                     CIRCUIT JUDGE
          Case 7:22-cv-00202-LSC Document 1-1 Filed 02/16/22 Page 500 of 505


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                                                                        35-CV-2021-900009.00
                                                               Judge: HON. EDDIE HARDAWAY
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                           CORNELIUS ROSS V. ERIKA GILMORE ET AL
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                                                                        35-CV-2021-900009.00
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